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                                         NO. 22-4322

                                              In The
             United States Court Of Appeals
                         For The Fourth Circuit

                  UNITED STATES OF AMERICA,
                                                                        Plaintiff – Appellee,

                                                   v.


                        MICHAEL SCOTT HOOVER,
                                                                        Defendant – Appellant.



             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             AT STATESVILLE

                                      ______________

                                   JOINT APPENDIX
                                         Volume I of II
                                        (Pages: 1 – 331)
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     @JEI>@>@ Eÿ=3K=ÿ5Vÿ98ÿMR45:7ÿ~R899ÿ88X:6ÿEÿR8UO9VÿEC>;ÿDQÿ995R4L:O9VHÿÿE
                  }O6:S5R9:Sÿ~MWO59U6:ÿ5W:;ÿÿ>ÿ38X:6ÿ~4::9ÿLW5ÿKO9:6:SHÿ@JEA>@>@
     @JEI>@>@ >ÿ66:V9ÿ5665O9ÿVVU:SÿejenÿÿcjfeÿjkggjikfÿMOÿR5V:ÿ5Vÿ98ÿMR45:7ÿ~R899ÿ88X:6Q
                  995R4L:O9VHÿÿEÿ5665O9ÿ5W:ÿS:O9MM:6LW5ÿKO9:6:SHÿ@JEA>@>@
     @JE?>@>@ Dÿ¡¡7MR59M8Oÿ86ÿ6M9ÿ8ÿ5N:5Vÿ386¡UVÿ5Sÿ68V:¢U:OSULÿ5Vÿ98ÿMR45:7ÿ~R899ÿ88X:6
                  ~¡5UW4;ÿ~9:¡45OM:ÿKO9:6:SHÿ@JE?>@>@
     @JE?>@>@ Bÿ6M9ÿ8ÿ5N:5Vÿ386¡UVÿ5Sÿ68V:¢U:OSULÿVVU:Sÿ5Vÿ98ÿMR45:7ÿ~R899ÿ88X:6ÿ~MWO:SÿN
                  5WMV9659:ÿ£USW:ÿ5XMSÿ~Qÿ35:6ÿOM9M57ÿ¡¡:565OR:ÿV:9ÿ86ÿE@EB>@>@ÿE@HD@ÿÿMO
                  38U69688LÿECE;ÿB@Eÿÿ65S:ÿ~9;ÿ34567899:;ÿ=3ÿ>?>@>ÿN:86:ÿ5WMV9659:ÿ£USW:ÿ5XMSÿ~Q
                  35:6QÿLW5ÿKO9:6:SHÿ@JE?>@>@
     @JE?>@>@ ÿ=3KÿFÿ=K¤ÿK=3Kÿ¥:OP5LMOÿ¥5MOC36::Sÿ5¡¡:56MOWÿ86ÿ}~Q
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     E@@?>@>@ Iÿ=3KÿFÿ=K¤ÿK=3KHÿ5XMSÿ¥QÿF6::SL5Oÿ5¡¡:56MOWÿ86ÿMR45:7
                  ~R899ÿ88X:6ÿF6::SL5O;ÿ5XMSÿKO9:6:SHÿE@@?>@>@
     E@EB>@>@ ÿ66:V9ÿ¦6M9ÿ8ÿMR45:7ÿ~R899ÿ88X:6ÿL:§ÿKO9:6:SHÿE@EB>@>@
     E@EB>@>@ ÿMOU9:ÿKO96Hÿ=¨ÿK=3Kÿ5OSÿ©=K=ÿ5Vÿ98ÿMR45:7ÿ~R899
                  88X:6ÿEÿ38UO9ÿEC>;Dÿ4:7SÿN:86:ÿ5WMV9659:ÿ£USW:ÿ5XMSÿ~Qÿ35:6Qÿ::OS5O9ÿ¡7:SÿO89
                  WUM79Qÿ::OS5O9ÿ5SXMV:Sÿ8ÿ6MW49VÿªÿR456W:VQÿ::OS5O9ÿ6:95MO:SÿR8UOV:7Qÿ©8X:6OL:O9
                  L8X:Sÿ86ÿS:9:O9M8OQÿ::OS5O9ÿ¦5MX:SÿS:9:O9M8Oÿ4:56MOWQÿ::OS5O9ÿS:95MO:SQ
                  ©8X:6OL:O9ÿ59986O:Hÿ346MV98¡4:6ÿ~Qÿ:VVQÿ::OS5O9ÿ59986O:Hÿ5XMSÿ¥QÿF6::SL5OQÿ38U69
                  :¡869:6Hÿ3QÿL:§ÿKO9:6:SHÿE@EB>@>@
     E@EB>@>@ Aÿ«y¬yÿ«ÿ¬¬­®«­ÿz¯ÿrpÿ°±zt|ÿwprrÿ²pp³tqxÿw´st{ÿµuÿ°z´¯rqzrtÿ¶·{´t
                  z³{ÿwxÿozutqÿpsÿ̧¹º̧»º¼¹¼¹xÿ½¾t¿ÿKO9:6:SHÿE@EB>@>@
     E@EB>@>@ ÿwrzs{zq{ÿ¯p³tquÿ«q{tqÿsÿz¯tÿz¯ÿrpÿ°±zt|ÿwprrÿ²pp³tqxÿ½o|ÿpsÿr±¯ÿ|sÿrp
                  pµrzsÿr±tÿwrzs{zq{ÿoq¾sz|ÿ¯p³tquÿ«q{tq¿ÿxÿ¬srtqt{ÿµuÿ°z´¯rqzrtÿ¶·{´tÿz³{
                  wxÿozutqÿpsÿ̧¹º̧»º¼¹xÿ½s³¿ÿKO9:6:SHÿE@EB>@>@
     E@EB>@>@ ÿwo²¬ÀÁ®­Âÿ«y¬yÿz¯ÿrpÿ°±zt|ÿwprrÿ²pp³tqxÿ½o|ÿpsÿr±¯ÿ|sÿrpÿpµrzsÿr±t
                  wrzs{zq{ÿÃqqz´s¾tsrÿ«q{tq¿ÿptrÿoz||ÿ̄trÿÄpqÿ̧¹º̧Åº¼¹¼¹ÿ¹ÅÆÇ¹ÿÃ°ÿs
                  op·qrqpp¾Èÿ¼¹¹ÿÉÿÊqpz{ÿwrÈÿwrzrt¯³||tÈÿ­oÿ¼ËÌÍÍÿµtÄpqtÿ¯rqrÿ¶·{´tÿÎtsstr±ÿx
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   012032114ÿ01670ÿ89                                               92 ÿÿ ÿ ÿÿ 
                           34556ÿ89:4;4<ÿ=>ÿ?@ABC:;@:4ÿDE<A4ÿF@GB<ÿH6ÿI@>4;ÿJ9ÿKLMKNMOL6ÿP9GQRÿTUVWXYXZ[
                           \]^\_^`]`]a
     \]^\_^`]`]          bÿcVdeedfXZÿghijhkÿWdÿldVWmVnXÿodpqXWÿlrss^iYmrsÿtuÿgmpvrXsÿwpdWWÿxddyXYzÿ{XfedVfXf
                           ZnXÿtuÿ\]^`\^`]`]ÿT|YXXZ}rV~ÿorymZaÿTUVWXYXZ[ÿ\]^\_^`]`]a
     \]^\^`]`]         \]ÿF8ÿA;@9:B9Aÿÿ?J:BJ9ÿ:JÿIJ9:B9E4ÿFJQ4:ÿI@55M;B@5ÿ@Cÿ:Jÿ?BQ@45ÿHQJ::ÿJJG4;
                           PKR6ÿ?J:BJ9ÿ:JÿIJ9:B9E4ÿ<4@<5B94ÿ<E4ÿ=>ÿKKMLMOLOL6ÿH:@:ECÿIJ94;49Q4ÿC4:ÿJ;
                           KOMOMOLOLÿLLÿ?ÿB9ÿIJE;:;JJÿNLKÿÿ;@<4ÿH:ÿI @;5J::4ÿIÿOOLOÿ=4J;4
                           FBC:;BQ:ÿDE<A4ÿ4994:ÿF6ÿ34556ÿFJQ4:ÿI@55ÿC4:ÿJ;ÿKOMKNMOLOLÿLLÿ?ÿB9
                           IJE;:;JJÿOLLÿÿ3;J@<ÿH:ÿH:@:4CGB554ÿIÿOÿ=4J;4ÿFBC:;BQ:ÿDE<A4ÿ4994:ÿF6
                           34556ÿHBA94<ÿ=>ÿFBC:;BQ:ÿDE<A4ÿ4994:ÿF6ÿ3455ÿJ9ÿKLMKNMOLOL6ÿP9GQRÿTUVWXYXZ[
                           \]^\^`]`]a
     \]^\^`]`]         \\ÿkhijlUÿh|ÿiih{kUÿU{klUÿldYWVXuÿwzÿ{rVZrssÿreeXrYmVÿdYÿcwz
                           T{rVZrss~ÿldYWVXuaÿTUVWXYXZ[ÿ\]^\^`]`]a
     \]^\^`]`]         \`ÿ{Ui{jÿ{Uh{iÿÿÿ¡¡¢£¤¥¦§ÿrfÿWdÿgmpvrXsÿwpdWWÿxddyXYÿTryrmsrtsXÿWdÿcw~
                           gmpvrXsÿwpdWWÿxddyXYaÿT}rVZrÿgrYWmVÿ̈ÿrYfaÿTUVWXYXZ[ÿ\]^\^`]`]a
     \]^`]^`]`]         \©ÿwcU{wUojkªÿjkojligUkiÿrfÿWdÿgmpvrXsÿwpdWWÿxddyXYÿT\aÿpdnVWTfaÿ\f¨`f~ÿ©fz
                           TWWrpv}XVWf[ÿ«ÿ\ÿcVYXZrpWXZÿwmVrWnYXÿrX~ÿ«ÿ̀ÿlrfXÿldyXYÿwvXXWaÿTW}aÿTUVWXYXZ[
                           \]^`\^`]`]a
     \]^``^`]`]         \_ÿ¬rYYrVWÿ{XWnYVXZÿU­XpnWXZÿdVÿ\]^®^`]`]ÿmVÿprfXÿrfÿWdÿgmpvrXsÿwpdWWÿxddyXYzÿTW}a
                           TUVWXYXZ[ÿ\]^``^`]`]a
     \]^`©^`]`]           ÿkhijlUÿh|ÿxU{jkªÿrfÿWdÿgmpvrXsÿwpdWWÿxddyXY[ÿYYrmV}XVWÿYX[ÿwneXYfXZmV
                           jVZmpW}XVWÿfXWÿdYÿ\\^`^`]`]ÿ\][©ÿgÿmVÿldnYWYdd}ÿ\¨\~ÿ_]\ÿ¬ÿiYrZXÿwW~ÿlvrYsdWWX~ÿkl
                           `b`]`ÿtXdYXÿgrmfWYrWXÿ̄nZXÿorymZÿ°XXfsXYzÿ±²³́ÿ³́ÿ¦¢µ£ÿ¢¤¶¦ÿ¤¢¡³·¥ÿÿ¦¢µÿ̧³¶¶ÿ¤¢¡
                           £¥·¥³¹¥ÿºÿ́¥»º£º¡¥ÿ¼¢·µ½¥¤¡¾T}raÿTUVWXYXZ[ÿ\]^`©^`]`]a
     \\^]`^`]`]           ÿgmVnWXÿUVWYu[ÿ{{jªkgUkiÿYX[ÿwneXYfXZmVÿjVZmpW}XVWÿrfÿWdÿgmpvrXsÿwpdWWÿxddyXY
                           T\aÿldnVWÿ\f¨`f~©fÿvXsZÿtXdYXÿgrmfWYrWXÿ̄nZXÿorymZÿ°XXfsXYzÿoXXVZrVWÿesXZÿVdWÿnmsWuz
                           ªdyXYV}XVWÿrWWdYVXu[ÿ°m}srVmÿ|dYZzÿoXXVZrVWÿrWWdYVXu[ÿorymZÿ¿zÿ|YXXZ}rVzÿldnYW
                           {XedYWXY[ÿol{zÿT}raÿTUVWXYXZ[ÿ\\^]`^`]`]a
     \\^`©^`]`]         \®ÿghijhkÿWdÿldVWmVnXÿodpqXWÿlrss^iYmrsÿtuÿgmpvrXsÿwpdWWÿxddyXYzÿ{XfedVfXfÿZnXÿtu
                           \\^©]^`]`]ÿTWWrpv}XVWf[ÿ«ÿ\ÿYdedfXZÿhYZXYaÿT|YXXZ}rV~ÿorymZaÿTUVWXYXZ[ÿ\\^`©^`]`]a
     \\^`©^`]`]         \ÀÿF8ÿA;@9:B9AÿKÿ?J:BJ9ÿ:JÿIJ9:B9E4ÿFJQ4:ÿI@55M;B@5ÿ@Cÿ:Jÿ?BQ@45ÿHQJ::
                           JJG4;ÿPKR6ÿ?J:BJ9ÿ:JÿIJ9:B9E4ÿ<4@<5B94ÿ<E4ÿ=>ÿOMKMOLOK6ÿH:@:ECÿIJ94;49Q4ÿC4:ÿJ;
                           OMMOLOKÿLLÿ?ÿB9ÿIJE;:;JJÿNLKÿÿ;@<4ÿH:ÿI @;5J::4ÿIÿOOLOÿ=4J;4
                           FBC:;BQ:ÿDE<A4ÿ4994:ÿF6ÿ34556ÿFJQ4:ÿI@55ÿC4:ÿJ;ÿOMKMOLOKÿLLÿ?ÿB9
                           IJE;:;JJÿOLLÿÿ3;J@<ÿH:ÿH:@:4CGB554ÿIÿOÿ=4J;4ÿFBC:;BQ:ÿDE<A4ÿ4994:ÿF6
                           34556ÿHBA94<ÿ=>ÿFBC:;BQ:ÿDE<A4ÿ4994:ÿF6ÿ3455ÿJ9ÿKKMOMOLOL6ÿP9GQRÿTUVWXYXZ[
                           \\^`©^`]`]a
     \`^©\^`]`]         \bÿkhijlUÿh|ÿiih{kUÿU{klU[ÿorymZÿ¿zÿ|YXXZ}rVÿreeXrYmVÿdYÿgmpvrXs
                           wpdWWÿxddyXYÿT|YXXZ}rV~ÿorymZaÿTUVWXYXZ[ÿ\`^©\^`]`]a
     ]\^\_^`]`\         \ÁÿghijhkÿWdÿldVWmVnXÿodpqXWÿlrss^iYmrsÿtuÿgmpvrXsÿwpdWWÿxddyXYzÿ{XfedVfXfÿZnXÿtu
                           \^`\^`]`\ÿTWWrpv}XVWf[ÿ«ÿ\ÿYdedfXZÿhYZXYaÿT|YXXZ}rV~ÿorymZaÿTUVWXYXZ[ÿ]\^\_^`]`\a
     ]\^\^`]`\         `]ÿF8ÿA;@9:B9AÿKÿ?J:BJ9ÿ:JÿIJ9:B9E4ÿFJQ4:ÿI@55M;B@5ÿ@Cÿ:Jÿ?BQ@45ÿHQJ::
                           JJG4;ÿPKR6ÿ?J:BJ9ÿ:JÿIJ9:B9E4ÿ<4@<5B94ÿ<E4ÿ=>ÿNMÂMOLOK6ÿH:@:ECÿIJ94;49Q4ÿC4:ÿJ;
                           NMMOLOKÿLLÿ?ÿB9ÿIJE;:;JJÿNLKÿÿ;@<4ÿH:ÿI @;5J::4ÿIÿOOLOÿ=4J;4
                           FBC:;BQ:ÿDE<A4ÿ4994:ÿF6ÿ34556ÿFJQ4:ÿI@55ÿC4:ÿJ;ÿNMKMOLOKÿLLÿ?ÿB9
                           IJE;:;JJÿOLLÿÿ3;J@<ÿH:ÿH:@:4CGB554ÿIÿOÿ=4J;4ÿFBC:;BQ:ÿDE<A4ÿ4994:ÿF6
   622!"#$#%&$'2&()(2*+,-0.3/.71.01.001710100                                             722
                                                                   JA4
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   012032114ÿ01670ÿ89                                               92 ÿÿ ÿ ÿÿ 
                           34556ÿ89:;4<ÿ=>ÿ?9@AB9CAÿDE<:4ÿF4;;4AGÿ?6ÿ3455ÿH;ÿIJIKJLMLI6ÿN;OCPÿRSTUVWVXY
                           Z[\[]\^Z^[_
     Z`\`[\^Z^[         ^[ÿaVbcVdUÿefWÿWVghiWfgjkÿXhdgflVWmÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWuÿRpijcvswÿpUVisjThV_
                           RSTUVWVXYÿZ`\`[\^Z^[_
     Z`\`[\^Z^[         ^^ÿaVbcVdUÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWÿefWÿTfUhgVÿfeÿjkhnh\hTdjThUmÿXVeVTdVuÿRpijcvsw
                           pUVisjThV_ÿRSTUVWVXYÿZ`\`[\^Z^[_
     Zx\Z^\^Z^[         ^`ÿyz{|}Sÿ~ÿÿ~ÿÿÿÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVW
                           RqUUjgsVTUdYÿÿ[ÿgcWWhgckcÿlhUjV_RpijcvswÿpUVisjThV_ÿRSTUVWVXYÿZx\Z^\^Z^[_
     Zx\Z]\^Z^[           ÿpVU\aVdVUÿtVjWhTvdÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWYÿpUjUcdÿ}fTeVWVTgVÿaSpS{ÿefWÿx\\^Z^[ÿjU
                           [^Y]ÿrÿhTÿ}fcWUWffwÿxZ[ÿÿ{WjXVÿpUwÿ}sjWkfUUVwÿy}ÿ^^Z^ÿnVefWVÿhdUWhgUÿcXvV
                           VTTVUsÿuÿVkkuÿRTlg_ÿRSTUVWVXYÿZx\Z]\^Z^[_
     Zx\Z]\^Z^[         ^xÿzSayrSy{dÿyz{|}Sÿfeÿ|TUVTUÿUfÿodVÿSlhXVTgVÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUU
                           tfflVWÿRajTXjkkwÿ}fWUTVm_ÿRSTUVWVXYÿZx\Z]\^Z^[_
     Zx\Z\^Z^[           ÿrhTcUVÿSTUWmYÿp{q{opÿ}zySaSy}SÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWÿsVkXÿnVefWVÿhdUWhgU
                           cXvVÿVTTVUsÿuÿVkkuÿflVWTVTUÿjUUfWTVmYÿ}fWUTVmÿajTXjkkÿjTXÿpUVijThVÿpijcvsu
                           VeVTXjTUÿjUUfWTVmYÿjlhXÿWVVjTuÿ}fcWUÿaVifWUVWYÿ{WjgmÿcTkjiÿ^[^[uÿRTlg_
                           RSTUVWVXYÿZx\[^\^Z^[_
     Zx\Z\^Z^[         ^]ÿzSayrSy{dÿyz{|}Sÿfeÿ|TUVTUÿUfÿodVÿSlhXVTgVÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUU
                           tfflVWÿRpijcvswÿpUVisjThV_ÿRSTUVWVXYÿZx\Z\^Z^[_
     Zx\[^\^Z^[           ÿyz{|}SÿzÿtSqa|yÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWYÿcWmÿpVkVgUhfTÿ\ÿcWmÿ{WhjkÿdVUÿefW
                           x\^[\^Z^[ÿZYZZÿqrÿhTÿ}fcWUWffwÿ^ZZÿÿWfjXÿpUwÿpUjUVdlhkkVwÿy}ÿ^ÿnVefWVÿhdUWhgU
                           cXvVÿVTTVUsÿuÿVkkuÿ¡ÿÿ¢~£ÿ~¢ÿ~¤ÿ¥ÿ¢~£ÿ¦ÿ~ÿ¤§ÿÿÿ̈~¤£©ª
                           RTlg_ÿRSTUVWVXYÿZx\[^\^Z^[_
     Zx\[^\^Z^[         ^ÿWfifdVXÿfhWÿhWVÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWÿRpijcvswÿpUVisjThV_ÿRSTUVWVXY
                           Zx\[^\^Z^[_
     Zx\[^\^Z^[         ^ÿWfifdVXÿcWmÿ|TdUWcgUhfTdÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWÿRpijcvswÿpUVisjThV_
                           RSTUVWVXYÿZx\[^\^Z^[_
     Zx\[^\^Z^[         ^ÿrz{|zyÿhTÿ«hhTVÿ~ÿ¤£¨ÿ§¨¤ÿ¨ÿ¬­£©ÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUU
                           tfflVWuÿaVdifTdVdÿXcVÿnmÿx\[\^Z^[ÿRpijcvswÿpUVisjThV_ÿRSTUVWVXYÿZx\[^\^Z^[_
     Zx\^[\^Z^[         ^ÿ|{ySppÿ«|p{ÿ®¯¨ÿ¥ÿ°¤±ÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWÿRajTXjkkw
                           }fWUTVm_ÿRSTUVWVXYÿZx\^[\^Z^[_
     Zx\^[\^Z^[         `ZÿS²t||{ÿ«|p{ÿnmÿopqÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWÿRajTXjkkwÿ}fWUTVm_ÿRSTUVWVXY
                           Zx\^[\^Z^[_
     Zx\^[\^Z^[           ÿrhTcUVÿSTUWmYÿoa³ÿpS«S}{|zyÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWÿsVkXÿnVefWVÿhdUWhgUÿcXvV
                           VTTVUsÿuÿVkkuÿcWmÿdVkVgUVXuÿcWmÿ{WhjkÿgfTUhTcVdÿfTÿx\^^\^Z^[ÿjUÿZỲZÿqrÿhT
                           }fcWUWffwÿ^ZZÿÿWfjXÿpUwÿpUjUVdlhkkVwÿy}ÿ^ÿnVefWVÿhdUWhgUÿcXvVÿVTTVUsÿu
                           VkkuflVWTVTUÿjUUfWTVmYÿ}fWUTVmÿajTXjkkÿjTXÿpUVisjThVÿpijcvsuÿVeVTXjTUÿjUUfWTVmY
                           jlhXÿWVVjTuÿ}fcWUÿaVifWUVWYÿ}sVWmkÿycgghfuÿRTlg_ÿRSTUVWVXYÿZx\^[\^Z^[_
     Zx\^^\^Z^[         `[ÿ´µ?¶µÿµ¶·¸µ¹º¹»ÿ·µº¼½ÿ¶¾¿º3º·8ÿÀ@ÿAHÿÁ9CGÀ45ÿ8CHAAÿ¿HHO4B6ÿ89:;4<ÿ=>
                           ?9@AB9CAÿDE<:4ÿF4;;4AGÿ?6ÿ3455ÿH;ÿKJLLJLMLI6ÿN;OCPÿRSTUVWVXYÿZx\^^\^Z^[_
     Zx\^^\^Z^[           ÿrhTcUVÿSTUWmYÿoa³ÿ{a|q«ÿjdÿUfÿrhgsjVkÿpgfUUÿtfflVWÿsVkXÿnVefWVÿhdUWhgUÿcXvV
                           VTTVUsÿuÿVkkuÿcWmÿdÂfWTuÿziVThTvÿpUjUVVTUduÿSlhXVTgVÿ|TUWfXcgVXuÿflVWTVTU
                           WVdUVXuÿVeVTXjTUÿWVdUVXuÿ}kfdhTvÿjWvcVTUduÿ}fcWUdÿgsjWvVuÿcWmÿWVUcWTdÿlVWXhgUu
   622!"#$#%&$'2&()(2*+,-0.3/.71.01.001710100                                             322
                                                                   JA5
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   012032114ÿ01670ÿ89                                               92 ÿÿ ÿ ÿÿ 
                           345678968:ÿ<::4786=>ÿ?47:86=ÿ@<8A<BBÿ<8AÿC:6D<8E6ÿCD<FGHIÿJ6K68A<8:ÿ<::4786=>ÿJ<5EA
                           L7669<8Iÿ?4F7:ÿ@6D47:67>ÿ?H67=BÿMFNNE4IÿO85NPÿOQ8:676A>ÿRSTUUTURUVP
     RSTUUTURUV         WUÿXY@Zÿ[Q@J\?]ÿ<^ÿ:4ÿ_ENH<6BÿCN4::ÿ̀44567ÿOVPÿ3FEB:=ÿ48ÿ?4F8:ÿV^aU^bW^IÿOc::<NH968:^>
                           dÿVÿY876A<N:6AÿCEG8<:F76ÿe<G6PO85NPÿOQ8:676A>ÿRSTUUTURUVP
     RfTUgTURUV         WSÿe@QCQM]QM?Qÿ\M[QC]\3c]\hMÿ@Qeh@]ÿOJ7<K:ÿ@6D47:Pÿijklmknÿpÿlqqrstuvwÿ<^ÿ:4
                           _ENH<6BÿCN4::ÿ̀44567Iÿhxy6N:E48^ÿ:4ÿeC\ÿAF6ÿzT{TURUVIÿO<5<EB<xB6ÿ:4ÿYCcbÿ_ENH<6BÿCN4::
                           `44567PÿO|E8A^<=ÿ34BAE8GÿaÿDy^PÿOQ8:676A>ÿRfTUgTURUVP
     RzTRzTURUV         Wgÿh}XQ?]\hMÿ]hÿe@QCQM]QM?Qÿ\M[QC]\3c]\hMÿ@Qeh@]ÿiju~uÿpÿlqqrstuvwÿx=
                           _ENH<6BÿCN4::ÿ̀44567ÿO<5<EB<xB6ÿ:4>ÿYCcbÿ_ENH<6BÿCN4::ÿ̀44567PÿOL766A9<8bÿJ<5EAP
                           OQ8:676A>ÿRzTRzTURUVP
     RTV{TURUV         Wfÿe@QCQM]QM?Qÿ\M[QC]\3c]\hMÿ@Qeh@]ÿOLE8<Bÿ@6D47:Pÿijklmknÿpÿlqqrstuvwÿ<^ÿ:4
                           _ENH<6BÿCN4::ÿ̀44567IÿO<5<EB<xB6ÿ:4ÿYCcbÿ_ENH<6BÿCN4::ÿ̀44567PÿCNH6AFB6ÿK47ÿC68:68N6
                           48ÿ47ÿ<K:67ÿTWRTURUVIÿO|E8A^<=ÿ34BAE8GÿaÿDy^PÿOQ8:676A>ÿRTV{TURUVP
     RUTRTURUU         WÿMh]\?QÿhLÿc]]h@MQZÿceeQc@cM?Q>ÿM46BBÿeIÿ]E8ÿ<DD6<7E8GÿK47ÿ_ENH<6BÿCN4::
                           `44567ÿO]E8bÿM46BBPÿOQ8:676A>ÿRUTRTURUUP
     RUTVVTURUU         W{ÿ|Q]]Q@ÿ<AA76^^6Aÿ:4ÿYC_ÿ76>ÿ:76<:968:ÿ<:ÿy<EBÿx=ÿ_ENH<6BÿCN4::ÿ̀44567ÿOc::<NH968:^>ÿd
                           VÿQ856B4D6PO85NPÿOQ8:676A>ÿRUTVSTURUUP
     RSTVzTURUU         SRÿ]@cMC?@\e]ÿ4Kÿ]7E<Bÿe74N66AE8G^ÿ<^ÿ:4ÿ_ENH<6BÿCN4::ÿ̀44567ÿH6BAÿ48ÿSTUUTUVÿx6K476
                           XFAG6ÿ}6BBIÿ ÿÿ ÿÿ ÿÿÿÿ
                           ÿÿÿ¡¢ÿÿ£¤¥¦§¨ÿ¤ªÿ«¬¥̈¬¥ÿ¥¤ÿ­¨®¯¨°¥ÿ­¨±²§¥¦¤¬ÿÿ³´ÿµ¢ÿÿ
                           ¡¢ÿÿ­¨±²§¥¦¤¬ÿ­¨®¯¨°¥¶ÿ¡ÿÿµÿÿ¡¢·ÿÿµÿ̧¢¢ÿÿ¹
                           ¢µµ¢¢ÿ¢¢ÿÿÿ¢µÿ̧ÿµÿ¡ÿº»ÿµ¢ÿ¶
                             µÿ¹ÿÿ¸ÿÿÿµÿ¢µÿ¹¢ÿÿµÿ¼ÿ
                           µÿÿ¡ÿÿº»ÿÿ¢¶ÿ¡ÿÿÿÿ¹ÿÿÿ¼
                           ¶ÿ ¢µÿÿ̧¸¸¶µ¸¶µ¶¼ÿ@6B6<^6ÿ4Kÿ]7<8^N7ED:ÿ@6^:7EN:E48ÿ^6:ÿK47
                           zTVWTURUUIÿO@6D47:67>ÿ?H67=BÿMFNNE4bÿzRSaWgRazS{SPÿOQ8:676A>ÿRSTVzTURUUP
     RSTV{TURUU         SVÿMh]\?Qÿ:4ÿ?4F7:ÿ@6D47:67bÿ?H67=BÿMFNNE4ÿ4Kÿ\8:68:ÿ:4ÿ@6½F6^:ÿ@6A<N:E48ÿ4KÿSR
                           ]7<8^N7ED:bbÿx=ÿ?47:86=ÿCIÿ@<8A<BBÿE8ÿN<^6ÿ<^ÿ:4ÿ_ENH<6BÿCN4::ÿ̀44567ÿO@<8A<BBbÿ?47:86=P
                           OQ8:676A>ÿRSTV{TURUUP
     RSTV{TURUU           ÿMh]\?QÿhLÿ̀Qc@\M3ÿ<^ÿ:4ÿ_ENH<6BÿCN4::ÿ̀44567>ÿC68:68NE8Gÿ^6:ÿK47ÿgTV{TURUUÿVV>VR
                           c_ÿE8ÿ?4F7:7449ÿdS}bÿSRVÿ¾ÿ]7<A6ÿC:bÿ?H<7B4::6bÿM?ÿUURUÿx6K476ÿJE^:7EN:ÿXFAG6
                           ¿6886:HÿJIÿ}6BBIÿÀÁÂÃÿÂÃÿvrÄsÿrtvÿtrqÂÅuÿpÿvrÄÿÆÂÿtrqÿsuÅuÂÇuÿ~ÿÃuÈ~s~quÿrÅÄÉutqÊO85NP
                           OQ8:676A>ÿRSTV{TURUUP
     RgTRWTURUU         SUÿCQc|QJÿ_h]\hMÿiju~uÿpÿlqqrstuvwÿ:4ÿ@6A<N:ÿ76ÿSRÿ]7<8^N7ED:bbÿO?4F7:ÿ@6D47:67>
                           ?H67=BÿMFNNE4Pÿx=ÿYCcÿO<5<EB<xB6ÿ:4>ÿYCcbÿ_ENH<6BÿCN4::ÿ̀44567PÿO@<8A<BBbÿ?47:86=P
                           OQ8:676A>ÿRgTRWTURUUP
     RgTRSTURUU         SWÿÿÿÿËµ¢ÿµÿÌ ·ÿ¼¼ÿÍ³ÿ¢ÿË ÿÿµÿÍ»
                             µ·ÿÎ ÿÿ¢ÿµµÏÿÿÐ¶ÿ¼ÿÿµÿÑ¼
                           Òÿ¶ÿÓ¢¢ÿÿÔÍÔ³»³³¶ÿÎµÏÿOQ8:676A>ÿRgTRSTURUUP
     RgTVRTURUU         SSÿ@QJc?]QJÿ]@cMC?@\e]ÿE8ÿN<^6ÿ<^ÿ:4ÿ_ENH<6BÿCN4::ÿ̀44567ÿ76ÿSRÿ]7<8^N7ED:bbÿ4Kÿ]7E<B
                           e74N66AE8G^ÿH6BAÿ48ÿSTUUTUVÿx6K476ÿXFAG6ÿ}6BBIÿO@6D47:67>ÿ?H67=BÿMFNNE4bÿzRSaWgRazS{SP
                           OQ8:676A>ÿRgTVRTURUUP
     RgTVSTURUU         SgÿCQM]QM?\M3ÿ_Q_h@cMJY_ÿx=ÿ_ENH<6BÿCN4::ÿ̀44567ÿOc::<NH968:^>ÿdÿVÿQÕHExE:ÿcP
                           O]E8bÿM46BBPÿOQ8:676A>ÿRgTVSTURUUP
   622!"#$#%&$'2&()(2*+,-0.3/.71.01.001710100                                              .22
                                                                   JA6
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   012032114ÿ01670ÿ89                                               92 ÿÿ ÿ ÿÿ 
     4567869499 8:ÿ<=>?=@ÿABCÿDEFGEÿHBÿIJKEÿLMNÿPQRSÿTUVÿNWÿLXYZÿ[\ÿ<J]^FEKÿ_]BHHÿ̀BBGECaÿbEcdBecEc
                   fgEÿ[\ÿ569h69499ÿ<BHJBecÿCEAECCEfÿHBÿiFGJfÿ_aÿjF\ECÿk>Jelÿ@BEKKmÿkneHECEfoÿ4567869499m
     4567:69499 ÿpqrpstuvwÿtyzqyÿ{|}~~{ÿÿ~ÿ|ÿv}ÿÿÿ}ÿÿ}ÿ
                   |ÿÿq~|ÿÿz|ÿ{ÿ~~ÿzÿÿ~ÿÿ~ÿkneHECEfo
                   4567:69499m
     456769499 8ÿn `?¡?>ÿ[\ÿ<J]^FEKÿ_]BHHÿ̀BBGECÿCEoÿ85ÿ_EeHEe]Je¢ÿ<E£BCFefg£ÿBCÿbEcdBecEÿAJKEfÿ[\
                   <J]^FEKÿ_]BHHÿ̀BBGECÿk>Jelÿ@BEKKmÿkneHECEfoÿ456769499m
     456769499 8ÿn `?¡?>ÿ[\ÿ<J]^FEKÿ_]BHHÿ̀BBGECÿCEoÿ85ÿ_EeHEe]Je¢ÿ<E£BCFefg£ÿBCÿbEcdBecEÿAJKEfÿ[\
                   <J]^FEKÿ_]BHHÿ̀BBGECÿk>Jelÿ@BEKKmÿkneHECEfoÿ456769499m
     4567¤69499 ÿ<JegHEÿneHC\oÿ_n@>n@j?@¥ÿFcÿHBÿ<J]^FEKÿ_]BHHÿ̀BBGECÿ^EKfÿ[EABCEÿiJcHCJ]Hÿ¦gf¢E
                   §EeeEH^ÿiaÿ¡EKKaÿIF]HgFKÿ¡FcJcÿIBgefaÿ¥BGECe£EeHÿFHHBCeE\oÿ_HEd^FeJEÿ_dFg¢^lÿjBCHeE\
                   bFefFKKaÿiEAEefFeHÿFHHBCeE\oÿ@BEKKÿ̈aÿ>JeaÿjBgCHÿbEdBCHECoÿj^EC\Kÿ@g]]JBaÿk©F[mÿkneHECEfo
                   4567¤69499m
     4567¤69499 8¤ÿªtuqupÿtyzqyÿ«uzÿ¬z­qupÿtÿtyq®p¬yqÿ}ÿÿ}ÿ
                   |ÿ{~ÿÿz|ÿ{ÿ~~ÿzÿÿ~ÿ¯ÿ°}ÿkneHECEfo
                   4567¤69499m
     4569h69499 54ÿ¬z­qupÿ}ÿÿ}ÿÿ|ÿ±ÿª~ÿs±ÿ²±ÿz®®qz³ÿª~
                   ±ÿpyqqÿ¬uzyqzÿ®rpwÿ²ÿtupÿ´µ|~´~³ÿv®qÿµ|
                   |}³ÿ¶ÿ«´~³ÿ¶±ÿ·p«ÿ«´~³ÿ¶±ÿ«·««ÿ«´~³
                   ª~ÿ±ÿpyqqÿ¬uzyqzÿ®rpwÿ²ÿtupÿ´µ|~´~ÿÿ|~
                   ~³ÿv®qÿµ|ÿ|}ÿÿ|~ÿ~||~³ÿ¶ÿ«´~³ÿ¶±
                   ·p«ÿ«´~³ÿ¶±ÿ«·««ÿ«´~³ÿª~ÿ²±ÿtuqÿ¬uzyqz
                   p¸qupwÿÿtupÿ´µ|~´~ÿÿ|~ÿ~³ÿv®qÿµ|
                   |}ÿÿ|~ÿ~||~³ÿ¶ÿ«´~³ÿ¶±ÿ·p«ÿ«´~³ÿ¶¹±
                   «·««ÿ«´~³ÿy~ÿÿÿz|´~ÿ{~ÿÿz|ÿ{ÿ~~
                   zÿÿ~ÿ²ÿ°}ÿkneHECEfoÿ4569h69499m
     4569h69499 57ÿp«pqqupÿtÿyq«tuÿº»¼½¾¼¿ÿÁÿÂÃÃÄÅÆ¼ÇÈÿ|Éÿÿ{´~ÿ}}}ÿÉÿ¬«±
                   }ÿÿ|ÿ{~ÿÿz|ÿ{ÿ~~ÿzÿÿ~ÿ²ÿ°}
                   kneHECEfoÿ4569h69499m
     456969499 59ÿ@=>?jnÿ=IÿÊ¨¨nÊDÿ[\ÿ<J]^FEKÿ_]BHHÿ̀BBGECaÿËSZÿVÌXSÿÍXÎÏÿMMMÐÑQÒÐUSÑNUÓVSÐÔNÕÿVN
                   ÓZVÓXZÕZÿÒVÌÿÖXÓÑUXVÿÑQSZÿN×ZÎXÎÔÿØNÑUYZÎVSÙÿXÐZÐÿÚ××ZQÓQÎÑZÿNWÿÖNUÎSZÍÙÿPNÑÏZVXÎÔ
                   ÛVQVZYZÎVÙÿPXSÑÍNSUÓZÿÛVQVZYZÎVÙÿLÓQÎSÑÓX×VÿTÓØZÓÿÜNÓYÙÿQÎØÿÖÝÚÿÞÒÿßNUÑÌZÓSÐÿ@BHEo
                   àBgCÿ>CFec]CJdHÿ=CfECÿIBC£ÿkFefÿj¦Êÿ98ÿJAÿFddKJ]F[KEmÿ£gcHÿ[EÿcECGEfÿBeÿH^EÿiJcHCJ]H
                   jBgCHÿFcÿáEKKÿFcÿH^EÿjJC]gJHÿjBgCHaÿk?I¨6j¦Êmÿk>Jelÿ@BEKKmÿkneHECEfoÿ456969499m
     456h769499 5hÿ>CFec£JccJBeÿBAÿ@BHJ]EÿBAÿÊddEFKÿFcÿHBÿ<J]^FEKÿ_]BHHÿ̀BBGECÿHBÿâ_ÿjBgCHÿBAÿÊddEFKcÿCE
                   59ÿ@BHJ]EÿBAÿÊddEFKaÿkEã[mÿkneHECEfoÿ456h769499m
     456h769499 58ÿâ_jÊÿjFcEÿ@g£[ECÿFcÿHBÿ<J]^FEKÿ_]BHHÿ̀BBGECÿä99å8h99æÿABCÿ59ÿ@BHJ]EÿBAÿÊddEFKl
                   â_jÊÿjFcEÿ<FeF¢ECoÿbJ]©JEÿnfáFCfcaÿkEã[mÿkneHECEfoÿ4:64769499m
     46469499 55ÿ=binbÿBAÿâ_jÊÿFcÿHBÿ<J]^FEKÿ_]BHHÿ̀BBGECÿCEoÿFddBJeHJe¢ÿiFGJfÿçgEeHJeÿ¡gC¢EccÿFc
                   ]BgecEKÿBeÿFddEFKaÿä99å8h99æÿkEã[mÿkneHECEfoÿ46469499m
     467869499 5:ÿ_ECGJ]E6iE]KFCFHJBeÿBAÿ̈g[KJ]FHJBeÿ[\ÿâ_ÊÿFcÿHBÿ<J]^FEKÿ_]BHHÿ̀BBGECÿCEÿ8¤ÿ¦gf¢£EeHÿBA
                   IBCAEJHgCEÿkÊHHF]^£EeHcoÿèÿ7ÿné^J[JHÿÊÿkiE]KFCFHJBeÿBAÿ̈g[KJ]FHJBemmk¡FJeåjCEEfl
                   ¡EeãF£JemÿkneHECEfoÿ467869499m
     46969499 5ÿâ_jÊÿ>bÊ@_jb?¨>ÿ=binbÿÊj§@=êDni¥<n@>ÿFcÿHBÿ<J]^FEKÿ_]BHHÿ̀BBGECÿCEÿ59
                   @BHJ]EÿBAÿÊddEFKÿä99å8h99æaÿjBgCHÿbEdBCHECoÿj^EC\Kÿ@g]]JBaÿjgCCEeHÿiEFfKJeEo
                   4¤64:69499aÿ̈CB]EEfJe¢coÿÊdCJKÿ99lÿ9497ÿ¦gC\ÿHCJFKÿHBÿJe]KgfEÿëBJCÿiJCElÿ=dEeJe¢ÿFef
   622!"#$#%&$'2&()(2*+,-0.3/.71.01.001710100                                    223
                                                                   JA7
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   012032114ÿ01670ÿ89                                               92 ÿÿ ÿ ÿÿ 
                           456789:7;<;=>=9;7ÿ<9@ÿ897;ABC;8697ÿ<9@ÿD=9;=9C89:ÿE<FÿGHIÿJKJJLÿMA@=A89:ÿN<A;FOÿE8CP<=5
                           Q66R=ALÿSAPTUÿSV9;=A=@OÿKWXJYXJKJJU
     KWXJYXJKJJ         ZYÿ[D4\ÿ]^\_D4^`N]ÿM^aV^ÿ\4b_McdVaeEV_]ÿ<7ÿ;6ÿE8CP<=5ÿDC6;;ÿQ66R=AÿA=ÿZJ
                           _6;8C=ÿ6Tÿ\ff=<5ÿgJJhijJJkLÿ46BA;ÿ^=f6A;=AOÿ]A<CFÿaB95<fLÿ4BAA=9;ÿa=<@589=OÿKHXKlXJKJJL
                           NA6C==@89:7OÿD;<;B7ÿ469T=A=9C=ÿ\fA85ÿYIÿJKJGLÿMA@=A89:ÿN<A;FOÿE8CP<=5ÿQ66R=ALÿSAPTU
                           SV9;=A=@OÿKWXJYXJKJJU
     KWXJYXJKJJ         ZHÿ[D4\ÿ]^\_D4^`N]ÿM^aV^ÿ\4b_McdVaeEV_]ÿ<7ÿ;6ÿE8CP<=5ÿDC6;;ÿQ66R=AÿA=ÿZJ
                           _6;8C=ÿ6Tÿ\ff=<5ÿgJJhijJJkLÿ46BA;ÿ^=f6A;=AOÿ]=AAFÿmLÿe8n769Lÿ4BAA=9;ÿa=<@589=O
                           KHXKlXJKJJLÿNA6C==@89:7Oÿ̀98;8<5ÿ\ff=<A<9C=ÿMC;6n=AÿGiIÿJKJKÿ<9@ÿ\AA<8:9>=9;ÿ_6R=>n=A
                           JIJKJKLÿMA@=A89:ÿN<A;FOÿE8CP<=5ÿQ66R=ALÿSAPTUÿSV9;=A=@OÿKWXJYXJKJJU
     KHXKlXJKJJ         lKÿ]^\_D4^`N]ÿ6Tÿ̀98;8<5ÿ\ff=<A<9C=ÿ<7ÿ;6ÿE8CP<=5ÿDC6;;ÿQ66R=AÿP=5@ÿ69ÿGKXGiXJKÿn=T6A=
                           mB@:=ÿ4<F=AIÿopqrstÿvtwÿvtxysqrpoÿpzÿqvyo{svr|q{wÿq}~ÿ~ÿ}~ÿ
                           ~ÿÿÿ~ÿÿÿÿÿÿÿÿÿÿ¡~ÿÿ
                           ~ÿÿÿ¢ÿrÿÿ¡~ÿÿ~£ÿ}ÿ¡ÿ¤ÿ~ÿ¥~
                           ~~¡¡ÿ~ÿÿ}~ÿ¡ÿ¤}ÿ~¡ÿ~ÿ¦§ÿ¡~ÿ¢
                           q¡ÿ¥ÿ~ÿ~¤~ÿÿ}~ÿ¡ÿ¡ÿ~¥ÿÿ¡}~ÿ}¨}ÿ}~
                           ¡ÿ~~ÿ~~ÿ}~ÿ¦§ÿÿ~~¢ÿy~ÿ}ÿ~ÿÿ¥ÿ~ÿ~ÿ}¨}
                           |ystv¢ÿ|¡ÿÿ¤¤¤¢¡¤¢¡¢̈ÿ©ªÿ«ÿ¬ÿ­­ÿ®®­­ÿ¯¯ÿ¯
                           «ÿ̄®¯¯°ÿ±ÿ²³ÿ^=5=<7=ÿ6Tÿ]A<97CA8f;ÿ^=7;A8C;869ÿ7=;ÿT6AÿGJXJXJKJJLÿS^=f6A;=AOÿ4P=AF5
                           _BCC86IÿWKihjZKhWiHiUÿSV9;=A=@OÿKHXKlXJKJJU
     KHXKlXJKJJ         lGÿ]^\_D4^`N]ÿ6Tÿ\AA<8:9>=9;ÿ<7ÿ;6ÿE8CP<=5ÿDC6;;ÿQ66R=AÿP=5@ÿ69ÿGGXKJXJKÿn=T6A=ÿmB@:=
                           b==75=AIÿopqrstÿvtwÿvtxysqrpoÿpzÿqvyo{svr|q{wÿq}~ÿ~ÿ}~ÿ
                           ~ÿÿÿ~ÿÿÿÿÿÿÿÿÿÿ¡~ÿÿ
                           ~ÿÿÿ¢ÿrÿÿ¡~ÿÿ~£ÿ}ÿ¡ÿ¤ÿ~ÿ¥~
                           ~~¡¡ÿ~ÿÿ}~ÿ¡ÿ¤}ÿ~¡ÿ~ÿ¦§ÿ¡~ÿ¢
                           q¡ÿ¥ÿ~ÿ~¤~ÿÿ}~ÿ¡ÿ¡ÿ~¥ÿÿ¡}~ÿ}¨}ÿ}~
                           ¡ÿ~~ÿ~~ÿ}~ÿ¦§ÿÿ~~¢ÿy~ÿ}ÿ~ÿÿ¥ÿ~ÿ~ÿ}¨}
                           |ystv¢ÿ|¡ÿÿ¤¤¤¢¡¤¢¡¢̈ÿ©ªÿ«ÿ¬ÿ­­ÿ®®­­ÿ¯¯ÿ¯
                           «ÿ̄®¯¯°ÿ±ÿ²³ÿ^=5=<7=ÿ6Tÿ]A<97CA8f;ÿ^=7;A8C;869ÿ7=;ÿT6AÿGJXJXJKJJLÿS^=f6A;=AOÿ4P=AF5
                           _BCC86IÿWKihjZKhWiHiUÿSV9;=A=@OÿKHXKlXJKJJU
     KHXKlXJKJJ         lJÿ]^\_D4^`N]ÿ6Tÿ́68Aÿa8A=ÿµ¶·¸¹º»¼¹·½¾ÿ<7ÿ;6ÿE8CP<=5ÿDC6;;ÿQ66R=Aÿn=T6A=ÿmB@:=ÿÀ=55L
                           N<A;8<5ÿ^=5=<7=ÿ6Tÿ]A<97CA8f;ÿ^=7;A8C;869ÿ7=;ÿT6AÿGJXJXJKJJLÿS^=f6A;=AOÿ4P=AF5ÿ_BCC86IÿWKih
                           jZKhWiHiUÿSV9;=A=@OÿKHXKlXJKJJU
     KHXKlXJKJJ         ljÿ]^\_D4^`N]ÿ6TÿD=9;=9C89:ÿ<7ÿ;6ÿE8CP<=5ÿDC6;;ÿQ66R=AÿP=5@ÿ69ÿZXGHXJJÿn=T6A=ÿmB@:=
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                                IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                        STATESVILLE DIVISION


                                                                )       DOCKET NO. 5:20cr88-KDB
           UNITED STATES OF AMERICA                             )
                                                                )       FIRST SUPERSEDING
                  v.                                            )       BILL OF INDICTMENT
                                                                )
                                                                )       Violations:
           MICHAEL SCOTT HOOVER                                 )       18 U.S.C. § 2251(a)
                                                                )       18 U.S.C. § 2252A(a)(~'=D
                                                                                            CHARLOTTE,NC
                                         THE GRAND JURY CHARGES:
                                                                                                OCT 20 2020
                                                    COUNT ONE                             US DISTRICT COURT
                                                                                        WESTERN DISTRICT OF NC
                                          (Production of Child Pornography)

                  On or about June 20, 2018, in Wilkes County, within the Western District ofNorth Carolina
           and elsewhere, the defendant,

                                           MICHAEL SCOTT HOOVER,

           did employ, use, persuade, induce, entice and coerce minor victim 1 to engage in sexually explicit
           conduct for the purpose of producing any visual depiction of such conduct using materials that had
           been mailed, shipped, or transported in and affecting interstate and foreign commerce by any
           means, including by computer.

                  All in violation of Title 18, United States Code, Section 225l(a) and (e).

                                                   COUNT TWO
                                          (Production of Child Pornography)

                  On or about August 4, 2019, in Yancey County, within the Western District of North
           Carolina and elsewhere, the defendant,

                                           MICHAEL SCOTT HOOVER,

           did employ, use, persuade, induce, entice and coerce minor victim 2 to engage in sexually explicit
           conduct for the purpose of producing any visual depiction of such conduct using materials that had
           been mailed, shipped, or transported in and affecting interstate and foreign commerce by any
           means, including by computer.

                  All in violation of Title 18, United States Code, Section 2251 (a) and (e).




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                                                  COUNT THREE
                                          (Possession of Child Pornography)

                   From on or about June 20, 2018 through on or about August 15, 2019, in Wilkes County,
           within the Western District of North Carolina and elsewhere, the defendant,

                                          MICHAEL SCOTT HOOVER,

           knowingly possessed, and accessed with intent to view, any material that contained an image of
           child pornography, as defined in Title 18, United States Code, Section 2256(8), that has been
           mailed, and shipped and transported using any means and facility of interstate and foreign
           commerce, and in and affecting interstate and foreign commerce by any means, including by
           computer, and that was produced using materials that have been mailed, and shipped and
           transported in and affecting interstate and foreign commerce by any means, including by computer.

                  All in violation of Title 18, United States Code, Section 2252A(a)(5)(B).




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                     NOTICE OF FORFEITURE AND FINDING OF PROBABLE CAUSE

                   Notice is hereby given of 18 U.S.C. § 2253. The following property is subject to
           forfeiture in accordance with Section 2253:

                  a. Any visual depiction or book, magazine, periodical, film, videotape, or other matter
                     which contains any such depiction, which was produced, transported, mailed, shipped,
                     or received during the violations set fo1ih in this bill of indictment;

                  b. Any property, real or personal, constituting or traceable to gross profits or other
                     proceeds obtained from proceeds of the violations;

                  c. Any prope1iy, real or personal, used or intended to be used to commit or promote the
                     violations; and

                  d. If, as set forth in 21 U.S.C. § 853(p), any property described in (a), (b), or (c) cannot
                     be located upon the exercise of due diligence, has been transfened or sold to, or
                     deposited with, a third paiiy, has been placed beyond the jurisdiction of the couit, has
                     been substantially diminished in value, or has been commingled with other property
                     which cannot be divided without difficulty, all other property of the defendant/s to the
                     extent of the value of the property described in (a), (b) and (c).

                   The Grand Jury finds probable cause to believe that the following property is subject to
           fo1feiture on one or more of the grounds state above:

                  a. An Apple iPhone seized during the investigation.




                                                               A TRUE BILL:




           R. ANDREW MURRAY
           UNITED STATES ATTORNEY

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           STEPHANIE    £1~---
           SPECIAL ASSISTANT UNITED STATES ATTORNEY




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                                UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF NORTH CAROLINA
                                        STATESVILLE DIVISION

        UNITED STATES OF AMERICA                      )       DOCKET NO. 5:20CR88-KDB
                                                      )
                               v.                     )
                                                      )
        MICHAEL SCOTT HOOVER                          )
                                                      )

               GOVERNMENT’S NOTICE OF INTENT TO ADMIT EVIDENCE PURSUANT
                      TO FEDERAL RULES OF EVIDENCE 404(b) AND 414

                Pursuant to Federal Rules of Evidence 414 and 404(b), the United States of America, by

        and through William T. Stetzer, Acting United States Attorney for the Western District of

        North Carolina, hereby gives notice of its intent to introduce at trial evidence of Defendant's

        commission of other acts, and in particular evidence of Defendant’s commission of other

        offenses involving the sexual abuse of the victims and other minors, as well as other visual

        depictions of the victims and evidence from his iPhone.

                             FACTUAL AND PROCEDURAL BACKGROUND

          I.      CONDUCT LEADING TO THE FEDERAL INDICTMENT

               Defendant was arrested on August 15, 2019 for eight counts of Felony Indecent Liberties

       with a Minor, in violation of N.C. Gen Stat. § 14-202.1. After Defendant’s arrest, his employer,

       Wells Fargo initiated an internal investigation. As part of the investigation, they collected

       Defendant’s work phone, an iPhone 7 Plus, from his wife on or around August 22, 2019. As part

       of the investigation, an employee at Wells Fargo reviewed its contents. The examiner found a

       video of a minor masturbating in a “Calculator+” application on the phone. The examiner, a

       former Internet Crimes Against Children Task Force member, stopped the review and turned the

                                                          1


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      phone over to law enforcement in Wilkes County. An agent with the North Carolina State Bureau

      of Investigation applied for a search warrant for the phone. It was executed on August 29, 2019.

             The special agent reviewed the data/contents and located two videos that depicted a minor

      male, Minor Victim 1, lying on a couch and masturbating. The videos were created on June 19,

      2018 with an iPhone 7 Plus. These videos had been saved to another application in the phone, and

      then deleted at some point. There were also multiple still images of Minor Victim 1

      masturbating, or of his penis. These videos and images were created in Defendant’s residence.

      The victim was unaware that he was being recorded, or that the visual depictions were produced.

             In addition to the visual depictions of Minor Victim 1, there were also visual depictions of

      a second minor male, Minor Victim 2, engaging in sexually explicit conduct on Defendant’s

      iPhone. There were two copies of the same video, stored in two separate places on the iPhone.

      Each video depicted Minor Victim 2 masturbating while standing in the woods. The video was

      captured in slow motion. There were also three still images of the minor masturbating in the

      woods. All these visual depictions had been created on August 4, 2019 with an iPhone 7 Plus.

      Minor Victim 2 was interviewed. He said that he was hiking with Defendant when Defendant

      asked him if he needed to use the restroom. Minor Victim 2 did. When he was finished,

      Defendant came over to Minor Victim 2 and began to play with the minor’s penis. Defendant then

      sucked Minor Victim 2’s penis. Defendant placed Minor Victim 2’s hand on Minor Victim 2’s

      penis and told him to stroke it. Minor Victim 2 noticed that Defendant had his phone at the time,

      and that Defendant had recorded it .

              On September 16, 2020, the grand jury for the Western District of North Carolina

       returned a Bill of Indictment, charging Defendant with three violations. Count One charges

       Defendant with sexual exploitation of a minor, specifically, Minor Victim 1, in violation of 18


                                                       2


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          U.S.C. § 2251. Count Two charges Defendant with sexual exploitation of a minor, specifically,

          Minor Victim 2, in violation of 18 U.S.C. § 2251. Count Three charges Defendant with

          possession of child pornography in violation of 18 U.S.C. § 2252A(a)(5)(B).

            II.      OTHER CONDUCT

                  A. Evidence located on Defendant’s iPhone

                  In addition to visual depictions of Minor Victim 1 and Minor Victim 2 described above,

      the forensic examiner located other evidence pertinent to the investigation during his review of

      Defendant’s iPhone. Defendant’s phone also contained other images and videos of Minor Victim

      1. There were videos created on September 22, 2018. There is a short video showing Defendant

      and Minor Victim 1. There is also a video of the victim in a hammock in the woods. Most of his

      body is hidden from view, but he is masturbating. He was also unaware that he was being

      recorded. Other still shots show the victim, nude, walking away in the woods. According to

      Minor Victim 1, he would go hiking and camping with Defendant, along with some other people.

      There also is another image, taken at another time, that shows Minor Victim 1 lying on his side.

      The picture depicts him from his stomach to his mid-thigh area. He is only wearing underwear.

      Again, he did not know that the picture was taken.

                  The iPhone also contains other relevant information including web history showing

      searches for “nambla”1, “selfies boy masterbating,” and “selfies boy oh boy.”

                  B. Other Uncharged Conduct related to Minor Victim 1

                  According to Minor Victim 1, he saw Defendant on a regular basis from the time he was

      about 14 or 15 years old. One of the first times he remembered Defendant behaving inappropriate,

      Minor Victim 1 and Defendant were in a truck together. Defendant put his hand on Minor Victim


      1
          NAMBLA is short for an organization called the North American Man/Boy Love Association.
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      1’s inner thigh, near his crotch. Minor Victim 1 told him to stop and Defendant did. At some

      point, Defendant start providing alcohol to Minor Victim 1, including beer and liquor and on one

      occasion, he offered Minor Victim 1 marijuana.

                 Defendant would repeatedly try to engage Minor Victim 1 in conversations about

      masturbation. He would also show Minor Victim 1 pornography. Defendant tried to get Minor

      Victim 1 to masturbate in front of him. Defendant would claim he see Minor Victim 1

      masturbating and make comments about it. Minor Victim 1 remembers Defendant trying to look

      at him in the shower as well.

                 C. Uncharged Conduct related to Minor Victim 2

                 In addition to the videos located on the iPhone, Minor Victim 2 has disclosed several other

      disturbing incidents with Defendant. In one incident, Minor Victim 2 was sleeping over at

      Defendant’s home. He woke up to Defendant pulling Minor Victim 2’s pants down and playing

      with his genitals. Defendant also put Minor Victim 2’s hand into Defendant’s pants and made the

      minor touch Defendant’s penis. This occurred approximately in 2017.

                 On another occasion, Defendant and Minor Victim 2 were outside together at his home.

      Defendant told Minor Victim 2 to pull his pants down, but Minor Victim 2 said he did not like

      that. Defendant indicated that he did not care and then touched Minor Victim 2’s penis with his

      hand, then put his penis in Defendant’s mouth. A similar incident happened another time as well.

      These assaults occurred in 2019.

                 D. Other Victims2

                 Multiple other males have come forward to say that Defendant committed similar acts with

      them when they were minors. In fact, the state investigation into the other victims led to


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          Written reports and recordings of interviews with these victims have been provided to counsel for Defendant.
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      Defendant’s arrest, which caused Wells Fargo to collect his phone and the eventual discovery of

      the pornographic depictions of Minor Victim 1 and Minor Victim 2.

             Initially, three minor males, Minor Victim 3, Minor Victim 4, and Minor Victim 5 came

      forward to law enforcement. Minor Victim 3 told law enforcement that he was at Defendant’s

      home when he was 15 years old. Defendant began massaging him and then played a game of

      “chicken” where Defendant moved his hands up Minor Victim 3’s leg, asking if he was chicken.

      Defendant put his hand under the shorts and underwear of Minor Victim 3 and held the minor’s

      penis for approximately two minutes. Unfortunately, this was not the only time Defendant

      touched Minor Victim 3. Defendant touched Minor Victim 3’s penis on other occasions, both

      under and over the victim’s shorts. Sometimes they were in Defendant house and sometimes they

      were in his car. These incidents occurred in 2017 and 2018.

             Minor Victim 4 disclosed a similar incident. He told law enforcement that he was in a

      truck with Defendant and Defendant’s daughter. The daughter was asleep in the back seat.

      Defendant put his hand on Minor Victim 4’s leg. Minor Victim 4 pushed Defendant’s hand away

      but Defendant put his hand back on Minor Victim 4’s leg. He put his hand on the minor’s upper

      thigh, and then Minor Victim 4’s penis “real fast.” Minor Victim 4 stated that on another

      occasion, Defendant was supposed to stretch/pop Minor Victim 4’s back by standing behind him,

      wrapping his arms around Minor Victim 4’s chest and lifting him. Instead of wrapping his arms

      around Minor Victim 4’s chest, Defendant stuck his hands down Minor Victim 4’s pants and

      touched his penis. These incidents occurred in 2018-2019.

             Minor Victim 5 also reported illegal contact by Defendant. Minor Victim 5 disclosed that

      Defendant tried to touch Minor Victim 5’s penis when Minor Victim 5 was at Defendant’s home,

      and did touch his penis over his clothes on multiple occasions. Minor Victim 5 also reported


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      seeing Defendant try to touch another minor male’s crotch. Furthermore, he told law enforcement

      that Defendant exposed his penis to Minor Victim 5 and his friend while they were at Defendant’s

      home.

              Defendant was arrested by state authorities for offenses involving Minor Victims 3, 4, and

      5. The local media reported the arrests, which prompted another victim to come forward. Another

      concerned citizen also reported another potential victim to law enforcement. Additional

      interviews were conducted.

              Minor Victim 6 told law enforcement that Defendant began sexually abusing him when

      Minor Victim 6 was between the ages of four and seven and it continued for several years.

      According to Minor Victim 6, the molestation would occur in Defendant’s living room and while

      camping outdoors. Defendant and Minor Victim 6 were in the living room of Defendant’s home

      and Defendant wanted to “teach” the minor about masturbation. Defendant touched Minor Victim

      6’s penis and had Minor Victim 6 touch his own penis. Minor Victim 6 stated that Defendant

      made him perform oral sex on Defendant and that Defendant performed oral sex on him. While

      camping, Defendant put Minor Victim 6’s hand on Defendant’s penis.

              Minor Victim 7 was a friend of Minor Victim 6. He went on a camping trip with

      Defendant and Minor Victim 6 in November 2017. They had all slept in the same tent. During

      the night, Minor Victim 7 woke up with Defendant on top of him. Defendant was trying to get his

      hand into Minor Victim 7’s pants to touch his penis. Minor Victim 7 was able to grab Defendant’s

      hand while using his other hand to cover his penis. He said Defendant continued to use his other

      hand to try to get into Minor Victim 7’s pants. Defendant stated that he wanted to perform oral

      sex on Minor Victim 7. Minor Victim 7 was able to stop Defendant, who then left the tent.

              Minor Victim 8 learned about Defendant’s arrest and contacted law enforcement. He told


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      law enforcement that he was in a Boy Scout troop that Defendant was involved with back in late

      2008-2010. On multiple occasions, Defendant put his hand in Minor Victim 8’s pants and felt the

      minor’s genitals. Many of these assaults occurred in Defendant’s home but one occurred on an

      overnight trip to a museum. Defendant also tried to perform oral sex on Minor Victim 8 while

      Minor Victim 8 was at Defendant’s home.


                                                 ARGUMENT

               I. SOME OF THE EVIDENCE IS ADMISSIBLE BECAUSE IT IS INTRINSIC
                  TO THE CHARGED CRIMES.

             The government submits that all of the evidence referenced in this document involving

      Minor Victim 1 and Minor Victim 2, and the evidence located on his iPhone is proof of

      Defendant’s involvement in the charged conduct, provides background and context to the crimes

      charged in the indictment, and will serve to complete the story for the jury. The Fourth Circuit

      has held that “acts intrinsic to the alleged crime do not fall under Rule 404(b)’s limitations on

      admissible evidence.” United States v. Chin, 83 F.3d 83, 87 (4th Cir. 1996). “Evidence of

      uncharged conduct is not ‘other crimes’ evidence subject to Rule 404 if the uncharged conduct

      ‘arose out of the same series of transactions as the charged offense, of if [evidence of the

      uncharged conduct] is necessary to complete the story of the crime on trial.” United States v.

      Siegal, 536 F.3d 306, 316 (4th Cir. 2008)(quoting United States v. Kennedy, 32 F.3d 876, 885 (4th

      Cir. 1994)). In a situation where evidence is presented that arose out of the same series of

      transactions as the charged offense or that are necessary to complete story of the charged crime, a

      Rule 404(b) analysis is not necessary but such evidence is still subject to a Federal Rule of

      Evidence 403 balancing test. See United States v. Chin, 83 F.3d 83, 88 (4th Cir. 1996).

             Evidence relevant to Defendant’s relationship with the victims and his prurient interest in


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      minor males, including evidence of his cultivation of a relationship with the victims between 2016

      and August 2019, to include all videos and photographs that the defendant took or possessed of

      the victims, is res gestae evidence. The evidence involves the same victims and is part of the same

      course of conduct that led to the production of the child pornography. Many of the acts took place

      in the same locations as the charged offenses. Finally, with regard to the uncharged images and

      videos and other iPhone evidence, they were located on the same iPhone along with the charged

      images and videos.

             The aforementioned evidence demonstrates Defendant’s involvement in the charged

      conduct, provides background and context to the crimes charged in the Indictment, forms an

      integral and natural part of the account of the offenses, and completes the narrative of the crime.

      The nature of Defendant’s relationship with the victim and his cultivation of the relationship are

      inextricably intertwined. Introduction of this evidence is necessary to provide the jury with a

      complete and truthful account of the crimes on trial. Insofar as such evidence is inextricably

      intertwined with the crimes charged, it is direct evidence of the charged crime and does not

      implicate Rule 404(b).

               II. EVIDENCE OF DEFENDANT’S PRODUCTION AND POSSESSION OF
                   CHILD PORNOGRAPHY, AND HIS OTHER ACTS WITH MINOR VICTIM
                   2, MINOR VICTIM 4, AND MINOR VICTIM 6 ARE ADMISSIBLE UNDER
                   FED. R. EVID. 414.

             Rule 414(a) provides that “[i]n a criminal case in which a defendant is accused of child

      molestation, the court may admit evidence that the defendant committed any other child

      molestation. The evidence may be considered on any matter to which it is relevant.” Fed. R. Evid.

      414(a). Pursuant to Rule 414(d)(2)(C) & (D), “child molestation” includes a crime under state law

      involving contact between any part of the defendant's body and a child's genitals and anus, or

      contact between any part of a child’s body and the defendant’s genitals or anus. A child for these

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      sections must be under the age of 14. Fed. R. Evid. 414(d)(1). It also includes “any conduct

      prohibited by 18 U.S.C. chapter 110.” Fed. R. Evid. 414(d)(2)(B).

             Evidence is admissible under Federal Rule of Evidence 414 if (1) the defendant is accused

      of an offense of child molestation; (2) the evidence proffered pertains to the defendant’s

      commission of another act of child molestation; and (3) the evidence is relevant. United States v.

      Stamper, 106 Fed. Appx. 833, 835 (4th Cir. 2004). In addition, the probative value of the

      evidence must not be substantially outweighed by the risk of undue prejudice, confusion, or undue

      delay. Id. Unlike Fed. R. Evid. 404(b), Rule 414 allows the admission of evidence for the

      purpose of establishing propensity to commit other sexual offenses United States v. Kelly, 510

      F.3d 433, 437 (4th Cir. 2007).

             A. The Defendant is Accused of An Offense of Child Molestation

              As stated above, child molestation includes any conduct prohibited by 18 U.S.C. Chapter

       110. Fed. R. Evid. 414(d)(2)(B). In this case, Defendant is charged with two counts of sexual

       exploitation of a minor in violation of 18 U.S.C. § 2251 and knowingly possessing, or accessing

       with intent to view, child pornography under 18 U.S.C. § 2252A. Both crimes are contained in

       Chapter 110 of Title 18 of the U.S. Code. See 18 U.S.C. §§ 2251 and 2252A. Thus, the

       Defendant is accused of an offense of child molestation.

              B. Evidence of Defendant’s Other Acts Pertains to the Defendant’s Commission of
              Another Child Molestation

             All the visual depictions of a minor engaged in sexually explicit conduct located on

       Defendant’s iPhone are charged in the Bill of Indictment, and therefore, admissible. However,

       the government also intends to offer these images and videos pursuant to Fed. R. Crim. Evid. 414.

       As explained above, they clearly are acts of “child molestation” because it is conduct prohibited

       by chapter 110 of Title 18.

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                The government also intends to introduce testimony about Defendant engaging in acts of

          child molestation with Minor Victim 23, Minor Victim 4, and Minor Victim 6, as described

          above. This contact occurred when the victims were under the age 14 and involved the type of

          contact listed in Rule 414. Thus, this evidence of Defendant’s other acts also pertains to his

          commission of another child molestation under Fed. R. Evid. 414.

                   C. Evidence of Defendant’s Production and Possession of Child Pornography and
                   Sexual Contact of Minors is Relevant

                   Evidence is relevant if it has any tendency to make a fact of consequence more or less

          probable than it would be without the evidence. Fed. R. Evid. 401. Rule 414 reflects Congress’s

          view that propensity evidence of other sexual offenses is usually relevant and probative. Kelly,

          510 F.3d at 437. Here, Defendant’s other acts make it more probable that he not only has a

          sexual interest in children, specifically, minor males, but also has a propensity to produce and

          possess child pornography of minor males masturbating, and, thus, knowingly did so in the

          instant case. See, Kelly, 510 F.3d at 437-38 (upholding admission of prior conviction for

          attempted rape of a twelve-year-old child in prosecution for traveling in interstate commerce to

          engage in illicit sexual conduct with a twelve-year-old as probative of defendant’s propensity to

          molest young children). The Eleventh Circuit has similarly stated that “in prosecutions for

          possessing or receiving child pornography evidence that a defendant has engaged in child

          molestation in the past is admissible as evidence that he is more likely to have committed the

          offense charged.” United States v. Carino, 368 Fed.Appx. 929, 929-930 (11th Cir. Mar. 11,

          2010).

                   The evidence is also relevant in that it goes to Defendant’s knowledge and intent as



      3
       The government believes that the evidence of crimes involving Minor Victim 2 is intrinsic to the production of the
      sexually explicit videos of Minor Victim 2, as noted above. However, it is also admissible under Fed. R. Evid. 414.
                                                               10


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       further described below.

              D. The Probative Value of the Evidence is Not Substantially Outweighed by Any
                 Prejudice, Confusion, or Undue Delay

              Evidence admitted under Rule 414 is subject to Rule 403’s balancing test. Kelly, 510

       F.3d at 437. Thus, the probative value of the evidence must not be substantially outweighed by

       the danger of unfair prejudice to the defendant. Id. In applying the Rule 403 balancing test to

       prior offenses under Rule 414, the court should consider factors including but not limited to: (1)

       the similarity between the previous offense and the charged crime, (2) the temporal proximity

       between the two crimes, (3) the frequency of the prior acts, (4) the presence or absence of any

       intervening acts, and (5) the reliability of the evidence of the past offense. Id. at 437-38.

              The other acts of child molestation and the charged crime in this case are very similar.

       Some of the acts involve the sexual exploitation of children and are even violations of the exact

       same federal statutes. The images and videos were taken a little over a year apart. Furthermore,

       the images and videos were stored together on the same iPhone. The other evidence, involving

       the sexual contact with Minor Victim 2, Minor Victim 4, and Minor Victim 6 is similar in that it

       involved young minor males, frequent conversations about masturbation, occurred in the home

       and/or in the woods, and to victims close to Defendant.

              These acts are much more similar to each other than those that were upheld as

       admissible in United States v Mason. 532 F. App'x 432 (4th Cir. 2013) cert. denied, 134 S. Ct.

       659, 187 L. Ed. 2d 436 (U.S. 2013)(unpublished). In Mason, the defendant was charged with

       transportation, receipt, and possession of child pornography. The Fourth Circuit upheld the

       admission of evidence showing that the defendant had repeatedly sexually molested two boys

       age 9 and 11 under Rules 414 and 403. Id. The Fourth Circuit stated that these acts were

       similar in that they both involved the exploitation of children. Id.

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              In Kelly, the court found that the similarity between the prior conviction and the charged

       offense was striking where the prior conviction was for attempted rape of a twelve-year-old

       child and the charged offense was for traveling in interstate commerce to engage in illicit sexual

       conduct with a twelve-year-old. 510 F.3d at 437. Like the evidence in Kelly, the evidence that

       the government plans to introduce almost parallels the charged offenses in the type of victim he

       selected and the sexual contact he caused.

              Next, the temporal proximity between the two crimes, the frequency of the prior acts and

       the presence of intervening acts also support the admission of the evidence. In this case, the

       other acts with Minor Victim 2 occurred contemporaneously or shortly before the charged

       offenses. The acts with Minor Victim 4 and Minor Victim 6 are a little older. The Fourth

       Circuit has upheld the admission of much older evidence. See, Kelly, Id. (noting that the fact

       that the prior conviction was twenty-two years prior to the crimes charged did not alone render

       the conviction inadmissible given the similarity in the offenses); United States v. Mason, 532 F.

       App'x 432 (4th Cir. 2013)(unpublished) (upholding the admission of prior child molestation acts

       that occurred 12 years prior to the instant offense); United States v. Rice, 347 Fed. Appx. 904

       (2009)(unpublished) (affirming the admission of child molestation activity that occurred between

       ten and eighteen years prior to the instant offense). There are no intervening events. These

       factors, coupled with the similarity between the acts, clearly support the admission of the

       evidence.

              Finally, the evidence that the government seeks to admit is very reliable. First, the

       images and videos depict the victims who will be testifying and subject to cross-examination.

       The actual images and videos were recovered from Defendant’s iPhone. A forensic copy of the

       iPhone (and the images and videos) has been made available to counsel for Defendant prior to


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       the trial. Each of the witnesses were interviewed. Their recorded interviews have been

       provided to Defendant.

                Propensity evidence “has indisputable probative value.” United States v. Guardia, 135

       F.3d 1326, 1131 (10th Cir. 1998). Any prejudice in admitting evidence of Defendant’s other

       acts is due to its high probative value. But that does not mean it is unfairly prejudicial. See

       Kelly, 510 F.3d at 438 (holding that admission of a prior conviction for attempted rape of a

       twelve-year-old child in prosecution for traveling in interstate commerce to engage in illicit

       sexual conduct with a twelve-year-old was not unfairly prejudicial merely because it tended to

       prove defendant’s propensity to molest young children); Rice, 347 Fed. Appx 904 (4th Cir.

       2009)(unpublished)(Evidence that tends to prove that the defendant has a deviant sexual

       attraction towards children is not unfairly prejudicial.) Therefore, the probative value of the

       evidence described above is not substantially outweighed by any unfair prejudice or confusion.

          II.      EVIDENCE OF DEFENDANT’S OTHER ACTS ARE ADMISSIBLE UNDER
                   RULE 404(b) TO PROVE MOTIVE, OPPORTUNITY, INTENT,
                   PREPARATION, PLAN, KNOWLEDGE, IDENTITY AND ABSENCE OF
                   MISTAKE OR ACCIDENT

                Given that Rule 414 essentially “supersedes” Rule 404(b)’s treatment of other acts, a

       Rule 404(b) analysis is probably unnecessary in this case with regards to the other child

       pornography and child molestation involving Minor Victim 2, Minor Victim 4, and Minor Victim

       6. See United States v. Stamper, 106 Fed.Appx. 833, 835 (4th Cir. 2004)(unpublished). However,

       as Federal Rule of Evidence 404(b) allows the admission of evidence of crimes, wrongs, or other

       acts to prove motive, opportunity, intent, preparation, plan, knowledge, identity, absence of

       mistake, or lack of accident, it offers a valid alternative basis for the admission of the other acts

       evidence. Additionally, the government seeks to admit other acts of Defendant involving the

       other minor males described above.

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              The evidence described above that the government seeks to admit is admissible under

       Rule 404(b). Evidence of prior acts is admissible under Rule 404(b) if (1) the evidence is

       relevant to an issue and not offered to establish the general character of the defendant, (2) the

       prior act is necessary in that it is probative of an essential claim or an element of the offense, (3)

       the evidence is reliable, and (4) the probative value of the evidence is not substantially

       outweighed by confusion or unfair prejudice. United States v. Queen, 132 F.3d 991, 997 (4th

       Cir. 1997). “Rule 404(b) is viewed as an inclusive rule, admitting all evidence of other crimes or

       acts except that which tends to prove only criminal disposition.” United States v. Siegel, 536

       F.3d 306, 317 (4th Cir.2008).

              A. Evidence of Defendant’s Prior Acts is Relevant to Show Intent, Plan,
                 Knowledge, Identity, Motive, and Absence of Mistake or Accident

              Under the first prong for Rule 404(b) evidence admissibility, the evidence must be

       relevant to an issue such as an element of the offense. Queen, 132 F.3d at 997. Evidence is

       relevant if it has any tendency to make a fact of consequence to an issue in the case more or less

       probable than without the evidence. Id. at 994. The more similar the prior act is to the act

       currently charged, the more relevant the evidence of the prior act will be. Id. at 997.

              Defendant’s conduct of production and possession of child pornography, production and

       possession of erotic, nude and/or surreptitiously recorded images and videos of Minor Victim 1,

       web history, and other interactions with minor males as describe above is relevant to the issues

       of motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack

       of accident. United States v. Whorley, 550 F.3d 326, 338 (4th Cir. 2008) (holding that evidence

       of defendant’s prior conviction for receiving child pornography and terms of his probation was

       properly admitted to prove the defendant’s knowledge and lack of accident or mistake in

       downloading child pornography and sending or receiving obscene emails). Defendant is
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       currently charged with knowingly exploiting a minor for the purpose of producing a visual

       depiction, and possessing child pornography. As described above, the evidence the government

       seeks to introduce is very similar to the current charged acts. All the victims are young, minor

       males. The contact involved masturbation, contact with the minors’ genitals, and often occurred

       in Defendant’s home or on trips. Many of them occurred during the time period charged in the

       Indictment or shortly before.

              Evidence of Defendant’s prior acts is relevant to show his intent and motive in filming

       the victims. Evidence of the prior acts shows that the Defendant has a sexual interest in

       children, and specifically, the genitals of minor males, which makes it more probable that he

       intended to create the videos, and did knowingly possess and produce pornographic depictions

       of the victims. United States v. Sebolt, 460 F.3d 910, 916-17 (7th Cir. 2006) (holding prior

       instances of sexual misconduct with a child victim may establish defendant’s sexual interest in

       children which is relevant motive in a prosecution for child exploitation). Such a person is

       more likely to create and knowingly possess child pornography rather than to create or possess

       it by accident. Thus, the evidence is sufficiently similar in nature to the charged offense.

              This evidence also negates mistake or accident. Counsel for Defendant has suggested to

       the government that Defendant did not employ, use, persuade, induce, entice, or coerce the

       minor victim to engage in sexually explicit conduct for the purpose of creating a visual

       depiction. The government’s evidence is necessary to show Defendant intent and purpose in

       making the visual depictions and that the visual depictions were not created by accident or

       mistake.

              Therefore, evidence of Defendant’s prior acts is relevant to an issue other than the

       Defendant’s character because it makes Defendant’s motive, opportunity, intent, preparation,


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       plan, knowledge, identity, and absence of mistake or accident in creating and possessing child

       pornography more probable.

              B. Evidence of Defendant’s Prior Act is Necessary Because it is Probative of An
                 Element of the Crime

              Evidence is necessary where, considered in light of other evidence available to the

       government, it is an essential part of the crime on trial or where it furnishes part of the context of

       the crime. Queen, 132 F.3d at 998. The Government has the burden of proving that the

       Defendant knowingly used a minor to engage in sexually explicit conduct for the purpose of

       producing a visual depiction, and knowingly possessed the child pornography and that the

       offense was not the result of mistake or accident. Thus, evidence of the Defendant’s prior acts is

       probative of an essential element of the charged crime. See Whorley, 550 F.3d at 338

       (upholding admission of prior conviction for receipt of child pornography and terms of

       probation under Rule 404(b) in prosecution for knowing receipt of child pornography because it

       showed lack of accident or mistake).

              C. The Evidence of Defendant’s Prior Act is Reliable

              If the evidence is “sufficient to allow the jury to ‘reasonably conclude that the act

       occurred and that the defendant was the actor, then it is reliable’.” United States v. Van Metre,

       150 F.3d 339, 350 (4th Cir. 1998)(citations omitted). Evidence is reliable for purposes of Rule

       404(b) unless it is so outrageous that it could not be believed by a rational juror that was properly

       instructed. United States v. Siegel, 536 F.3d 306, 319 (4th Cir. 2008). Here, as described above,

       the evidence is reliable. The victims and computer forensic examiner will be subject to cross

       examination. The interviews of the victims have been provided to defense counsel. The victims’

       stories are similar and corroborate each other. All the images and videos and other forensic

       evidence were located on Defendant’s iPhone. Thus, a jury could reasonably conclude that the
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       act occurred and that the evidence depicts either the victim and/or Defendant. Therefore,

       evidence of defendant’s other acts is sufficiently reliable.

              D. The Probative Value of the Evidence is Not Substantially Outweighed by Any
                 Confusion or Unfair Prejudice

              The probative value of the evidence of the prior act must not be substantially outweighed

       by confusion or unfair prejudice in that it tends to make reason secondary to emotion in the fact-

       finding process. Queen, 132 F.3d at 997. “Relevant evidence is inherently prejudicial; but it is

       only unfair prejudice, substantially outweighing probative value, which permits exclusion of

       relevant matter under Rule 403.” United States v. Naranjo, 710 F.2d 1465, 1469 (10th Cir.

       1983). In the instant case, evidence of Defendant’s prior acts involving minor male victims is

       highly probative to show that he knowingly committed the charged crimes, what his intent

       was, and that it was not a mistake or accident. There is no suggestion that the evidence of

       Defendant’s prior acts would invoke emotion in the place of reason or that it would tend to cause

       confusion with respect to the currently charged offenses.

              In this case, the jury will be required to view images and videos of two minors

       engaging in sexually explicit conduct, and will have to hear testimony about the visual

       depictions for the government to prove its case, even without the other acts evidence. So, the

       jury will have to see and hear evidence about the sexual exploitation of minors regardless.

       Thus, in this context, the admission of the other acts evidence will not materially alter the level

       of prejudice but will be of significant probative value as described above.

               Moreover, any possible confusion or prejudice can be eliminated by a limiting jury

       instruction, if requested, explaining the purpose for admitting the evidence of the prior act. See

       Queen, 132 F.3d at 997 (noting that additional protection against the pitfalls Rule 404(b) protects

       against may be provided by a limiting jury instruction when requested explaining the purpose of
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        the evidence and advance notice of the intent to introduce such evidence). Thus, the probative

        value of the evidence is not substantially outweighed by any confusion or unfair prejudice.

                                                 CONCLUSION

               Proving Defendant’s propensities, state of mind, knowledge, intent, motive, lack of

        mistake or accident, and identity in committing the crimes charged are critical to the quest for

        truth in this case. Accordingly, the United States files notice in advance of trial of the general

        nature of evidence the United States will offer of other acts, pursuant to Rule 414 and Rule

        404(b) of the Federal Rules of Evidence. The government respectfully submits the Court

        should, in the sound exercise of its discretion, admit this evidence, for which there is a

        presumption of admissibility.



                                  RESPECTFULLY SUBMITTED, this the 5th day of April, 2021.

                                                              WILLIAM T. STETZER
                                                              ACTING UNITED STATES ATTORNEY

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                                 UNITED STATES DISTRICT COURT FOR THE
                                 WESTERN DISTRICT OF NORTH CAROLINA
                                         STATESVILLE DIVISION

        UNITED STATES OF AMERICA                     )       DOCKET NO. 5:20CR88-KDB
                                                     )
                                v.                   )
                                                     )
        MICHAEL SCOTT HOOVER                         )
                                                     )

                          GOVERNMENT’S PROPOSED JURY INSTRUCTIONS


               NOW COMES the United States of America, by and through William T. Stetzer, Acting

       United States Attorney for the Western District of North Carolina, and submit the following

       proposed jury instructions for the Court’s consideration in the above-captioned case. The United

       States has consulted with counsel for Defendant. His objection is noted below. The United States

       respectfully requests the opportunity to propose additional or revised instructions as may be

       required by the events at trial.


                                  RESPECTFULLY SUBMITTED, this the 12th day of April, 2021.

                                                             WILLIAM T. STETZER
                                                             ACTING UNITED STATES ATTORNEY

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                                           Substantive Instructions

                      SUPERSEDING BILL OF INDICTMENT – INTRODUCTION

             The Court will now read the Superseding Bill of Indictment, the statutes the defendant is

      charged with violating, and the essential elements of these offenses. You should keep in mind as I

      review and summarize the charges that when you go into the jury room to decide this case, you

      will have a copy of the Superseding Bill of Indictment with you, so it will not be necessary for you

      to try to memorize, while I speak, exactly how the charges are laid out. My summaries given here

      will help you, I hope, when you do sit down to a careful consideration of all the issues before you.




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                                      PROOF MAY BE DISJUNCTIVE



             Although the Indictment may charge the defendant with committing an offense in several

      ways, using conjunctive language, it is not necessary for the government to prove that the

      defendant did each of those things. It is sufficient if the government proves beyond a reasonable

      doubt that the defendant did any one of these alternative acts as charged. 1




      1
       United States v. Perry, 560 F.3d 246, 256 (4th Cir. 2009), as corrected (Mar. 31, 2009) (“It is well
      established that when the Government charges in the conjunctive, and the statute is worded in the
      disjunctive, the district court can instruct the jury in the disjunctive.”); United States v. Fordyce,
      878 F.2d 1431 (4th Cir. 1989) (unpublished) (stating that Section 2252(a)(2) is disjunctive).


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                                         “ON OR ABOUT”—EXPLAINED

             The Indictment charges that the offenses alleged in the Indictment were committed “on or

      about” a certain date. Although it is necessary for the government to prove beyond a reasonable

      doubt that the offenses were committed on a date reasonably near the date alleged in the

      Indictment, it is not necessary for the government to prove that the offenses were committed

      precisely on the date charged. 2




      2
       Kevin F. O'Malley, Jay E. Grenig & William C. Lee, 1A Fed. Jury Prac. & Instr. § 13:05 (6th ed.
      2021).
                                                    5


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                                      COUNTS ONE AND TWO
                                  Production of Visual Depictions of a Minor
                       Engaging in Sexually Explicit Conduct – 18 U.S.C. § 2251(a)



             Defendant MICHAEL SCOTT HOOVER is charged in Counts One and Two of the

      Superseding Bill of Indictment as follows:


      [Read Count One]


      [Read Count Two]




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                                          COUNTS ONE AND TWO
                                            18 U.S.C. § 2251(a)

                                                  The Statute



              Title 18, United States Code, Section 2251(a), provides, in pertinent part, as follows:


              Any person who employs, uses, persuades, induces, entices, or coerces any minor

              to engage in…any sexually explicit conduct for the purpose of producing any visual

              depiction of such conduct… shall be [guilty of an offense against the United

              States],…if that visual depiction was produced or transmitted using materials that

              have been mailed, shipped, or transported in or affecting interstate or foreign

              commerce by any means, including by computer….




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                                         COUNTS ONE AND TWO
                                           18 U.S.C. § 2251(a)

                                           The Essential Elements


             For you to find the defendant guilty of Using a Minor to Produce a Visual Depiction of a

      Minor Engaging in Sexually Explicit Conduct charged in Counts One and Two of the Superseding

      Bill of Indictment, the Government must prove the following elements beyond a reasonable doubt:


                 First:     That the Minor named in Counts One and Two of the Superseding Bill of

                            Indictment was under the age of eighteen;

                 Second:    That the defendant used or employed or persuaded or induced or enticed or

                            coerced the Minor named in Counts One and Two to engage in sexually

                            explicit conduct for the purpose of producing a visual depiction of that

                            conduct; and

                 Third:     That the visual depiction was produced using materials that had been mailed,

                            shipped or transported in and affecting interstate or foreign commerce by any

                            means, including by computer. 3


             I will now define certain terms used in these essential elements. You are to apply these

      definitions as you consider the evidence. If I do not define certain concepts or words, you will

      assign to them their ordinary, everyday meanings.




      3
             3 L. Sand, Modern Federal Jury Instructions, Criminal § 62-02 (2019).
                                                     8


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                                           COUNTS ONE AND TWO

                                                 18 U.S.C. § 2251(a)
                                                 Definition of Minor


                As used in these instructions, the term “minor” means any person under the age of eighteen

      years. 4 When you consider whether a person is under the age of eighteen (18), you may use your

      life experience in observing children. 5


                The government does not have to prove that the defendant knew that the victim was less

      than eighteen (18) years old.




      4
          18 U.S.C. § 2256(1).
      5
          United States v. Riccardi, 405 F.3d 852, 870 (10th Cir. 2005).
                                                         9


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                                        COUNTS ONE AND TWO

                                             18 U.S.C. § 2251(a)
                                              “Using a Minor”



              A person is “used” if they are photographed or videotaped. 6




      6
       Model Crim. Jury Instr. 8th Cir. 6.18.2251(a) (2020). Ortiz–Graulau v. United States, 756 F.3d
      12, 18–19 (1st Cir.2014) (holding that “the statutory definition of ‘use’ is met when a defendant
      makes a minor the subject of a visual depiction by intentionally photographing the minor engaging
      in sexually explicit conduct”) (citing United States v. Engle, 676 F.3d 405, 419 n. 9 (4th Cir.
      2012); United States v. McCloud, 590 F.3d 560, 566 (8th Cir. 2009); United States v. Sirois, 87
      F.3d 34, 42 (2d.Cir.1996), and other cases). United States v. Wright, 774 F.3d 1085, 1091(6th Cir.
      2014).
                                                        10


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                                         COUNTS ONE AND TWO

                                            18 U.S.C. § 2251(a)
                                      DEFINITION OF “PRODUCING”

               The term “producing” means producing, directing, manufacturing, issuing, publishing, or

       advertising. 7




       7
              18 U.S.C. § 2256(3).

                                                      11


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                                            COUNTS ONE AND TWO

                                               18 U.S.C. § 2251(a)
                                            “FOR THE PURPOSE OF” 8

              The government does not have to prove that the defendant’s sole purpose or the primary

      purpose of engaging in such conduct was to produce a visual depiction. But the government must

      prove that producing a visual depiction of the sexually explicit conduct was one of the defendant’s

      purposes for using, employing, persuading, enticing, or coercing the victim to engage in sexually

      explicit conduct. And that it was a significant or motivating purpose and was not merely incidental

      to the sexually explicit conduct. 9

             In deciding whether the government has proven that the defendant acted for the purpose of

      producing a visual depiction of the sexually explicit conduct, you may consider all of the evidence

      concerning the defendant’s conduct.




      8
        The defendant objects to the government’s proposed instruction.
      9
        United States v. Thompson, 807 Fed.Appx. 251, 252 (4th Cir. 2020); see United States v.
      McCauley, 983 F.3d 690, 697 (4th Cir. 2020) (noting that the Fourth Circuit recently affirmed a
      conviction under the instruction given in Thompson and stating “[w]hether an instruction reads
      ‘the purpose,’ ‘the dominant purpose,’ ‘a motivating purpose’—or some other equivalent
      variation—may not be crucial, but the statute plainly requires something more than ‘a purpose.’”)
                                                      12


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                                             COUNTS ONE AND TWO

                                                  18 U.S.C. § 2251(a)
                                        Definition of Sexually Explicit Conduct


                As used in these instructions, the term “sexually explicit conduct” means actual or

      simulated:


                (1)    sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal,

                       whether between persons of the same or opposite sex; or


                (2)    bestiality; or


                (3)    masturbation; or


                (4)    sadistic or masochistic abuse; or


                For conduct that occurred on or before December 7, 2018:


                (5)    the lascivious exhibition of the genitals or pubic area of any person.


                For conduct that occurred after December 7, 2018:


                (5)    the lascivious exhibition of the anus, genitals, or pubic area of any person. 10




      10
           18 U.S.C. § 2256(2).

                                                           13


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                                          COUNTS ONE AND TWO

                                              18 U.S.C. § 2251(a)
                                      Definition of Lascivious Exhibition


             The term “lascivious exhibition” means a depiction that displays or brings to view to attract

      notice to the genitals or pubic area of children in order to excite lustfulness or sexual stimulation in

      the viewer. Not every exposure of the genitals or pubic area constitutes a lascivious exhibition. In

      deciding whether the government has proved that a particular visual depiction constitutes a

      lascivious exhibition, you should consider the following factors:


             (1) Whether the focal point of the visual depiction is on the minor’s genitals or pubic area;

             (2) Whether the setting of the visual depiction makes it appear to be sexually suggestive,

                 for example, in a place or pose generally associated with sexual activity;

             (3) Whether the minor is displayed in an unnatural pose, or in inappropriate attire,

                 considering the age of the minor;

             (4) Whether the child is fully or partially clothed, or nude;

             (5) Whether the visual depiction suggests coyness or a willingness to engage in sexual

                 activity; and

             (6) Whether the visual depiction is intended or designed to elicit a sexual response in the

                 viewer.

             A picture or image need not involve all of these factors to be a lascivious exhibition of the

      genitals or pubic area. It is for you to decide the weight or lack of weight to be given to any of

      these factors. Ultimately, you must determine whether the visual depiction is lascivious based on




                                                        14


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      its overall content. 11




      11
              18 U.S.C. § 2256(2)(a); 3 L. Sand, Modern Federal Jury Instructions, Criminal, § 62-07
      (2019) (modified); United States v. Whorley, 550 F.3d 326, 351 n.5 (4th Cir. 2008); United States
      v. Russell, 662 F.3d 831, 840 (7th Cir. 2011); United States v. Daniels, 653 F.3d 399, 407 (6th Cir.
      2011); United States v. Steen, 634 F.3d 822, 826 (5th Cir. 2011); United States v. Overton, 573 F.3d
      679, 686 (9th Cir. 2009); United States v. Wallenfang, 568 F.3d 649, 657 (8th Cir. 2009); United
      States v. Rivera, 546 F.3d 245, 249 (2d Cir. 2008); United States v. Dost, 636 F. Supp. 828, 832
      (S.D. Cal. 1986) (six factors).

                                                      15


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                                          COUNTS ONE AND TWO

                                              18 U.S.C. § 2251(a)

                                         Definition of Visual Depiction


                “Visual depiction” includes undeveloped film and videotape, and data stored on computer

      disk or by electronic means which is capable of conversion into visual image, and data which is

      capable of conversion into a visual image that has been transmitted by any means, whether or not

      stored in a permanent format. 12




      12
           18 U.S.C. § 2256(5).

                                                       16


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                                           COUNTS ONE AND TWO

                                              18 U.S.C. § 2251(a)
                                             Definition of Computer


                As used in these instructions, the term “computer” means an electronic, magnetic, optical,

      electrochemical, or other high speed data processing device performing logical, arithmetic, or

      storage functions, and includes any data storage facility or communications facility directly related

      to or operating in conjunction with such device, but such term does not include an automated

      typewriter, or typesetter, a portable handheld calculator, or other similar device. 13




      13
           18 U.S.C. § 1030(e)(1); 18 U.S.C. § 2256(6).

                                                          17


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                                           COUNTS ONE AND TWO

                                                18 U.S.C. § 2251(a)
                                 Definition of Interstate and Foreign Commerce


                The term “interstate commerce” includes commerce between one State, Territory,

       Possession, or the District of Columbia and another State, Territory, Possession, or the District of

       Columbia. 14 Interstate commerce simply means the movement of goods, services, money and

       individuals between any two or more states or between one state and the District of Columbia.

                “Foreign commerce” includes movement of goods, services, money, and individuals from

      one country to another. 15

                To satisfy this element, the government must prove that the defendant’s conduct affected

       interstate or foreign commerce in any way, no matter how minimal. The government is not

       required to prove that the defendant knew his conduct was in or affecting interstate or foreign

       commerce.

                The local or intrastate production of visual depictions of a minor engaged in sexually

      explicit conduct with a computer, a cell phone, or a camera that travelled in interstate or foreign

      commerce is part of an economic class of activities that substantially affect interstate or foreign

      commerce.




      14
           18 U.S.C. § 10.
      15
           Id.

                                                         18


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                                          COUNTS ONE AND TWO

                                                18 U.S.C. § 2251

           “Produced Using Materials Mailed, Shipped, or Transported In or Affecting Interstate
                                              Commerce”



              A visual depiction of a minor engaging in sexually explicit conduct is “produced” using

      materials mailed, shipped, or transported in or affecting interstate or foreign commerce if the

      visual depiction is stored, created, or recorded on a device containing materials mailed, shipped,

      or transported in or affecting interstate or foreign commerce. 16




      16
              See United States v. Dickson, 632 F.3d 186 (5th Cir. 2011) (analyzing the “produced using
              materials” jurisdictional prong in a possession case and finding images are “produced”
      when they are copied or downloaded onto CDs made in China); United States v. Penton, 380 Fed.
      Appx. 818, 820 (11th Cir. 2010) (analyzing the “produced using materials” jurisdictional prong
      stating, “[w]e have held that the Government can satisfy the interstate commerce requirement of
      child pornography statutes by showing that the computer equipment on which the images are
      stored traveled in interstate commerce, regardless of where the images themselves were originally
      produced.”); United States v. Caley, 355 Fed. Appx. 760 (4th Cir. 2009) (finding the “produced
      using materials” jurisdictional prong met where images were copied onto a computer); United
      States v. Zimmerman, 529 F. Supp.2d 778 (S.D. Tex. 2007) (finding the “produced using
      materials” jurisdictional prong met in a Section 2251 case where images were stored on a hard
      drive, external hard drive, and CDs made out of state).
                                                        19


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                                         COUNTS ONE AND TWO

                                             18 U.S.C. § 2251(a)
                                           Definition of Knowingly


             The term “knowingly” describes a defendant’s state of mind, meaning that the defendant

      was conscious and aware of his actions, realized what he was doing or what was happening around

      him, and did not act because of ignorance, mistake, or accident. 17




      17
        1A O'Malley et al., Federal Jury Practice and Instructions §§ 17.04, 17.07 (6th ed. 2008); United
      States v. Dornhofer, 859 F.2d 1195, 1199 (4th Cir. 1988) (approving instruction in Section
      2252(a)(2) case that included the following: “[a]n act is knowingly done if done voluntarily and
      intentionally and not because of mistake or accident or other innocent reason. The purpose of adding
      the word knowingly is to insure that no one will be convicted for an act done because of mistake or
      accident or other innocent reason.”).
                                                       20


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                                         COUNTS ONE AND TWO

                                              18 U.S.C. § 2251(a)
                                               Consent of Minor


             I instruct you that a minor cannot legally consent to participating in illegal sexual conduct.

      A person under the age of 18 lacks the capacity to consent to illegal sexual conduct. Accordingly,

      any argument regarding a minor’s consent must not be considered by you in reaching a verdict. 18




      18
        United States v. Sibley, 681 F. App’x 457, 461 (6th Cir. 2017) (approving district court’s jury
      instruction in a § 2251(a) prosecution that “‘[a] minor may not legally consent to being sexually
      exploited.’”), and United States v. Raplinger, 555 F.3d 687, 692 (8th Cir. 2009) (finding district
      court “correctly stated the law” when it instructed jury in a § 2251(a) prosecution that “‘a minor
      may not legally consent to being sexually exploited.’”).
                                                        21


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                                          COUNT THREE
                                POSSESSION OF CHILD PORNOGRAPHY

                                         18 U.S.C. § 2252A(a)(5)(B)



             Defendant MICHAEL SCOTT HOOVER is charged in Count 3 of the Superseding Bill of

      Indictment as follows:


             [Read Count Three]




                                                    22


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                                                 COUNT THREE
                                             18 U.S.C. § 2252A(a)(5)(B)

                                                      The Statute

         Title 18, United States Code, Section 2252A(a)(5)(B), provides in pertinent part as follows:


                Any person who . . . knowingly possesses, or knowingly accesses with intent to

                view, any book, magazine, periodical, film, videotape, computer disk, or any other

                material that contains an image of child pornography that has been mailed, or

                shipped or transported using any means or facility of interstate or foreign commerce

                by any means, including by computer, or that was produced using materials that

                have been mailed, or shipped or transported in or affecting interstate or foreign

                commerce by any means, including by computer


         shall be guilty of an offense against the United States.




                                                           23


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                                               COUNT THREE
                                           18 U.S.C. § 2252A(a)(5)(B)

                                            The Essential Elements

               For you to find the defendant guilty of Possession of Child Pornography, as charged in Count

      Three of the Superseding Bill of Indictment, the Government must prove the following essential

      elements beyond a reasonable doubt:

               First:         That the defendant knowingly possessed, or accessed with the intent

                              to view, any material that contained an image of child pornography,

                              as alleged in the Superseding Bill of Indictment;

               Second:        That the material had been mailed, or shipped, or transported using

                              any means of interstate or foreign commerce, or in or affecting

                              interstate or foreign commerce by any means, including by

                              computer, or was produced using materials that had been mailed,

                              shipped, transported in, or affecting interstate or foreign commerce

                              by any means, including by computer; and

               Third:         That when the defendant possessed (or accessed with the intent to

                              view) the material, the defendant knew the material contained an

                              image of child pornography. 19

      I have previously defined several of these terms, including “interstate or foreign commerce,”

      “computer,” and “knowingly.” You should apply those definitions in deciding Count Three as

      well, except that I instruct you as follows regarding “interstate or foreign commerce”:

               The previous movement across state lines of a computer or cell phone that the defendant

      later used to possess visual depictions of child pornography is sufficient to establish that the child


      19
           18 U.S.C. § 2252A(a)(5)(B).
                                                        24


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      pornography affected interstate commerce. That is, the computer or cell phone need not have had

      child pornography on it when the computer or cell phone moved in interstate or foreign commerce.

      The previous movement through interstate or foreign commerce of a computer that later was used

      to possess visual depictions of child pornography is sufficient to establish that the child

      pornography was transported in interstate commerce.




                                                        25


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                                               COUNT THREE
                                           18 U.S.C. § 2252A(a)(5)(B)

                                      FIRST ELEMENT--POSSESSION

             The first element which the Government must prove beyond a reasonable doubt is that the

      defendant possessed a visual depiction. To “possess” something means to have it within a person's

      control. This does not necessarily mean that the person must hold it physically, that is, have actual

      possession of it. As long as the visual depiction is within the defendant's control, he possesses it. If

      you find that the defendant either had actual possession of the depiction, or that he had the power

      and intention to exercise control over it, even though it was not in his physical possession, you

      may find that the Government has proven possession.

             The law also recognizes that possession may be sole or joint. If one person alone possesses

      it, that is sole possession. However, it is possible that more than one person may have the power

      and intention to exercise control over the visual depiction. This is called joint possession. If you

      find that the defendant had such power and intention, then he possessed the depiction even if he

      possessed it jointly with another person.

             The Government must prove that the defendant possessed the depiction knowingly. An act

      is done knowingly when it is done voluntarily and intentionally and not because of accident,

      mistake or some other innocent reason. 20




      20
             3 L. Sand, Modern Federal Jury Instructions, Criminal, § 62-31 (2019).


                                                         26


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                                             COUNT THREE
                                         18 U.S.C. § 2252A(a)(5)(B)
                                  “CHILD PORNOGRAPHY”—DEFINED

             “Child pornography” means any visual depiction, including any photograph, film, video,

      picture, or computer or computer-generated image or picture, whether made or produced by

      electronic, mechanical, or other means, of sexually explicit conduct, where:

              (1) the production of such visual depiction involves the use of a minor engaging in sexually

                 explicit conduct;

              (2) such visual depiction is a digital image, computer image, or computer-generated image

                 that is, or is indistinguishable from, that of a minor engaging in sexually explicit

                 conduct; or

              (3) such visual depiction has been created, adapted, or modified to appear that an

                 identifiable minor is engaging in sexually explicit conduct. 21

      I have previously defined several of these terms, including “minor,” “sexually explicit conduct”,

      and “visual depiction”. You should apply those definitions in deciding Count Three as well




      21
             18 U.S.C. § 2256(8).
                                                      27


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                               UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   STATESVILLE DIVISION

         UNITED STATES OF AMERICA     )          DOCKET NO. 5:20-CR-88
                                      )
               vs.                    )
                                      )
         MICHAEL SCOTT HOOVER,        )
                                      )
                    Defendant.        )
         _____________________________)

                            TRANSCRIPT OF TRIAL PROCEEDINGS
                          BEFORE THE HONORABLE KENNETH D. BELL
                           UNITED STATES DISTRICT COURT JUDGE
                                     APRIL 22, 2021




         APPEARANCES:
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               Winston-Salem, North Carolina 27101




                                 Cheryl A. Nuccio, RMR-CRR
                                  Official Court Reporter
                               United States District Court
                                 Charlotte, North Carolina




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                                                                        3



        1                            E X H I B I T S
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                                                                         4



        1                         P R O C E E D I N G S
        2   THURSDAY MORNING, APRIL 22, 2021
        3               (Court called to order at 9:29 AM.)
        4               (Jury not present.)
        5               THE COURT: All right. The first thing I want to do
        6   is clarify the Court's ruling on the 404(b) and 414 issues.
        7               With respect to minor victim 1, the Court has found
        8   that the evidence is intrinsic as to the photographs on the
        9   phone.
      10                With respect to minor victim 2, the Court finds that
      11    the evidence is intrinsic as to the photos on the phone and
      12    that Rule 414 applies as to prior molestations.
      13                Minor victim 3, the Court finds that 404(b) is
      14    appropriate with respect to prior acts of the defendant to
      15    show intent, motive, and to negate any allegation of mistake
      16    or accident.
      17                With respect to minor victim 4, the Court finds that
      18    Rule 414 is applicable.
      19                Minor victim 5, Rule 404(b) is applicable.
      20                Minor victim 6, Rule 414 is applicable.
      21                Minor victim 7, 404(b) is applicable.
      22                And the same for minor victim 8.
      23                The Court has considered the objection based on
      24    Rule 403, considered the factors with respect to the
      25    similarity between the previous offense or conduct and the




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                                                                        5



        1   charged crime, the temporal proximity between the charged
        2   offense and the alleged conduct, the frequency of prior acts,
        3   presence or absence of the intervening acts, and the
        4   reliability of the evidence and finds that Rule 403 is not
        5   violated by admission of this evidence.
        6               Mr. Freedman, you may have a continuing objection
        7   during those witnesses. Obviously, if you want to object at
        8   any time, you can; but your record will be preserved by a
        9   continuing objection.
      10                MR. FREEDMAN: Thank you, Your Honor. I believe
      11    just to be on the safe side, when they initially -- each of
      12    those witnesses start to testify about the sexual activity, I
      13    will just make an objection for the record. I don't care to
      14    be heard.
      15                THE COURT: All right. That's fine.
      16                MR. FREEDMAN: Then I'll just assume all testimony
      17    after that will be preserved by the continuing objection.
      18                THE COURT: That's correct. And obviously, if you
      19    think the testimony wanders afield of those rulings, object as
      20    you think necessary.
      21                MR. FREEDMAN: Yes, Your Honor. Unless I ask to be
      22    heard, I don't care to be heard.
      23                THE COURT: All right. Thank you.
      24                MS. RANDALL: Your Honor, one other thing I wanted
      25    to clarify that we did talk about was our motion also




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        1   mentioned -- and I just want to make sure this is -- everyone
        2   is aware that we also intend to introduce some other
        3   information found on the iPhone related to web searches
        4   through our forensic examiner. We do think that also comes in
        5   because it's intrinsic. It's on the phone with all the other
        6   information. I just wanted to bring that up because we hadn't
        7   talked about it.
        8               THE COURT: The Court agrees that would be intrinsic
        9   evidence. If you would, give me the first names of these
      10    minor victims so I know what instruction to give at what
      11    point.
      12                MS. RANDALL: Minor victim 1 is A.P. Minor victim 2
      13    is M.C. Minor victim 3 is XXXXXXX. Minor victim 4 is XXXXXX.
      14    Minor victim 5 is XXXXXX. Minor victim 6 is XXXXXXX. Minor
      15    victim 7 is XXXXXXX. Minor victim 8 is XXXXXX.
      16                THE COURT: Anything else we can -- we need to
      17    address before the jury is called?
      18                MS. RANDALL: No, Your Honor.
      19                THE COURT: Are they here?
      20                THE CLERK: Yes.
      21                THE COURT: Bring them up.
      22                (Jury entered the courtroom.)
      23                THE COURT: All right. Members of the jury, because
      24    of the prompt response of some good folks yesterday afternoon
      25    during the lunch break, we were able to find you some




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        1   reinforcements in the form of our two alternates.
        2               And I trust that all of you withstood the onslaught
        3   of the curious last night and refrained from discussing the
        4   case or letting anyone discuss it with you.
        5               Ms. Compton, if you would impanel the jury, please.
        6               (All 14 jurors were duly impaneled.)
        7               THE COURT: All right. Now that you've been sworn
        8   and impaneled, I'll give you some preliminary instructions to
        9   guide your participation in this trial. It will be your duty
      10    to find from the evidence what the facts are. You and you
      11    alone will be the judges of the facts. You will then have to
      12    apply to those facts the law as the Court will give it to you.
      13                Nothing the Court may say or do during the course of
      14    the trial is intended to indicate or should be taken by you as
      15    indicating what your verdict should be. I have no opinion on
      16    what your verdict should be.
      17                The evidence from which you will find the facts will
      18    consist of the testimony of the witnesses, documents and other
      19    things received into the record as exhibits, and any facts
      20    that the lawyers agree to or stipulate to or that the Court
      21    may instruct you to find.
      22                Certain things are not evidence and must not be
      23    considered by you.
      24                Statements, arguments, and questions by lawyers are
      25    not evidence.




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        1               Objections to questions are not evidence. Lawyers
        2   have an obligation to their clients to make objections when
        3   they believe evidence being offered is improper under the
        4   rules of evidence. You should not be influenced by the
        5   objection. If the objection is sustained, ignore the
        6   question. If it is overruled, treat the answer like any
        7   other.
        8               If you are instructed that some item of evidence is
        9   received for a limited purpose only, you must follow that
      10    instruction. And that will occur during this trial.
      11                Testimony that the Court has excluded or told you to
      12    disregard is not evidence and must not be considered.
      13                Anything you may have seen or heard outside the
      14    courtroom is not evidence and must be disregarded. You are to
      15    decide the case solely on the evidence presented in the
      16    courtroom.
      17                As you know, this is a criminal case. There are
      18    three basic rules about a criminal case that you should keep
      19    in mind.
      20                First, a defendant is presumed innocent until proven
      21    guilty. The indictment against the defendant brought by the
      22    government is only an accusation; nothing more. It is not
      23    proof of guilt or anything else. The defendant, therefore,
      24    starts out with a clean slate.
      25                Second, the burden of proof is on the government




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        1   until the very end of the case. The defendant has no burden
        2   to prove his innocence or to present any evidence or to
        3   testify. Since the defendant has the right to remain silent,
        4   the law prohibits you from drawing any inference against him
        5   if he does not testify.
        6               And third, the government must prove the defendant's
        7   guilt beyond a reasonable doubt. I will give you further
        8   instructions on this point later, but bear in mind that in
        9   this respect a criminal case is different from a civil case.
      10                I will give you detailed instructions on the law and
      11    a copy of the indictment at the end of the case and those
      12    instructions will control your deliberations.
      13                The Court instructs you that you are the sole judges
      14    of the credibility of the witnesses and the weight their
      15    testimony deserves. While there is no absolute or arbitrary
      16    guide or measure by which you shall determine the truthfulness
      17    or untruthfulness of a witness, the Court will point out to
      18    you certain general principles which may assist you in
      19    determining the credibility of the witnesses.
      20                First, whether the witness has any motive or reason
      21    for being truthful or untruthful.
      22                Second, the witness's interest, if any, in the
      23    outcome of this case.
      24                Third, whether there has appeared from the witness's
      25    attitude or conduct any bias, prejudice, or feeling which may




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        1   cause that person's testimony to be influenced.
        2               Fourth, whether the testimony bears the earmarks of
        3   truthfulness.
        4               Fifth, to what extent, if any, it is corroborated or
        5   confirmed by other testimony which is not questioned, or to
        6   what extent, if any, it is corroborated or confirmed by known
        7   or admitted facts.
        8               And finally, you may also consider the intelligence
        9   and mental capacity of a witness and the witness's opportunity
      10    to have accurate knowledge of the matters to which that
      11    witness is testifying.
      12                I instruct you that you may believe all that a
      13    witness says, or none, or believe part and disbelieve part.
      14                Now, a few words about your conduct as jurors.
      15                I instruct you that during the trial you are not to
      16    discuss the case amongst yourselves or with anyone else, nor
      17    should you permit anyone to discuss it with you. Until you
      18    retire to the jury room at the end of the case to deliberate
      19    on your verdict, you simply are not to talk about this case.
      20    If anyone should try to talk to you about it, bring it to the
      21    Court's attention immediately. After you retire to
      22    deliberate, you may begin discussing the case with your fellow
      23    jurors; but you cannot discuss the case with anyone else until
      24    you have returned your verdict in this case at its conclusion.
      25                Do not read or listen to anything touching on this




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        1   case in any way. You must decide this case based solely on
        2   the evidence presented here within the four walls of the
        3   courtroom. This means that during the trial you must not
        4   conduct any independent research about this case, the matters
        5   in the case, the individuals or groups involved in the case,
        6   or any legal concepts. Thus, do no research on your phones,
        7   your computers, or anything else as we discussed yesterday.
        8               Finally, do not form any opinion until all the
        9   evidence is in. Keep an open mind until you start your
      10    deliberations at the end of the case.
      11                If you wish, you may take notes. But if you do,
      12    remember, they serve merely as an aid to your own memory and
      13    are not a substitute for your memory. Please leave your notes
      14    in the jury room when you leave at night or on your lunch
      15    break.
      16                Also, bear in mind that you will not have access to
      17    transcripts of the witnesses' testimony. To get a certified,
      18    perfect transcript of a witness's testimony takes more than
      19    just a few minutes. So I caution you to rely on your
      20    recollection. Pay close attention to the witnesses'
      21    testimony. There will not be transcripts with you in the jury
      22    room, although exhibits will be made available to you upon
      23    request. You can have the exhibits.
      24                Occasionally the Court will be required to conduct a
      25    sidebar conference with the lawyers about legal matters or




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        1   scheduling matters that do not concern you. A sidebar is the
        2   only way for us to deal with these issues without excusing you
        3   from the courtroom. I'm certain you understand this. And
        4   some of you observed it yesterday during jury selection.
        5               Sometimes if it's going to take a little longer than
        6   just a couple of minutes, we will excuse you, the jury.
        7   Rather than you sit there for 10 or 15 minutes wondering what
        8   we're doing in this back room, we might excuse you to the jury
        9   room. We'll try to keep those as brief as possible and
      10    respect your time.
      11                The trial will now begin. First, the government
      12    will make an opening statement, which is simply a forecast of
      13    the evidence. It is not evidence, as I've told you before.
      14    Next, the defendant's attorney may, but does not have to, make
      15    an opening statement. Opening statements are neither evidence
      16    nor arguments. The government will then present its witnesses
      17    and counsel for the defendant may cross examine them.
      18    Following the government's case the defendant may, if he
      19    wishes, present witnesses whom the government may then cross
      20    examine. After all the evidence is in and I have given you
      21    general instructions, the attorneys will present their closing
      22    arguments. The Court will then give you final instructions on
      23    the law. And after that you will retire to deliberate your
      24    verdict.
      25                The jury is with the prosecution.




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        1               MS. SPAUGH: Family is supposed to protect each
        2   other. Two boys were entrusted to this man, Michael Scott
        3   Hoover, by their parents because he XXX XXXXXX. But he abused
        4   that trust by taking pornographic pictures and videos of those
        5   12- and 17-year-old boys.
        6               M.C. was 12 years old in August of 2019 when the
        7   defendant took him on a hiking trip to Mount Mitchell. M.C.
        8   had spent time with him before because he XXX XXXXXX so he
        9   didn't think anything of it. But the hike took a turn during
      10    a bathroom break and became one that M.C. will never forget.
      11    He will tell you what the defendant did and said to him in the
      12    woods that day. But the evidence will show the defendant told
      13    him to masturbate as the defendant took a slow motion video of
      14    it which focused on M.C.'s penis.
      15                This wasn't the first time the defendant had taken a
      16    video like that. You'll hear from a XXXXXX XXXXXXXX, A.P.,
      17    who remembers his family starting to visit the defendant when
      18    he was a teenager. You'll hear about visits to the
      19    defendant's house that grew more inappropriate with time to
      20    the point where the defendant would give him alcohol and
      21    encourage him to masturbate. During one of those visits in
      22    June of 2018 the defendant secretly recorded videos and took
      23    pictures of A.P. naked on the defendant's couch masturbating.
      24    And again, these videos focused on the boy's penis.
      25                Now, let me warn you. You're going to have to see




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        1   these pictures and videos of both boys. But Special Agent
        2   Anderson with the FBI will tell you how he examined the
        3   contents of the defendant's iPhone, and you'll hear from him
        4   what he found and how he found these videos and pictures of
        5   A.P. and M.C. And when you hear from him, pay attention to
        6   where these files were saved on the phone. How they were
        7   hidden and moved into different apps, and how they were
        8   grouped together and kept separate from his normal pictures
        9   and videos.
      10                Not only did the defendant take these videos, you
      11    will see evidence from his phone that will show that he was
      12    searching for this type of content on the internet.
      13                Instead of protecting these two boys and XXX XXXXXX,
      14    the defendant used them to make sexually explicit videos
      15                At the end of the evidence, Ms. Randall will come
      16    before you and she will ask you to do two simple things:
      17    Follow the law from the judge and hold the defendant
      18    accountable for his actions, and you can do so by finding him
      19    guilty of the production and possession of child pornography.
      20                THE COURT: Mr. Freedman, do you care to make an
      21    opening statement?
      22                MR. FREEDMAN: Yes. Thank you.
      23                Good morning, ladies and gentlemen of the jury.
      24    You're going to hear from a number of different witnesses in
      25    this case. You're going to hear from the boys that Ms. Spaugh




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                                  JEFFREY GREGG - DIRECT

        1   just told you about. You're going to hear about conduct that
        2   you may find offensive. You may see some pictures you may
        3   find offensive along the way. All I ask you is that you keep
        4   an open mind throughout the case, you wait until you hear all
        5   of the evidence, you wait until you hear the instructions of
        6   the Court because I believe even if you hear certain evidence
        7   from these boys about various activities, at the end of the
        8   day the government will not prove beyond a reasonable doubt
        9   that the defendant, Mr. Hoover, knowingly possessed child
      10    pornography and the government will not prove beyond a
      11    reasonable doubt that the different individuals were enticed,
      12    coerced, or employed, or in any way used to engage in a
      13    specific sexual act that resulted in the depiction of images
      14    that Ms. Spaugh told you about.
      15                So I ask you to keep an open mind and I'll present
      16    to the Court during the process of the case and I'll come and
      17    speak to you after the case, and I ask you to keep an open
      18    mind until then. Thank you very much.
      19                THE COURT: You may call your first witness.
      20                MS. SPAUGH: The government calls Jeffrey Gregg.
      21                JEFFREY GREGG, GOVERNMENT WITNESS, SWORN,
      22                           DIRECT EXAMINATION
      23    BY MS. SPAUGH:
      24    Q.   Good morning. When you get situated, please tell the
      25    jury your name.




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                                  JEFFREY GREGG - DIRECT

        1   A.   My name is Jeff Gregg.
        2   Q.   Can you spell your last name for the court reporter.
        3   A.   It's G-r-e-g-g.
        4   Q.   What county do you live in, Mr. Gregg?
        5   A.   I live in Union County.
        6   Q.   Did you recently work for Wells Fargo?
        7   A.   Yes.
        8   Q.   How long did you work for Wells Fargo?
        9   A.   A little over ten years.
      10    Q.   What was your most recent role at Wells Fargo?
      11    A.   Engineering manager.
      12    Q.   What does that mean?
      13    A.   Manages a suite of technology. In our case it was
      14    digital signage for the branches.
      15    Q.   And do you know Michael Scott Hoover?
      16    A.   Yes.
      17    Q.   Do you see him in the courtroom?
      18    A.   Yes. He's over there (indicating).
      19    Q.   Can you describe what color tie.
      20    A.   Bluish green and black.
      21                MS. SPAUGH: Ask that the record reflect that the
      22    witness has identified the defendant.
      23                THE COURT: The record will so reflect.
      24    Q.   How do you know the defendant?
      25    A.   He worked on my team.




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                                  JEFFREY GREGG - DIRECT

        1   Q.   At Wells Fargo?
        2   A.   Yes.
        3   Q.   And what was -- what was your job? Were you two on the
        4   same level or...
        5   A.   He -- I was his manager. He would oversee operations on
        6   my team.
        7   Q.   You said he oversaw or you oversaw?
        8   A.   He did. Like our operations department. We had
        9   operations and application development and he led the
      10    operations side, but he reported to me.
      11    Q.   And as part of the defendant's employment with Wells
      12    Fargo, was he issued a cell phone?
      13    A.   Yes.
      14    Q.   Do you know generally what kind of cell phone it was?
      15    A.   Typically an Apple, an iPhone.
      16    Q.   Do employees have to go through any type of training
      17    related to the proper use of phones?
      18    A.   There is an annual compliance training that every team
      19    member has to take and there's a test involved with that and
      20    they have to pass that test for data security, things like
      21    that.
      22    Q.   Are employees allowed to let others use their phones?
      23    A.   No.
      24    Q.   Back in August of 2019, did Wells Fargo instruct you to
      25    pick up the defendant's work issued cell phone?




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                                  JEFFREY GREGG - DIRECT

        1   A.   Yes, they did.
        2   Q.   Did you make arrangements with someone to do that?
        3   A.   I did.
        4   Q.   Who was that?
        5   A.   I contacted Scott's wife and asked her if she could meet
        6   me to pick up the phone. And also my manager at the time,
        7   Christy Welch, went with me to meet her. And we met at -- I'm
        8   not sure of the town. It's been a little while. But it was
        9   at the local Wells Fargo branch in that town.
      10    Q.   Do you know what county that was in?
      11    A.   I'm not certain.
      12    Q.   Do you remember when you got the phone about?
      13    A.   When I picked it up?
      14    Q.   Yes.
      15    A.   August 22nd, if I remember correctly, 2019.
      16    Q.   And you mentioned Scott. When you say Scott, who are you
      17    referring to?
      18    A.   Michael Scott Hoover.
      19    Q.   The defendant?
      20    A.   He went by Scott. We called him Scott.
      21    Q.   And you said that you met his wife at that Wells Fargo.
      22    Did she give you the phone?
      23    A.   She did, and his laptop and the power cord that went with
      24    the laptop.
      25    Q.   And what did you do with the phone once you got it?




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                                  JEFFREY GREGG - CROSS

        1   A.   I took that and the laptop and the power cord and I met
        2   Brandon, I believe his last name is Reeves, with our cyber
        3   security team back in Charlotte that afternoon and I handed it
        4   over to him.
        5   Q.   And you said cyber security team. Was that a team within
        6   Wells Fargo?
        7   A.   Yes.
        8   Q.   Were you able to get into the phone while it was in your
        9   possession?
      10    A.   No. You can't access a phone -- another team member's
      11    phone or laptop. They're secured either with a pin code,
      12    password, something like that.
      13                MS. SPAUGH: No further questions, Your Honor.
      14                THE COURT: You may cross examine.
      15                            CROSS EXAMINATION
      16    BY MR. FREEDMAN:
      17    Q.   Mr. Gregg, you worked with Scott for about six years; is
      18    that right?
      19    A.   Yes.
      20    Q.   And you said that he reported to you, but he was a
      21    manager as well?
      22    A.   He was the leader of our operations team.
      23    Q.   And exactly what did he do as leader of the operations
      24    team?
      25    A.   Managed day-to-day affairs, operations work. If we




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                                  JEFFREY GREGG - CROSS

        1   needed to update servers or patch vulnerabilities, things like
        2   that, he would help in that regard. And there were engineers
        3   that worked with Scott.
        4   Q.   And all your relations with Scott were good?
        5   A.   Yes.
        6   Q.   And he's issued -- as part of working at Wells Fargo,
        7   he's issued, I believe it was an Apple 7 or an iPhone 7?
        8   A.   If I remember correctly, yes. And that's customary for
        9   engineer-type folks because they may get called after hours
      10    and need to use a phone.
      11    Q.   And those iPhones were issued through Wells Fargo and
      12    they're the property of Wells Fargo.
      13    A.   That is correct, yes.
      14    Q.   And whoever -- when you get issued that phone, you know
      15    that at any time Wells Fargo can get access to that phone; is
      16    that correct?
      17    A.   That's my understanding.
      18    Q.   And you also know -- you sign some documents saying that
      19    you are not to keep anything on that phone that's improper.
      20    A.   That's part of the compliance training that we take each
      21    year.
      22    Q.   And you know not to do that because you know that the
      23    phone can be reviewed by somebody other than yourself.
      24    A.   That would be my understanding.
      25                MR. FREEDMAN: I've got no further questions.




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                                   AVERY TURNER - DIRECT

        1               THE COURT: Any redirect?
        2               MS. SPAUGH: No, Your Honor.
        3               THE COURT: All right. Thank you, sir. You may
        4   stand down.
        5               MS. SPAUGH: Your Honor, may this witness be
        6   released from his subpoena?
        7               THE COURT: Without objection, yes.
        8               MR. FREEDMAN: No objection.
        9               (Witness stepped down.)
      10                MS. RANDALL: Your Honor, the government's next
      11    witness is Avery Turner.
      12                 AVERY TURNER, GOVERNMENT WITNESS, SWORN,
      13                            DIRECT EXAMINATION
      14    BY MS. RANDALL:
      15    Q.   Good morning. Can you please introduce yourself to the
      16    jurors.
      17    A.   My name is Avery Turner.
      18    Q.   And Mr. Turner, where do you live? What county?
      19    A.   I live in Cabarrus County.
      20    Q.   And are you currently employed?
      21    A.   I am.
      22    Q.   Where do you work?
      23    A.   I work for AIG.
      24    Q.   And what type of work do you do for AIG?
      25    A.   My position is called -- I'm a cyber investigation




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                                   AVERY TURNER - DIRECT

        1   analyst.
        2   Q.   And prior to working at AIG, where did you work?
        3   A.   I worked at Wells Fargo.
        4   Q.   And what type of work did you do for Wells Fargo?
        5   A.   I was a digital forensics investigator.
        6   Q.   And how long did you work for Wells Fargo?
        7   A.   Two years.
        8   Q.   Were you working there in August of 2019?
        9   A.   I was.
      10    Q.   And prior to working at Wells Fargo, what type of work
      11    did you do?
      12    A.   I was in law enforcement.
      13    Q.   Where were you in law enforcement?
      14    A.   The City of Concord Police Department.
      15    Q.   And how long were you in law enforcement?
      16    A.   Thirteen years.
      17    Q.   And did any of that work deal with any of the digital
      18    investigation you're talking about?
      19    A.   Yes, ma'am. The last five years of my employment at
      20    Concord PD was -- I was in the investigation division and my
      21    specialty was digital forensics.
      22    Q.   And were you a member of any sort of task force at that
      23    time?
      24    A.   I was. I was part of a couple task forces, one of which
      25    was the North Carolina Internet Crimes Against Children Task




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                                   AVERY TURNER - DIRECT

        1   Force.
        2   Q.   And what is that?
        3   A.   So essentially we receive -- one of the many functions
        4   that we do, but one of the functions is we receive tips from
        5   NCMEC, or the National Center for Missing and Exploited
        6   Children, through cyber tips. So what we do is we take those
        7   tips that come from Facebook, Snapchat, just online
        8   information that's given to NCMEC and we take that information
        9   and we follow up on it, and a lot of times it involves child
      10    pornography.
      11    Q.   So when you were working at Wells Fargo, you said you
      12    were doing digital forensics investigations?
      13    A.   Yes, ma'am.
      14    Q.   And what did that entail?
      15    A.   So we assisted the internal investigation division with
      16    any kind of investigation that relied on some type of digital
      17    evidence, whether it be email, computer forensics, cell phone
      18    forensics, any kind of database analysis that needed to be
      19    done based off employees' actions.
      20    Q.   And when you were working at Wells Fargo, did they
      21    employ -- did they provide phones to their employers -- or
      22    employees?
      23    A.   Not every employee, but there were some -- most of the
      24    corporate employees were given phones.
      25    Q.   And were you familiar with the policies in place at the




                                          JA80
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                                  AVERY TURNER - DIRECT

        1   time for employees' use of their cell phones?
        2   A.   Yes.
        3   Q.   How were they informed about those policies?
        4   A.   So when I came to work at Wells Fargo in 2018, I had to
        5   take a training that essentially was telling me the phone was
        6   going to be issued to me. It was going to be used for work
        7   purposes only, and that it was susceptible for review at any
        8   moment.
        9   Q.   When you were working at Wells Fargo in the digital
      10    forensics section, were you asked to examine the cell phone
      11    for an employee named Michael Scott Hoover?
      12    A.   I was.
      13    Q.   At that time did you know Michael Scott Hoover?
      14    A.   No, I did not.
      15    Q.   Today do you know who Michael Scott Hoover is?
      16    A.   No, ma'am, I don't.
      17    Q.   How did you receive the phone?
      18    A.   So the phone was delivered to me from my manager, Brannon
      19    Raines.
      20    Q.   Do you remember approximately when that occurred?
      21    A.   It was on the 23rd which was a Friday morning.
      22                MS. RANDALL: Your Honor, can I approach the
      23    witness?
      24                THE COURT: You may.
      25    Q.   If you could look at what's been marked as Government's




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                                   AVERY TURNER - DIRECT

        1   Exhibit 1 and 1A. Do you recognize those items?
        2   A.   I do.
        3   Q.   What are they? Actually, first let me ask generally what
        4   are they?
        5   A.   It's just an Apple iPhone. I believe this is a 7 Plus.
        6   Q.   And then Exhibit 1A, what is that?
        7   A.   Just a cell phone case, the Lifeproof case that the phone
        8   goes in to protect it from the elements.
        9   Q.   And do you recognize Government's Exhibits 1 and 1A?
      10    A.   I do.
      11    Q.   And what do you recognize those from?
      12    A.   These are the -- this is the phone and the phone case
      13    that I examined.
      14    Q.   And did you take --
      15                MS. RANDALL: Actually, at this time, Your Honor,
      16    the government would move to introduce Exhibits 1 and 1A into
      17    evidence.
      18                THE COURT: They're admitted.
      19                (Government's Exhibits Nos. 1 and 1A were received
      20    into evidence.)
      21    Q.   Did you take any steps to verify that Government's
      22    Exhibit 1A was actually the phone of Michael Scott Hoover?
      23    A.   Yes. So Wells Fargo tracks all of their assets and one
      24    of the ways that -- one of the assets that's tracked is our
      25    mobile devices. They have a two-year lifespan on how long




                                          JA82
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                                  AVERY TURNER - DIRECT

        1   you're supposed to keep your phone. And there's a system in
        2   which it shows you prior devices and current devices that are
        3   assigned to an employee based off of an employee number. I
        4   verified that this device was the phone that Michael Hoover
        5   was using and it was currently assigned to him.
        6   Q.   When you received the phone, was it password protected?
        7   A.   It was.
        8   Q.   And did you have to do anything to be able to access the
        9   phone?
      10    A.   Yes. So part of the -- part of the process when you get
      11    a phone at Wells Fargo is they install what's called a mobile
      12    device management system on the phone. What that does is that
      13    allows Wells Fargo to do certain things. In our case it
      14    didn't -- we didn't prevent a lot of things on this, but we
      15    were able to see certain things like that it had a pass code.
      16    It would force you to change your pass code after 60 days or
      17    90 days, I'm not sure. Don't quote me on that, I apologize.
      18    And it allowed us to scan what apps were installed on the
      19    device. We couldn't see text messages. We couldn't see the
      20    content on the devices. We merely could see what apps were
      21    installed and that it was being used for, you know, cell phone
      22    phone service.
      23    Q.   And so how did you -- how were you able to get into the
      24    phone if it was password protected?
      25    A.   Part of the mobile device management system in the




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                                  AVERY TURNER - DIRECT

        1   password change requirements, it allows mobility to require
        2   you to change the pass code. So what it does is it will take
        3   the current pass code off and it will prompt you to
        4   immediately change the pass code. So it gives you -- you have
        5   to do it through a process where we had to contact the
        6   mobility division and we said, "We have a phone in our
        7   possession. We need you to push the password reset to it."
        8   And they did. And you have to change the pass code within,
        9   like, 60 seconds. It's not a lot of time. So whenever I did
      10    that, I changed the pass code to Mr. Hoover's employee ID.
      11    Q.   And can anyone in the -- at Wells Fargo make that request
      12    of the company to change the pass code?
      13    A.   No. No, they cannot. I actually had to get permission
      14    from human resources to be able to do that. Mobility required
      15    the second authentication. I had to get my manager to send an
      16    email to the human resources to get permission to change the
      17    pass code. Or I just copied them on the email.
      18    Q.   When you received the phone, was it on?
      19    A.   I don't remember if it was on. I know that I had been
      20    told that it had been placed in airplane mode which would
      21    prevent it from being changed at all. You know, that's kind
      22    of standard in the digital forensics world on a cell phone.
      23    Apple gives you the ability to wipe your phone remotely. And
      24    so if there's any fear of evidence being on a phone in the law
      25    enforcement world, we always put the phones in airplane mode.




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                                    AVERY TURNER - DIRECT

        1   That just prevented that forced reset to happen while we
        2   couldn't, you know, get the evidence. So we knew it was in
        3   airplane mode. We did have to take it off airplane mode to
        4   push the password reset. I changed the password and then I
        5   put it back in airplane mode.
        6   Q.     And after you changed the password, what did you do with
        7   the phone?
        8   A.     We examined it through a software called Cellebrite UFED
        9   4PC.
      10    Q.     And is that a type of software that Wells Fargo used to
      11    examine phones?
      12    A.     It is.
      13    Q.     And is it commonly used in your field to examine phones?
      14    A.     Yes. It's an industry standard cell phone examination
      15    software.
      16    Q.     And after -- when you say you were -- did Cellebrite
      17    extract the data from the phone for you to review?
      18    A.     Yes.
      19    Q.     So after the data was extracted, what did you do?
      20    A.     So I was actually -- my division doesn't have its own
      21    Cellebrite so I had to take it to a gentleman within Wells
      22    Fargo named Kevin Brown. I witnessed the extraction of the
      23    software. I've been trained in Cellebrite. In 2014 I
      24    traveled to Salt Lake City, Utah, to be trained in the
      25    extraction process. I'm a Cellebrite certified logical




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                                  AVERY TURNER - DIRECT

        1   analyst and a physical analyzer.
        2        So I witnessed the extraction of the device. And his
        3   role in it was I witnessed him -- I gave him the hard drive.
        4   I gave him the cell phone. We plugged it into the computer.
        5   It extracted the evidence -- or the content of the phone on to
        6   an external hard drive. I took both items back and then I
        7   plugged them into my PC and was able to review the data there.
        8   Q.   And while you were reviewing the data, did you see any
        9   pictures or videos on the phone?
      10    A.   Yeah. After we verified that the extraction process was
      11    for this phone based off the IMEI, or the International Mobile
      12    Equipment Identifier, we -- I went through and we -- we knew
      13    that Mr. Hoover had been arrested for a certain type of
      14    offense so we were just looking for one certain thing and so I
      15    went to the photos and videos. And as I was reviewing it in
      16    thumbnail, a preview -- a thumbnail is merely -- it's a simple
      17    snapshot of whatever the video is. I can't tell you exactly
      18    what portion of the video it was that the thumbnail presented,
      19    but I could see it -- it was a -- it looked like it was in the
      20    woods and you could see somebody standing in the picture. You
      21    know, you're talking about a two inch by two inch thumbnail so
      22    you can't really tell anything off of that.
      23         I did note that the file path because you can see the
      24    file path of the video and it was from Calculator Plus. And
      25    from my experience in the law enforcement world, I knew that




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                                  AVERY TURNER - DIRECT

        1   Calculator Plus was an application on mobile devices that
        2   allows you to hide videos and photos and stuff that you don't
        3   want seen by everybody. It presents itself on an iPhone as
        4   though it is actually a calculator. It looks almost identical
        5   to the native Apple iPhone calculator. You really have to
        6   inspect it very closely to know that it was different.
        7        But my experience, I knew that that was in a file path
        8   that was used to hide videos so it kind of drew my attention
        9   to it a little more. I clicked on it.
      10         Do I need to describe what was in the video?
      11    Q.   Yeah, just briefly describe what you saw when you clicked
      12    on it.
      13    A.   Okay. So whenever I started playing it, what I saw
      14    was -- background was -- it was in a forest. It was in the
      15    woods. And you could see a boy probably between 9 and 10 --
      16    or 12 years of age. I don't know exactly what his age was.
      17    Had his back turned to the camera. Whenever the video started
      18    playing, you could see the camera move forward, turn, and you
      19    could see the boy was masturbating in the woods.
      20    Q.   And at the time you saw that video, what did you do?
      21    A.   I shut the system down.
      22    Q.   And what did you do after you shut the system down?
      23    A.   I removed all the evidence and I started contacting -- or
      24    tried to determine who the detective was that originally made
      25    the arrest so I could give him the information.




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                                  AVERY TURNER - CROSS

        1   Q.   And so you stopped your review and contacted law
        2   enforcement.
        3   A.   Yes.
        4   Q.   And did you inform them what you had found?
        5   A.   I did.
        6   Q.   And what did you do with the phone at that point?
        7   A.   So we -- I was trying to make arrangements with the
        8   detective to bring it -- or to have them come and pick it up;
        9   and I knew that they couldn't come and pick it up, so I
      10    volunteered to drive it to their office.
      11    Q.   And why did you do that?
      12    A.   Because I wanted it out of my possession.
      13                MS. RANDALL: No further questions, Your Honor.
      14                THE COURT: You may cross examine.
      15                            CROSS EXAMINATION
      16    BY MR. FREEDMAN:
      17    Q.   Mr. Turner, you're familiar with the iPhone 7 Plus; is
      18    that correct?
      19    A.   Yes.
      20    Q.   And in this case you found that there was a password that
      21    protected being able to get into there?
      22    A.   It was, yes.
      23    Q.   Are you also aware that iPhone 7 Plus has the ability to
      24    be protected or accessed by fingerprints?
      25    A.   Yes. After a certain period of time, that function is




                                         JA88
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                                   AVERY TURNER - CROSS

        1   turned off.
        2   Q.   All right. Can you sort of explain to me how that works.
        3   Explain to me how it works that the phone can recognize
        4   someone's fingerprint to get access to the phone.
        5   A.   Okay. So you can preprogram different fingerprints that
        6   allows access to the phone. I don't know the exact number of
        7   fingerprints. There is a limit. But let's just say there's
        8   ten fingerprints allowed because you have ten fingers. So
        9   anybody that preprograms their fingerprint on it would have
      10    access to the device.
      11    Q.   So up to ten different people could have access to the
      12    device; is that correct?
      13    A.   In theory, yes.
      14    Q.   You didn't do an examination about what fingerprints, if
      15    any, were allowed access; is that correct?
      16    A.   No. No.
      17    Q.   Could you do that?
      18    A.   I don't -- I don't know that I could, no.
      19    Q.   Do you know whether that process -- in addition to being
      20    able to use fingerprints to get access to the phone, you said
      21    that you have to sort of continue to renew that; that just
      22    doesn't stay.
      23    A.   No, it doesn't stay. And at the time of this exam, there
      24    was some changes going on to where it would actually reset
      25    after a certain number of hours of not being used where it




                                          JA89
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                                   AVERY TURNER - CROSS

        1   would turn off the touch ID.
        2   Q.   And you said you had prior law enforcement experience --
        3   A.   Yes.
        4   Q.   -- with child pornography?
        5   A.   I do, yes.
        6   Q.   And did that include Cellebrite extraction?
        7   A.   Yes.
        8   Q.   And Cellebrite extraction, can you explain to the jury
        9   exactly what Cellebrite extraction is.
      10    A.   Yes. Cellebrite extraction is -- you have to consider a
      11    phone is merely a small computer. There's data on it and it's
      12    in certain formats that only a computer can read, right? So
      13    what Cellebrite does is it takes all of that data, it removes
      14    it from the phone and puts it in your computer and then
      15    essentially decodes what it sees into some viewable format.
      16    I'm not sure how far you want me to go into the detail on
      17    that.
      18    Q.   I think that's probably sufficient.
      19    A.   Okay.
      20    Q.   And so you were involved in the arrest of other people
      21    involving child pornography; is that correct?
      22    A.   Yes, sir.
      23    Q.   And it was not unusual in those cases sometimes you would
      24    find thousands of images.
      25                MS. RANDALL: Objection; relevance.




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                                   NATHAN ANDERSON - DIRECT

        1               THE COURT: Overruled.
        2   Q.   You can answer.
        3   A.   Okay. Yes, sir, that's correct.
        4               MR. FREEDMAN: I've got no further questions.
        5               THE COURT: Any redirect?
        6               MS. RANDALL: No, Your Honor.
        7               THE COURT: You may stand down. Thank you.
        8               (Witness stepped down.)
        9               THE COURT: You may call your next witness.
      10                MS. SPAUGH: Your Honor, before the next witness
      11    comes in, the government would move to admit Government's
      12    Exhibit 2, an Apple business record, by 902(11), which would
      13    be Government's Exhibit 7, and would ask to publish
      14    Government's Exhibit 2 with the next witness. They have been
      15    shown to Mr. Freedman.
      16                THE COURT: Government's Exhibit 2?
      17                MS. SPAUGH: Yes, Your Honor.
      18                THE COURT: No objection, Mr. Freedman?
      19                MR. FREEDMAN: No objection.
      20                THE COURT: It's admitted.
      21                (Government's Exhibit Number 2 was received into
      22    evidence.)
      23                MS. SPAUGH: The government calls Nathan Anderson.
      24                NATHAN ANDERSON, GOVERNMENT WITNESS, SWORN,
      25                             DIRECT EXAMINATION




                                           JA91
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                                  NATHAN ANDERSON - DIRECT

        1   BY MS. SPAUGH:
        2   Q.   Please introduce yourself to the jury.
        3   A.   I am Nathan Anderson, Assistant Special Agent in Charge
        4   with the North Carolina State Bureau of Investigation.
        5   Q.   How long have you been with the SBI?
        6   A.   August will be 13 years.
        7   Q.   And what's your educational background?
        8   A.   I have an undergraduate degree in criminal justice from
        9   Appalachian State University and a graduate degree and Master
      10    of Public Administration from Norwich University.
      11    Q.   What did you do before you became an SBI agent?
      12    A.   I was a patrol officer for the City of Asheville, the
      13    Asheville Police Department, from 2005 until 2008.
      14    Q.   And so in 2008 you moved to the SBI?
      15    A.   That is correct.
      16    Q.   And you said that you are an assistant special agent in
      17    charge?
      18    A.   Yes, that's correct.
      19    Q.   What does that mean?
      20    A.   I am essentially group supervisor assigned to the
      21    computer crimes unit and I supervise agents in the Greensboro,
      22    Charlotte, Hickory, and Asheville district offices for my
      23    agency.
      24    Q.   What did you do within the SBI before you become an
      25    assistant special agent in charge?




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                                  NATHAN ANDERSON - DIRECT

        1   A.   2008 until 2013 I was a criminal agent assigned to Surry
        2   and Alleghany Counties as a criminal agent investigating
        3   homicides and serious crimes against persons.
        4   Q.   Have you received training related to child exploitation
        5   offenses?
        6   A.   Yes, I have.
        7   Q.   Can you just briefly describe that training for the jury.
        8   A.   In 2013 I transferred into the computer crimes unit where
        9   all we investigate are internet crimes against children.
      10    Since 2013 I have been receiving numerous trainings associated
      11    with those types of investigations, including digital forensic
      12    examinations.
      13    Q.   And so as part of your job, do you perform forensic
      14    examinations of digital evidence?
      15    A.   Yes, I do.
      16    Q.   What are forensic examinations?
      17    A.   It is examining mobile devices and computers, hard
      18    drives, micro SD cards, thumb drives, et cetera, in a
      19    forensically sound manner which keeps the integrity of the
      20    data intact where we do not override it or manipulate it in
      21    any fashion.
      22    Q.   And what is digital evidence?
      23    A.   Digital evidence can be anything from an image, a video,
      24    text messages, location data associated with devices, email,
      25    internet search histories, things along those lines.




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                                  NATHAN ANDERSON - DIRECT

        1   Q.   Do you also perform mobile device data extractions?
        2   A.   Yes, I do.
        3   Q.   What are mobile devices?
        4   A.   Essentially a mobile device is anything you can hold in
        5   your hand that can have access to a Wi-Fi network or to a
        6   cellular network such as a cell phone or a tablet.
        7   Q.   What's a data extraction?
        8   A.   A data extraction is simply connecting to a device in a
        9   forensically sound manner with a known tool or software that
      10    can extract the data -- a copy of the data from that device.
      11    Q.   What specialized training have you had to become a
      12    forensic examiner?
      13    A.   I have attended numerous courses through the Federal Law
      14    Enforcement Training Center known as FLETC in Glynco, Georgia.
      15    I've also attended various vendor specific training associated
      16    with their specific tool such as Cellebrite, their mobile
      17    device extraction tool; MSAB Technologies, their XRY, which is
      18    a mobile device extraction tool. I've also went to various
      19    computer digital forensics training that collectively is in
      20    excess of several hundred hours of training.
      21    Q.   And this training that you just described, does that
      22    include training on mobile device data extractions?
      23    A.   Yes, it does.
      24    Q.   How many hours would you say that you've had of training
      25    in digital evidence?




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                                   NATHAN ANDERSON - DIRECT

        1   A.   In digital evidence, a few hundred hours of training.
        2   Q.   And what about -- how many hours specific to mobile
        3   devices?
        4   A.   Around 200 hours, thereabout.
        5   Q.   Have you continued your training and studies to keep up
        6   to date with new techniques?
        7   A.   Yes, I have.
        8   Q.   Do you have any certifications in this field?
        9   A.   I do.
      10    Q.   What are those?
      11    A.   I'm a Cellebrite certified operator and a Cellebrite
      12    certified physical analyst used specifically for their tool.
      13    Q.   Once you're certified does your training stop?
      14    A.   It does not.
      15    Q.   Do you do any teaching?
      16    A.   I do.
      17    Q.   What is that?
      18    A.   I am an adjunct instructor for the Wilkes Community
      19    College in Wilkesboro, North Carolina, where I facilitate
      20    three online courses throughout the course of the year that
      21    focus on computer -- cyber crimes involving the internet and
      22    data recovery.
      23    Q.   Approximately how many mobile devices would you say that
      24    you've examined in your law enforcement career?
      25    A.   In excess of a hundred.




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                                  NATHAN ANDERSON - DIRECT

        1   Q.   What percentage of your workload involves processing
        2   evidence in child pornography or child exploitation cases?
        3   A.   Since 2013 my sole work has been dedicated to
        4   investigating internet crimes against children and conducting
        5   digital forensic examinations associated with those crimes.
        6   Q.   What's the process for conducting a data extraction of a
        7   cell phone?
        8   A.   The process involves obtaining the -- a request from the
        9   agency, obtaining -- meeting with them, obtaining the device,
      10    the legal authority, and then using various tools to access
      11    the data in a forensically sound manner.
      12    Q.   Why do you conduct examinations that way?
      13    A.   We want to maintain the integrity of the data to make
      14    sure that we're not writing to the device. We don't want
      15    to -- one of the other steps we do is make sure the phone or
      16    mobile device is not connected to a network so it's in
      17    airplane mode. We don't allow data coming into the device
      18    because while we're extracting the data, we don't want stuff
      19    to update. We want it in a natural state without any
      20    interference.
      21    Q.   And do you conduct examinations in the same manner in
      22    every case?
      23    A.   Yes.
      24    Q.   And why do you do that? Is that the way you were trained
      25    to do it?




                                          JA96
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                                   NATHAN ANDERSON - DIRECT

        1   A.   It's how we're trained to do it and it kind of gets you
        2   in the habit of doing each step the same way every time you go
        3   to a new investigation, yes.
        4   Q.   And you mentioned airplane mode. What does that mean?
        5   A.   Airplane mode essentially disconnects the phone from
        6   connecting to a cell phone tower to update to get new
        7   information.
        8   Q.   So if it's in airplane mode, how does that help you?
        9   A.   It keeps phone calls and other data from coming into the
      10    device.
      11    Q.   What tools do you use to conduct extractions of cell
      12    phones?
      13    A.   I primarily use Cellebrite.
      14    Q.   What's Cellebrite?
      15    A.   Cellebrite is just a company that is known throughout the
      16    world and is heavily used in law enforcement agencies across
      17    the United States and globally that is specifically designated
      18    or designed to conduct mobile device data extractions in a
      19    forensically sound manner.
      20    Q.   So is that a tool you use?
      21    A.   Yes.
      22    Q.   And you call it Cellebrite?
      23    A.   Cellebrite, yes.
      24    Q.   And I take it you're familiar with Cellebrite?
      25    A.   I am.




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                                    NATHAN ANDERSON - DIRECT

        1   Q.    And you said it's commonly used in this field?
        2   A.    It is.
        3   Q.    Have you attended training that was specific to the use
        4   of Cellebrite?
        5   A.    Yes, I have.
        6   Q.    Are you a certified Cellebrite analyst?
        7   A.    I am.
        8   Q.    How long have you been certified?
        9   A.    Since 2014.
      10    Q.    And you said that's primarily what you use.
      11    A.    It is.
      12    Q.    When you look at data through Cellebrite, do you alter
      13    it?
      14    A.    I do not.
      15    Q.    Have you testified as an expert in this field in court
      16    before?
      17    A.    I have.
      18    Q.    And have you testified in this field as an expert in
      19    federal court before?
      20    A.    Yes, on two occasions.
      21                MS. SPAUGH: At this time the government would
      22    tender this witness as an expert in the extraction and
      23    forensic examination of digital evidence.
      24                MR. FREEDMAN: No objection.
      25                THE COURT: All right. Ladies and gentlemen, that




                                            JA98
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                                  NATHAN ANDERSON - DIRECT

        1   motion is granted. You're about to hear testimony of what we
        2   call an expert witness in the field that was just described by
        3   the prosecutor. If scientific, technical, or other
        4   specialized knowledge might assist the jury in understanding
        5   the evidence or determining a relevant fact, the law permits
        6   an expert to testify and state an opinion concerning those
        7   matters. Normally witnesses aren't allowed to give opinions,
        8   but in this case they are.
        9               However, merely because someone is qualified as an
      10    expert and offers an expert opinion does not require you to
      11    accept that opinion. Just as with any other witness, it is
      12    solely within your responsibility as jurors to decide whether
      13    or to what extent an expert's testimony is credible. In
      14    assessing the credibility of expert testimony, you should
      15    consider whether the witness's training and experience are
      16    sufficient to support the testimony that he is about to give.
      17    You should also consider whether his opinions were based on
      18    adequate information, sound reasoning, and good judgment.
      19                You may proceed.
      20                MS. SPAUGH: Thank you, Your Honor.
      21    BY MS. SPAUGH:
      22    Q.   Special Agent Anderson, did you perform a cellular phone
      23    data extraction in a case against Michael Scott Hoover?
      24    A.   Yes, I did.
      25    Q.   Did you apply the steps and techniques that you just




                                           JA99
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                                   NATHAN ANDERSON - DIRECT

        1   described to the jury in this case?
        2   A.   Yes, I did.
        3   Q.   How did you get involved?
        4   A.   Sometime during the week of August 31st I received a
        5   phone call from the investigators investigating this matter
        6   with Mr. Hoover requesting specifically a cell phone data
        7   extraction on a device that belonged to Mr. Hoover.
        8   Q.   And when you say investigators, what agency was that?
        9   A.   It was the Wilkes County Sheriff's Office and the State
      10    Bureau of Investigation in Wilkes County.
      11    Q.   And you said that was around August 31st?
      12    A.   Yes.
      13    Q.   What year was that?
      14    A.   2019.
      15    Q.   And what did you do once you got that call?
      16    A.   I made arrangements to travel to the Wilkes County
      17    Sheriff's Office where I was going to conduct a cell phone
      18    data extraction there.
      19    Q.   What was the first thing you did when you went there to
      20    do this extraction?
      21    A.   When I got to the sheriff's office, I obtained the legal
      22    authority to search the device, a search warrant or consent.
      23    In this matter they had a search warrant.
      24    Q.   What was the purpose of the search warrant?
      25    A.   To examine the cell phone belonging to Mr. Hoover.




                                          JA100
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                                   NATHAN ANDERSON - DIRECT

        1   Q.   And what type of cell phone did you examine?
        2   A.   An Apple iPhone 7 Plus.
        3               MS. SPAUGH: Your Honor, may I approach the witness?
        4               THE COURT: You may.
        5   Q.   I've handed you what's been marked as Government's
        6   Exhibits 1 and 1A. Do you recognize those?
        7   A.   Yes, I do.
        8   Q.   What are those?
        9   A.   It is the Apple iPhone 7 Plus with its case.
      10    Q.   And what is Government's Exhibit 1A?
      11    A.   It is the case that went with the cell phone.
      12    Q.   And you said that was an Apple iPhone 7 Plus?
      13    A.   Yes.
      14    Q.   Is that the phone that you performed an extraction on in
      15    this case?
      16    A.   Yes.
      17    Q.   Are you familiar with iPhones of this type?
      18    A.   I am.
      19    Q.   Are there any trade inscriptions on the phone related to
      20    where it comes from or where it came from?
      21    A.   Yes, there is.
      22    Q.   Where would that be on the phone?
      23    A.   On the back side of the cell phone.
      24                MS. SPAUGH: The government would ask to publish
      25    Government's Exhibit 1 on the ELMO.




                                          JA101
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                                   NATHAN ANDERSON - DIRECT

        1               THE COURT: Permitted.
        2   Q.   Can you describe what part of the phone we're looking at
        3   on the screen.
        4   A.   We are looking at the back of the cell phone.
        5   Q.   Can you read to the jury what that says regarding where
        6   the phone came from.
        7   A.   It states the iPhone was designed by Apple in California,
        8   assembled in China.
        9   Q.   Are you familiar with Apple's manufacturing and shipping
      10    records?
      11    A.   I am.
      12                MS. SPAUGH: Your Honor, the government would ask to
      13    publish Exhibit 2.
      14                THE COURT: Permitted.
      15    Q.   All right. I'm showing you what's been admitted as
      16    Government's Exhibit 2. Does this type of record look
      17    familiar to you?
      18    A.   Yes, it does.
      19    Q.   And can you tell the jury what we're looking at.
      20    A.   The information provided by Apple, Incorporated,
      21    specifically associated with this Apple iPhone 7 Plus.
      22    Q.   And does it have a serial number listed on this record?
      23    A.   It does.
      24    Q.   Can you read that to the jury.
      25    A.   F, as in Frank; C, Charles; J, John; T, Tom; C, Charles;




                                          JA102
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                                   NATHAN ANDERSON - DIRECT

        1   1; U, union; L, Lincoln; H, Henry; F, Frank; X, X-ray; W,
        2   William.
        3   Q.   And do you recognize that serial number?
        4   A.   I do.
        5   Q.   How do you recognize it?
        6   A.   It's the same serial number that I obtained from the
        7   device during the data extraction.
        8   Q.   And so is that the serial number that belongs to the
        9   phone you just looked at in Government's Exhibit 1?
      10    A.   Yes, it is.
      11    Q.   Is that serial number unique to that particular phone?
      12    A.   Yes, it is.
      13    Q.   I'm going to ask you to read to the jury, about the
      14    middle of this record, what the country of manufacture is
      15    listed as.
      16    A.   It is China.
      17    Q.   And can you tell the jury what date is listed -- or I'm
      18    sorry, can you tell the jury where it's listed that the phone
      19    was shipped to?
      20    A.   It was shipped to a Verizon Wireless store, it appears,
      21    in Memphis, Tennessee.
      22    Q.   And can you read to the jury the shipping date.
      23    A.   March 14th, 2017.
      24    Q.   In the course of your examination, did you identify the
      25    Apple ID for this phone?




                                          JA103
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                                  NATHAN ANDERSON - DIRECT

        1   A.   Yes, I did.
        2   Q.   Can you tell the jury what an Apple ID is.
        3   A.   Apple requires when you first turn on the phone, after
        4   you turn it on and the screen says hello and you start to set
        5   it up, you have to enter an Apple ID or an account for Apple
        6   to activate that device.
        7   Q.   Who puts in or chooses the Apple ID for a phone?
        8   A.   The user of that device.
        9   Q.   How did you identify the Apple ID for this phone?
      10    A.   Once the data extraction was complete, Cellebrite
      11    provided me device information. In that device information
      12    for this particular phone the Apple ID was generated because
      13    that information was available in the phone.
      14    Q.   And what was the Apple ID for this phone?
      15    A.   M2hoover@charter.net.
      16    Q.   Was the phone password protected?
      17    A.   It was.
      18    Q.   How did you get into the phone?
      19    A.   I was provided the pass code by the investigators
      20    conducting the investigation in this matter.
      21    Q.   How did you perform the extraction of this iPhone?
      22    A.   Once I was provided the legal authority, the search
      23    warrant, provided the device, I turned on the device. Made
      24    sure airplane mode was activated. And the pass code -- I was
      25    provided the pass code so then I could enter it in order to




                                         JA104
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                                  NATHAN ANDERSON - DIRECT

        1   make sure I could access it and the content within.
        2   Q.   And was the phone in airplane mode when you turned it on?
        3   A.   Yes, it was.
        4   Q.   You said you put in the password that you were given?
        5   A.   I did.
        6   Q.   What did you do after that?
        7   A.   Once I unlocked the phone, I went to settings to make
        8   sure the device would not auto lock. There's an auto lock
        9   feature within Apple devices from -- anywhere from one second
      10    to never, and I ensured that the device would never lock
      11    because if it locked during my process, it would stop the data
      12    extraction and I would have to start over.
      13    Q.   And so what did you do after that?
      14    A.   Once I completed that, I launched Cellebrite Universal
      15    Forensic Extraction Device, UFED 4PC, on my State Bureau of
      16    Investigation issued Apple MacBook Pro computer to start
      17    conducting the extraction.
      18    Q.   So when you conduct the extraction, do you do that -- how
      19    is that Cellebrite connected to the phone?
      20    A.   So once I have Cellebrite launched on my work machine, I
      21    connect the device via a cable from Cellebrite, which in this
      22    matter is a cable 210, which is essentially an Apple
      23    lightening cable, that I connect to the device and to my
      24    computer via USB adapter.
      25    Q.   And then do you look at the data on your computer?




                                         JA105
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                                  NATHAN ANDERSON - DIRECT

        1   A.   I will do the extraction. Once the extraction is
        2   complete, I use my work machine to review the data, yes.
        3   Q.   So would you say Cellebrite is a software program?
        4   A.   Yes, it is.
        5   Q.   And you said that you extracted the data in this case.
        6   A.   I did.
        7   Q.   And then how does Cellebrite -- what does Cellebrite do
        8   with the data?
        9   A.   Once Cellebrite -- once you launch the extraction,
      10    Cellebrite will extract the data you requested. And once it's
      11    done, there's another program Cellebrite uses called Physical
      12    Analyzer which will then populate the data to where I can
      13    review it and read it in a legible fashion.
      14    Q.   Would you say Cellebrite organizes it for you?
      15    A.   It does.
      16    Q.   And when you're looking at the data through Cellebrite,
      17    are you looking at an exact copy of the data from the phone?
      18    A.   Yes, you are.
      19    Q.   And why do you look at a copy instead of the phone
      20    itself?
      21    A.   You want to ensure the integrity of the data. I don't
      22    want to -- I want to get the data first and then look. If I
      23    need to compare it to what I found, we look at the phone
      24    manually after that. But we want to try to get the data in a
      25    clean, full fashion without having been touched before you do




                                         JA106
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                                  NATHAN ANDERSON - DIRECT

        1   the extraction.
        2   Q.   Were you looking for anything in particular in this case?
        3   A.   I was advised that there was a video that I needed to
        4   direct my attention to. So once the extraction was done, I
        5   started looking for that file.
        6   Q.   Who did you talk to to know about that video?
        7   A.   I talked to the investigators in this matter.
        8   Q.   Did you talk to anyone from Wells Fargo?
        9   A.   I did. I also talked to Mr. Avery Turner.
      10    Q.   And what operating system was on the phone at the time
      11    you examined it?
      12    A.   I believe it was 12.3.1.
      13    Q.   Is the operating system something that changes?
      14    A.   It does, yes.
      15    Q.   How often does that change?
      16    A.   However often Apple feels like you need to have a new
      17    operating system.
      18    Q.   And so did you find any sexually explicit images or
      19    videos on the cell phone?
      20    A.   Yes, I did.
      21    Q.   Did you create extraction reports relating to those
      22    images and videos?
      23    A.   Yes, I did.
      24    Q.   Can you just tell the jury what a report is.
      25    A.   Essentially once the data is extracted, we can go through




                                         JA107
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                                   NATHAN ANDERSON - DIRECT

        1   and review the data through Cellebrite Physical Analyzer. And
        2   once done -- once we find the files that we want, we can
        3   collect those files by bookmarking them and generate reports
        4   associated to those specific files.
        5   Q.   I'm going to show you what has been marked as
        6   Government's Exhibit 3, page 1, page 2, page 3, page 4.
        7   A.   Okay.
        8   Q.   Do you recognize that document?
        9   A.   Yes, I do.
      10    Q.   What is Government's Exhibit 3?
      11    A.   It is a Cellebrite report with the device information
      12    from the phone that I examined and information specifically
      13    related to a series of images or videos associated with some
      14    child exploitation.
      15    Q.   And so this report is about some of the things you found
      16    on that phone?
      17    A.   Correct.
      18    Q.   And so this data came from the defendant's iPhone?
      19    A.   Yes, it did.
      20                MS. SPAUGH: The government would move to admit and
      21    publish Government's Exhibit 3.
      22                THE COURT: It's admitted.
      23                (Government's Exhibit Number 3 was received into
      24    evidence.)
      25                THE COURT: Ladies and gentlemen of the jury, I've




                                          JA108
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                                  NATHAN ANDERSON - DIRECT

        1   been looking for an opportunity to tell you how this exhibit
        2   system works. And every trial I have works like this.
        3               Everybody in the courtroom is looking at their
        4   screen and seeing something except for the jurors. That's
        5   because the way it works is the party offering an exhibit asks
        6   the witness to identify it and then asks that it be admitted,
        7   as you've heard. And if the Court admits it into evidence and
        8   the party asks to publish it to the jury, then the jury sees
        9   it. But you're not allowed to see exhibits until they are
      10    admitted into evidence. That's why your screens are blank
      11    sometimes when ours are not.
      12                You may proceed.
      13                MS. SPAUGH: Thank you, Your Honor.
      14    BY MS. SPAUGH:
      15    Q.   I'm going to direct your attention to the bottom of page
      16    2 of Government's Exhibit 3, the section titled "Notes." Can
      17    you explain to the jury what the notes section is.
      18    A.   The notes section is a notes application that is
      19    preloaded on all Apple devices when you get them.
      20    Q.   So is this information in the notes section on your
      21    report pulled from the notes application on the defendant's
      22    iPhone?
      23    A.   Yes, it is.
      24    Q.   And what's the meaning of this information in this row?
      25    A.   In the column "Note"?




                                           JA109
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                                  NATHAN ANDERSON - DIRECT

        1   Q.   Yes, I'm sorry. Starting with number 1 on the left.
        2   A.   Okay. Number 1 on the left. Okay. So the cell phone
        3   data extraction -- Cellebrite, when it grabs information, it
        4   will grab any and all information associated with the file in
        5   that application that is pertinent that we need to review.
        6   Q.   And can you tell the jury what the notes app is. I know
        7   you said it was on the phone.
        8   A.   The notes app is for iPhone -- Apple developed the notes
        9   application so that way you can make a note for yourself to go
      10    back and review it. You can take pictures with it, videos
      11    with it, or you can just store information in there to review
      12    at a later time.
      13    Q.   And what does the notes app look like on an iPhone?
      14    A.   It's a notepad.
      15    Q.   And what can you do with the notes app? You said you can
      16    write information. Can you do anything else?
      17    A.   Yes. You can type the information. You can actually do
      18    a pencil where you can draw your information in there and it
      19    will translate it into typed letters. You can store images.
      20    You can store videos. You can actually take images and take
      21    videos through the notes application as well.
      22    Q.   How do you get access to the notes app?
      23    A.   On your phone?
      24    Q.   Yes.
      25    A.   You go to it.




                                         JA110
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                                  NATHAN ANDERSON - DIRECT

        1   Q.    You just scroll over to it?
        2   A.    You can just -- wherever you put it because you can
        3   manipulate your home screen however you want. And you can
        4   just -- when you find it, you press on it and it will open up
        5   and it will have a list of notes if you already have some in
        6   there. Or if you don't, you can do a new note to create brand
        7   new notes each time.
        8   Q.    Can you tell the jury about the first note you found on
        9   the defendant's iPhone.
      10    A.    In this one here it is a note titled "Hupe," H-u-p-e.
      11    Q.    How is the title of the note generated?
      12    A.    The user inputs it. They will type it in.
      13    Q.    And can you tell the jury when this note was created?
      14    A.    Yes. This note was created on August 4, 2019, at 3:11:28
      15    PM.
      16    Q.    And it looks like next to the time in the time column
      17    there's a UTC minus 4. Can you tell the jury what that means.
      18    A.    So most devices are set up to do UTC or Greenwich
      19    Meantime which is plus or minus 4 hours depending on the time
      20    of year with daylight savings.
      21          In this instance the data extraction when it pulled the
      22    data, the phone was already established in UTC minus 4, which
      23    is our East Coast time at that particular time. So UTC, it's
      24    already done the calculation for us so we don't have to do the
      25    math.




                                         JA111
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                                  NATHAN ANDERSON - DIRECT

        1   Q.   So you're saying that when you said August 4th, 2019, at
        2   3:11 PM, you're saying that date and time is Eastern Standard
        3   Time.
        4   A.   Correct.
        5   Q.   And can you explain to the jury what modified means under
        6   that.
        7   A.   So modified time in the forensic world is a time that we
        8   don't put a lot of stock into because modifications of files
        9   can occur at various points in time. So the times we look at
      10    are created and accessed. Modified time is just a time that
      11    can sometimes be there; most of the time it's not.
      12    Q.   And so what is the modified time on this note?
      13    A.   Modified time is August 4, 2019, at 3:14:32 PM East Coast
      14    time.
      15    Q.   And does that mean anything to you that that's different
      16    from the created time?
      17    A.   It's a time that's just there three minutes after it was
      18    created. The file could have been accessed. The file could
      19    have been updated in some fashion. It's a time that is
      20    just -- we take note of it, but not anything we necessarily
      21    pay attention to.
      22    Q.   So would it be fair to say that that means something
      23    happened at that time?
      24    A.   That's correct.
      25    Q.   And can you tell the jury what was in the note titled




                                         JA112
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                                  NATHAN ANDERSON - DIRECT

        1   "Hupe."
        2   A.   There is some video files and image files.
        3   Q.   And what does that mean?
        4   A.   The image and video files were placed into this note
        5   section titled "Hupe."
        6   Q.   And so those image and video files were saved to that
        7   note?
        8   A.   Yes.
        9   Q.   How do you take a video with an iPhone?
      10    A.   You primarily access the camera on the iPhone. It looks
      11    like a camera icon. And when you go into it, you can take
      12    either image or video files.
      13    Q.   And where are videos or pictures normally saved on an
      14    iPhone when they're taken?
      15    A.   They're normally saved in the gallery in an iPhone.
      16    Q.   And you said someone could save a video or picture to a
      17    note?
      18    A.   Yes, they could.
      19    Q.   Can you tell if this Hupe note was deleted?
      20    A.   Yes.
      21    Q.   Was it deleted?
      22    A.   It was. On the far right-hand column Cellebrite in the
      23    data extraction will grab deleted files. But if it is
      24    deleted, it will indicate -- give us an indication of a yes or
      25    a check -- or a red X.




                                         JA113
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                                  NATHAN ANDERSON - DIRECT

        1   Q.   Can you tell when it was deleted from that?
        2   A.   No, you cannot.
        3   Q.   If the note was deleted, how can you still access this
        4   information?
        5   A.   The way cell phones work, they work primarily like a
        6   computer, just a lot smaller. And when a file is deleted off
        7   a phone or a computer, it is still available until the program
        8   or the device actually rewrites over it. So you take another
        9   image and it says, hey, here's an open area where this file
      10    was at and it can write over it. So until that process has
      11    happened on the cell phone, that file could still be present.
      12    Q.   And you mentioned that you looked at videos from this
      13    phone. Can you tell the jury about the first video that you
      14    found on the iPhone that caught your attention.
      15    A.   The first video that I found was a prepubescent male or
      16    pubescent male wearing a green shirt and black gym shorts
      17    standing in the woods and he was masturbating.
      18    Q.   How long was that video?
      19    A.   It was 1 minute and 52 seconds, I believe.
      20    Q.   I'm going to show you what has been marked as
      21    Government's Exhibit 3A. Do you recognize that video?
      22    A.   Yes, I do.
      23    Q.   Have you reviewed that video in its entirety?
      24    A.   Yes, I have.
      25    Q.   What do you recognize that video to be?




                                         JA114
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                                   NATHAN ANDERSON - DIRECT

        1   A.   That is the video that I found of a young man wearing a
        2   green shirt, black gym shorts using both hands to masturbate.
        3   Q.   Is that the video you were just describing to the jury?
        4   A.   Yes, it is.
        5   Q.   And did you find this on the defendant's iPhone you
        6   examined?
        7   A.   Yes.
        8               MS. SPAUGH: The government would move to admit and
        9   publish Government's Exhibit 3A.
      10                THE COURT: It's admitted. You may publish.
      11                (Government's Exhibit Number 3A was received into
      12    evidence.)
      13                (Government's Exhibit Number 3A was published to the
      14    jury.)
      15                MS. SPAUGH: For the record, we've stopped that
      16    video at 10 seconds.
      17    Q.   Can you tell the jury what happens in the rest of that
      18    video.
      19    A.   Essentially the focus is the young man masturbating. And
      20    the video is a minute and 52 seconds long; and during it it
      21    appears to have a slow motion attribution to it, meaning it
      22    starts out normal and then slows down and at the end speeds
      23    back up.
      24    Q.   Now I'm going to direct your attention back to
      25    Government's Exhibit 3. I'm going to ask you to take a look




                                          JA115
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                                  NATHAN ANDERSON - DIRECT

        1   at the top of page 4 of this report, the section titled
        2   "Videos," and there appears to be two rows.
        3   A.   Yes.
        4   Q.   I'm going to ask you to look at row number 2. Can you
        5   explain to the jury what we're looking at in this video
        6   section.
        7   A.   In number 2 you have the file information, then
        8   additional file information. The file information is the name
        9   of the file that was generated producing the file, the video,
      10    and then the path of where it was at.
      11    Q.   And how does this information relate to the video we just
      12    watched?
      13    A.   It is IMG_0789.mov is the video that was produced at the
      14    time with that item.
      15    Q.   So this is the data related to that video --
      16    A.   Yes.
      17    Q.   -- the jury just saw?
      18    A.   Yes.
      19    Q.   And when you take a video with an iPhone, is the data
      20    saved?
      21    A.   It is data that is generated by the iPhone itself. So
      22    yes, it is information associated with that particular file.
      23    Q.   And you said that file was named IMG0789?
      24    A.   _0789.mov, yes.
      25    Q.   All right. And where was this video saved on the phone?




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                                  NATHAN ANDERSON - DIRECT

        1   A.   The path ultimately is going to be apple.notes.
        2   Q.   What does that mean to you?
        3   A.   It means that it was located and saved in the notes
        4   application on the device.
        5   Q.   Which note was this file saved in?
        6   A.   I believe it was the Hupe note.
        7   Q.   The one that you were just talking about to the jury?
        8   A.   Yes.
        9   Q.   And when you say "path," what does that mean?
      10    A.   Every file on a device, computer or phone, specifically
      11    this phone, has a folder structure that files are stored in.
      12    So wherever that folder structure resolves to, where that file
      13    is at, it gives you all the information how you can backtrack
      14    it from the beginning of the device and you can go each step
      15    down to it.
      16    Q.   So when we see path on your report, does that mean where
      17    the file was saved?
      18    A.   Yes.
      19    Q.   And when was the video in Government's Exhibit 3A
      20    created?
      21    A.   So if you look at the additional file information, the
      22    column to the right, all the way down at the bottom under the
      23    line that says "Meta data," at the very bottom the creation
      24    date is when that video was actually created.
      25    Q.   And what date was that?




                                         JA117
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                                  NATHAN ANDERSON - DIRECT

        1   A.   August 4, 2019, at 2:54:17 PM East Coast time.
        2   Q.   What device took this video?
        3   A.   An Apple IPhone 7 Plus.
        4   Q.   And what software on that phone was used?
        5   A.   12.3.1.
        6   Q.   And when you said "meta data," can you just give an
        7   overview of what that means to the jury.
        8   A.   It's data on a file. It's data about data. It just
        9   basically captures information: creation time, make, model of
      10    the camera, GPS location if it's activated, lens aperture,
      11    just information about that specific file that was there.
      12    Q.   Were you able to determine where this video was made?
      13    A.   Yes.
      14    Q.   How did you do that?
      15    A.   The GPS location; I accessed Google Earth and plotted
      16    those coordinates.
      17    Q.   And so you're saying that you used the location shown in
      18    your report --
      19    A.   Yes.
      20    Q.   -- to plot it?
      21    A.   Yes.
      22    Q.   And what did you determine?
      23    A.   On the location?
      24    Q.   Yes.
      25    A.   That it was -- it came back to an area in and around




                                         JA118
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                                   NATHAN ANDERSON - DIRECT

        1   Mount Mitchell State Park in Yancey County, North Carolina.
        2   Q.   Are you familiar with that location?
        3   A.   I am.
        4   Q.   And when was this video saved to that note?
        5   A.   So the video -- the note was created -- if you look right
        6   above meta data, you see created date and that's when the note
        7   was actually created, August 4, 2019, at 3:09:36 PM East Coast
        8   time.
        9   Q.   And just so I understand, you said there's a creation
      10    date at the bottom of this row showing 2:54 PM and then a
      11    different creation date of 3:09 PM at the top?
      12    A.   Yes.
      13    Q.   And so what's the difference mean?
      14    A.   The earlier created date, 8/04/2019 at 2:54 is when the
      15    phone camera application was used to create that video. The
      16    created date above it, the 8/4/2019 at 3:09 PM was when that
      17    file was moved into a note and therefore subsequently was
      18    created. That note was created for that video.
      19    Q.   So that video was saved to that note at the time that's
      20    above.
      21    A.   That's correct.
      22    Q.   And did you find any other videos on the phone that
      23    appeared to be related to that video we just watched?
      24    A.   I did.
      25    Q.   What did you find?




                                          JA119
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                                  NATHAN ANDERSON - DIRECT

        1   A.   An exact copy of that file in another location.
        2   Q.   And what was that location?
        3   A.   That location was going to be an application used to hide
        4   information, images, videos or files, known as a secret
        5   calculator.
        6   Q.   Is that an app?
        7   A.   It is an application.
        8   Q.   And can you explain to the jury how that app works.
        9   A.   So once you download the application through the app
      10    store, you create a path -- it looks like a calculator but
      11    it's not a calculator. But you set a prescribed number that
      12    you want to use. And when you go to the -- so if you look at
      13    a phone, you'll have -- on an Apple iPhone you'll have the
      14    normal calculator that comes with the device and then you'll
      15    have one that says Calculator Plus and that Calculator Plus is
      16    the secret application. So when you click -- when you select
      17    it and you enter your code, it won't -- you won't be able to
      18    add numbers. You actually open up -- you open the vault. It
      19    opens the door and you can see the files that have been stored
      20    in that application.
      21    Q.   I'm going to ask you to look back at Government's Exhibit
      22    3, row 1, under videos this time.
      23    A.   Yes.
      24    Q.   Can you explain to the jury what we're looking at in row
      25    1.




                                         JA120
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                                  NATHAN ANDERSON - DIRECT

        1   A.   So number 1 you have the file info, the video, the path
        2   of the video, and the created date of that said video in that
        3   path.
        4   Q.   And so what was the path in row number 1?
        5   A.   So the path is iPhone's
        6   4/MobileContainersDataApplicationXYZ.Hypertornado.Calculator,
        7   was the path.
        8   Q.   And what does that path mean?
        9   A.   It means that it was located in another application which
      10    is this calculator, and Hypertornado.Calculator is an
      11    application that hides files.
      12    Q.   And does the information in row 1 relate to that second
      13    video you said you found in the secret calculator app?
      14    A.   Yes.
      15    Q.   And why is the file name different?
      16    A.   So a lot of times programs that are meant to hide your
      17    data will go and actually manipulate the file name of that
      18    file. So below in number 2 you have IMG_0789. When you move
      19    into the secret calculator to another encryption type program,
      20    it takes that file name out and will generate a whole nother
      21    name on its own so that way it helps hide that file.
      22    Q.   And when was the video created in that app?
      23    A.   So that file, that video, was created in that application
      24    on August 5th, 2019, at 7:53:24 AM East Coast time.
      25    Q.   And when you say created in that app, what does that




                                         JA121
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                                   NATHAN ANDERSON - DIRECT

        1   mean?
        2   A.   It means that's when that file was moved or saved in that
        3   secret calculator to hide it.
        4   Q.   Is that secret calculator app still on the defendant's
        5   iPhone?
        6   A.   Yes, it is.
        7   Q.   I'm going to show you what has been marked as
        8   Government's Exhibit 3B. Do you recognize this video?
        9   A.   I do.
      10    Q.   Have you reviewed that entire video?
      11    A.   I have.
      12    Q.   What do you recognize this video to be?
      13    A.   It's the same video that was found. It's the IMG video.
      14    Q.   Is this the video that was in the secret calculator app
      15    you described?
      16    A.   Yes.
      17                MS. SPAUGH: The government would move to admit and
      18    publish Government's Exhibit 3B.
      19                THE COURT: It's admitted. You may publish.
      20                (Government's Exhibit Number 3B was received into
      21    evidence.)
      22                (Government's Exhibit Number 3B was published to the
      23    jury.)
      24                MS. SPAUGH: For the record, we've stopped the video
      25    at 1 second.




                                          JA122
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                                    NATHAN ANDERSON - DIRECT

        1   Q.     Did you find anything else saved in that secret
        2   calculator app?
        3   A.     Yes.
        4   Q.     What did you find?
        5   A.     We found -- I found some images.
        6   Q.     You said you found some images in the secret calculator
        7   app?
        8   A.     Yes.
        9   Q.     Did you find any other videos?
      10    A.     I don't recall.
      11    Q.     Can you describe what image or images you found in the
      12    app.
      13    A.     I found another image which was an anime image which is a
      14    computer-generated image. It's not real.
      15    Q.     And what was that image of?
      16    A.     A female masturbating a prepubescent male.
      17    Q.     Do you know whether that image was added to that
      18    application?
      19    A.     I believe it was a few days after August 11th, 2019.
      20    Q.     Were you able to tell from the videos you found that we
      21    just watched who the person shown in the video was?
      22    A.     I'm sorry, can you repeat that.
      23    Q.     When you found those videos that we just watched on the
      24    phone, were you able to tell who the person was shown in
      25    those?




                                           JA123
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                                  NATHAN ANDERSON - DIRECT

        1   A.   Eventually, yes.
        2   Q.   Did you find any pictures on the phone to help identify
        3   who was in that video?
        4   A.   Yes, I did.
        5   Q.   Are those included in your report?
        6   A.   They are.
        7   Q.   I'm going to show you what has been marked as
        8   Government's Exhibits 3D and 3E.
        9        Showing you 3D. And now we'll see 3E.
      10    A.   Yes.
      11    Q.   Our technology is a little slow.
      12         Do you recognize these photos in Government's Exhibits 3D
      13    and 3E?
      14    A.   Yes, I do.
      15    Q.   What do you recognize them to be?
      16    A.   They're images that I found in the photo gallery of the
      17    iPhone to try and identify who the young man was.
      18    Q.   You found these two photos on the iPhone you examined?
      19    A.   I did.
      20                MS. SPAUGH: The government would move to admit and
      21    publish Government's Exhibits 3D and 3E.
      22                THE COURT: They're admitted and you may publish.
      23                (Government's Exhibits Numbers 3D and 3E were
      24    received into evidence.)
      25    Q.   What did you notice about those two pictures?




                                         JA124
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                                   NATHAN ANDERSON - DIRECT

        1   A.   The young man wearing the green shirt and black shorts
        2   appeared to be the same young man in the video.
        3   Q.   And did you notice when those pictures were taken?
        4   A.   They were taken on the same day as that video was
        5   produced.
        6   Q.   And did you notice the location?
        7   A.   I did.
        8   Q.   And what was that?
        9   A.   In and around Mount Mitchell State Park in Yancey County,
      10    North Carolina.
      11    Q.   Did you also find pictures that appeared to be related to
      12    the video?
      13    A.   Yes.
      14    Q.   I'm going to show you what has been marked as
      15    Government's Exhibit 3C. Do you recognize this photograph?
      16    A.   I do.
      17    Q.   What do you recognize it to be?
      18    A.   It's just a still image of the young man wearing the
      19    green shirt, black shorts masturbating.
      20    Q.   Did you find this image on the defendant's iPhone you
      21    examined?
      22    A.   I did.
      23                MS. SPAUGH: The government would move to admit and
      24    publish Government's Exhibit 3C.
      25                THE COURT: It's admitted. You may publish.




                                          JA125
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                                   NATHAN ANDERSON - DIRECT

        1               (Government's Exhibit Number 3C was received into
        2   evidence.)
        3   Q.   Now I'm going to ask you to look back at your report in
        4   Government's Exhibit 3. I'm going to ask you about the top of
        5   page 3, the subsection titled "Images."
        6   A.   Uh-huh.
        7   Q.   And we're just going to look at row 1.
        8        Is this the data related to the photo in Government's
        9   Exhibit 3D?
      10    A.   Yes, it is.
      11    Q.   Can you explain the information you gathered about this
      12    picture to the jury.
      13    A.   The image -- we gathered the image name, the file path
      14    location, and the make/model of the device used to create it,
      15    the latitude/longitude where it was taken, and when it was --
      16    the actual creation date.
      17    Q.   Where was this photo saved?
      18    A.   This was actually saved in the gallery or the Media
      19    application on the device.
      20    Q.   Is that the default photo location you described?
      21    A.   Yes, it is.
      22    Q.   And so this photo was not saved in that Hupe note?
      23    A.   Correct.
      24    Q.   When was this picture taken?
      25    A.   This picture was taken on August 4, 2019, at 2:05:29 PM




                                          JA126
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                                  NATHAN ANDERSON - DIRECT

        1   East Coast time.
        2   Q.   What camera was used to take this picture?
        3   A.   An Apple iPhone 7 Plus.
        4   Q.   Where was this picture taken?
        5   A.   In and around Mount Mitchell State Park in Yancey County,
        6   North Carolina.
        7   Q.   Now I'm going to show you row 3 of this same images
        8   section. Is this information in this row related to
        9   Government's Exhibit 3E?
      10    A.   Yes.
      11    Q.   What was the file name for that picture?
      12    A.   IMG_0790.heic.
      13    Q.   Where was that picture saved on the phone?
      14    A.   The photo gallery of the phone.
      15    Q.   And that's the default photo place?
      16    A.   That's correct.
      17    Q.   What camera was used to take this picture?
      18    A.   An Apple IPhone 7 Plus.
      19    Q.   And what time was this picture taken?
      20    A.   8/4/2019 at 3:39 PM East Coast time.
      21    Q.   August 4th, 2019, you said?
      22    A.   Yes, sorry.
      23    Q.   And then I'm going to show you row 2 of this same
      24    section. Is the information in row 2 related to the photo in
      25    Government's Exhibit 3C?




                                         JA127
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                                  NATHAN ANDERSON - DIRECT

        1   A.   Yes.
        2   Q.   And what was the file name for that picture?
        3   A.   IMG_0788.jpg.
        4   Q.   Where was that picture saved?
        5   A.   That was saved in the notes section or notes application
        6   of the device.
        7   Q.   And which note was it saved in?
        8   A.   The Hupe, Hupe note.
        9   Q.   What camera was used to take that picture?
      10    A.   Apple iPhone 7 Plus.
      11    Q.   And when was that picture taken?
      12    A.   That was taken on August 4, 2019, at 2:54:13 PM East
      13    Coast time.
      14    Q.   And when was that picture saved to the note?
      15    A.   August 4, 2019, at 3:14:23 PM East Coast time.
      16    Q.   And so you said this, I think, related to a video, but
      17    can you explain again why there's two -- two different times
      18    here.
      19    A.   The device, the Apple iPhone 7 Plus, created the image
      20    through the camera application on August 4th at 2:54 PM, and
      21    then was moved and created in that notes section titled Hupe
      22    several minutes later, same date, at 3:14.
      23    Q.   And so these file names seem to be going up in numbers.
      24    You said one was IMG_0784, one was 0788, and one was 0790.
      25    Can you explain to the jury what numbers mean in relation to




                                         JA128
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                                  NATHAN ANDERSON - DIRECT

        1   pictures.
        2   A.   The default functionality of the Apple iPhone camera when
        3   it -- when you take a picture or create a video will go in
        4   sequential order from the previous. So it's a number system
        5   of when -- of where that file falls. So number one was 0784
        6   so that was taken before 0788.
        7   Q.   And so the fact that we go from 0788 to 0790, does that
        8   indicate anything to you?
        9   A.   That means there were either additional images taken or
      10    videos created, yes, before that one.
      11    Q.   Did you find any other sexually explicit images or videos
      12    on the defendant's iPhone?
      13                THE COURT: Ms. Spaugh, is this a convenient enough
      14    time to take our morning break?
      15                MS. SPAUGH: Yes, Your Honor.
      16                THE COURT: Members of the jury, we're going to take
      17    our morning break now as you can guess from what I just said.
      18    As always -- you're going to get tired of me saying this, but
      19    as always, do not discuss this case among yourselves while
      20    we're in recess. Don't do any independent research. Form no
      21    opinions. Keep an open mind throughout the end of the case.
      22    And we'll see you in about 15 minutes, about 20 after.
      23                Again, it would be a lot more convenient to let you
      24    go to the real jury room, but since we've got so many of you
      25    and we want to make sure you're distant, we're going to ask




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                                    NATHAN ANDERSON - DIRECT

        1   you to go downstairs to sort of your temporary jury room.
        2               (Jury exited the courtroom.)
        3               THE COURT: We'll be in recess until 11:20.
        4               (Brief recess at 11:05 AM.)
        5               (Court back in session at 11:18 AM.)
        6               THE COURT: Please call the jury.
        7               (Jury entered the courtroom.)
        8               THE COURT: You may resume.
        9                                NATHAN ANDERSON
      10                           DIRECT EXAMINATION (Cont'd.)
      11    BY MS. SPAUGH:
      12    Q.   Agent Anderson, I believe when we left you were telling
      13    the jury you found other sexually explicit images or videos on
      14    the phone?
      15    A.   Yes, I did.
      16    Q.   Did you create a report related to those images and
      17    videos?
      18    A.   Yes, I did.
      19    Q.   I'm going to show you what has been marked as
      20    Government's Exhibit 4. And we're just going to scroll
      21    through page 1, page 2, page 3, page 4, page 5, page 6, page
      22    7, page 8, page 9.
      23         Do you recognize this document?
      24    A.   Yes, I do.
      25    Q.   And what is it?




                                            JA130
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                                   NATHAN ANDERSON - DIRECT

        1   A.   It's a Cellebrite-generated report dealing specifically
        2   with a second victim.
        3   Q.   And is everything in this report related to data that
        4   came from the defendant's iPhone you examined?
        5   A.   Yes, it is.
        6               MS. SPAUGH: The government would move to admit and
        7   publish Government's Exhibit 4.
        8               THE COURT: It's admitted. You may publish.
        9               (Government's Exhibit Number 4 was received into
      10    evidence.)
      11    Q.   I'm going to direct your attention to the bottom of page
      12    2, the section titled "Notes" of this report.
      13         Can you explain to the jury what they're looking at in
      14    row 1 under notes.
      15    A.   Under row 1 you're seeing the note titled "New Note" and
      16    when it was created.
      17    Q.   When was that note created?
      18    A.   June 19, 2018, at 11:58:50 PM East Coast time.
      19    Q.   And when was that note modified?
      20    A.   September 24, 2018, at 3:17:05 PM East Coast time.
      21    Q.   What does that mean to you?
      22    A.   Which part?
      23    Q.   That modification date of September 24.
      24    A.   Again, the modification date, something occurred with
      25    that specific note, new note, on that device on that date and




                                          JA131
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                                  NATHAN ANDERSON - DIRECT

        1   time. What that was I don't know.
        2   Q.   Can you tell the jury what was saved in that note.
        3   A.   There were various images and videos.
        4   Q.   Did you determine if this note had been deleted?
        5   A.   Yes.
        6   Q.   Can you tell when?
        7   A.   No, I cannot.
        8   Q.   And if the note was deleted, how could you still access
        9   this information?
      10    A.   Again, it's the same as the previous. It's there until
      11    it's potentially overwritten.
      12    Q.   I'm going to show you what has been marked as
      13    Government's Exhibit 4A. Do you recognize that video?
      14    A.   Yes, I do.
      15    Q.   Have you watched the entire video?
      16    A.   I have.
      17    Q.   What do you recognize this video to be?
      18    A.   It is a video of a young man laying on a couch with pants
      19    or his underwear around his ankles, no shirt on, masturbating
      20    on a couch.
      21    Q.   Did you find this video on the defendant's iPhone you
      22    examined?
      23    A.   I did.
      24                MS. SPAUGH: The government moves to admit and
      25    publish Government's Exhibit 4A.




                                         JA132
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                                   NATHAN ANDERSON - DIRECT

        1                THE COURT: It's admitted. You may publish.
        2                (Government's Exhibit Number 4A was received into
        3   evidence.)
        4   Q.    Now I'm going to direct your attention back to your
        5   second report in Government's Exhibit 4, and I'm going to ask
        6   you to look at page 8. I'm going to ask you about row 1 on
        7   page 8 of the video section. Can you tell the jury how this
        8   information is related to the video that we just watched.
        9   A.    It is titled IMG_7954.mov, and it is where the
      10    location -- or the path in which it was located and the
      11    information associated when it was created by the phone using
      12    the camera application and then when it was created in the
      13    note.
      14    Q.    And so that video that we just watched in Government's
      15    Exhibit 4A, was that video titled IMG_7954?
      16    A.    Yes.
      17    Q.    And so is it fair to say that the information in this row
      18    is the information about that video in Government's Exhibit
      19    4A?
      20    A.    Yes.
      21    Q.    And where was that video saved on the phone?
      22    A.    The notes application.
      23    Q.    And which note was that saved in?
      24    A.    That new note.
      25    Q.    What camera was used to create that video?




                                          JA133
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                                  NATHAN ANDERSON - DIRECT

        1   A.   An Apple iPhone 7 Plus.
        2   Q.   When was that video created?
        3   A.   It was created on June 19th, 2018, at 10:47:09 PM East
        4   Coast time.
        5   Q.   And when was that video saved to that note?
        6   A.   It was saved to the note on June 19, 2018, at 11:59:54 PM
        7   East Coast time.
        8   Q.   11:59...
        9   A.   44.
      10    Q.   44. PM?
      11    A.   Uh-huh.
      12    Q.   Okay. And so would you say it was moved to that note
      13    about an hour later?
      14    A.   Yes.
      15    Q.   And where was that video taken?
      16    A.   The location, the latitude and longitude that was
      17    provided, I placed it -- I populated that into Google Earth
      18    again and it gave me an address somewhere in the 300 to 372
      19    block of a road in Wilkesboro or Wilkes County, North
      20    Carolina. I forget the name of the actual road.
      21    Q.   So you're saying that you used the latitude and longitude
      22    GPS to determine that information?
      23    A.   Yes, I did.
      24    Q.   And now I'm going to direct your attention to line 2 of
      25    the video section. And it appears that the information in




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                                   NATHAN ANDERSON - DIRECT

        1   line 2 starts with the same file name. Can you explain this
        2   to the jury.
        3   A.   It is a copy of that same file.
        4   Q.   Where was this copy saved?
        5   A.   In the Apple notes application.
        6   Q.   What note was that saved in?
        7   A.   The new note.
        8   Q.   So that video was saved in that new note twice?
        9   A.   Correct.
      10    Q.   When was this video saved to the note the second time?
      11    A.   July 4th, 2018, at 7:24:59 PM East Coast time.
      12    Q.   So based on your training and experience, what's that
      13    mean?
      14    A.   It means that when the video was created, it was moved
      15    not only once, but two times into that new note section.
      16    Q.   Did you find any other videos that appeared to be related
      17    to that video in the notes?
      18    A.   Yes.
      19    Q.   I'm going to ask you one more question about row 2 of the
      20    video section. What device was used to create that video?
      21    A.   An Apple iPhone 7 Plus.
      22    Q.   And what software was on the device?
      23    A.   11.4.
      24    Q.   Does that mean anything to you?
      25    A.   Regarding the software?




                                          JA135
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                                   NATHAN ANDERSON - DIRECT

        1   Q.   Yes.
        2   A.   It simply means that it was an older version of the
        3   operating system that Apple had released at the time.
        4   Q.   And then now I'm going to ask you to look at what has
        5   been marked as Government's Exhibit 4B. Do you recognize this
        6   video in Exhibit 4B?
        7   A.   I do.
        8   Q.   Have you reviewed this entire video?
        9   A.   I have.
      10    Q.   What do you recognize this video to be?
      11    A.   It is a video of the same young man laying on the couch
      12    in the same state: shorts or underwear around his ankles, no
      13    other clothing on, masturbating with one hand off the couch.
      14    But in this particular video there is the zooming in of a
      15    camera lens to get closer to his exposed penis and then his
      16    face and then it zooms back out.
      17    Q.   Did you find this video on the defendant's iPhone you
      18    examined?
      19    A.   I did.
      20                MS. SPAUGH: The government moves to admit Exhibit
      21    4B and would ask to publish to the jury.
      22                THE COURT: It's admitted and may be published.
      23                (Government's Exhibit Number 4B was received into
      24    evidence.)
      25    Q.   How long is that video?




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                                   NATHAN ANDERSON - DIRECT

        1   A.     I believe it's just under a minute.
        2   Q.     Now I'm going to ask you to look back at your report in
        3   Government's Exhibit 4 and I'm going to ask you to look at
        4   page 9.
        5          Focusing on row 3 of page 9, can you tell the jury how
        6   this information relates to that video we just watched.
        7   A.     It's all the same information: title, file path, created
        8   date, and model, when it was created by the phone and created
        9   in the note section.
      10    Q.     Is this the data related to the video in Government's
      11    Exhibit 4B?
      12    A.     That's correct.
      13    Q.     And can you tell the jury what the name of that video
      14    was.
      15    A.     IMG_7958.mov.
      16    Q.     Where was that video saved on the phone?
      17    A.     In the app -- in the notes application on the device.
      18    Q.     When was that video created?
      19    A.     June 19, 2018, at 10:55:05 PM East Coast time.
      20    Q.     And when was that video saved to the notes?
      21    A.     It was saved in the notes application on June 20th, 2018,
      22    at 12:04:17 AM East Coast time.
      23    Q.     What note was that video saved in?
      24    A.     The note titled "New Note."
      25    Q.     What type of phone was used to create this video?




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                                  NATHAN ANDERSON - DIRECT

        1   A.   An Apple iPhone 7 Plus.
        2   Q.   Where was this video taken?
        3   A.   The same location, that 300 to 372 block, I want to say
        4   Forest Road, in Wilkes County, in Wilkesboro.
        5   Q.   In Wilkes County, North Carolina?
        6   A.   Yes.
        7   Q.   Did you find any photos on the phone that appeared to be
        8   related to those videos you watched in Government's Exhibit 4A
        9   and 4B?
      10    A.   Yes, I did.
      11    Q.   I'm going to show you a series of photos marked as
      12    Government's Exhibits 4C, 4D, 4E, 4F, 4G, 4H, 4I, 4J, and
      13    lastly 4K. Do you recognize those photographs?
      14    A.   Yes, I do.
      15    Q.   How do you recognize them?
      16    A.   They are still images of the young man seen on the couch
      17    masturbating.
      18    Q.   And were these photographs saved on the defendant's
      19    iPhone you examined?
      20    A.   Yes, they were.
      21                MS. SPAUGH: The government moves to admit and
      22    publish Government's Exhibits 4C, 4D, 4E, 4F, 4G, 4H, 4I, 4J,
      23    and 4K.
      24                THE COURT: They're admitted and may be published.
      25                (Government's Exhibits Nos. 4C, 4D, 4E, 4F, 4G, 4H,




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                                  NATHAN ANDERSON - DIRECT

        1   4I, 4J, and 4K were received into evidence.)
        2   Q.   First I'm going to show you Government's Exhibit 4C.
        3        Now we're going to go back to Government's Exhibit 4.
        4        I'm going to ask you to look at row number 12 under the
        5   images section of Government's Exhibit 4.
        6   A.   Uh-huh.
        7   Q.   How does this information relate to the photo we looked
        8   at in Government's Exhibit 4C?
        9   A.   It's the data about that image that was located after it
      10    was produced.
      11    Q.   Where was this photo saved?
      12    A.   The notes application on the iPhone.
      13    Q.   And what note was it in?
      14    A.   New note.
      15    Q.   When was this photo taken?
      16    A.   June 19, 2018, at 10:47:06 PM East Coast time.
      17    Q.   And when was this photo saved to that new note?
      18    A.   June 19, 2018, at 11:58:44 PM East Coast time.
      19    Q.   Now I'm going to show the jury Government's Exhibit 4D.
      20         Now we're going to go back to your report in Government's
      21    Exhibit 4 and I'm going to ask you about row number 13 under
      22    the images section.
      23         Can you tell the jury what this has to do with that
      24    picture in Government's Exhibit 4D.
      25    A.   The title of the image, the file path where it's located,




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                                   NATHAN ANDERSON - DIRECT

        1   and when it was created on the phone and created in the note.
        2   Q.   Where was this picture saved?
        3   A.   It was saved under the notes application on the iPhone
        4   titled "New Note."
        5   Q.   When was this picture taken?
        6   A.   It was taken on June 19, 2018, at 10:51:14 PM East Coast
        7   time.
        8   Q.   And when was it saved to that new note?
        9   A.   June 20, 2018, at 12:00:36 AM East Coast time
      10    Q.   Now we're going to look at Government's Exhibit 4E.
      11         And we're going to go back to your report in Government's
      12    Exhibit 4 and I'm going to ask you to look at row number 14
      13    under the images section.
      14         Can you tell the jury what this has to do with that
      15    picture in Government's Exhibit 4E.
      16    A.   File name, file path, when it was created by the phone,
      17    and when it was created in the notes application under new
      18    note.
      19    Q.   Row 13 is all the information about that picture we just
      20    looked at.
      21    A.   Correct.
      22    Q.   And where was this picture saved?
      23    A.   New -- under the notes application in new note.
      24    Q.   When was it taken?
      25    A.   It was taken on June 19, 2018, at 10:51:16 PM.




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                                  NATHAN ANDERSON - DIRECT

        1   Q.   When was this picture saved to that note?
        2   A.   June 20, 2018, at 12:03:19 AM East Coast time.
        3   Q.   We're going to now look at Government's Exhibit 4F.
        4        And now we're going to go back to your report in
        5   Government's Exhibit 4 and I'm going to ask you to look at row
        6   number 15 in the images section.
        7        What are we looking at in row 15?
        8   A.   All the information associated with that image: the file
        9   name, file path, when it was created by the device, when it
      10    was created in the notes application.
      11    Q.   Where was this picture saved?
      12    A.   The notes application.
      13    Q.   Which note?
      14    A.   Under new note.
      15    Q.   And when was the picture taken?
      16    A.   It was taken on June 19, 2018, at 10:51:23 PM.
      17    Q.   And when was it saved to that new note?
      18    A.   On June 20, 2018, at 12:02:13 AM East Coast time.
      19    Q.   Now we're going to look at Government's Exhibit 4G.
      20         Then we're going to go back to your report in
      21    Government's Exhibit 4 and I'm going to ask you about row
      22    number 2 under the images section.
      23         Is the information in row 2 related to the picture you
      24    just saw in Government's Exhibit 4G?
      25    A.   It is.




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                                  NATHAN ANDERSON - DIRECT

        1   Q.   Where was this picture saved on the phone?
        2   A.   The notes application on the iPhone.
        3   Q.   Which note was it saved in?
        4   A.   The new note.
        5   Q.   When was this picture taken?
        6   A.   It was created with the camera on the phone on June 19,
        7   2018, at 10:51:14 PM.
        8   Q.   And when was it saved to that note?
        9   A.   On July 4, 2018, at 7:26:17 PM East Coast time.
      10    Q.   Now we're going to look at Government's Exhibit 4H.
      11         And then I'm going to ask you to go back to your report
      12    in Government's Exhibit 4 and look at row number 7 under
      13    images.
      14         Is the information in row number 7 related to that
      15    picture in Government's Exhibit 4H?
      16    A.   It is.
      17    Q.   Where was this picture saved on the phone?
      18    A.   Saved under the notes application on the device.
      19    Q.   Which note was it saved under?
      20    A.   New note.
      21    Q.   When was this picture taken?
      22    A.   It was created on June 19, 2018, at 10:51:16 PM.
      23    Q.   And when was this picture saved to that note?
      24    A.   July 4, 2018, at 7:26:17 PM East Coast time.
      25    Q.   Now I'm going to ask you to look at Government's Exhibit




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                                   NATHAN ANDERSON - DIRECT

        1   4I.
        2         And then we'll go back to your report in Government's
        3   Exhibit 4 and I'll ask you to look at row number 8 under the
        4   images section.
        5         How does the information in row number 8 relate to that
        6   picture?
        7   A.    It is an image that -- it is the information about the
        8   image: file path, created date and time on the phone -- by
        9   the phone and when it was created in the note.
      10    Q.    When you say "the image," are you referring to
      11    Government's Exhibit 4I that we just saw?
      12    A.    Yes.
      13    Q.    When was this picture taken?
      14    A.    It was created on the phone on June 19, 2018, at 10:19:53
      15    PM.
      16    Q.    And when was it saved to the new note?
      17    A.    It was saved to the new note on July 4, 2018, at 7:21:53
      18    PM East Coast time.
      19    Q.    Now I'm going to ask you to look at Government's Exhibit
      20    4J.
      21          And then look again at your report in Government's
      22    Exhibit 4, specifically row number 9 under the images section.
      23          And tell the jury what we're looking at in row 9.
      24    A.    Same information: file path, where it was stored, when
      25    it was created on the phone and created in the note.




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                                  NATHAN ANDERSON - DIRECT

        1   Q.    Does the information in row number 9 relate to that
        2   picture in Government's Exhibit 4J?
        3   A.    Correct.
        4   Q.    Where was that picture saved on the phone?
        5   A.    The notes application.
        6   Q.    Under which note?
        7   A.    New note.
        8   Q.    When was this picture taken?
        9   A.    It was taken on June 19, 2018, at 10:51:23 PM.
      10    Q.    And when was this picture saved to the new note?
      11    A.    On July 4, 2018, at 7:26:17 PM East Coast time.
      12    Q.    Ask you to look at one more picture, Government's Exhibit
      13    4K.
      14          And then look back at your report one more time in
      15    Government's Exhibit 4, specifically row number 10 under the
      16    images section.
      17          Does the information in row number 10 relate to that
      18    picture you just saw in Government's Exhibit 4K?
      19    A.    Yes, it does.
      20    Q.    Can you tell the jury where this picture was saved on the
      21    phone.
      22    A.    The notes application under new note.
      23    Q.    When was this picture taken?
      24    A.    It was taken on -- by the phone on June 19, 2018, at
      25    10:47:06 PM.




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                                   NATHAN ANDERSON - DIRECT

        1   Q.   And when was this picture saved to the new note?
        2   A.   July 4, 2018, at 7:21:04 PM East Coast time.
        3   Q.   And you said that the five pictures in Government's
        4   Exhibits 4G, 4H, 4I, 4J, and 4K were all taken on June 19th,
        5   2018?
        6   A.   Yes.
        7   Q.   And you also said that they were all saved in the note on
        8   July 4th of 2018; is that right?
        9   A.   That's correct.
      10    Q.   What does that mean to you?
      11    A.   Just means that there was a gap in time of when the image
      12    was created and when it was placed into the new note.
      13    Q.   So those images were created and then later moved into
      14    the note.
      15    A.   Correct.
      16    Q.   Did you know who the person was in those couch videos and
      17    pictures we just looked at when you found them on the phone?
      18    A.   No, I did not.
      19    Q.   Did you find any pictures that appeared to be taken on
      20    the same day of the same person shown in those pictures and
      21    videos?
      22    A.   Yes.
      23    Q.   I'm going to show you what's been marked as Government's
      24    Exhibit 4L. Do you recognize this photograph?
      25    A.   I do.




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                                   NATHAN ANDERSON - DIRECT

        1   Q.   How do you recognize it?
        2   A.   It was an image that was located on the device of what
        3   appeared to be the young man on the couch in another location.
        4   Q.   Did you find this picture on the defendant's iPhone you
        5   examined?
        6   A.   I did.
        7               MS. SPAUGH: The government moves to admit Exhibit
        8   4L and ask to publish to the jury.
        9               THE COURT: It's admitted. You may publish.
      10                (Government's Exhibit Number 4L was received into
      11    evidence.)
      12    Q.   What did you notice about this picture when you saw it?
      13    A.   The facial features of the young man appeared to be the
      14    same of what you could see in the video.
      15    Q.   Now I'm going to ask you to look back at your report in
      16    Government's Exhibit 4, and specifically at row 11 under the
      17    images section.
      18         Can you tell the jury what we're looking at in row 11.
      19    A.   We're looking at the file name, file path, when it was
      20    created -- information about the file. When it was created,
      21    what was used to create it, and where the file was -- where it
      22    was stored.
      23    Q.   And so does the information in row 11 relate to that
      24    picture that we just looked at in Government's Exhibit 4L?
      25    A.   It does.




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                                   NATHAN ANDERSON - DIRECT

        1   Q.   Where was this picture saved?
        2   A.   Under the gallery application on the device.
        3   Q.   Is that the default for pictures?
        4   A.   It is.
        5   Q.   So are you saying that this picture was not in that new
        6   note?
        7   A.   That is correct.
        8   Q.   When was this picture taken?
        9   A.   It was taken on June 19, 2018, at 7:09:27 PM East Coast
      10    time.
      11    Q.   Did that date stand out to you?
      12    A.   It did.
      13    Q.   Why was that?
      14    A.   It was the same date earlier in the day when those videos
      15    were created.
      16    Q.   Did you find any other videos on the defendant's phone
      17    that stood out to you?
      18    A.   I did.
      19    Q.   I'm going to show you what's been marked as Government's
      20    Exhibit 4M. Do you recognize this video?
      21    A.   I do.
      22    Q.   Have you reviewed this entire video?
      23    A.   I have.
      24    Q.   How do you recognize this video?
      25    A.   It is a video of an individual in a hammock or a hammock




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                                   NATHAN ANDERSON - DIRECT

        1   style contraption and it would appear making motions as though
        2   they are masturbating.
        3   Q.   Where did you find this video?
        4   A.   On the Apple iPhone 7 Plus.
        5   Q.   Is that the defendant's iPhone that you identified in
        6   Exhibit 1?
        7   A.   Yes, it is.
        8               MS. SPAUGH: The government moves to admit and then
        9   publish Government's Exhibit 4M.
      10                THE COURT: It's admitted. You may publish.
      11                (Government's Exhibit Number 4M was received into
      12    evidence.)
      13    Q.   Now I'm going to ask you to look again at Government's
      14    Exhibit 4, and specifically at page 9 in the section titled
      15    "Videos."
      16         Now, we're looking at row 5 here. Can you explain to the
      17    jury what this information has to do with that video we just
      18    watched.
      19    A.   It's the file name, file path, location of the file, and
      20    subsequent information associated with when it was made, what
      21    was used to make it, and when it was stored.
      22    Q.   So is the information in row 5 the information about that
      23    video that we just saw in Government's Exhibit 4M?
      24    A.   Yes, it is.
      25    Q.   Can you tell the jury where this video was saved.




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                                   NATHAN ANDERSON - DIRECT

        1   A.   It was saved under -- or in the notes application on the
        2   Apple iPhone 7 Plus.
        3   Q.   And which note was this video saved in?
        4   A.   I believe it was saved under the new note.
        5   Q.   When was this video taken?
        6   A.   So the video was taken on September 22nd, 2018, at
        7   1:41:29 PM East Coast time.
        8   Q.   What device was used to create that video?
        9   A.   An Apple iPhone 7 Plus.
      10    Q.   And where was this video taken?
      11    A.   I took the latitude/longitude GPS coordinates and put it
      12    into Google and it came back to a location off the -- or
      13    around the Appalachian Trail off the Nolichucky River in
      14    Tennessee.
      15    Q.   And you mentioned you followed that process for all the
      16    videos you found; is that fair to say?
      17    A.   Yes, it is.
      18    Q.   So is it your opinion that those locations you described
      19    are where these videos were taken?
      20    A.   Yes.
      21    Q.   And can you tell the jury when this video was saved to
      22    that new note.
      23    A.   On September 24, 2018, at 3:03:59 PM East Coast time.
      24    Q.   And can you tell the jury when it was modified.
      25    A.   It was modified on September 24, 2018, at 3:04:24 PM East




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                                   NATHAN ANDERSON - DIRECT

        1   Coast time.
        2   Q.   Does that mean anything to you?
        3   A.   Modified time, again, would mean that it was opened, it
        4   was looked at; something when the application touched that
        5   file to do something to it.
        6   Q.   And here you said the creation date was September 22nd,
        7   2018, and it was saved to the note September 24th, 2018. Does
        8   that mean anything to you?
        9   A.   It means that when it was created it was left alone in
      10    the gallery, but it was later moved from the gallery
      11    application on the phone into the new note under the notes
      12    application.
      13    Q.   Did you find any pictures on the phone that appeared to
      14    be related to this video?
      15    A.   Yes.
      16    Q.   I'm going to show you what has been marked as
      17    Government's Exhibits 4P, 4Q, 4R, 4S, and 4T. Do you
      18    recognize those photographs?
      19    A.   I do.
      20    Q.   How do you recognize them?
      21    A.   They were images that were found on the Apple iPhone 7
      22    Plus.
      23    Q.   Is that the iPhone that you've identified in Government's
      24    Exhibit 1?
      25    A.   It is.




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                                  NATHAN ANDERSON - DIRECT

        1               MS. SPAUGH: The government moves to admit and would
        2   ask to publish Government's Exhibits 4P, 4Q, 4R, 4S, and 4T.
        3               THE COURT: They're admitted and may be published.
        4               (Government's Exhibits Nos. 4P, 4Q, 4R, 4S, and 4T
        5   were received into evidence.)
        6   Q.   We're looking at Government's Exhibit 4P.
        7        I'm going to look back at your report in Government's
        8   Exhibit 4, specifically row 3 under the images section.
        9        Can you tell the jury what we're looking at in row 3.
      10    A.   It is the information associated with that image.
      11    Q.   And where was this image saved?
      12    A.   Under the notes application on the Apple iPhone 7 Plus.
      13    Q.   Which note was this picture saved in?
      14    A.   New note.
      15    Q.   When was this picture taken?
      16    A.   It was taken on September 22nd, 2018, at 1:38:58 PM.
      17    Q.   And when was this picture saved to that new note?
      18    A.   On September 24, 2018, at 2:58:04 PM East Coast time.
      19    Q.   And what camera was used to take this picture?
      20    A.   An Apple iPhone 7 Plus.
      21    Q.   Now I'm going to show you Government's Exhibit 4Q.
      22         And I'm going to ask you to look again at your report in
      23    Government's Exhibit 4 at row 5 under the images section.
      24         Can you tell the jury what we are looking at in row 5.
      25    A.   The information about that image.




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                                    NATHAN ANDERSON - DIRECT

        1   Q.     About the image in Government's Exhibit 4Q that you just
        2   saw?
        3   A.     Yes.
        4   Q.     Where was this picture saved?
        5   A.     Notes application on the Apple iPhone.
        6   Q.     And what note?
        7   A.     Under new note.
        8   Q.     When was this picture taken?
        9   A.     On September 22nd, 2018, at 1:38:56 PM.
      10    Q.     And when was this picture saved to the note?
      11    A.     On September 24, 2018, at 2:57:40 PM East Coast time.
      12    Q.     I'm now going to show you Government's Exhibit 4R.
      13           And I'm going to ask you to look back at your report in
      14    Government's Exhibit 4 at row 4 under the images section.
      15           What are we looking at in row 4?
      16    A.     The information about the image: where it was stored and
      17    when it was created.
      18    Q.     So this is the information about Government's Exhibit 4R?
      19    A.     Yes, it is.
      20    Q.     Where was this picture saved?
      21    A.     In the notes application of the Apple iPhone.
      22    Q.     Which note was this saved in?
      23    A.     The new note.
      24    Q.     When was this picture taken?
      25    A.     It was taken on September 22nd, 2018, at 12:13:00 PM.




                                           JA152
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                                  NATHAN ANDERSON - DIRECT

        1   Q.   When was this picture saved to the new note?
        2   A.   On September 24, 2018, at 3:06:17 PM East Coast time.
        3   Q.   And I'm going to show you Government's Exhibit 4S.
        4        Then I'm going to ask you to again look at your report in
        5   Government's Exhibit 4 at image number 6.
        6        Tell the jury what is in row 6 under images.
        7   A.   It's the information about the image.
        8   Q.   The image in Government's Exhibit 4S?
        9   A.   Yes.
      10    Q.   Where was this picture saved on the iPhone?
      11    A.   The notes application.
      12    Q.   Which note was this saved to?
      13    A.   New note.
      14    Q.   When was this picture taken?
      15    A.   It was taken on September 22nd, 2018, at 12:13:11 PM.
      16    Q.   And when was this picture saved to the new note?
      17    A.   On September 24, 2018, at 3:05:46 PM East Coast time.
      18    Q.   Now I'm going to show you Government's Exhibit 4T.
      19         I'm going to ask you to look back at your report in
      20    Government's Exhibit 4 under image number 1.
      21         Can you tell the jury what information is in row 1.
      22    A.   It's the information about that image.
      23    Q.   And when you say "that image," are you referring to
      24    Government's Exhibit 4T?
      25    A.   Yes.




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                                   NATHAN ANDERSON - DIRECT

        1   Q.   Where was this picture saved on the defendant's iPhone?
        2   A.   The notes application.
        3   Q.   Which note was it saved to?
        4   A.   New note.
        5   Q.   And when was this picture taken?
        6   A.   The taken information didn't get captured on the meta
        7   data, but the created data when it was moved into the notes
        8   section is present.
        9   Q.   And what date was that?
      10    A.   September 24, 2018, at 3:17:05 PM East Coast time.
      11    Q.   So is that the date that that picture was saved to the
      12    new note?
      13    A.   Yes.
      14    Q.   Did you know who the person was in the hammock video when
      15    you found it?
      16    A.   No.
      17    Q.   Did you find any pictures taken on the same day as the
      18    hammock video aside from these that we've looked at?
      19    A.   Yes.
      20    Q.   I'm going to show you what has been marked as
      21    Government's Exhibit 4O. Do you recognize this picture?
      22    A.   I do.
      23    Q.   How do you recognize it?
      24    A.   It was an image that was located on the Apple iPhone 7
      25    Plus that I examined.




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                                   NATHAN ANDERSON - DIRECT

        1   Q.   So when you say "iPhone," are you talking about the
        2   iPhone in Government's Exhibit 1?
        3   A.   Yes.
        4               MS. SPAUGH: The government moves to admit and would
        5   ask to publish Government's Exhibit 4O.
        6               THE COURT: It's admitted. It may be published.
        7               (Government's Exhibit Number 4O was received into
        8   evidence.)
        9   Q.   Now I'm going to ask you to look back at your report in
      10    Government's Exhibit 4 and specifically at row 16 under the
      11    images section.
      12         Is the information in row 16 related to the picture we
      13    just looked at in Government's Exhibit 4O?
      14    A.   Yes, it is.
      15    Q.   Where was that picture saved on the phone?
      16    A.   In the standard gallery section of the device.
      17    Q.   Is that the default saving place?
      18    A.   Yes, it is.
      19    Q.   When was this picture taken?
      20    A.   It was taken on September 22nd, 2018, at 9:55:48 AM East
      21    Coast time.
      22    Q.   And so this picture was not saved with those other
      23    hammock videos and pictures we looked at.
      24    A.   That's correct.
      25    Q.   I'm going to ask you to go to the video section of




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                                  NATHAN ANDERSON - DIRECT

        1   Government's Exhibit 4 on page 9 and look at the row number 4.
        2        Does the video in this row have any relation to that
        3   picture we just looked at?
        4   A.   Yes, it does.
        5   Q.   What is that?
        6   A.   It is essentially the same file taken at the same time.
        7   Q.   Why is that?
        8   A.   So Apple has created a feature on their camera that when
        9   you take a picture, you have a choice of taking what's known
      10    as a live photo. That live photo is a feature that it
      11    captures up to a second of that image just before and right
      12    after that image is taken.
      13         So the image was taken using the live feature which
      14    generated not only an image file but also a movie file because
      15    it's one second long.
      16    Q.   And when was this video file image taken?
      17    A.   It was taken on September 22nd, 2018, at 9:55:48 AM East
      18    Coast time.
      19    Q.   And where was that saved on the phone?
      20    A.   In the gallery table or application on the device.
      21    Q.   What device was used to create it?
      22    A.   An Apple iPhone 7 Plus.
      23    Q.   With what software?
      24    A.   11.4.1.
      25    Q.   And so this live picture or video is not saved in the new




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                                   NATHAN ANDERSON - DIRECT

        1   notes.
        2   A.   That's correct.
        3   Q.   Did you examine the searched items on the defendant's
        4   iPhone?
        5   A.   I did.
        6   Q.   What are searched items?
        7   A.   Searched items are essentially various applications,
        8   Safari, social media like Twitter, Facebook, Instagram,
        9   wherever, to -- you go in and type certain terms, whatever it
      10    may be, to see what results you can get.
      11    Q.   So are searched items user-generated?
      12    A.   Yes, they are.
      13    Q.   And so are you telling the jury that when you do a search
      14    on your iPhone, that information is saved to the phone?
      15    A.   Yes, it can be.
      16    Q.   Did you generate a report related to some of the searched
      17    items you found on the defendant's iPhone?
      18    A.   Yes, I did.
      19    Q.   I'm going to show you what's been marked as Government's
      20    Exhibit 5. I'm going to show you page 1 and page 2.
      21         Do you recognize this document?
      22    A.   I do.
      23    Q.   What do you recognize it to be?
      24    A.   It is the specific report that I made through Cellebrite
      25    focusing solely on various search terms that I located during




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                                   NATHAN ANDERSON - DIRECT

        1   my examination of the device.
        2   Q.   And did the information contained in this report come
        3   from the defendant's iPhone that you examined?
        4   A.   Yes, it did.
        5               MS. SPAUGH: The government moves to admit and
        6   publish Government's Exhibit 5.
        7               THE COURT: Admitted. It may be published.
        8               (Government's Exhibit Number 5 was received into
        9   evidence.)
      10    Q.   I'm going to ask you to look at page 2 under the searched
      11    items section at the end of your report.
      12         Can you explain the searched items section to the jury.
      13    A.   It's essentially some of the items that were located that
      14    would have been of interest to the investigators in this
      15    matter.
      16    Q.   And can you explain the meaning of the columns.
      17    A.   So you have time stamp of if the data was collected -- if
      18    the phone recorded and still had the data associated when it
      19    was searched, the date and time. And you have the source,
      20    meaning where the individual conducted the search at; in this
      21    case Safari and Twitter. Then the value is actually the
      22    search term itself. It's the string of characters that they
      23    put together that the phone saw that an individual put in to
      24    Safari or Twitter to look for.
      25    Q.   And so can you explain the search in row 1 to the jury.




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                                   NATHAN ANDERSON - DIRECT

        1   A.   So number 1, the search was conducted on May 20, 2017, at
        2   23:08 East Coast time utilizing Safari, and the search was
        3   "selfies boy oh boy."
        4   Q.   What is Safari?
        5   A.   Safari is the default web browser for Apple mobile
        6   devices, on iPhones and their iPads.
        7   Q.   Can you explain row 2 under the searched items.
        8   A.   Row 2 was collected -- the search was collected on
        9   May 20, 2017, at the same time; and it was just a duplicate
      10    copy of "selfies boy oh boy."
      11    Q.   Can you explain row 3 to the jury.
      12    A.   It was another search for "selfies boy oh boy" on May 20,
      13    2017, at 23:07 East Coast time.
      14    Q.   And that was also on Safari?
      15    A.   It was.
      16    Q.   An can you explain row 4 to the jury.
      17    A.   Row 4 was a search that was conducted via Twitter for
      18    "NAMBLA."
      19    Q.   Are you familiar with what NAMBLA stands for?
      20    A.   I am.
      21    Q.   What is that?
      22                MR. FREEDMAN: Objection.
      23                THE COURT: Overruled.
      24                THE WITNESS: North American Man Boy Love
      25    Association.




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                                   NATHAN ANDERSON - DIRECT

        1   Q.   Can you explain row 5 to the jury.
        2   A.   Row 5 is another search that was conducted via Safari for
        3   "selfies boy."
        4   Q.   Can you explain row 6.
        5   A.   It was another Safari search searching for the term
        6   "selfies boy masterbating."
        7   Q.   Can you explain row 7.
        8   A.   A Safari search for "selfies boy oh bot."
        9   Q.   And can you explain row 8.
      10    A.   It's another Safari internet search for "selfies boy oh
      11    boy."
      12    Q.   And it looks as though row 4 says the search was on
      13    Twitter --
      14    A.   Yes.
      15    Q.   -- is that correct?
      16    A.   That's correct.
      17    Q.   What does that mean?
      18    A.   The individual utilized Twitter to conduct a search for
      19    "NAMBLA."
      20    Q.   What did you do with these images and videos after you
      21    found them?
      22    A.   So once I was done with locating them, I bookmarked them
      23    and I generated a report that I then put on a disk or USB
      24    drive and transferred it to the Wilkes County Sheriff's
      25    Office.




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                                  NATHAN ANDERSON - CROSS

        1   Q.   Why did you give them this information?
        2   A.   It's evidence. It's contraband. It's child sexual abuse
        3   material. It's information related to their investigation
        4   they called me about, so it was evidence that I maintained as
        5   evidence on to another device so they could have to look at as
        6   needed during the course of their investigation.
        7   Q.   Did you want to help them find out who were in those
        8   videos and pictures you saw?
        9   A.   Yes, I did.
      10                MS. SPAUGH: If I could have one moment, Your Honor?
      11                THE COURT: Yes.
      12                (Government counsel conferred.)
      13                MS. SPAUGH: I have no further questions.
      14                THE COURT: You may cross examine.
      15                            CROSS EXAMINATION
      16    BY MR. FREEDMAN:
      17    Q.   Agent Anderson, going back to Government's Exhibit Number
      18    5, searched items.
      19    A.   Yes.
      20    Q.   You went through the entire phone looking for any
      21    searched items of interest to you; is that correct?
      22    A.   So Cellebrite will populate -- if there are search terms
      23    that are collected, it will grab it and put it all in one
      24    section known as searched items, yes.
      25    Q.   In each of those searched items I believe it showed that




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                                  NATHAN ANDERSON - CROSS

        1   they were deleted.
        2   A.   Yes, sir.
        3   Q.   But you explained -- and if something is deleted, is that
        4   still accessible to the individual who has deleted them from
        5   their phone?
        6   A.   No, sir.
        7   Q.   Without --
        8   A.   Sometimes.
        9   Q.   Without the assistance of something like Cellebrite.
      10    A.   It depends on what we're searching for that could have
      11    been deleted. So images and videos can still be accessed for
      12    an extended period of time based on the Apple operating
      13    system. It will be pushed into a recently deleted folder
      14    category within the gallery itself. So those files can at
      15    times be viewed for a certain period of time once they have
      16    been deleted.
      17         Searched terms, it depends how often they're searching it
      18    in Safari. So Safari a lot of times will do -- you can use
      19    Safari but still Google. And Google, if you type it in enough
      20    times, like selfies boy oh boy, it could repopulate because
      21    it's a term you've used numerous times in a search.
      22    Q.   Let me make sure. Whoever deleted those -- the person
      23    who had the phone and deleted those items, could they then go
      24    still view those items after they deleted them without the use
      25    of something -- some sort of extraction device?




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                                  NATHAN ANDERSON - CROSS

        1   A.   Again, it depends on what is being searched that has been
        2   deleted. So if it's an image, the image is still readily
        3   available in a recently deleted for a period of time,
        4   typically 30 days, and then the iPhone operating system will
        5   delete it and then you can't -- correct, then at that point
        6   you cannot retrieve it.
        7   Q.   But you can still -- as you did, you can still retrieve
        8   it through an extraction device.
        9   A.   Yes, sir, that's correct.
      10    Q.   The amount of -- the items -- the eight items that were
      11    just testified to in Government's Exhibit Number 5, that was
      12    the sole extent of searched items of interest that extraction
      13    device found; is that correct?
      14    A.   We're talking about the searched items -- I just want to
      15    make sure I understand.
      16    Q.   I'm talking about the searched items.
      17                MR. FREEDMAN: Could you put up page 2 of
      18    Government's Exhibit Number 5 for me.
      19    Q.   So these searched items that are here that are
      20    highlighted, that was the sole extent of searched items of
      21    interest that the Cellebrite extraction found, correct?
      22    A.   Those are the sole items of interest that upon reviewing
      23    said searched items were of interest to the investigation.
      24    Q.   And it appears as if there's a time stamp for the first
      25    three and all those were from May 20, 2017.




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                                  NATHAN ANDERSON - CROSS

        1   A.   Yes, sir, that's correct.
        2   Q.   And you didn't do your extraction until sometime August,
        3   September of 2019; is that correct?
        4   A.   August 31st of 2019, yes, sir.
        5   Q.   And you did some follow-up on September 4th; is that
        6   right?
        7   A.   Yes, sir.
        8   Q.   So even though they were deleted, they were still
        9   available for you to detect some two years later.
      10    A.   Yes, sir.
      11    Q.   And you don't have -- but it doesn't reflect what dates 4
      12    through 8 were in terms of when they were time stamped.
      13    A.   Yes, sir, that's correct.
      14    Q.   Additionally, other than the photographs you've testified
      15    to and the videos you've testified to, you didn't find any
      16    photographs or video of any -- photographs of interest.
      17    A.   Correct.
      18    Q.   So if there had been downloaded photographs that were
      19    deleted, the Cellebrite extraction still could have found
      20    them.
      21    A.   Can you clarify the downloaded videos or pictures of
      22    interest. I don't think I understand.
      23    Q.   Videos -- there would -- you investigate child
      24    pornography.
      25    A.   Yes, sir.




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                                  NATHAN ANDERSON - CROSS

        1   Q.   So if there were videos of child pornography --
        2   A.   Yes, sir.
        3   Q.   -- that had been downloaded and deleted, say, on
        4   May 20th, 2017 --
        5   A.   Yes, sir.
        6   Q.   -- when those searched items came up, the Cellebrite
        7   extraction could still find those photographs.
        8   A.   Yes, sir. I did not locate any additional deleted images
        9   of that nature.
      10    Q.   Or videos.
      11    A.   Yes, sir, that's correct.
      12    Q.   And you were looking for that.
      13    A.   Yes, sir, I was.
      14    Q.   And clearly we know that even though things were deleted
      15    some two years before, that was still capable of being
      16    discovered by the Cellebrite extraction.
      17    A.   Yes, sir, that's correct.
      18    Q.   You keep talking about -- well, strike that.
      19         During your testimony you said that the videos and
      20    pictures were taken by an iPhone 7 Plus.
      21    A.   Yes.
      22    Q.   Are you saying you're able to identify that this phone
      23    was the one that took the videos and pictures?
      24    A.   Yes, sir.
      25    Q.   You can identify that.




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                                  NATHAN ANDERSON - CROSS

        1   A.   That phone generated these images and videos, yes, sir.
        2   Q.   And you can tell that through the meta data that you
        3   downloaded.
        4   A.   That's correct.
        5   Q.   You can also tell from the meta data that you downloaded
        6   when the photographs, I believe, were saved in notes.
        7   A.   Yes, sir.
        8   Q.   And when some of those videos were deleted.
        9   A.   Yes, sir.
      10    Q.   Is that correct?
      11    A.   Yes, sir.
      12    Q.   But you can't tell the date of when they were deleted.
      13    A.   That's correct.
      14    Q.   And you can also tell when they were accessed.
      15    A.   Yes, that's correct.
      16    Q.   So in each of these instances -- can you tell the amount
      17    of times the photos were accessed?
      18    A.   No, I cannot.
      19    Q.   There's nothing in the meta data that would indicate
      20    whether the photographs were accessed beyond the time they
      21    were shifted into the notes.
      22    A.   So each time a file -- like an image or video is
      23    accessed, you have those three categories: created, modified,
      24    accessed. So modified is the outlier that we can't put a lot
      25    of stock into, well, what caused it to be modified. But




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                                  NATHAN ANDERSON - CROSS

        1   created and accessed is consistent. Created is when it was
        2   generated in that area, that application or on the phone. And
        3   then the accessed, whenever it's accessed, that access time
        4   updates to the newest. So we can't go back and see how many
        5   times it was accessed. It's just when it was accessed the
        6   most recent time.
        7   Q.   Right. So when you went through the accessed dates for
        8   the jury, that would be the most recent time the photo was
        9   accessed; is that correct?
      10    A.   When that file was accessed, yes, sir.
      11    Q.   You couldn't tell between when it was created and when it
      12    was accessed how many times it may have been viewed, but you
      13    can tell when it was not viewed from the time that it was --
      14    from the last date of access.
      15    A.   That would be correct. The access time is repopulated or
      16    it's refreshed. So if the accessed date and time is
      17    different, it will show the most recent time it was accessed
      18    Q.   So for example -- so if you could go to Government's
      19    Exhibit Number 3, page 3.
      20         So in there, if we go to the -- if we go to the first
      21    video -- no, let's go down to number 2, row 2.
      22         In that case you can tell the video was -- the picture
      23    was created -- the captured time was August 4, 2019, at
      24    24:54:13; is that correct?
      25    A.   At 2:54:13 PM, yes, sir.




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                                  NATHAN ANDERSON - CROSS

        1   Q.   And then in the note application, it was created on
        2   3:14:23; is that correct? The same day.
        3   A.   Yes, sir, that's correct.
        4   Q.   And it was modified 3:14:23 on the same day?
        5   A.   Yes, sir.
        6   Q.   And then it was accessed 3:14:23 on the same day,
        7   correct?
        8   A.   Yes, sir.
        9   Q.   So that would have been the last time that was accessed.
      10    A.   Yes, sir.
      11    Q.   And that would be true for Government's Exhibits 3 and 4,
      12    that each of the access dates would have been the only time --
      13    would have been the most recent time it was accessed.
      14    A.   Based on the report, if I saw it, I could verify that,
      15    yes, sir.
      16    Q.   I believe you also had in Government's Exhibit Number 3
      17    that the video -- this is the video of the child in the woods.
      18    That was -- I don't need it up, but I appreciate it.
      19         That video was deleted.
      20    A.   It was deleted, yes. Deleted from the notes, yes, sir.
      21    Q.   Was it present anywhere -- when you got it, was it
      22    present anywhere on the phone that could be obtained without
      23    the use of an extraction device?
      24    A.   The video of the young man in the green shirt, black
      25    shorts in the woods, yes, sir. It was in the secret




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                                  NATHAN ANDERSON - CROSS

        1   calculator that was still on the phone.
        2   Q.   Okay. So you did not need -- you did not need the
        3   extraction device for that video.
        4   A.   That is correct.
        5   Q.   Could you tell when that had been accessed most recently?
        6   A.   Without seeing it I could not.
        7   Q.   And the video of the boy on the sofa, that was deleted as
        8   well.
        9   A.   Out of notes, yes, sir.
      10    Q.   And that was not in the calculator app; is that correct?
      11    A.   That's correct.
      12    Q.   Now, you are -- it also had -- when a picture is created,
      13    it also shows the latitude and longitude of where the picture
      14    was taken; is that correct?
      15    A.   In this instance, yes.
      16    Q.   In this instance.
      17    A.   Because the geolocation services were turned on on his
      18    device. There were thousands upon thousands of location data
      19    collected from this device. So location services or his GPS
      20    was turned on for almost every aspect of this device.
      21    Q.   Let me ask you, when the GPS is turned on, does that
      22    actually track an individual when they're not utilizing some
      23    portion of the phone at that time?
      24    A.   From my experience that, yes, your applications are -- if
      25    the phone is on and stuff is running, GPS could be grabbing




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                                   NATHAN ANDERSON - CROSS

        1   your location, yes.
        2   Q.   So the longitude and latitude, does that go to the
        3   photograph or does that go to the phone?
        4   A.   That will go to where the phone was at at the time that
        5   image was created.
        6               MR. FREEDMAN: Can I have a minute, Your Honor?
        7               (Pause.)
        8   BY MR. FREEDMAN:
        9   Q.   You said the shipping date for this phone was March 14,
      10    2017?
      11    A.   I believe that's correct.
      12    Q.   Do you know any reason why the phone does not -- do you
      13    know any reason why you can't determine when an item is
      14    deleted from the phone?
      15    A.   I'm sorry, can you repeat that.
      16    Q.   I mean, the phone seems to have -- you know, can tell you
      17    when it's created, whether it's accessed, when it's modified,
      18    when it's moved, when it's done anything else. Do you know
      19    why the phone can't tell you when an item is deleted?
      20    A.   No. And the same thing with computers. When a file is
      21    deleted, the deletion time is not typically collected. The
      22    difference is in the process between a computer and a phone,
      23    though, you have a recycle bin on a computer where it can grab
      24    some of that data when it's moved to the recycle bin. But the
      25    way a cell phone works is this process called wear leveling,




                                          JA170
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                                  NATHAN ANDERSON - CROSS

        1   meaning it's always moving up and down and trying to figure
        2   out where to place stuff. So in order to do that efficiently
        3   and effectively, it's not going to grab deletion dates and
        4   times because it's just not needed for the phone. The phone
        5   doesn't -- Androids and iPhones do not collect deletion times
        6   upon a file being deleted.
        7   Q.   And you're also aware with iPhone 7 Pluses that you can
        8   get a -- it's password protected.
        9   A.   The iPhones are password protected.
      10    Q.   And you can also utilize technology of having
      11    fingerprints to access the phone.
      12    A.   Yes, that's correct.
      13    Q.   Do you know how many fingerprints -- how many different
      14    fingerprints can access a phone?
      15    A.   I think the standard you can put is three, three to five.
      16    Q.   And obviously -- so you can tell all this stuff about the
      17    phone itself, but you can't tell who actually was operating
      18    the phone at that time.
      19    A.   As far as who's operating the phone, the -- the phone
      20    would appear to be Mr. Hoover's device, and who's using that
      21    device is -- at that specific time I do not know 100 percent.
      22                MR. FREEDMAN: Thank you very much. I have no
      23    further questions.
      24                THE COURT: Redirect.
      25                MS. SPAUGH: Can I have one moment, Your Honor?




                                         JA171
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                                  NATHAN ANDERSON - REDIRECT

        1               (Government counsel conferred.)
        2                           REDIRECT EXAMINATION
        3   BY MS. SPAUGH:
        4   Q.   Special Agent Anderson, you were talking about
        5   overwriting and deletion. Is deleted information on a phone
        6   sometimes overwritten?
        7   A.   Yes, it is.
        8   Q.   And so is it possible that Cellebrite doesn't pull every
        9   single deleted item from a phone?
      10    A.   That is correct.
      11                MS. SPAUGH: I have no further questions.
      12                THE COURT: Thank you, Agent. You may stand down.
      13                MR. FREEDMAN: It was able to pull deleted items
      14    from the phone from back in 2017.
      15                THE COURT: No, Mr. Freedman, we don't usually do
      16    recross.
      17                MR. FREEDMAN: I apologize, Your Honor.
      18                THE COURT: That's fine.
      19                You may stand down.
      20                (Witness stepped down.)
      21                THE COURT: Can you forecast how long the direct
      22    examination of your next witness will take?
      23                MS. RANDALL: Your Honor, I would guess probably
      24    approximately 30 to 40 minutes.
      25                THE COURT: All right. Please call your next




                                          JA172
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                                         M.C. - DIRECT

        1   witness. The reason I say that is lunch isn't here yet.
        2                 MS. RANDALL: Your Honor, the government will call
        3   M.C.
        4                       M.C., GOVERNMENT WITNESS, SWORN,
        5                             DIRECT EXAMINATION
        6   BY MS. RANDALL:
        7   Q.     Hi. Can you tell the jurors your first name.
        8   A.     M.C.
        9   Q.     And how do you spell that?
      10    A.     X-X-X-X-X-X-X.
      11    Q.     And how old are you, M.C.?
      12    A.     Fourteen.
      13    Q.     When is your birthday?
      14    A.     XXXXXXX XX.
      15    Q.     And what year were you born in?
      16    A.     2006.
      17    Q.     And what grade are you currently in?
      18    A.     Eighth.
      19    Q.     And can you tell us what county you live in.
      20    A.     Burnsville.
      21    Q.     You live in Burnsville. Okay. And have you always lived
      22    there?
      23    A.     Yes.
      24    Q.     And is that in Yancey County?
      25    A.     Yes, ma'am.




                                           JA173
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                                       M.C. - DIRECT

        1   Q.   I want to talk to you a little bit about someone named
        2   Michael Scott Hoover. Do you know who that is?
        3   A.   Yes, ma'am.
        4   Q.   How do you know him?
        5   A.   It's XX XXX XXXXXXXXX XXXXXXXX, XXXX, XXXXXXX.
        6   Q.   Okay. So at some point your XXX XXX XXXXXX XX X XXX XXX
        7   XXX XXX XXXXXXXX XXXXXX.
        8   A.   Yes.
        9   Q.   Would that be correct?
      10         And so how long was your XXX XXXXXXX XX XXX
      11    XXXXXXXXXXXXXX?
      12    A.   Probably five or six years.
      13    Q.   And do you remember about how old you were about that
      14    time?
      15    A.   Six or seven when they first got together.
      16    Q.   And at that time you said you knew Michael Scott Hoover
      17    through your XXXXXX XXXXXXX.
      18    A.   Yes, ma'am.
      19    Q.   And what did you call him back then?
      20    A.   XXXXX Scott.
      21    Q.   And do you see the person you knew as XXXXX Scott here in
      22    the courtroom today?
      23    A.   Yes, ma'am.
      24    Q.   And can you just tell us maybe what he's wearing, what
      25    color tie.




                                        JA174
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                                      M.C. - DIRECT

        1   A.   He's wearing a white shirt, like, under his suit with a
        2   blue and white, like, gray tie on.
        3               MS. RANDALL: Your Honor, if the record could
        4   reflect he's identified the defendant.
        5               THE COURT: The record will so reflect.
        6   Q.   So you said your mom first XXX XXXXXXXX XXXX XXXXX and
        7   that you called him XXXXX Scott, correct --
        8   A.   Yes.
        9   Q.   -- with his XXXXXXXXXXXXXX when you were about five or
      10    six years old.
      11    A.   Yes, ma'am.
      12    Q.   Would you see him sometimes at family events or anything
      13    like that?
      14    A.   Yes, ma'am.
      15    Q.   What type of family events would you see him at?
      16    A.   Like, going away parties, birthday parties, Christmas,
      17    Thanksgiving.
      18    Q.   Did he ever celebrate your birthday with you?
      19    A.   Yes.
      20    Q.   How often would you say you saw him?
      21    A.   Probably a few times a year.
      22    Q.   And did you ever stay over at his house?
      23    A.   Yes, ma'am.
      24    Q.   And was that in Wilkes County?
      25    A.   Yes, ma'am.




                                        JA175
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                                                                        119

                                      M.C. - DIRECT

        1   Q.   During the time you knew Scott, did he move at some
        2   point?
        3   A.   Yes, ma'am.
        4   Q.   Did you visit him at both houses?
        5   A.   Yes.
        6   Q.   Did anything ever happen with Scott at his house that
        7   made you uncomfortable?
        8   A.   Yes.
        9               MR. FREEDMAN: Objection.
      10                THE COURT: Overruled.
      11                Are we going to get into subject matter beyond that
      12    which has been charged in the indictment?
      13                MS. RANDALL: Yes, Your Honor. We're going to start
      14    with some 414 evidence at this time.
      15                THE COURT: Members of the jury, you're about to
      16    hear evidence that the defendant engaged in conduct other than
      17    what is specifically charged in the indictment. In a criminal
      18    case in which the defendant is accused of sexual exploitation
      19    of a minor or possession of child pornography, evidence of the
      20    defendant's commission of another offense or offenses of child
      21    molestation is admissible and may be considered for its
      22    bearing on whether the defendant committed the offense for
      23    which he is charged in this indictment. However, evidence of
      24    another offense on its own is not sufficient to prove the
      25    defendant guilty of the crimes charged in the indictment.




                                        JA176
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                                      M.C. - DIRECT

        1               As you consider this evidence, bear in mind at all
        2   times that the government has the burden of proving that the
        3   defendant committed each of the elements of the offense in the
        4   indictment. And I remind you that the defendant is not on
        5   trial for any act, conduct, or offense not charged in the
        6   indictment.
        7               MS. RANDALL: Thank you, Your Honor.
        8   BY MS. RANDALL:
        9   Q.   So when you said that Scott had done something that made
      10    you feel uncomfortable, was that at his old house?
      11    A.   Yes.
      12    Q.   And can you tell us about what happened that made you
      13    feel uncomfortable.
      14    A.   So I was in his daughter's bedroom. We were, like --
      15    that night we fell asleep in her bed. And I woke up with him
      16    between us, like, all close to me and he had his penis out
      17    right beside me.
      18    Q.   And when you say "he," you're talking about Scott?
      19    A.   Yes, ma'am.
      20    Q.   And what did you see him do after you realized he was
      21    laying in bed next to you?
      22    A.   He had his hand on his penis.
      23    Q.   And was he moving his hand?
      24    A.   Yes, ma'am.
      25    Q.   And did he do anything after that?




                                         JA177
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                                                                        121

                                      M.C. - DIRECT

        1   A.   He was telling me to look at it.
        2   Q.   And did you look at it?
        3   A.   Yes, ma'am.
        4   Q.   And what happened next?
        5   A.   He was -- started to grab mine and I was trying to turn
        6   over.
        7   Q.   When you say he was trying to grab yours, what are you
        8   talking about?
        9   A.   My penis.
      10    Q.   Were you wearing clothes at the time?
      11    A.   Yes, ma'am.
      12    Q.   Was he trying to grab you over or under your clothes?
      13    A.   Over.
      14    Q.   And was he able to actually touch your penis?
      15    A.   No, ma'am.
      16    Q.   And how was he not able to do that?
      17    A.   Because I kept my pants up.
      18    Q.   Did you have to do anything to try to keep your pants up?
      19    A.   I just held them.
      20    Q.   And why did you do that?
      21    A.   So he couldn't get inside -- like, under my underwear and
      22    shorts.
      23    Q.   Was he trying to do that?
      24    A.   Yes, ma'am.
      25    Q.   Did you say anything at the time?




                                        JA178
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                                                                       122

                                     M.C. - DIRECT

        1   A.   I told him to please stop.
        2   Q.   And so after -- you said you rolled over at one point; is
        3   that correct?
        4   A.   Yes, ma'am.
        5   Q.   Was he ever able to get his hands in your pants?
        6   A.   No.
        7   Q.   Was he able to touch you on the outside of your pants
        8   though?
        9   A.   Yes.
      10    Q.   And where did he touch you on the outside of your pants?
      11    A.   He just, like, barely got my penis.
      12    Q.   And after you rolled over, what happened next?
      13    A.   He got up and left, went out of the room.
      14    Q.   He got up and left, is that what you said?
      15    A.   Yes, ma'am.
      16    Q.   Did you get up and leave at some point too?
      17    A.   The next morning when we got up, that's when I got up.
      18    Q.   And did you have any conversation with Scott about it the
      19    next day?
      20    A.   No.
      21    Q.   Did he say anything to you about it?
      22    A.   No.
      23    Q.   Did anything else happen at that old house that you
      24    remember that made you feel uncomfortable?
      25    A.   No.




                                       JA179
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                                                                        123

                                      M.C. - DIRECT

        1   Q.   At some point you said he moved to a new house?
        2   A.   Yes, ma'am.
        3   Q.   And you visited him at the new house?
        4   A.   Yes, ma'am.
        5   Q.   And was there a weekend that you went to his house where
        6   you had a baseball tournament?
        7   A.   Yes.
        8               MR. FREEDMAN: Objection.
        9               THE COURT: Overruled.
      10    Q.   And do you remember who was with you at his house at that
      11    time?
      12    A.   It was me, my old stepdad, my mom, and my sister, my
      13    little sister, and Scott, his wife, and his daughter and son.
      14    Q.   And did Scott go watch you play baseball that weekend?
      15    A.   Yes.
      16    Q.   At some point did you end up alone in a car with him?
      17    A.   Yes.
      18    Q.   And did anything happen in the car that made you feel
      19    uncomfortable?
      20    A.   Yes.
      21    Q.   Can you tell us about that.
      22    A.   So I was -- we were on our way back home. I was wanting
      23    to vape and he said the only way that I could get it was if I
      24    showed him my penis.
      25    Q.   And can you just explain to us what a vape is.




                                        JA180
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                                        M.C. - DIRECT

        1   A.     It's, like -- it was, like, a device that has nicotine in
        2   it and it just, like -- smoke comes out after you hit it or
        3   whatever.
        4   Q.     And do you have to be a certain age to buy that?
        5   A.     Yes.
        6   Q.     So you couldn't buy it for yourself?
        7   A.     Yes.
        8   Q.     So he said if you wanted one you needed to show your
        9   penis?
      10    A.     Yes.
      11    Q.     And it was just the two of you in the car?
      12    A.     Yes.
      13    Q.     And what did you do at that point?
      14    A.     I showed him my penis.
      15    Q.     And what did he do when you showed him your penis?
      16    A.     He went in the gas station and bought the vape for me.
      17    Q.     Did he say anything to you while you were showing your
      18    penis or do anything with his hands?
      19    A.     No.
      20    Q.     After -- when you were at his house, were you ever alone
      21    with Scott?
      22    A.     No -- yes.
      23    Q.     Were you alone in the house or outside the house with
      24    him?
      25    A.     Outside the house.




                                         JA181
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                                                                         125

                                       M.C. - DIRECT

        1   Q.   Where were you alone outside the house with Scott?
        2   A.   He took me to visit his ponds below his house.
        3   Q.   And how did you get to the pond?
        4   A.   On a four wheeler.
        5   Q.   And who all went to see the pond that time?
        6   A.   Just me and him.
        7   Q.   And when you got to the pond, what did you guys do?
        8   A.   We got off the four wheeler and he was just showing me,
        9   like, the creek, the pond, and then the woods. And then he
      10    whipped out his penis to take a pee and then started rubbing
      11    his hand all over his penis.
      12    Q.   So the defendant was masturbating in front of you, is
      13    that what you're saying?
      14    A.   Yes, ma'am.
      15    Q.   Did he say anything to you while he was doing it?
      16    A.   No.
      17    Q.   At some point did he ask you about your penis?
      18    A.   Yes.
      19    Q.   What did he ask you about your penis?
      20    A.   To pull it out so he could see it.
      21    Q.   And what did you say?
      22    A.   I said no.
      23    Q.   Did he tell you why he wanted to see it?
      24    A.   To see if it had got any bigger.
      25    Q.   He wanted to know if it got bigger?




                                         JA182
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                                       M.C. - DIRECT

        1   A.   Yes.
        2   Q.   And you said no?
        3   A.   Yes, ma'am.
        4   Q.   So then what happened?
        5   A.   Then he just kept asking and asking me.
        6   Q.   And did you keep saying no or did something different
        7   happen?
        8   A.   I kept saying no.
        9   Q.   And then what happened?
      10    A.   He just asked me again and I just did because I was
      11    getting pressured and I did it. And then he came over there
      12    and put his mouth on my penis.
      13    Q.   And this was all done while you were next to the pond?
      14    A.   Yes.
      15    Q.   Was his penis still exposed at the time?
      16    A.   No, ma'am.
      17    Q.   So he had masturbated, pulled his pants up and then asked
      18    you if he could see your penis repeatedly?
      19    A.   Yes.
      20    Q.   And at some point you did show him your penis?
      21    A.   Yes.
      22    Q.   And you said that he walked over to you and put his mouth
      23    on your penis?
      24    A.   Yes.
      25    Q.   For how long did he touch your penis with his mouth?




                                         JA183
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                                                                       127

                                     M.C. - DIRECT

        1   A.   Probably two or three minutes.
        2   Q.   And did he tell you anything about what he was doing?
        3   A.   Yes. He asked me if it felt good.
        4   Q.   And what did you say?
        5   A.   I said, "I don't know."
        6   Q.   And did he tell you about anything that would happen if
        7   he kept doing it or if other people did anything to your
        8   penis?
        9   A.   No.
      10    Q.   And at some point did he stop?
      11    A.   Yes.
      12    Q.   And what made him stop?
      13    A.   I told him I was done and I pulled my pants up.
      14    Q.   And were you able to return to the house after that --
      15    A.   Yes.
      16    Q.   -- and be with your family?
      17         When you knew Scott did he have a phone?
      18    A.   Yes.
      19    Q.   Do you remember what kind of phone it was?
      20    A.   It was, like, an iPhone 8 or up. Like, an 8 through an
      21    X, or one of those.
      22    Q.   Did he show you the phone?
      23    A.   Yes.
      24    Q.   Did you -- did he ever show you any kind of unusual apps
      25    he may have had on the phone?




                                         JA184
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                                                                        128

                                      M.C. - DIRECT

        1   A.   Yes.
        2   Q.   What kind of app did he show you that was kind of unusual
        3   to you?
        4   A.   There was a calculator app that you could punch in, like,
        5   a certain number and it would take him to, like, hidden
        6   photos.
        7   Q.   And so he showed you that app on his phone?
        8   A.   Yes.
        9   Q.   And did he show you how it worked?
      10    A.   Yeah.
      11    Q.   And did he show you -- did you see him typing a number
      12    into the calculator?
      13    A.   Yes.
      14    Q.   And what happened when he typed that number in?
      15    A.   It would take him to, like, these photos that he was
      16    hiding from -- like, instead of them being in the regular
      17    camera roll, he'd have them in that.
      18    Q.   And did he tell you what kind of pictures he would put
      19    inside this app?
      20    A.   No. He just said they were, like, bad pictures and I
      21    couldn't see them at the time.
      22    Q.   That they were bad pictures you couldn't see?
      23    A.   Yes.
      24    Q.   Did you ever go hiking with Scott?
      25    A.   Yes, ma'am.




                                        JA185
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                                                                       129

                                      M.C. - DIRECT

        1   Q.   And was there a time that you went hiking on Mount
        2   Mitchell?
        3   A.   Yes.
        4   Q.   And is that near where you live in Yancey County?
        5   A.   It's probably, like, 30 minutes away from me.
        6   Q.   And who was with you when you went hiking?
        7   A.   Me, Scott, his daughter Maddie, Will and his girlfriend,
        8   and my XXXXXXXXXX XXXXXX.
        9   Q.   Who's Will?
      10    A.   His son.
      11    Q.   I'm going to show you a picture that the government has
      12    previously introduced as Government's Exhibit 3D. Do you
      13    recognize that picture?
      14    A.   Yes, ma'am.
      15    Q.   Who is in this picture?
      16    A.   Scott and me.
      17    Q.   And this may be obvious, but which one is you? What are
      18    you wearing?
      19    A.   The Columbia PHG shirt, the green one.
      20    Q.   And was this picture taken on that hiking trip?
      21    A.   Yes.
      22    Q.   I'm now going to show you a picture we previously looked
      23    at identified as Government's Exhibit 3E. Do you recognize
      24    that picture?
      25    A.   Yes.




                                        JA186
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                                     M.C. - DIRECT

        1   Q.   And can you tell us who is in this picture.
        2   A.   The tallest one is my XXXXXXXXXX XXXXXX, the one in the
        3   middle is Maddie, his daughter, and the other one is me.
        4   Q.   And you were wearing this green shirt and black shorts?
        5   A.   Yes.
        6   Q.   At some point on the hike, did you find yourself alone
        7   with Scott?
        8   A.   Yes.
        9   Q.   And how did that happen?
      10    A.   So I had to use the bathroom and I told him that, so I
      11    was going to step to the side. And then, like, the girls and
      12    Will and his girlfriend kept walking and he just stayed behind
      13    and came up behind me.
      14    Q.   So at that time you were alone with the defendant?
      15    A.   Yes.
      16    Q.   And when he approached you, what did he say to you?
      17    A.   He didn't say anything.
      18    Q.   Did -- so you were going to the bathroom?
      19    A.   Yes.
      20    Q.   And then what happened after you were done going to the
      21    bathroom?
      22    A.   So he came over there and I saw he had his phone out and
      23    I asked him what he was doing. And I saw that he took a video
      24    and I told him to delete it, and he said he did.
      25    Q.   Okay. So what was the video of?




                                       JA187
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                                       M.C. - DIRECT

        1   A.   He was telling me to masturbate.
        2   Q.   Okay.
        3   A.   And he kept telling me and I didn't really feel like
        4   doing it. And then he told me that if I told anybody about
        5   what was happening, that he could get in big trouble and I
        6   could get in big trouble.
        7   Q.   Okay. So -- and all this happened off the side of the
        8   hiking trail where you had gone to the bathroom?
        9   A.   Yes.
      10    Q.   Was him telling you to masturbate and the video, did that
      11    occur before or after you went to the bathroom?
      12    A.   Like, during. Like, after the bathroom.
      13    Q.   After the bathroom.
      14    A.   Yeah.
      15    Q.   Okay. So you went to the bathroom and then he told you
      16    to start masturbating?
      17    A.   Yes.
      18    Q.   And what did you say the first time he told you to do
      19    that?
      20    A.   "I don't feel like it."
      21    Q.   And did he do anything to try and make you masturbate?
      22    A.   No.
      23    Q.   How did you -- how did you start masturbating?
      24    A.   With my -- he just asked me and I was, like, whatever,
      25    and I just started.




                                        JA188
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                                       M.C. - DIRECT

        1   Q.   And you said at some point you realized he had his phone
        2   out. Was that after you had already started masturbating?
        3   A.   Yes.
        4   Q.   And do you know, was he standing in a place where you
        5   could see him when you first started masturbating?
        6   A.   No. He was, like, behind me and I wasn't really looking
        7   behind me.
        8   Q.   And you said at some point you saw he had his phone out
        9   and you realized he was making a recording?
      10    A.   Yes.
      11    Q.   And did you -- when you realized he was recording, what
      12    did you say?
      13    A.   I said, "Why are you doing that?"
      14    Q.   And did he say anything?
      15    A.   He said, "I just was." And then I told him to delete it
      16    and he said he would.
      17    Q.   He said he would delete it?
      18    A.   Yes.
      19    Q.   Would you have let him record you if you knew he was
      20    doing that?
      21    A.   No, ma'am.
      22    Q.   Would you have masturbated in the woods at that time if
      23    you knew he was going to be recording it?
      24    A.   No.
      25    Q.   And did he ever show you whether or not he actually




                                         JA189
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                                     M.C. - DIRECT

        1   recorded the video?
        2   A.   Yes. At the end he showed me and that's when I told him
        3   to delete it.
        4   Q.   After he had already finished recording it, he showed it
        5   to you?
        6   A.   Yes.
        7   Q.   And what do you remember about seeing that video? What
        8   did it show?
        9   A.   It was me in, like, slow motion doing it.
      10    Q.   I'm going to just show you for a few seconds a video
      11    that's previously been introduced as Government's Exhibit 3A.
      12         Is that the video that Scott showed you?
      13    A.   Yes, ma'am.
      14    Q.   And I'm just going to move it a little bit forward so you
      15    can confirm that this is the full video that you saw.
      16         And that's the video that he showed you that he took.
      17    And is that you in the video?
      18    A.   Yes, ma'am.
      19    Q.   And I'm going to show you again one more picture. It's
      20    been introduced as Government's Exhibit 3C. Do you recognize
      21    that picture?
      22    A.   Yes, ma'am.
      23    Q.   And who is that in that picture?
      24    A.   Me.
      25    Q.   And are you masturbating in that picture?




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                                      M.C. - CROSS

        1   A.   Yes.
        2   Q.   And you said that he said he was going to delete it?
        3   A.   Yes, ma'am.
        4   Q.   And he told you not to say anything to anybody?
        5   A.   Yes. He told me if I said anything, that he could get in
        6   big trouble.
        7               MS. RANDALL: Those will be our questions, Your
        8   Honor.
        9               THE COURT: You may cross examine.
      10                MR. FREEDMAN: Yes, Your Honor.
      11                            CROSS EXAMINATION
      12    BY MR. FREEDMAN:
      13    Q.   M.C., you said that the first incident occurred at the
      14    old house that Scott lived in?
      15    A.   Yes, sir.
      16    Q.   And that you were sleeping with -- you were in the bed
      17    with his daughter sleeping?
      18    A.   Yes.
      19    Q.   Did she ever wake up when this went on?
      20    A.   No, sir.
      21    Q.   Did you ever try to wake her up?
      22    A.   No, sir.
      23    Q.   Did this go on just for a few minutes?
      24    A.   Yes.
      25    Q.   And did you tell anybody about it the next day?




                                        JA191
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                                                                       135

                                     M.C. - CROSS

        1   A.   Yeah, I told my parents.
        2   Q.   But they continued to send you over to his house?
        3   A.   Yes, because my stepdad didn't believe that it was
        4   actually true.
        5   Q.   And then how many times a year did you say you'd go over
        6   to Scott's house?
        7   A.   We went to visit him, like, two or three times that year.
        8   Q.   And did you -- when you went for the baseball trip you're
        9   talking about, did you stay with him as well?
      10    A.   Yes. We all had to because our hotel was fully booked.
      11    Q.   And you said that's when he asked you -- he wanted you to
      12    show him your penis; is that right?
      13    A.   Can you repeat that.
      14    Q.   When you were down by the pond; is that right?
      15    A.   Yes, sir.
      16    Q.   He asked you to -- he asked to see your penis; is that
      17    right?
      18    A.   Yes, sir.
      19    Q.   Did you tell your parents about that then?
      20    A.   Yes.
      21    Q.   And then this incident in the woods, you talked about --
      22    you just -- you said that he -- you just -- he asked you to do
      23    it and you -- weren't you hiking with other people at that
      24    time?
      25    A.   Yes.




                                        JA192
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                                     M.C. - CROSS

        1   Q.   You were hiking with your stepsister and then his
        2   daughter. And who else was up there?
        3   A.   It was me, my stepsister, his daughter, his son and his
        4   girlfriend.
        5   Q.   Were you all camping out in the woods or were you all
        6   just hiking?
        7   A.   No, we just went for a quick hike.
        8   Q.   Okay. Is that close to where you live?
        9   A.   Yes.
      10    Q.   And do you know how long you were out hiking?
      11    A.   Probably, like, half an hour or an hour or more.
      12    Q.   And somehow the two of you just -- do you know what
      13    happened to everybody else?
      14    A.   I told them to keep walking; that I had to use the
      15    bathroom, and he was behind me.
      16    Q.   And he's never asked -- he's never asked you to do
      17    anything to him; is that correct?
      18    A.   Yes.
      19    Q.   And you know about his iPhone, correct?
      20    A.   Yes.
      21    Q.   He let you have access to his iPhone?
      22    A.   No.
      23    Q.   You've never played or used his iPhone at any time?
      24    A.   I used it once and he was right beside me.
      25    Q.   He was right beside you?




                                       JA193
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                                      M.C. - CROSS

        1   A.   Yes.
        2   Q.   And did you use it to play games?
        3   A.   Yeah, I used it to play a game.
        4   Q.   Do you know about how long a period of time you utilized
        5   his phone?
        6   A.   Probably, like, five to ten minutes.
        7   Q.   He showed you -- you testified he showed you the phone
        8   and told you about the calculator app.
        9   A.   Yes.
      10    Q.   Did he show you other things about his phone?
      11    A.   No.
      12    Q.   He just showed you that.
      13    A.   The app, yes.
      14                MR. FREEDMAN: I've got no further questions.
      15                THE COURT: Redirect?
      16                MS. RANDALL: No, Your Honor.
      17                THE COURT: M.C., you may stand down. Thank you.
      18                (Witness stepped down.)
      19                THE COURT: All right. Members of the jury, I'm
      20    told lunch is here. And at the end of a witness is a good
      21    time to break anyway. We have lunch brought in for you. It
      22    doesn't mean you have to eat it. You're free to go out if you
      23    want to. You're not under quarantine.
      24                But as always, do not discuss this case among
      25    yourselves. Don't discuss it with anybody else. Don't let




                                        JA194
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                                       A.P. - DIRECT

        1   anyone discuss it with you. Keep an open mind. Form no
        2   opinions. Do no independent research. And we'll reconvene at
        3   a quarter till 2:00. Enjoy your lunch.
        4               (Jury exited the courtroom.)
        5               THE COURT: We'll be in recess until 1:45.
        6               (Lunch recess at 12:45 PM.)
        7   THURSDAY AFTERNOON, APRIL 22, 2021
        8               (Court back in session at 1:47 PM.)
        9               THE COURT: Are we ready for the jury?
      10                MS. SPAUGH: Yes, Your Honor. We're just trying to
      11    work out the technology.
      12                THE COURT: Call the jury.
      13                (Jury entered the courtroom.)
      14                THE COURT: Please call your next witness.
      15                MS. SPAUGH: Thank you, Your Honor.
      16                The government calls A.P.
      17                     A.P., GOVERNMENT WITNESS, SWORN,
      18                           DIRECT EXAMINATION
      19    BY MS. SPAUGH:
      20    Q.   Can you tell the jury just your first name.
      21    A.   A.P.
      22    Q.   Can you spell that, please.
      23    A.   X-X-X-X-X.
      24    Q.   And how old are you, A.P.?
      25    A.   I am 19, but I'm about to be 20 next week.




                                        JA195
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                                                                        139

                                      A.P. - DIRECT

        1   Q.   When's your birthday?
        2   A.   XXXXX XX, 2001.
        3   Q.   Okay. Are you working? Are you in school?
        4   A.   I'm both. I'm working and I'm in school.
        5   Q.   What level of school are you in?
        6   A.   I'm finishing my second year at the school I started when
        7   I was living in Georgia and I plan on transferring somewhere
        8   in the fall.
        9   Q.   Are you living in North Carolina now?
      10    A.   Yes.
      11    Q.   What part of North Carolina?
      12    A.   We just moved to Rural Hall.
      13    Q.   And have you always lived in Rural Hall?
      14    A.   No. We just moved a couple days ago, actually.
      15    Q.   Oh, okay. Where did you live before Rural Hall?
      16    A.   We were living in Mount Airy. We came back up here from
      17    Georgia back around Christmas, so we were living there in a
      18    rental house for a little while searching for a place.
      19    Q.   And where did you live before Georgia?
      20    A.   Before I went to Georgia, I was living in Winston-Salem,
      21    the Walkertown and Kernersville area. Born and raised here.
      22    Q.   I want to talk to you today about somebody named Michael
      23    Scott Hoover. Do you know him?
      24    A.   Yes.
      25    Q.   How do you know him?




                                         JA196
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                                                                        140

                                      A.P. - DIRECT

        1   A.   He was a XXXXXX XXXXXX. XX XXXXX XXXXX XXXXXX, XXX
        2   XXXXXXX.
        3   Q.   What did you call him?
        4   A.   I always saw him as, like, XX XXXXX. I just called him
        5   Scott, but I saw him as XX XXXXX.
        6   Q.   Do you see Scott in the courtroom today?
        7   A.   I do.
        8   Q.   Can you describe where he's sitting and what he's
        9   wearing.
      10    A.   He's wearing a suit and plaid tie, blue plaid tie,
      11    sitting diagonally from me.
      12                MS. SPAUGH: Your Honor, we'd ask that the record
      13    reflect the witness identified the defendant.
      14                THE COURT: The record will so reflect.
      15    Q.   A.P., how old were you when you first remember seeing the
      16    defendant?
      17    A.   First time I don't know. I was younger. But I do
      18    remember the first time I actually initially met him. I was
      19    about 14, 15 years old.
      20    Q.   Where would you see him? What kind of places?
      21    A.   Either at family events usually. Sometimes birthday
      22    parties. It just depends.
      23    Q.   Did you ever see him at your birthday?
      24    A.   No.
      25    Q.   How often would you see him would you say?




                                        JA197
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                                                                       141

                                     A.P. - DIRECT

        1   A.   Not often.
        2   Q.   Did you ever go visit the defendant?
        3   A.   When I was younger, no.
        4   Q.   Once you -- once you turned, like, 14 or 15, did you
        5   start visiting him?
        6   A.   Oh, yeah.
        7   Q.   Where would you visit?
        8   A.   Usually it was at his house.
        9   Q.   Where was his house?
      10    A.   Wilkesboro.
      11    Q.   In Wilkes County?
      12    A.   Yes.
      13    Q.   Where would you stay when you visited?
      14    A.   At his house. It just -- usually it was on the couch.
      15    That's where I would usually sleep at. If not, sometimes I
      16    would sleep in a bedroom.
      17    Q.   Can you tell us who else lived with him.
      18    A.   His wife, Misty, and then his two children, Will and
      19    Maddie.
      20    Q.   How old are they compared to how old you are?
      21    A.   Will is only, like, a year younger than I am. And then
      22    Maddie is about four or five years younger than me.
      23    Q.   Did Scott always live in that same house?
      24    A.   I'm not sure.
      25    Q.   And you said your first memory was about when you were 14




                                        JA198
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                                                                        142

                                      A.P. - DIRECT

        1   or 15 seeing him?
        2   A.   Yeah.
        3   Q.   What's your first memory?
        4   A.   We had met them after doing a Color Run. We ran with
        5   them and we did -- we just did that Color Run and we -- I
        6   remember just going somewhere to eat afterwards. Initially we
        7   talked about going hiking and doing stuff.
        8   Q.   Did there come a time when he began to make you
        9   uncomfortable?
      10    A.   At the start, no. But after I started going up there and
      11    going hiking, it became -- there's some times where I was very
      12    uncomfortable.
      13    Q.   Can you tell the jury about the first time you remember
      14    Scott making you feel uncomfortable.
      15                MR. FREEDMAN: Objection.
      16                THE COURT: Overruled.
      17                THE WITNESS: I remember once we were driving in a
      18    pickup truck and he put his hand on my thigh and he would talk
      19    to me in a sexual way, saying, "Oh, baby," and stuff like
      20    that. And I thought it was a joke at first, but I didn't
      21    really regard it.
      22                There was a time when -- on my first hiking trip
      23    with him he had made a joke about me wanting to get my weight
      24    for the Packs and told me to take off my clothes. And again,
      25    I thought that was just a joke because I was present in front




                                        JA199
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                                        A.P. - DIRECT

        1   of his son and another friend.
        2   Q.     Did it seem like he was joking?
        3   A.     I mean, it did seem like he was joking because I wouldn't
        4   think he would say that in front of his own son or a friend
        5   that was there, so I thought -- took that as a joke.
        6   Q.     But you felt like it was odd?
        7   A.     I felt like it definitely was odd.
        8   Q.     Let me ask you about the car ride that you mentioned.
        9   Whose car were you riding in?
      10    A.     It was his Ranger he had.
      11    Q.     Scott was driving?
      12    A.     Yes.
      13    Q.     And who else was in the car?
      14    A.     It was just me and him.
      15    Q.     Where were you sitting?
      16    A.     I was sitting in the passenger side seat.
      17    Q.     Do you remember what you were doing or where you were
      18    going?
      19    A.     I know we were eventually going to be going to just meet
      20    up with some family that day, but wasn't really anything
      21    special. I wasn't doing nothing. I was just sitting in the
      22    car.
      23    Q.     And you said he started rubbing your thigh?
      24    A.     Yes.
      25    Q.     What part of your thigh was he rubbing?




                                         JA200
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                                                                        144

                                      A.P. - DIRECT

        1   A.   I mean, he had his hand on the inner portion of my left
        2   thigh. Sometimes it was getting closer and closer to my
        3   crotch area, so it was -- it was very uncomfortable.
        4   Q.   How close would you say that he got to your penis?
        5   A.   Not far. I'd say within 6 inches.
        6   Q.   And what -- this is going to sound silly, but what part
        7   of his body was he using to touch your thigh?
        8   A.   His hand.
        9   Q.   And you said he was saying, "Oh, baby"?
      10    A.   Yeah. That happened often using that type of voice and
      11    saying that.
      12    Q.   When you say "that type of voice," what do you mean?
      13    A.   A very soft, feminine-like voice. It was very strange.
      14    Q.   Do you remember him saying anything else as he was
      15    touching your thigh?
      16    A.   Honestly, no. I just remember him making that -- that
      17    comment, but that's it.
      18    Q.   How did you react?
      19    A.   I was very -- it was uncomfortable. I even said that it
      20    was and I told him to stop, and he did stop.
      21    Q.   Do you remember how old you were?
      22    A.   I was about 15.
      23    Q.   And where did you usually sleep when you would visit?
      24    You mentioned a pull-out bed.
      25    A.   Yeah. The couch that I slept on was a pull-out bed and I




                                        JA201
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                                                                        145

                                       A.P. - DIRECT

        1   slept on that most of the time. If not, I usually slept
        2   sometimes in his son's room, but that was only if Will was
        3   never there. If he was out doing something, I usually slept
        4   in Will's bed.
        5   Q.   Was there ever a time you visited that Scott asked you to
        6   sleep anywhere else?
        7   A.   Yes.
        8   Q.   Where is that?
        9   A.   I remember there was a time where he asked me to sleep in
      10    the same bed as him.
      11    Q.   Did you sleep in his bed like he asked?
      12    A.   Yes.
      13    Q.   Where did he sleep?
      14    A.   In the same bed in there with me.
      15    Q.   Do you remember how old you were?
      16    A.   I was at least 16.
      17    Q.   Did you ever start to visit him alone without your
      18    family?
      19    A.   Yes.
      20    Q.   Why was that?
      21    A.   Mainly because since I was -- I had that sense of wanting
      22    to do things on my own because I had just got my license and
      23    he had promised me that he would give me stuff like beer and
      24    other types of hard liquor, and I thought this would be a good
      25    way of wanting to go up there. I can just get something like




                                        JA202
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                                                                       146

                                     A.P. - DIRECT

        1   that, something to drink.
        2   Q.   So he would give you alcohol?
        3   A.   Yes.
        4   Q.   Do you remember how old you were when he first gave you
        5   alcohol?
        6   A.   The first time was -- the first time I went up there he
        7   gave me a beer. I was about -- I had just recently turned 15.
        8   Q.   Did he drink alcohol with you?
        9   A.   Yes.
      10    Q.   How often would you say that you would go visit alone?
      11    A.   Alone? I'd say definitely at least once a month.
      12    Q.   Did he ever talk to you about masturbation?
      13    A.   Several times.
      14    Q.   What would he say about it?
      15    A.   The first conversation he talked to me because I had no
      16    knowledge of it. I grew up in a home where that wasn't really
      17    talked about or practiced. And he brought it up to me if I
      18    was doing it, and I told him no. And he initially got me on
      19    to that topic or subject, and then eventually grew on to worse
      20    conversations about doing it and telling me that he would
      21    watch me and that he would always compliment me doing it, and
      22    it just was really uncomfortable.
      23    Q.   How often would he bring up masturbation?
      24    A.   If it was just me and him, it was pretty often.
      25    Q.   And you said that made you feel uncomfortable?




                                        JA203
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                                                                        147

                                       A.P. - DIRECT

        1   A.   Very uncomfortable.
        2   Q.   Did he ever show you pornography when you visited?
        3   A.   Yes.
        4   Q.   Where would you be when that happened?
        5   A.   Sometimes I would just be on the couch and he would show
        6   me. It was most of the time.
        7   Q.   Would he watch with you?
        8   A.   A couple times he did.
        9   Q.   Would he encourage you to do anything while you watched?
      10    A.   Yes.
      11    Q.   What was that?
      12    A.   He would encourage me to start masturbating to it.
      13    Q.   Did you do it?
      14    A.   Not when he was in the room, no.
      15    Q.   Did he ever make comments to you indicating that he had
      16    seen you masturbate?
      17    A.   Oh, yes. Frequently. He would always say, "Dude, you
      18    were going at it, bro. You were really getting it." It was
      19    very uncomfortable comments. I thought he was just joking.
      20    Like, he just -- like, he knew I was doing it, but he didn't
      21    actually see me. He just wanted to see my reaction.
      22    Q.   Did you ever notice him around when you thought you were
      23    alone?
      24    A.   A couple times I thought I was alone. It was very quiet
      25    and I didn't see anybody, and I kind of just looked out of the




                                        JA204
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                                                                        148

                                      A.P. - DIRECT

        1   corner of my eye and he was there around the corner hiding.
        2   Q.   And can you describe his house that you mentioned you'd
        3   stay at.
        4   A.   So it was a two-story house. Had the main level and then
        5   the basement. You would walk into the kitchen from the door
        6   we would go in, and right to the left was the -- was the
        7   living room with the couch where I slept at. And then if you
        8   walked down the hallway was the other bedrooms: his bedroom,
        9   his son's bedroom, and his daughter's bedroom.
      10    Q.   And can you describe how the living room was set up that
      11    you would stay in.
      12    A.   So walking into the living room from the kitchen, the
      13    couch was right at the front of the house where the front door
      14    was, the TV was right here, and then another couch where
      15    people would sit on was right there (indicating).
      16    Q.   And which couch would you sleep on?
      17    A.   I would sleep on the one that was next to the front
      18    because that was the one with the futon, the pull-out bed.
      19    Q.   I'm going to show you what has previously been admitted
      20    as Government's Exhibit 4A.
      21         I'm going to show you really quick what's already been
      22    admitted as Government's Exhibit 4B.
      23         Do you recognize the person in those videos?
      24    A.   Yes. That's me.
      25    Q.   Where were you?




                                        JA205
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                                                                        149

                                      A.P. - DIRECT

        1   A.   I was on that couch that I would sleep on at his house.
        2   Q.   The house in Wilkes County you mentioned?
        3   A.   Uh-huh.
        4   Q.   Do you remember who else was in the room?
        5   A.   No. Obviously -- obviously not because I would never do
        6   that in front of somebody if I knew.
        7   Q.   How old were you?
        8   A.   I'd say about 16.
        9   Q.   Did you know that you were being recorded?
      10    A.   No.
      11    Q.   Would you have let him record you if you had known you
      12    were being recorded?
      13    A.   No, not at all.
      14    Q.   Now I'm going to show you Government's Exhibits 4C, 4D,
      15    4E, 4F, and 4G.
      16         Now I'm going to show you Government's Exhibits 4H, 4I,
      17    4J, 4K, and 4L.
      18         Do you recognize the person in all of those pictures?
      19    A.   That's me.
      20    Q.   Did you know those pictures were being taken?
      21    A.   No.
      22    Q.   Would you have let Scott take any of those pictures?
      23    A.   Not at all.
      24    Q.   Did you ever go on a hiking trip where it was just you
      25    and the defendant?




                                        JA206
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                                                                        150

                                       A.P. - DIRECT

        1   A.   Yes.
        2   Q.   Where did you sleep during that trip?
        3   A.   When we initially started we stayed at, like, this little
        4   campground place that had different, like, cabin type places
        5   where you could sleep in, and that was the first night. We
        6   slept in the cabin together. And then the next night we slept
        7   in hammocks.
        8   Q.   Do you remember where you went hiking?
        9   A.   Somewhere along the Appalachian Trail in North Carolina.
      10    I don't remember exactly what part.
      11    Q.   I'm going to show you what's been admitted as
      12    Government's Exhibit 4O. Do you recognize the people in that
      13    picture?
      14    A.   Yeah. That's me and Mr. Hoover.
      15    Q.   And which one are you?
      16    A.   I'm the one in the hat.
      17    Q.   Is this picture from that trip that you were just talking
      18    about?
      19    A.   It might have been.
      20    Q.   Is it a picture from a hiking trip?
      21    A.   It's definitely from a hiking trip, but I don't know if
      22    it's from the one where we just went together.
      23    Q.   And now I'm going to show you what's been admitted as
      24    Government's Exhibit 4M. Do you recognize the person in that
      25    video?




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                                      A.P. - CROSS

        1   A.   Yes.
        2   Q.   Who is that?
        3   A.   That's me.
        4   Q.   Who were you camping with?
        5   A.   I was camping with Mr. Hoover.
        6   Q.   The defendant?
        7   A.   Yes.
        8   Q.   Do you remember how old you were?
        9   A.   I'd say by the time then I was probably around 17.
      10    Q.   Did you know that you were being recorded in that video?
      11    A.   No.
      12    Q.   Do you know what you were doing in that video?
      13    A.   Masturbating.
      14    Q.   I'm going to show you Government's Exhibits 4P, 4Q, 4R,
      15    4S, and 4T.
      16         Do you recognize the person in those pictures?
      17    A.   Yeah, those are all me.
      18    Q.   Did you know any of those pictures were being taken?
      19    A.   No.
      20                MS. SPAUGH: If I could have one moment, Your Honor?
      21                (Government counsel conferred.)
      22                MS. SPAUGH: No further questions.
      23                THE COURT: You may cross examine.
      24                MR. FREEDMAN: Thank you, Your Honor.
      25                            CROSS EXAMINATION




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                                                                       152

                                      A.P. - CROSS

        1   BY MR. FREEDMAN:
        2   Q.   So you started going up there by yourself about the time
        3   you were 16?
        4   A.   Yes.
        5   Q.   You had your drivers license --
        6   A.   Yes.
        7   Q.   -- and you could drive up there.
        8        And you'd go up there once a month?
        9   A.   At least once a month.
      10    Q.   And that was to sort of show your independence?
      11    A.   Yes.
      12    Q.   And also because Mr. Hoover would allow you to drink when
      13    you were there.
      14    A.   Yes.
      15    Q.   And you were asked a question about whether -- about
      16    camping trips. How many camping trips did you take with
      17    Mr. Hoover?
      18    A.   I'd say at least five.
      19    Q.   And you say he would say things that would make you
      20    uncomfortable, correct?
      21    A.   Yes.
      22    Q.   You said on at least one occasion he had his hand on your
      23    thigh.
      24    A.   Yes.
      25    Q.   That was the only occasion he had his hand on your thigh




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                                      A.P. - CROSS

        1   like that?
        2   A.   The only thing -- only time I recall.
        3   Q.   And then for what -- what period of -- and you were still
        4   going up there when you were 17?
        5   A.   Yes.
        6   Q.   Were you still going up there sort of until the time you
        7   moved to Georgia?
        8   A.   Yeah.
        9   Q.   And how often would you -- and generally when you were up
      10    there, like you said, you'd sleep on the sofa.
      11    A.   Most of the time, yeah.
      12    Q.   And in the video of you that was taken on the sofa --
      13    well, strike that question. I don't have any -- did you ever
      14    have access to Mr. Hoover's phone?
      15    A.   His phone sometimes, but mainly he would give me his
      16    iPad.
      17    Q.   He would let you have his iPad?
      18    A.   Uh-huh.
      19    Q.   And he'd give you his password to get in the iPad?
      20    A.   Yes.
      21    Q.   And then he would -- but occasionally he would let you
      22    use his phone as well?
      23    A.   Yes, sometimes.
      24    Q.   And he would give you the password to get on the phone?
      25    A.   Yes.




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                                     AARON - REDIRECT

        1   Q.   Would you get on the phone to play games?
        2   A.   If I was bored, yeah. He had a couple games on it that I
        3   would play.
        4   Q.   And he never told you not to look at anything on his
        5   phone; is that correct?
        6   A.   Not that I recall.
        7   Q.   Or on his iPad.
        8   A.   He would give -- sometimes he would give me the iPad so I
        9   could look up things like pornography and stuff like that.
      10    Q.   So you looked up pornography on his iPad?
      11    A.   Yes.
      12    Q.   But you didn't download anything.
      13    A.   No.
      14    Q.   How about on his phone; did you look up pornography on
      15    his phone?
      16    A.   I don't remember.
      17    Q.   But you could have?
      18    A.   I could have if I wanted to.
      19                MR. FREEDMAN: I've got no further questions.
      20                THE COURT: Redirect?
      21                MS. SPAUGH: Yes, Your Honor.
      22                           REDIRECT EXAMINATION
      23    BY MS. SPAUGH:
      24    Q.   Do you know what NAMBLA is?
      25    A.   I'm sorry?




                                        JA211
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                                    AARON - REDIRECT

        1   Q.   Do you know what NAMBLA is?
        2               MR. FREEDMAN: Objection.
        3               THE COURT: Overruled.
        4               THE WITNESS: I'm not aware, no.
        5   Q.   And when you would look up pornography, was that adult
        6   pornography?
        7   A.   Yes.
        8   Q.   Would you have looked up boys masturbating?
        9   A.   No.
      10                MS. SPAUGH: Nothing further.
      11                THE COURT: Thank you, A.P. You can stand down.
      12                THE WITNESS: Thank you.
      13                (Witness stepped down.)
      14                MS. RANDALL: Your Honor, the government rests at
      15    this time.
      16                THE COURT: Ladies and gentlemen of the jury, I know
      17    it's quick since we had lunch, but I need to take up some
      18    matters with the lawyers and some scheduling issues and things
      19    like that, so I'm going to ask you to return to the jury
      20    assembly room downstairs and we'll get back to you as soon as
      21    we can. Again, don't discuss the case. Don't make up your
      22    mind. Don't do any research.
      23                (Jury exited the courtroom.)
      24                THE COURT: Mr. Freedman.
      25                MR. FREEDMAN: Your Honor, I'd make a Rule -- motion




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        1   pursuant to Rule 29 to dismiss all three counts. I'd
        2   specifically like to be heard as to the counts regarding A.P.
        3               Your Honor, as you know, the elements are that the
        4   defendant used or employed or persuaded or induced or enticed
        5   or coerced the minor named in counts one or two, count one in
        6   this case, to engage in sexually explicit conduct for the
        7   purpose of producing a visual depiction of that conduct. I
        8   believe we've heard no evidence about that as to A.P.
        9               THE COURT: What -- how do you read the words employ
      10    or use?
      11                MR. FREEDMAN: The way I would read the words
      12    employed or used, he actually utilized or asked that
      13    individual to engage in that conduct for the purpose -- there
      14    was some affirmative act on the part of the defendant in some
      15    fashion to get the minor to engage in the conduct for the
      16    purpose of getting the visual depiction. And there was no
      17    evidence -- we don't know what -- I obviously know the date
      18    that occurred from the meta data, but we don't know the
      19    context of that. As far as he knew, he was not doing that for
      20    that purpose at all. He didn't even know he was being filmed.
      21    He didn't know he was being watched. So I just don't see any
      22    evidence at all to say he -- that there was any affirmative
      23    act on the part of Mr. Hoover to get him to do that for the
      24    purpose of taking that video.
      25                THE COURT: Ms. Randall.




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        1               MS. RANDALL: Your Honor, multiple courts have held
        2   that for the purpose of 2251, a minor is used simply by being
        3   photographed or videoed. So by the fact that the victim
        4   appeared in the video, particularly A.P. in this instance, he
        5   was being used under multiple circuits' definition of the word
        6   use. Trying to say the defendant had a more active role in
        7   it, I think, is putting a higher standard. I think the fact
        8   the defendant chose to pick up a camera, hit record and zoom
        9   in on the genitals repeatedly is him using the defendant --
      10    the victim in the act of masturbation to create the child
      11    pornography.
      12                And so for all those reasons, Your Honor, you should
      13    overrule the motion, especially when you look at the evidence
      14    in the light most favorable to the government.
      15                THE COURT: All right. The Court will deny the
      16    motion and find that there is sufficient evidence from which a
      17    reasonable jury could find the defendant guilty beyond a
      18    reasonable doubt as to each count.
      19                Do you anticipate evidence, Mr. Freedman?
      20                MR. FREEDMAN: No, Your Honor.
      21                THE COURT: Let me explore that issue with
      22    Mr. Hoover.
      23                Stand up, please, sir.
      24                Sir, you have a constitutional right not to testify.
      25    The burden of proof is on the government to prove the elements




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        1   of the offenses charged against you beyond a reasonable doubt
        2   and you are presumed innocent. Do you understand that you
        3   have a constitutional right not to testify if you don't want
        4   to?
        5               THE DEFENDANT: Yes, Your Honor.
        6               THE COURT: You also have a right to testify if you
        7   would like to. Do you understand that you may choose to
        8   testify?
        9               THE DEFENDANT: Yes, Your Honor.
      10                THE COURT: And if you chose to testify, you'd be
      11    subject to cross examination by the assistant United States
      12    attorney. Do you understand that?
      13                THE DEFENDANT: Yes, Your Honor.
      14                THE COURT: Do you understand that it is your
      15    decision, your decision alone, whether or not to testify?
      16                THE DEFENDANT: Yes, Your Honor.
      17                THE COURT: Have you discussed whether or not you
      18    will testify with your attorney and the consequences of that
      19    decision? I just want a yes or no, not what you said to each
      20    other.
      21                THE DEFENDANT: Yes.
      22                THE COURT: Is there anything you don't understand
      23    about your right to testify or not testify and the
      24    consequences of those choices?
      25                THE DEFENDANT: No.




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        1               THE COURT: Are you satisfied with your counsel's
        2   advice about whether or not you should testify?
        3               THE DEFENDANT: Yes, Your Honor.
        4               THE COURT: And have you made a decision personal to
        5   yourself as to whether you would like to testify?
        6               THE DEFENDANT: Yes, Your Honor.
        7               THE COURT: What is that decision?
        8               THE DEFENDANT: No, Your Honor.
        9               THE COURT: Thank you. You may sit down.
      10                MR. FREEDMAN: Your Honor, I would like to renew the
      11    motion at the close of all the evidence.
      12                THE COURT: The motion will be denied for the same
      13    reasons as stated before.
      14                How long do the parties want for closing argument?
      15                MS. RANDALL: Your Honor, the government would
      16    request 45 minutes.
      17                THE COURT: Mr. Freedman?
      18                MR. FREEDMAN: Your Honor, I would imagine
      19    somewhere -- 15, 20 minutes, somewhere in that range.
      20                THE COURT: Thank you.
      21                All right. We'll allow both sides 45 minutes if you
      22    start feeling verbose.
      23                All right. Recall the jury, please.
      24                MS. RANDALL: Your Honor, are we going to discuss
      25    the jury instructions?




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        1               THE COURT: I'm sorry, I meant to do that. We
        2   circulated the jury instructions before the start of the
        3   trial. My understanding was, Mr. Freedman, you had one
        4   objection to one of them which we then altered a bit by
        5   including some language from a recent Fourth Circuit case.
        6               Are there other objections to the proposed
        7   instructions?
        8               MR. FREEDMAN: No, Your Honor, except, you know,
        9   we've made our Rule 29 motion. But other than that, just the
      10    one that appears on page 10 of the proposed instructions that
      11    was submitted.
      12                THE COURT: And even in light of the alteration we
      13    made to the original draft of that, you still have an
      14    objection?
      15                MR. FREEDMAN: Your Honor, I would just object to
      16    the first sentence. I don't have an objection to the rest of
      17    that instruction, just as to the first sentence.
      18                THE COURT: All right. I'll overrule that
      19    objection. Thank you.
      20                MS. RANDALL: Your Honor, may we be heard on that
      21    new addition to the instruction?
      22                THE COURT: Yes.
      23                MS. RANDALL: Our concern is the sentence where it
      24    says, "The government must prove the defendant engaged in the
      25    sexual activity." We realize that language is coming from the




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        1   Palomino decision and in that case the defendant was engaged
        2   in actual sexual intercourse with the victim. In this case,
        3   since we have masturbation which is more of a solo act, I
        4   think using the words "the defendant engaged in the sexual
        5   activity" is somewhat misleading in the fact it sounds like
        6   the defendant has to be the one doing the sexual activity. So
        7   we would ask that that be reworded to make it clear that --
        8   the way the statute itself -- if you look at the way the
        9   statute reads, the minor has to engage in sexual activity.
      10                THE COURT: Then we'll have to work in, though, the
      11    specific intent belongs to the defendant, not to the minor.
      12                MS. RANDALL: I think if you just changed it to
      13    something like the government must prove -- let me pull the
      14    statute out so I'm reading from the statute.
      15                THE COURT: Well, how about this? We say, "The
      16    government must prove that the minor engaged in the sexual
      17    activity and the defendant acted with specific intent to
      18    produce the visual depiction."
      19                MS. RANDALL: I think that would clear it up, yes.
      20                THE COURT: And Mr. Freedman, I understand you
      21    continue to object.
      22                MR. FREEDMAN: I would object to that.
      23                MS. RANDALL: And one other matter, Your Honor, is
      24    just on the verdict form, the word "between" appears before
      25    the date. And since it's -- for counts one and two. And




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        1   since that's just a solo date, I don't know if that should
        2   just read on or about June 20th instead of between on or about
        3   June 20th.
        4               THE COURT: All right. We'll make that change.
        5               All right. Are we ready for the jury, then?
        6               MS. RANDALL: May I move the podium over real quick?
        7               THE COURT: Of course.
        8               The way I do this, just to break up these
        9   instructions, I give them sort of a first set of generalized
      10    instructions and then we have arguments and then I give them
      11    the substantive instructions. So don't think you have to pop
      12    up as soon as they get here.
      13                All right. Call the jury up.
      14                (Jury entered the courtroom.)
      15                THE COURT: All right. Members of the jury, the
      16    evidence portion of the trial has concluded and you will soon
      17    hear arguments from the attorneys, but I want to first
      18    instruct you as to the general principles of law that apply to
      19    this case. After counsel have made their closing arguments, I
      20    will discuss the specific offenses charged, give you the
      21    elements of the offenses and follow -- that you can follow in
      22    guiding your deliberations.
      23                As I told you in the preliminary instructions, it is
      24    your duty and your responsibility in this trial to find the
      25    facts. You may find those facts only from the evidence which




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        1   has been presented during this trial. The evidence consists
        2   of the testimony of the various witnesses and the exhibits
        3   which have been admitted into evidence by the Court.
        4               In reaching your decision as to the facts, it is
        5   your sworn duty to follow the law as the Court instructs you.
        6   You will apply the law given to you by the Court to the facts
        7   which you find from the evidence and reach a verdict.
        8               Counsel may refer to some of the governing rules of
        9   law in their arguments. If, however, any difference appears
      10    to you between the law as stated by counsel and that as stated
      11    by the Court, you are to be governed by the Court's
      12    instructions.
      13                You are not to single out one instruction alone as
      14    stating the law, but must consider all of the instructions as
      15    a whole. You may not substitute or follow any personal or
      16    private notion or opinion as to what the law is or ought to
      17    be.
      18                You are required to perform these duties without
      19    bias, prejudice, or sympathy for either party. The law does
      20    not permit jurors to decide cases on the basis of bias,
      21    prejudice, or sympathy, or any other basis other than solely
      22    upon the facts and the law arising from this case.
      23                This case involves charges brought against the
      24    defendant by a bill of indictment. I remind you that an
      25    indictment is but a formal method of accusing the defendant of




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        1   a crime. Its purpose is to inform the defendant of the
        2   charges against him and bring him to trial. It is not
        3   evidence of any kind against the defendant, nor does it permit
        4   any presumption or inference of guilt. In other words, an
        5   indictment is not consistent either with guilt or lack of
        6   guilt. It simply puts the question at issue for your
        7   decision. It is up to you, the jury, to decide whether the
        8   government has proved each element of the crimes alleged in
        9   the bill of indictment beyond a reasonable doubt.
      10                You are here to decide whether the government has
      11    proved beyond a reasonable doubt that the defendant is guilty
      12    of the crimes charged. The defendant is not on trial for any
      13    act, conduct, or offense not alleged in the indictment.
      14    Neither are you concerned with the guilt of any other person
      15    or persons not on trial as a defendant in this case.
      16                Every defendant in a criminal case is presumed to be
      17    innocent and that presumption continues throughout the course
      18    of the trial. This presumption will end only if you reach the
      19    jury room and arrive unanimously at the conclusion, if you do,
      20    that the government has shown to your satisfaction that the
      21    defendant is guilty beyond a reasonable doubt. This burden on
      22    the government does not change at any time during the course
      23    of the trial. The presumption of innocence in favor of a
      24    defendant is not a mere formality to be disregarded by the
      25    jury at its pleasure. It is a substantive part of our




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        1   criminal law. Accordingly, the government must prove each of
        2   the elements of the crimes charged in this indictment beyond a
        3   reasonable doubt before there can be a conviction.
        4               The term "reasonable doubt" means just what it says.
        5   It is a doubt based upon reason and common sense. Its meaning
        6   is no doubt self-evident and understood by you and the Court
        7   will not attempt to define it further.
        8               There are two types of evidence which a jury may
        9   properly consider in determining whether the government has
      10    met its burden as to any offense. One is direct evidence,
      11    such as the evidence of an eyewitness. The other is
      12    circumstantial evidence. Circumstantial evidence is evidence
      13    of facts or circumstances from which the existence or
      14    nonexistence of other facts in controversy may be inferred.
      15    As a general rule, the law makes no distinction between direct
      16    and circumstantial evidence but simply requires that before
      17    convicting a defendant, you, the jury, must be satisfied of
      18    the guilt of such defendant beyond a reasonable doubt from all
      19    of the evidence in the case.
      20                While you should only consider evidence presented
      21    during the trial of the case, you are permitted to draw such
      22    reasonable inferences from the testimony and exhibits as you
      23    feel are justified in the light of common experience. In
      24    other words, you may make deductions and reach conclusions
      25    which reason and common sense lead you to draw from the facts




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        1   which have been established by the testimony and the evidence
        2   in this case.
        3               You are not required to accept testimony even though
        4   the testimony is uncontradicted and the witness is not
        5   impeached. You may decide because of the witness's bearing
        6   and demeanor, or because of the inherent improbability of his
        7   testimony, or for other reasons sufficient to you that such
        8   testimony is not worthy of belief.
        9               During the trial you heard testimony from a witness
      10    who was allowed to give his opinion in a certain field. This
      11    witness was permitted to testify even though he may not have
      12    actually witnessed any of the events involved in this trial.
      13    A person's training and experience may give him specialized
      14    knowledge in a technical field. The law allows that person to
      15    state an opinion about matters in this particular field. But
      16    merely because the witness has expressed an opinion does not
      17    mean that you must accept this opinion. The same as with any
      18    other witness, it is up to you to decide whether you believe
      19    his testimony and choose to rely upon it. Part of that
      20    decision will depend on your judgment about whether the
      21    witness's background, training, and experience is sufficient
      22    to give the opinion that you heard. You must also decide
      23    whether the opinions were based on sound reasons, judgment,
      24    and information.
      25                Your decision on the facts of this case should not




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        1   be determined by the number of witnesses testifying for or
        2   against a party. You should consider all of the facts and
        3   circumstances in evidence to determine which of the witnesses
        4   you choose to believe or not believe.
        5               The defendant has elected not to testify in this
        6   case. As I told you earlier, the Court instructs you that he
        7   has a constitutional right not to take the stand and testify
        8   and not to speak at all or offer any evidence, the burden of
        9   proof being entirely upon the government. You must draw no
      10    adverse inferences from any -- of any kind from his exercise
      11    of his privilege not to testify. This right is a fundamental
      12    one in America's criminal justice system and one which cannot
      13    be disregarded by the jury at its pleasure.
      14                The lawyers during the course of the trial may have
      15    objected to some of the things that were said or done during
      16    the trial. This simply means that the lawyer is requesting
      17    that I make a decision on a particular rule of law. Do not
      18    hold that against a lawyer who makes an objection. Lawyers
      19    have a duty to object whenever they think that something is
      20    not permitted by the rules of evidence. Those rules are
      21    designed to make sure that both sides receive a fair trial.
      22    Do not draw any conclusion from such objections. These relate
      23    only to the legal questions that I must determine and should
      24    not influence your thinking.
      25                If I sustain an objection to a question, the witness




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        1   is not allowed to answer it. Do not attempt to guess what
        2   answer might have been given had I allowed the question to be
        3   answered. If an objection was overruled, treat the answer
        4   that the witness gave as you would any other.
        5               Let me emphasize that a lawyer's question is not
        6   evidence. At times a lawyer may have incorporated into a
        7   question a statement that assumes certain facts to be true and
        8   asked the witness if the statement was true. If the witness
        9   does not answer or denies the truth of the statement, and if
      10    there is no evidence in the record proving that the assumed
      11    fact is true, then you may not consider the fact to be true
      12    simply because it was contained in the lawyer's question. On
      13    the other hand, if the witness adopts or agrees to the assumed
      14    fact in his answer, then the witness may be considered to have
      15    testified to the facts assumed in the question and his
      16    testimony is evidence of those facts.
      17                You may continue, of course, to use your notes and
      18    take notes. You are instructed that your notes are only a
      19    tool to aid your own individual memory and should not be a
      20    substitute for your memory.
      21                The punishment provided by law for the offense
      22    charged in the indictment, should there be a verdict of
      23    guilty, is a matter exclusively within the province of the
      24    Court and should never be considered by the jury in any way in
      25    arriving at an impartial verdict as to the guilt or lack of




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        1   guilt of the defendant.
        2               You will now hear closing arguments from the
        3   attorneys. Again, closing arguments are not evidence. They
        4   are their contentions of what you should find the evidence to
        5   be. The burden of proof is on the government, as you know, so
        6   the government has the right to give the first argument and
        7   then follow up defense counsel's argument with their second
        8   argument.
        9               The jury is with the government.
      10                MS. RANDALL: Thank you, Your Honor.
      11                Good afternoon, ladies and gentlemen.
      12                This is A.P. You just had a chance to hear him
      13    testify. And then this is M.C. who you heard testify earlier
      14    this morning. These are two minors who did not know each
      15    other in 2018 and 2019, but they have one thing in common.
      16    They were manipulated, tricked, and used by someone they
      17    trusted, and that someone was Michael Scott Hoover. They
      18    became the subject of his pornographic videos and films and
      19    images that he made using this iPhone here in the Western
      20    District of North Carolina.
      21                And although the defendant took many steps to hide
      22    his crime, it was ultimately discovered. We are here today
      23    despite his best efforts to hide his crime. His phone was not
      24    as secure as he thought it was. How could he anticipate that
      25    his employer, Wells Fargo, would one day come and take back




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        1   their phone that they had assigned to him? Not only would
        2   they take it back, but they would ask one of their digital
        3   forensic examiners to look through it. And he especially
        4   could not anticipate that the private digital examiner that
        5   would look at his work phone was a former detective and a
        6   member of the Internet Crimes Against Children Task Force who
        7   had experience with child pornography and child exploitation.
        8               As you will recall from the testimony this morning,
        9   defendant's supervisor, his manager, took possession of his
      10    cell phone back in August of 2019. It was then turned over to
      11    Avery Turner, the digital forensics examiner and former
      12    detective, to be examined.
      13                Turner first confirmed the phone was in fact the
      14    defendant's phone. He then had to take special effort to
      15    unlock the phone through, as he explained, the special
      16    software. He had to call into someone and then had 60 seconds
      17    to quickly get in and change the password. That's how locked
      18    down that phone was. The fact that his employer had to go
      19    through double authentication, he said, with human resources
      20    before then calling someone to change the password is why the
      21    defendant was so secure and so sure about using his phone to
      22    commit a crime.
      23                However, once Avery Turner found the video he told
      24    you about, the video that we now know was M.C. masturbating in
      25    the woods, he did the right thing and he turned the phone




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        1   immediately over to law enforcement for a further examination.
        2   And they got a search warrant and turned the phone over to
        3   Assistant Special Agent in Charge Nathan Anderson who has
        4   years of experience in examining cell phones and has been
        5   certified using a type of software.
        6               And you heard him testify about what he found. He
        7   found the video that Mr. Turner had seen of the minor. But
        8   then he found more. As he continued to look, he found more
        9   images and more videos showing two different minor males
      10    engaging in very similar types of sexually explicit conduct.
      11    And then he examined the data associated with those images and
      12    videos and shared that with law enforcement partners who were
      13    then able to locate the children depicted. And that is how
      14    you ended up getting to hear from A.P. and M.C. telling about
      15    how those videos were created. They told you how they ended
      16    up being the unwilling subjects of these sexually explicit
      17    videos and images.
      18                And now that you've heard all the testimony about
      19    the discovery of those files, as well as the minors depicted
      20    in them and how they were created, it's time for you to
      21    deliberate on the charges that the defendant faces.
      22                In the indictment the defendant has three charges
      23    against him. Count one and count two are for using,
      24    persuading, inducing, enticing, or coercing a minor to engage
      25    in sexually explicit conduct for the purpose of creating a




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        1   visual depiction of that conduct. Count one is for the images
        2   and videos created of A.P. Count two is for the images and
        3   videos created of M.C.
        4               And so now we're going to talk a little bit about
        5   what the law is and how the evidence you heard applies to that
        6   law.
        7               As I said, count two -- well, first let's talk about
        8   in general both counts because the elements are going to be
        9   the same for both.
      10                Count one, as I said, is going to read minor victim
      11    1, but I'm telling you now that's A.P. It involves the images
      12    created on June 20 of 2018.
      13                Count two refers to minor victim 2, that is M.C., on
      14    August 4 of 2019.
      15                For both of those the elements that the government
      16    has to prove beyond a reasonable doubt are:
      17                First, that the minor named in the count was under
      18    the age of 18.
      19                Second, that the defendant used or employed or
      20    persuaded or induced or enticed or coerced the minor named in
      21    the count to engage in sexually explicit conduct for the
      22    purpose of producing a visual depiction of that conduct.
      23                And then finally, that the visual depiction was
      24    produced using materials that had been mailed, shipped, or
      25    transported in and affecting interstate and foreign commerce




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        1   by any means, including by computer.
        2               Let's talk about count two first because you heard
        3   M.C. testify first.
        4               Count two are Government's Exhibits 3A, 3B, and 3C.
        5   I'm not going to show those exhibits to you now at this time
        6   because you just saw them a couple hours ago, but you can
        7   access them again at any point during your deliberations if
        8   you would like to see them. But they were the pornographic
        9   images and videos that were created by the defendant on August
      10    4, 2019, on Mount Mitchell. There were two videos saved in
      11    two different places and then an image depicting M.C.
      12    masturbating in the woods.
      13                Although they don't show his face, you know it was
      14    M.C. He told you it was him. You saw other pictures taken
      15    from that same day in the same location of him being on that
      16    hiking trip and wearing the same clothes depicted in the
      17    video. All of that evidence is sufficient to show that was
      18    M.C. depicted although you could not see his face in the
      19    videos.
      20                So first you have to figure out if M.C. was under
      21    the age of 18 at the time he produced those videos. So how do
      22    you know he was under the age of 18? Well, he testified he is
      23    still under the age of 18 when he testified here today. So if
      24    he's under the age of 18 today, he certainly was back in
      25    August of 2019.




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        1               He also told you his date of birth was XXXXXXX XX of
        2   2006. The meta data shows you that that video was created in
        3   August of 2019. So that would mean he was 12 years old when
        4   he went on that hiking trip and became an unwilling subject of
        5   that video.
        6               Element 2 has a number of factors within it. First
        7   I want to talk about the fact the government has to prove use,
        8   employ, persuade, induce, entice, or coerce a minor. You do
        9   not have to find all of those things. You just have to find
      10    one of those. That's why the word "or" is between each of
      11    them.
      12                And in this case the easiest one and the simplest
      13    one is that the defendant simply used a minor in producing
      14    that. Because when a minor is simply photographed or
      15    videotaped, in the world of child pornography that is using a
      16    minor. That's how you know that the government has met that
      17    part of that element.
      18                How do you know it was the defendant who was the one
      19    using the camera to record this video? Well, M.C. told you it
      20    was the defendant. He caught him in the act. He turned and
      21    he saw him holding the camera and recording him while he was
      22    masturbating. The defendant even showed him the video after
      23    he was done. M.C. told you he saw it. He knew it was in slow
      24    motion. And he told him to delete it.
      25                And then there's even further evidence. The




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        1   circumstantial evidence the judge told you that you can use:
        2   It was on his work phone, a phone that was password protected.
        3               There was even a copy of the same video hidden in a
        4   secret calculator app. Even if he let other people use his
        5   computer or his phone, there was an app on there that had a
        6   special password you had to type into to get into where he
        7   kept pictures and videos that he told M.C. that he shouldn't
        8   see. And that is where a copy of this video of M.C. was
        9   found.
      10                Next you have to find that the defendant acted with
      11    the purpose of producing a visual depiction of the conduct.
      12    I'm sorry, I skipped one. We have to show that the defendant
      13    engaged -- or the victim engaged in sexually explicit conduct.
      14    The Court will tell you how the law defines sexually explicit
      15    conduct. And there are several different types of sexually
      16    explicit conduct, but one of them includes masturbation. And
      17    clearly those videos depict masturbation.
      18                It also includes a lascivious display of the
      19    genitals. And the Court will tell you how to determine if an
      20    image or video shows a lascivious display of the genitals. I
      21    would argue to you that a close-up, lengthy, slow motion
      22    recording of a child masturbating is lascivious.
      23                However, masturbation alone is sufficient to show
      24    that something is sexually explicit conduct. So if you find
      25    that M.C. was, in fact, masturbating in that video, that is a




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        1   minor engaged in sexually explicit conduct.
        2               And finally with the second element you have to find
        3   that the defendant acted with the purpose of producing a
        4   visual depiction of that conduct.
        5               So ladies and gentlemen, the defendant's only role
        6   in that video you saw was as the photographer, the producer,
        7   the videographer, whatever you want to call it. He is the one
        8   holding the camera. He is the one that directed M.C. to
        9   masturbate before he started recording the video. He is the
      10    one who pulled his phone out, went to the camera app, pushed
      11    record -- actually took a picture. Then went to the video
      12    function and pushed record and chose to make it in slow
      13    motion. He chose how long to make the video. He chose to
      14    make it in slow motion. He chose to zoom in so close that you
      15    couldn't see the child's face. He only wanted to record one
      16    thing that day and that was a child masturbating.
      17                He didn't tell M.C. he was making the video, which
      18    is further evidence because he knew M.C. would not have agreed
      19    to making the video. M.C. told you that he would never have
      20    done that if he knew he was taking the video. But he wanted
      21    that video so that's why he did it where M.C. didn't see him.
      22                And then when M.C. did notice that he had taken the
      23    video, he lied to him. He said he would delete it. But we
      24    know he didn't delete it right away because we found it in two
      25    different places and the time stamps show it wasn't deleted




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        1   right away.
        2               If fact, if you look at the meta data that Nathan
        3   Anderson testified to, it shows you that the video was created
        4   on August 4th at 2:54 and 17 seconds PM. It was moved to the
        5   notes about 15 minutes later. It was then moved to the app,
        6   the calculator app, the next morning. So you know he didn't
        7   delete it right away. Same thing with the picture. It was
        8   taken at 2:54:13 and about 15 -- actually, about 20 minutes
        9   later it was shared -- it was moved over to the notes folder.
      10                This is significant because these are multiple
      11    purposeful steps he did. He made a note. He named the note
      12    Hupie or Hupe, the H-u-p-e word. He chose which files to put
      13    in it. And he chose to only put child pornography in that
      14    note. And then he did it sometime after he actually took the
      15    pictures. That is evidence that he wanted to preserve the
      16    video and image for at least some time. He wanted -- he hid
      17    it because he wanted to tell M.C. he had deleted it. And no
      18    one would go looking in notes for pictures and videos and M.C.
      19    would think he deleted it. And then he took the further step
      20    of hiding it in the calculator app which is an app designed to
      21    hide things.
      22                And then we had those other pictures we looked at
      23    before with -- on the hiking trip of him -- of M.C. and the
      24    defendant and then M.C. and the two other girls. He didn't
      25    move those. He kept those in the camera roll, ladies and




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        1   gentlemen. That shows this was not an accident because those
        2   stayed in the original place. He only moved the ones the
        3   victim engaged in sexually explicit conduct.
        4               And as I said, he's the one who told M.C. to
        5   masturbate so that he could create the video.
        6               And you can look at the other evidence you heard:
        7   the search terms. Talking about looking for a boy
        8   masturbating, selfies of boys. That's all evidence of what
        9   the defendant's purpose was when he told M.C. to masturbate;
      10    that he wanted a recording of it.
      11                Then the third element is that the visual depiction
      12    was produced using materials that had been mailed, shipped, or
      13    transported in and affecting interstate or foreign commerce by
      14    any means, including by computer.
      15                All of the images and videos you saw today were
      16    created with an iPhone 7 Plus. More specifically, they were
      17    found and located on this iPhone 7 Plus, the phone that
      18    belonged to the defendant and was used by the defendant.
      19                And the evidence was this particular iPhone has
      20    traveled in and affected interstate and foreign commerce.
      21    First of all, you saw it was actually stamped on the back
      22    "Assembled in China." And then we have the records from Apple
      23    showing exactly where it was manufactured in China; that it
      24    was imported into the United States through Tennessee before
      25    finding its way to the defendant in Wilkes County, North




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        1   Carolina. And there's been no challenge to any of that
        2   evidence. This evidence alone, ladies and gentlemen, is
        3   sufficient to find that the government has met this third
        4   element because the law says a visual depiction of a minor
        5   engaged in sexually explicit conduct is produced using those
        6   materials if -- if it was produced using a material that had
        7   previously been shipped or transported in interstate or
        8   foreign commerce, like in this case from China.
        9               Count one, as I said, involves A.P. It's a
      10    violation of the same offense, though it is alleged to have
      11    occurred on June 20th of 2018. It involves Government's
      12    Exhibits 4A, 4B, which was the videos on the couch, and 4C,
      13    4D, 4E, 4F, 4G, 4H, 4I, 4J, and 4K. As I said, those were
      14    pornographic images and videos taken of A.P. laying on a
      15    couch, as he testified, in the defendant's home back in 2018.
      16    Those will also be available to you if you wish to review them
      17    again.
      18                We know it's A.P. because he told you it was him.
      19    He recognized himself and identified himself. And you also
      20    had this picture of him taken from earlier that day on the
      21    defendant's phone of him being in the presence of the
      22    defendant -- or at least it was the defendant who took the
      23    picture, and that's exactly what he looked like on that day.
      24                So how do you know the minor was under the age of
      25    18, the first element the government has to prove? He told




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        1   you his date of birth was XXXXX XX of 2001. You know this
        2   video was produced on June 19th of 2018. That would make him
        3   a little over 17 years old when these videos and images were
        4   produced.
        5               Second, again, you have to find the defendant used,
        6   employed, persuaded, induced, enticed, or coerced a minor to
        7   engage in sexually explicit conduct for the purpose of
        8   producing a visual depiction of that conduct. Again, under
        9   the law, if you photograph or video a minor engaging in
      10    sexually explicit conduct, you are using that minor as
      11    required under the law.
      12                How do you know again that the defendant is the one
      13    using him in this case? A.P. didn't know he was recording
      14    him, but he gave you a lot of other information about the
      15    relationship he had with the defendant that you can use to
      16    find that the defendant was the one recording him.
      17                He told you about how the defendant would act
      18    inappropriately around him. Would put his hand on him and
      19    make sexual comments to him. And then it escalated to where
      20    he would talk to him repeatedly about masturbation and would
      21    talk to him about how he saw him masturbating and would
      22    comment on it.
      23                This is a man who was very into the victim
      24    masturbating. He talked about it. He encouraged him to do
      25    it. He showed him pornography to try and get him to




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        1   masturbate. So if you have a video of someone masturbating,
        2   who's more likely to take the video than someone who's been
        3   very interested previously in him masturbating?
        4               Again, it was on his work phone, his password
        5   protected work phone that was used by the defendant.
        6               Furthermore, those particular images and videos were
        7   saved with other inappropriate videos of A.P. You heard how
        8   he went on a camping trip with the defendant several months
        9   later in September where it was just the two of them on the
      10    Appalachian Trail and they spent the night, one night in the
      11    hammocks. And you saw some images and videos of A.P. walking
      12    in the woods nude from the back side as well as laying in a
      13    hammock. And he told you he was masturbating. Those images
      14    and videos were saved with the images and videos of A.P. on
      15    the couch in a note on the defendant's phone.
      16                You can also use the fact that this defendant
      17    recorded another video of another minor masturbating, in this
      18    case being M.C. The fact that he had done it to another
      19    child, you can use that to find that beyond a reasonable doubt
      20    it was the defendant who did it again in this case.
      21                Who else would be using the defendant's password
      22    protected work phone to take images and videos of two
      23    different minors masturbating and save them to different notes
      24    on his phone? And those are the images and videos of them
      25    camping.




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        1               Next, again, the government has to prove that A.P.
        2   was engaged in sexually explicit conduct in the images and
        3   videos. As I previously informed you, masturbation,
        4   lascivious display of the genitals, both of those under the
        5   law are sexually explicit conduct. So if you find that these
        6   images and videos depicted either of those things, that is
        7   sexually explicit conduct.
        8               Next, that the defendant acted with the purpose of
        9   producing a visual depiction of such conduct. Like I said for
      10    the images and videos involving M.C., the defendant's only
      11    role in the creation of these videos and images was as the
      12    videographer, as the producer of those videos. And again, he
      13    had to take multiple steps: Take the phone out; put it into
      14    camera -- or put it into video. You saw there were two
      15    different videos and a slew of images; each time choosing to
      16    take all of those images and all of those videos.
      17                If you remember in the video we watched, the longer
      18    video of A.P. laying on the couch, he's standing behind him
      19    and he starts out further back. He zooms in on the child's
      20    genitals, moves up to his face for a few seconds, and then
      21    goes back down to his genitals. It's clear what he was
      22    interested in capturing on this video. And then he zooms the
      23    camera out a little bit and just happenstance, A.P.'s hand
      24    comes up and blocks the view of the person filming it and so
      25    they move so they can recapture the genitals again because




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        1   that was the aim of making this video. If the hand was
        2   blocking the masturbation, he moved so he could capture that.
        3   That's how you know what the purpose was in creating this
        4   video.
        5               You can also use other evidence, circumstantial type
        6   evidence. He didn't tell A.P. he was making the video. He
        7   hid behind him so that he wouldn't know. You can look at just
        8   the sheer number of images and videos that were created to
        9   know that he was purposely trying to do this.
      10                And then again, you can look at what he did with the
      11    images after that. As you heard through the testimony of
      12    Nathan Anderson, many of these images and videos were saved to
      13    the note about an hour later. Different time stamps, but all
      14    about an hour later. But then again, a couple weeks later on
      15    July 4th the images and videos were again saved to the note.
      16    So again, this shows him purposefully moving and interacting
      17    and possessing the images and videos.
      18                His intent is also by what was in the note. He had
      19    the note full of the images and videos he created on
      20    June 20th, 19th and 20th. Then he had all the images and
      21    videos that he created of A.P. when they were on their hiking
      22    trip. And then he had that image of A.P. just in his
      23    underwear, just the close-up shot of the boy laying on the
      24    couch in his underwear. All of those were grouped together
      25    separate and apart from the rest of the images and videos he




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        1   had of A.P. or any other children that were not sexually
        2   explicit.
        3               And then finally for count two we have to prove that
        4   the visual depiction was made using something that had been
        5   transported in and affecting interstate and foreign commerce.
        6   Again, the meta data showed that those images and videos were
        7   created by an iPhone 7 Plus. And you heard that the iPhone 7
        8   Plus that the images and pictures were stored on was
        9   manufactured in China and traveled in interstate and foreign
      10    commerce and ended up in Wilkes County, North Carolina.
      11                The third count of the indictment is possession of
      12    child pornography, and this is for possessing all of the
      13    images and videos that he created. And there are three
      14    elements for the third count as well.
      15                The indictment alleges that between June 20th of
      16    2018 through on or about August 15th of 2019, the defendant
      17    did possess child pornography.
      18                Now, this is a wide date range. It starts when the
      19    images of A.P. were created and then they go through after the
      20    images of M.C. were created. You don't have to find he
      21    possessed the images that entire time frame. You just have to
      22    all agree at some point within that time frame, the defendant
      23    knowingly possessed child pornography. Even if it was for a
      24    short time, that just at some point in that time frame he did,
      25    in fact, possess child pornography.




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        1               And these are the elements you must find.
        2               First, that the defendant knowingly possessed or
        3   accessed with the intent to view any material that contained
        4   an image of child pornography.
        5               Well, what is child pornography? There is a legal
        6   definition of child pornography the Court will give you, but
        7   for this -- for my argument, the most relevant part you'll
        8   hear is that it's any visual depiction, including photographs,
        9   films, videos, pictures, computer and computer-generated
      10    images and videos of sexually explicit conduct where the
      11    production of the visual depiction involves the use of a minor
      12    engaging in sexually explicit conduct.
      13                The Court will instruct you that possession can be
      14    actual or constructive. Actual possession is, you know,
      15    you're holding something in your hand. Constructive
      16    possession is when you may not have something on your person
      17    at the time, but you have the intent and -- you're able to
      18    control it. You know, I brought my purse to the courthouse
      19    with me today but I left it in the office. I don't have it on
      20    me, but I'm possessing it because I brought it here. I plan
      21    to leave with it. I'm exercising control over it.
      22                So how do you know the defendant was in possession
      23    of these images and videos? Well, just look at all the
      24    different examples of how he exercised control over them and
      25    made decisions about what to do with them. As you heard,




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        1   photos and videos are generally found in a certain part of the
        2   phone, the camera roll, the digital gallery. I think it was
        3   called the media gallery. But these images and videos were
        4   not found there. They had to be moved to another part of the
        5   phone which takes someone exerting control over them to get
        6   them there. He had to pick and choose which images and videos
        7   he wanted to move. And in this case he only moved the
        8   pornographic ones; and when he moved them, he was exerting
        9   control over them.
      10                And by moving the files and the meta data that came
      11    with that, we learned something important. We learned that he
      12    kept the files for at least some period of time. And by
      13    keeping those files, ladies and gentlemen, he was possessing
      14    them. As we talked about with the videos and images of M.C.,
      15    it was over -- it was about 15 minutes before he moved them.
      16    And then he still had the video of M.C. the next day because
      17    that's when he moved it into the calculator app. So he
      18    possessed that video over that entire time period. He could
      19    have possessed it longer. We don't know when they were
      20    deleted. I think that was clear from Special Agent Anderson's
      21    testimony.
      22                Similar with A.P., we have all the images and videos
      23    with the dates and the time stamps that go with those. We had
      24    them all being created on June 19th over a time period of
      25    about ten minutes, I think it was. And then we have them




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        1   being moved, like, actually changed and moved to another part
        2   of the phone on -- about an hour later; some late on
        3   June 19th, some in the early hours of June 20th. And then you
        4   have them again being moved on July 4th so you know those
        5   images and videos were still on his phone. Even though they
        6   were created on June 19th, they were still on his phone on
        7   July 4th because they had to be there for him to move them
        8   into the notes. So he was in possession of those images and
        9   videos of A.P. at least from June 19th through July 4th. And
      10    that's again him showing -- exercising control over them.
      11    These are purposeful and intentional acts.
      12                These are just -- these are the actual slides
      13    showing the dates and times of when they were moved that we
      14    just talked about. Again, the time stamps show all that.
      15                Like the production counts, for possession we have
      16    to show that the images and videos were produced using
      17    materials that had been mailed, shipped, and transported in
      18    and affecting interstate and foreign commerce, including by
      19    computer. It this case, as you heard, all the meta data shows
      20    that the images and videos were produced by an iPhone; and you
      21    know that iPhone was manufactured outside the state of North
      22    Carolina and transported into North Carolina. The previous
      23    movement across state lines of a cell phone that the defendant
      24    later uses to possess child pornography is sufficient to meet
      25    that element.




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        1               Finally, we have to show that when the defendant
        2   possessed or accessed with intent to view the material, the
        3   defendant knew the material contained child pornography.
        4               So how do we know that the defendant knew that those
        5   images and videos contained child pornography? Well, we
        6   believe the evidence shows that he created them. And when he
        7   created them, he knew he was recording people under the age of
        8   18 engaging in masturbation, which is sexually explicit
        9   conduct.
      10                These children in the video are people he saw
      11    frequently. They were XXXXXX XXXXXXX that he would see,
      12    socialize with, take on trips. He clearly knew they were
      13    under the age of 18. He clearly knew they were engaged in
      14    sexually explicit conduct. And I think there's abundant
      15    evidence he knew the content of those files because he
      16    specifically saved only the ones depicting child pornography
      17    in the notes but left the ones that did not depict child
      18    pornography elsewhere. How would he know which ones to save
      19    if he did not know the contents of them?
      20                This is a defendant who tried mightily to hide his
      21    crimes. He picked children that trusted him and that he had
      22    easy access to. No one would question his efforts to be alone
      23    with them because he XXX XXXXXX. He used passwords. He moved
      24    files to unusual locations. He used apps where you normally
      25    don't find pictures. He even had a secret app to try and hide




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        1   his crime. He tried to not even let the minors know what he
        2   was doing. Yet here we are today. The images and videos are
        3   no longer hidden in his phone. You have all seen them and
        4   heard how they got created and then later found.
        5               When you consider all of the testimony and review
        6   all of the evidence in this case and hear the law as the judge
        7   instructs you, the evidence clearly shows beyond a reasonable
        8   doubt that the defendant committed each one of these crimes
        9   and for that we ask you to return a verdict of guilty on all
      10    counts.
      11                THE COURT: Mr. Freedman.
      12                MR. FREEDMAN: Thank you, Your Honor.
      13                Good afternoon, ladies and gentlemen of the jury.
      14                You've heard some fairly offensive conduct here
      15    today. And this is not a case about whether Mr. Hoover should
      16    have provided alcohol to minors. It's not a case whether he
      17    should have been touching them or trying to reach over their
      18    pants. That's not what the charges are here today. It's
      19    offensive. There's no question. But that's not what he's
      20    been indicted here in the Western District of North Carolina
      21    for and it's not what he's being presented to the jury for.
      22                Nor is this a referendum on the fact that the
      23    defendant advocates for child pornography. You were asked
      24    extensively during voir dire about whether you belong to any
      25    organizations that encourage child pornography. We're not




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        1   here to indicate there's anything proper about child
        2   pornography. Child pornography is horrible and it victimizes
        3   people and it victimizes them over and over again. There's no
        4   question about that.
        5               And we're not here to decide -- to advocate for the
        6   production of child pornography in any fashion at any time.
        7   That's not what we're here today for.
        8               What we're here today for is has the government
        9   proven beyond a reasonable doubt that under the statute he
      10    intended to produce child pornography and whether he knowingly
      11    possessed child pornography? And on those issues we contend
      12    the government has failed in their burden. The government
      13    must prove each and every element of an offense beyond a
      14    reasonable doubt. The Court will instruct you on what beyond
      15    a reasonable doubt is. But beyond a reasonable doubt is the
      16    highest standard of proof we have in the justice system in the
      17    United States. We heard during voir dire about how in civil
      18    cases it's preponderance of the evidence. It's beyond a
      19    reasonable doubt. It excludes all reasonable doubt. And the
      20    government must prove that.
      21                We've got no burden to come forward and prove
      22    anything. You were instructed during voir dire and you were
      23    just recently instructed by the Court that the defendant has
      24    no obligation to testify, has no burden of proof, has nothing
      25    to come forward and say because it's the burden on the




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        1   government at that point. And you've been instructed that you
        2   would not hold that against the defendant if he elected to
        3   exercise his constitutional rights and I am certain you will
        4   do that.
        5               Before I go any further, let me thank you for your
        6   time and attention. This case has not been a very long case,
        7   but it's obviously a very serious case. It's very serious for
        8   the boys who testified. It's very serious for the government.
        9   It's very serious for Mr. Hoover. So while it has been a
      10    brief trial, it's an extremely important trial and we
      11    appreciate you giving your time and your efforts to a case
      12    like this, especially having to sit through some of the
      13    testimony that you sat through.
      14                But for the jury, we could not have the justice
      15    system that we have here in the United States. And the reason
      16    why we have a jury is because the 12 of you bring your common
      17    experiences and your common sense and what you've seen and
      18    come together to make some sort of collective decision. And
      19    you are the sole triers of the credibility of the witnesses.
      20    You're the sole triers of the facts of the case. And you're
      21    the only ones who apply the law to the facts and determine
      22    whether the government has proved Mr. Hoover guilty or not.
      23    Not the government, not myself, not the judge will interfere
      24    with that because it is your duty and your duty alone to do so
      25    as the Court has instructed you.




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        1               Let me state as well, if I say something different
        2   from the law that Judge Bell tells you, if he doesn't correct
        3   me first, you go ahead and go with Judge Bell's recitation of
        4   the law. I'm trying to tell you what I believe my
        5   understanding of the law to be. And if I tell you something
        6   different about the evidence in the case than you remember,
        7   then you go with your memory. I'm not trying to substitute my
        8   memory for yours. I'm just trying to tell you what my memory
        9   of the case was.
      10                Again, as we said, it was very short. We first
      11    heard from Mr. Gregg who testified about having worked with
      12    Mr. Hoover for about six years, getting along fine with him.
      13    They were in the IT department at Wells Fargo. Mr. Hoover was
      14    a manager himself, but he still reported to Mr. Gregg.
      15                The government during its closing argument talked
      16    about how is it that Mr. Hoover would expect that if he hid
      17    something on his phone, it wouldn't be detected? How could he
      18    not? He worked in IT. How would he not know that? And how
      19    would he not know that Wells Fargo at some point would have
      20    access to that phone? You heard Mr. Gregg testify that when
      21    they were given the phones, it was the property of Wells
      22    Fargo. We know they got -- the government got a search
      23    warrant for the phone, but they were able to download the
      24    phone themselves. Wells Fargo was able to do that. And
      25    obviously they had an IT person -- a security person in




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        1   Mr. Turner who could determine that.
        2               And the secret app? Apparently the secret app was
        3   not such a secret app because it was there for all the world
        4   to see. We know that M.C. saw the secret app and we know that
        5   Mr. Turner had no problem accessing the secret app and opening
        6   it up.
        7               So to say that Mr. Hoover could never expect Wells
        8   Fargo to have access to that phone or to be able to determine
        9   anything on that phone, I would contend, defies common sense.
      10                We then heard extensively from Agent Anderson in the
      11    case and Agent Anderson gave us quite an extensive view of
      12    Cellebrite extraction. He told us all that our phones are
      13    marking our very presence almost at all times down to the
      14    longitude and latitude and time of day and everything else.
      15    Of course, he couldn't tell you who was utilizing the phone at
      16    that time, but he could tell you that that phone was
      17    utilizing -- was taking those pictures along the way.
      18                He could also tell you as well that there was no
      19    other pornography on that phone. I would contend there's no
      20    pornography on the phone. The government's contending that
      21    those photographs constitute pornography. But there was no
      22    pornography on that phone. If Mr. Hoover is such a
      23    pornographer, if he's obsessed with all the -- doing these
      24    various things, where's the pornography on the phone? We
      25    heard from Mr. Turner when he was involved with




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        1   investigations, sometimes it was not uncommon for there to be
        2   thousands of images out there. There were no images of
        3   pornography on the phone.
        4               There was some searches. It looked like they all
        5   occurred around one day -- well, the ones we know about
        6   occurred around May 20, 2017. We don't know who conducted
        7   those searches. The government will say it had to be
        8   Mr. Hoover because his phone was password protected. But we
        9   heard from both Mr. Turner and from Mr. Anderson that there
      10    are passwords that are changed, but there's also fingerprints,
      11    up to five fingerprints, five different people that can have
      12    access to the phone. Who do we know -- other than Mr. Hoover,
      13    who do we know for sure had access to the phone? We know at
      14    some point M.C. had access to the phone because he told you.
      15    And we know A.P. had access to the phone and to the computers.
      16    And I believe A.P. was quite forthright on the witness stand
      17    when he said he looked at pornography on the phone, and he
      18    said it was not child pornography.
      19                But if over this three-year period of time,
      20    two-to-three-year period of time, if both M.C. and A.P. had
      21    access to the phone to do various things, then who else did?
      22    We know A.P. had access to the security code. And I'm not
      23    suggesting A.P. did anything malevolent with the phone. I
      24    would suggest he did not. I'm just saying that just because
      25    somebody has a phone doesn't mean they're the only ones who




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        1   utilize that phone. And nothing about Special Agent
        2   Anderson's testimony limits the access to the phone to
        3   Mr. Hoover. In fact, he said he couldn't tell you a hundred
        4   percent who took those photographs and who took those videos
        5   on that occasion. So we sort of have -- we've got that from
        6   the testimony.
        7               We have M.C. who's testified about Mr. Hoover on
        8   several occasions touching him inappropriately, which is not
        9   what's before this jury. It's hard, it's so hard to hear this
      10    evidence and not get emotional and not get upset. It's
      11    difficult to continue to look at those photographs. But
      12    you've got to separate passions and emotions and prejudices
      13    and just analyze the case itself.
      14                So what's the evidence in terms of M.C. that he was
      15    out in the woods engaged in the activity he said that he was
      16    engaged in? And I would contend, you know, it's not -- that
      17    no one got him to do that. He was -- that was his choice in
      18    terms of what he did and that was not as a result of
      19    Mr. Hoover's actions.
      20                And in terms of A.P.'s -- in terms of A.P.'s
      21    testimony, have you heard one shred of evidence as to who took
      22    that picture? None. We have no evidence about who -- we know
      23    the phone took the picture. We know where the picture -- the
      24    video was taken. We know that it was A.P. A.P. didn't --
      25    apparently did not know anybody was in the room with him at




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        1   that time. We don't know who took the picture. We know that
        2   it was moved at some point, but it was moved fairly shortly
        3   thereafter. But we don't know who took the picture. There
        4   were other people -- we don't know who was in the house. We
        5   know nothing. That's up to the government to prove to you
        6   beyond a reasonable doubt. It's not, ah, it's his phone; it
        7   must have been him.
        8               Did we hear any evidence from A.P. at any other time
        9   that he saw Mr. Hoover doing anything inappropriate with his
      10    phone in terms of taking pictures? Did we hear anything
      11    during M.C.'s testimony that other than this one occasion he
      12    was out taking his phone, this grand pornographer, again, who
      13    has no downloads, no access, no indication of anything that he
      14    has been searching for pornography or utilizing his phone in
      15    an improper fashion except the allegations on these occasions
      16    from the government.
      17                And in terms of the elements of the case, you've
      18    been over the elements a bunch and I won't go over them again.
      19    But the government has to prove -- in terms of child
      20    possession -- possession of child pornography, excuse me, the
      21    government has to prove that it's a knowing possession. We
      22    know that the videos were deleted. We don't know when.
      23    Apparently the iPhone, which tells us everything else, doesn't
      24    tell us when those videos were deleted, but they were deleted.
      25    And you've heard no evidence to indicate Mr. Hoover was ever




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        1   aware or knew that he possessed child pornography.
        2               In terms of the other two counts, the production
        3   counts, you've been through the elements, but let me
        4   emphasize, the defendant used, employed, persuaded, induced,
        5   enticed, or coerced the minor named in counts one and two to
        6   engage in sexually explicit conduct for the purpose of
        7   producing a visual depiction of that conduct.
        8               Whatever conduct A.P. engaged in on that occasion
        9   A.P. engaged in on that occasion. It wasn't as a result of
      10    being coerced. It wasn't as a result of being induced or
      11    enticed or employed. Mr. Hoover -- there was no suggestion at
      12    all that Mr. Hoover used him in any fashion to say, "Go ahead
      13    and do this so I can film this." And as I stated before, we
      14    don't even know who filmed it. But there's nothing to
      15    indicate that Mr. Hoover engaged in those activities.
      16                You'll also receive another instruction about the
      17    government has to prove that the sexual activity that was
      18    engaged in, the defendant had a specific intent to produce a
      19    visual depiction. It is not sufficient simply to prove that
      20    the defendant purposely took a picture. It is not -- just the
      21    fact that a picture was taken is not in and of itself
      22    sufficient. The government must prove that producing a visual
      23    depiction of sexually explicit conduct was one of defendant's
      24    purposes for using, employing, persuading, enticing, or
      25    coercing the victim to engage in sexually explicit conduct.




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        1   And it was a significant or motivating purpose; it was not
        2   merely incidental to the sexually explicit conduct.
        3               I would contend anything that occurred -- as I
        4   stated, there's no downloads of pornography. There's no
        5   access to pornography. You've heard testimony about him
        6   making inappropriate comments. You've heard testimony about
        7   him touching on the thigh. You've heard plenty of testimony
        8   about him doing things he shouldn't have been doing. And I
        9   would contend to you whatever he was doing, he was doing for
      10    that purpose and that purpose alone, not for the purpose of
      11    producing pornography. Whatever was done was not done for
      12    that purpose. And if that's the case, then I would contend
      13    the government has failed in their burden.
      14                We don't know who took the picture of A.P. Nobody
      15    encouraged him to engage in that activity. And he is clearly
      16    not guilty of that offense.
      17                In terms of M.C., he was engaged in some
      18    inappropriate -- according to the government's evidence, he
      19    was engaged in inappropriate conversation and touching, but
      20    not for the purpose of producing these photographs. If so, I
      21    would contend, we would have a whole secret calculator full of
      22    pictures. We would have a whole notes full of pictures. We
      23    would have downloads of pornography. This was all incidental
      24    to his activity.
      25                So when you go back -- I'm not asking you to




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        1   encourage this behavior. I'm not asking you to advocate for
        2   child pornography or the production of child pornography. I'm
        3   asking you to make the government prove their case on these
        4   three charges. And I'm asking you and imploring you to say on
        5   these charges that are before you, not other activity, not
        6   anything that may be going on, but for these charges, the
        7   government has failed in their burden and that you should find
        8   the defendant not guilty.
        9               One last point I wish to say. If he was doing this
      10    for the purpose of production of pornography, then why wasn't
      11    he accessing the photographs? If you look -- I asked Agent
      12    Anderson, I talked to him about can you tell how often he
      13    accessed those photographs? He said he can't. But what he
      14    can do is determine when was the last time he accessed the
      15    photograph. And you'll have access -- you'll have access to
      16    all the evidence that you want if you were to request it.
      17                Shortly after -- whenever the items were moved from
      18    the original photographs to notes, that was generally the last
      19    access day. I believe the most -- the longest access day
      20    between when the photographs were taken and when they were
      21    moved was approximately two weeks. If he's doing this for the
      22    child pornography, he's not utilizing it because he's not
      23    accessing it. And I would contend you can utilize that and
      24    utilize your common sense to make a determination that he is
      25    not guilty of these offenses.




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        1               Thank you.
        2               THE COURT: The government has 17 minutes remaining.
        3               MS. RANDALL: Thank you, Your Honor.
        4               Ladies and gentlemen, I'll just -- I'll just be
        5   brief and address some of the points that were raised by
        6   Mr. Freedman just now.
        7               You heard a lot of testimony about what he calls
        8   inappropriate conversations and inappropriate touching
        9   involving M.C. and A.P. And he's correct, the defendant is
      10    not on trial for those. But that is evidence that you can use
      11    to help figure out who created those images and videos and
      12    what their purpose was. The judge has told you that during
      13    the testimony and he told you during the instructions that you
      14    can use circumstantial evidence and that type of evidence to
      15    help you figure out the other elements that the government
      16    does have to prove, and that is why that evidence has been
      17    presented to you and why you should consider it in your
      18    deliberations because one of the questions he raises is how
      19    can you tell who was using that phone when these images and
      20    videos were created? Well, we know A.C. and M.C. did not make
      21    those images and videos themselves. Both their hands are
      22    visible in those videos and images. They're not the ones
      23    creating them. And there's no evidence of anyone else
      24    accessing that phone other than A.P., M.C., and the defendant,
      25    and we know they didn't make those.




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        1               But needless to say, maybe someone else used the
        2   phone to make those images and videos. Does it make sense,
        3   common sense, that somebody else would use the defendant's
        4   phone, know the password, enter the password, create these
        5   images and videos on two different dates a year apart of two
        6   different boys, and then repeatedly get back on the
        7   defendant's phone to store them in notes that the person
        8   created? Again, a year apart. And then do it again with A.P.
        9   on another hiking trip and go back and store those images and
      10    videos in the same note he had created to store the images and
      11    videos that were created in June. Does that really make sense
      12    that somebody else was going to do that? And oh, by the way,
      13    search for NAMBLA and boys masturbating, and all of that,
      14    without the defendant knowing, someone who works in IT. Does
      15    that really make sense, ladies and gentlemen?
      16                Who talked to A.P. about masturbation? Who talked
      17    to him about wanting to see him masturbate? The defendant.
      18    Who would want to have a video of the defendant -- of A.P.
      19    masturbating? The defendant.
      20                Those images and videos from that hiking trip, it
      21    was just the defendant and A.P. You had a picture of them
      22    taken together. And there's a video that day. Now, you don't
      23    see the actual act. A.P. told you he was masturbating.
      24    Someone chose to make a video of just that: A.P. laying in a
      25    hammock and masturbating. The defendant was the only other




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        1   person there. And that video was created and then saved with
        2   the images of A.P. on the couch. If someone else made the
        3   images and videos of A.P. on the couch and then saved them to
        4   the defendant's phone without the defendant knowing, how did
        5   those other images and videos get saved with them when we know
        6   the defendant was the only other person on that hiking trip
        7   with A.P.? The fact that they're all saved together tells you
        8   everything you need to know.
        9               Mr. Freedman also addressed the part of the elements
      10    about whether the victims were coerced, enticed, induced, or
      11    used to create the images and videos. And as I told you, you
      12    only have to find one of those. And I want you to listen to
      13    the law as the judge gives it to you. He will define use for
      14    you and he will tell you that when a child is videoed or
      15    photographed, that is sufficient for you to find a child was
      16    used. There doesn't have to be the coercion. There doesn't
      17    have to be an enticement. He did not have to tell A.P. to
      18    masturbate when he was recording the video for him to use
      19    A.P. When he took out the camera -- when he sees A.P.
      20    masturbating and he takes out that camera or the video and
      21    decides to create this image and video, that is him using
      22    A.P. to create child pornography.
      23                And he talked a lot about what -- if you find the
      24    defendant made the video, what was his purpose? Ladies and
      25    gentlemen, his only purpose -- when those videos and images




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        1   were created, the only role he played in that image and video
        2   was as the creator of it. His only role was making sure an
        3   image or video existed when it was done. That is how you know
        4   it was a dominant purpose of his because his only -- he
        5   created the video. But for his actions, there would be no
        6   video.
        7               And he also talked a lot about the access dates and
        8   about the fact that the defendant doesn't have thousands of
        9   images and videos. Wouldn't there be all this other evidence
      10    if that was his purpose? And you don't have to access an
      11    image or a video a thousand times or have thousands of images
      12    and videos to have that purpose, ladies and gentlemen. You
      13    have to think about what was in Mr. Hoover's mind when he was
      14    taking that video of A.P. Why did he want to take that
      15    image -- all of those images? Think about that. Think about
      16    how many images he created and how many videos he created. If
      17    this was incidental, if that was not the main reason he was in
      18    that room holding his phone, why would he take that many
      19    images and that many videos of A.P.?
      20                And the same with M.C. There are not as many images
      21    or videos, but he directly instructed M.C. what he wanted him
      22    to do. That's how you know what his purpose was. He told
      23    M.C., "I want you to masturbate," and then he hid himself
      24    behind him to record it so he could capture it. His whole
      25    goal when he was with M.C. was to create that video.




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        1               When Ms. Spaugh got up and spoke to you earlier this
        2   morning, she said at the end of this trial I would get up here
        3   and ask you to do two things, and that's what I'm going to ask
        4   you to do right now. Number one, follow the law as the judge
        5   gives it to you. And two, hold the defendant accountable.
        6               When you review all of the evidence in this case and
        7   all of the testimony and use your common sense, it is clear
        8   beyond a reasonable doubt that the government has proved each
        9   and every element in this case..
      10                Thank you.
      11                THE COURT: All right. Members of the jury, the
      12    Court will now read the superseding bill of indictment, the
      13    statutes the defendant is charged with violating, and the
      14    essential elements of the offenses. Keep in mind as I review
      15    and summarize the charges that when you go to the jury room to
      16    decide this case, you will have a copy of the superseding bill
      17    of indictment with you so it will not be necessary for you to
      18    try to memorize while I speak exactly how the charges are laid
      19    out. Also, you will have a copy of these instructions that
      20    I'm about to give to you in the jury room as well so you
      21    don't -- you can continue to take notes, but you'll have these
      22    instructions with you in the jury room and you don't have to
      23    memorize them.
      24                Although the indictment may charge the defendant
      25    with committing an offense in several ways, using conjunctive




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        1   language, that means saying and this way, and that way, and
        2   that way, it is not necessary for the government to prove that
        3   the defendant did each of those things. It is sufficient if
        4   the government proves beyond a reasonable doubt that the
        5   defendant did any of these alternative acts as charged.
        6               The indictment charges that the offenses alleged in
        7   the indictment were committed on or about a certain date.
        8   Although it is necessary for the government to prove beyond a
        9   reasonable doubt that the offenses were committed on a date
      10    reasonably near the date alleged in the indictment, it is not
      11    necessary for the government to prove that the offenses were
      12    committed precisely on the date charged.
      13                Count one in the superseding bill of indictment
      14    reads as follows:
      15                The defendant, Michael Scott Hoover, is charged in
      16    counts one and two of the superseding bill of indictment as
      17    follows:
      18                Count one. On or about June 20, 2018, in Wilkes
      19    County, within the Western District of North Carolina, and
      20    elsewhere, the defendant, Michael Scott Hoover, did employ,
      21    use, persuade, induce, entice, and coerce minor victim 1 to
      22    engage in sexually explicit conduct for the purpose of
      23    producing any visual depiction of such conduct using materials
      24    that had been mailed, shipped, or transported in and affecting
      25    interstate and foreign commerce by any means, including by




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        1   computer, in violation of Title 18, United States Code,
        2   Section 2251(a) and (e).
        3               Count two reads:
        4               On or about August 4, 2019, in Yancey County, within
        5   the Western District of North Carolina, and elsewhere, the
        6   defendant, Michael Scott Hoover, did employ, use, persuade,
        7   induce, entice, and coerce minor victim 2 to engage in
        8   sexually explicit conduct for the purpose of producing any
        9   visual depiction of such conduct using materials that had been
      10    mailed, shipped, or transported in and affecting interstate
      11    and foreign commerce by any means, including by computer, all
      12    in violation of Title 18, United States Code, Section 2251(a)
      13    and (e).
      14                Title 18, United States Code, Section 2251(a)
      15    provides, in pertinent part, as follows:
      16                Any person who employs, uses, persuades, induces,
      17    entices, or coerces any minor to engage in any sexually
      18    explicit conduct for the purpose of producing any visual
      19    depiction of such conduct shall be guilty of an offense
      20    against the United States if that visual depiction was
      21    produced or transmitted using materials that had been mailed,
      22    shipped, or transported in or affecting interstate or foreign
      23    commerce by any means, including by computer.
      24                The essential elements of counts one and two are as
      25    follows:




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        1               For you to find the defendant guilty of using a
        2   minor to produce a visual depiction of a minor engaging in
        3   sexually explicit conduct charged in these two counts, the
        4   government must prove the following elements beyond a
        5   reasonable doubt:
        6               First, that the minor named in counts one and two of
        7   the superseding bill of indictment was under the age of 18;
        8               Two, that the defendant used or employed or
        9   persuaded or induced or enticed or coerced the minor named in
      10    counts one and two to engage in sexually explicit conduct for
      11    the purpose of producing a visual depiction of that conduct;
      12    and
      13                Third, that the visual depiction was produced using
      14    materials that had been mailed, shipped, or transported in and
      15    affecting interstate or foreign commerce by any means,
      16    including by computer.
      17                I will now define certain terms used in these
      18    essential elements. You are to apply these definitions as you
      19    consider the evidence. If I do not define certain concepts or
      20    words, you will assign to them their usual, ordinary, everyday
      21    meanings.
      22                As used in these instructions, the term "minor"
      23    means any person under the age of 18 years. When you consider
      24    whether a person is under the age of 18, you may use your life
      25    experience in observing children. The government does not




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        1   have to prove that the defendant knew that the victim was less
        2   than 18 years old.
        3               A person is "used" if they are photographed or
        4   videotaped.
        5               The term "producing" means producing, directing,
        6   manufacturing, issuing, publishing, or advertising.
        7               The government does not have to prove that the
        8   defendant's sole purpose or the primary purpose of engaging in
        9   such conduct was to produce a visual depiction. However, the
      10    government must prove that the minor engaged in the sexual
      11    activity and that the defendant had the specific intent to
      12    produce a visual depiction. It is not sufficient simply to
      13    prove that the defendant purposefully took the picture. The
      14    government must prove that producing a visual depiction of the
      15    sexually explicit conduct was one of the defendant's purposes
      16    for using, employing, persuading, enticing, or coercing the
      17    victim to engage in sexually explicit conduct and that it was
      18    a significant or motivating purpose and was not merely
      19    incidental to the sexually explicit conduct.
      20                In deciding whether the government has proven that
      21    the defendant acted for the purpose of producing a visual
      22    depiction of the sexually explicit conduct, you may consider
      23    all of the evidence concerning the defendant's conduct.
      24                As used in these instructions, the term "sexually
      25    explicit conduct" means actual or simulated sexual




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        1   intercourse, including genital-genital, oral-genital,
        2   anal-genital, or oral-anal, whether between persons of the
        3   same or opposite sex; or bestiality; or masturbation; or
        4   sadistic or masochistic abuse; for -- this gets a little
        5   confusing, but this will be back there with you -- for conduct
        6   that occurred on or about December 7, 2018, the lascivious
        7   exhibition of the genitals or pubic area of any person; and
        8   for conduct that occurred after December 7, 2018, the
        9   lascivious exhibition of the anus, genitals, or pubic area of
      10    any person.
      11                The definition -- the term "lascivious exhibition"
      12    means a depiction that displays or brings to view to attract
      13    notice to the genitals or pubic area of children in order to
      14    excite lustfulness or sexual simulation in the viewer. Not
      15    every exposure of the genitals or pubic area constitutes a
      16    lascivious exhibition. In deciding whether the government has
      17    proved that a particular visual depiction constitutes a
      18    lascivious exhibition, you should consider the following
      19    factors:
      20                First, whether the focal point of the visual
      21    depiction is on the minor's genitals or pubic area;
      22                Second, whether the setting of the visual depiction
      23    makes it appear to be sexually suggestive. For example, in a
      24    place or pose generally associated with sexual activity;
      25                Third, whether the minor is displayed in an




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        1   unnatural pose or in inappropriate attire considering the age
        2   of the minor;
        3               Fourth, whether the child is fully or partially
        4   clothed or nude;
        5               Fifth, whether the visual depiction suggests coyness
        6   or a willingness to engage in sexual activity; and
        7               Sixth, whether the visual depiction is intended or
        8   designed to elicit a sexual response in the viewer.
        9               A picture or image need not involve all of these
      10    factors to be a lascivious exhibition of the genitals or pubic
      11    area. It is for you to decide the weight or lack of weight to
      12    be given to any of these factors. Ultimately, you must
      13    determine whether the visual depiction is lascivious based on
      14    its overall content.
      15                "Visual depiction" includes undeveloped film and
      16    videotape and data stored on computer disks or by electronic
      17    means which is capable of conversion into visual image and
      18    data which is capable of conversion into a visual image that
      19    has been transmitted by any means, whether or not stored in a
      20    permanent format.
      21                As used in these instructions, the term "computer"
      22    means an electronic, magnetic, optical, electrochemical, or
      23    other high speed data processing device performing logical,
      24    arithmetic, or storage functions, and includes any data
      25    storage facility or communications facility directly related




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        1   to or operating in conjunction with such device, but such term
        2   does not include an automated typewriter -- you remember
        3   those -- or typesetter or a portable handheld calculator or
        4   other similar device.
        5               The term "interstate commerce" includes commerce
        6   between one state, territory, possession, or the District of
        7   Columbia and another state, territory, possession, or the
        8   District of Columbia. Interstate commerce simply means the
        9   movement of goods, services, money, and individuals between
      10    any two or more states or between one state and the District
      11    of Columbia.
      12                "Foreign commerce" includes movement of goods,
      13    services, money, and individuals from one country to another.
      14                To satisfy this element, the government must prove
      15    that the defendant's conduct affected interstate or foreign
      16    commerce in any way, no matter how minimal. The government is
      17    not required to prove that the defendant knew his conduct was
      18    in or affecting interstate or foreign commerce.
      19                The local or intrastate production of visual
      20    depictions of a minor engaged in sexually explicit conduct
      21    with a computer, a cell phone, or a camera that traveled in
      22    interstate or foreign commerce is part of an economic class of
      23    activities that substantially affect interstate or foreign
      24    commerce.
      25                A visual depiction of a minor engaging in sexually




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        1   explicit conduct is "produced" using materials mailed,
        2   shipped, or transported in or affecting interstate or foreign
        3   commerce if the visual depiction is stored, created, or
        4   recorded on a device containing materials that were mailed,
        5   shipped, or transported in or affecting foreign commerce.
        6               The term "knowingly" describes a defendant's state
        7   of mind, meaning that the defendant was conscious and aware of
        8   his actions, realized what he was doing or what was happening
        9   around him, and did not act because of ignorance, mistake, or
      10    accident.
      11                I instruct you that a minor cannot legally consent
      12    to participating in illegal sexual conduct. A person under
      13    the age of 18 lacks the capacity to consent to illegal sexual
      14    conduct. Accordingly, any argument regarding a minor's
      15    consent must not be considered by you in reaching your
      16    verdict. And I don't believe you heard any such argument.
      17                Count three of the indictment reads as follows:
      18                Defendant Michael Scott Hoover -- let's see. From
      19    on or about June 20, 2018, through on or about August 15,
      20    2019, in Wilkes County, within the Western District of North
      21    Carolina, and elsewhere, the defendant, Michael Scott Hoover,
      22    knowingly possessed, and accessed with intent to view, any
      23    material that contained an image of child pornography, as
      24    defined in Title 18, United States Code, Section 2256(8), that
      25    has been mailed and shipped and transported using any means




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        1   and facility of interstate and foreign commerce, and in and
        2   affecting interstate and foreign commerce by any means,
        3   including by computer, and that was produced using materials
        4   that have been mailed and shipped and transported in and
        5   affecting interstate and foreign commerce by any means,
        6   including by computer.
        7               All in violation of Title 18, United States Code,
        8   Section 2252A(a)(5)(B).
        9               That section provides, in pertinent part, as
      10    follows:
      11                Any person who knowingly possesses or knowingly
      12    accesses with intent to view any book, magazine, periodical,
      13    film, videotape, computer disk, or any other material that
      14    contains an image of child pornography that has been mailed or
      15    shipped or transported using any means or facility of
      16    interstate or foreign commerce by any means, including by
      17    computer, or that was produced using materials that have been
      18    mailed or shipped or transported in or affecting interstate or
      19    foreign commerce by any means, including by computer, shall be
      20    guilty of an offense against the United States.
      21                For you to find the defendant guilty of possession
      22    of child pornography as charged in count three of the
      23    superseding bill of indictment, the government must prove the
      24    following essential elements beyond a reasonable doubt:
      25                First, that the defendant knowingly possessed or




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        1   accessed with the intent to view any material that contained
        2   an image of child pornography as alleged in the superseding
        3   bill of indictment;
        4               Second, that the material had been mailed or shipped
        5   or transported using any means of interstate or foreign
        6   commerce, or in or affecting interstate or foreign commerce by
        7   any means, including by computer, or was produced using
        8   materials that had been mailed, shipped, transported in or
        9   affecting interstate or foreign commerce by any means,
      10    including by computer; and
      11                Third, that when the defendant possessed or accessed
      12    with the intent to view the material, the defendant knew the
      13    material contained an image of child pornography.
      14                I have previously defined several of these terms,
      15    including "interstate or foreign commerce," "computer," and
      16    "knowingly." You should apply these definitions in deciding
      17    count three as well except that I instruct you as follows
      18    regarding interstate or foreign commerce:
      19                The previous movement across state lines of a
      20    computer or cell phone that the defendant later used to
      21    possess visual depictions of child pornography is sufficient
      22    to establish that the child pornography affected interstate
      23    commerce. That is, the computer or cell phone need not
      24    have -- need not have had child pornography on it when the
      25    computer or cell phone moved in interstate or foreign




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        1   commerce. The previous movement through interstate or foreign
        2   commerce of a computer or cell phone that later was used to
        3   possess visual depictions of child pornography is sufficient
        4   to establish that the child pornography was transported in
        5   interstate commerce.
        6               The first element of count three which the
        7   government must prove beyond a reasonable doubt is that the
        8   defendant possessed a visual depiction. To possess something
        9   means to have it within a person's control. This does not
      10    necessarily mean that the person must hold it physically, that
      11    is, have actual possession of it. As long as the visual
      12    depiction is within the defendant's control, he possesses it.
      13                If you find that the defendant either had actual
      14    possession of the depiction or that he had the power and
      15    intention to exercise control over it even though it was not
      16    in his physical possession, you may find that the defendant
      17    [sic] has proven possession.
      18                The law also recognizes that possession may be sole
      19    or joint. If one person alone possesses it, that is sole
      20    possession. However, it is possible that more than one person
      21    may have the power and intention to exercise control over the
      22    visual depiction. This is called joint possession. If you
      23    find that the defendant had such power and intention, then he
      24    possessed the depiction even if he possessed it jointly with
      25    another person.




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        1               The government must prove that the defendant
        2   possessed the depiction knowingly. An act is done knowingly
        3   when it is done voluntarily and intentionally and not because
        4   of accident, mistake, or some other innocent reason.
        5               "Child pornography" means any visual depiction,
        6   including any photograph, film, video, picture, or computer --
        7   or computer-generated image or picture, whether made or
        8   produced by electronic, mechanical, or other means, of
        9   sexually explicit conduct where:
      10                One, the production of such visual depiction
      11    involves the use of a minor engaging in sexually explicit
      12    conduct;
      13                Two, such visual depiction is a digital image,
      14    computer image, or computer-generated image that is, or is
      15    indistinguishable from, that of a minor engaging in sexually
      16    explicit conduct; or
      17                Three, such visual depiction has been created,
      18    adapted, or modified to appear that an identifiable minor is
      19    engaging in sexually explicit conduct.
      20                I have previously defined several of these terms,
      21    including "minor," "sexually explicit conduct," and "visual
      22    depiction." You should apply those definitions in deciding
      23    count three as well.
      24                Now, members of the jury, you've heard the evidence
      25    and the arguments of counsel for the government and for the




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        1   defendant. It is your duty to remember the evidence whether
        2   it has been called to your attention or not. And if your
        3   recollection of the evidence differs from that of the
        4   attorneys, you are to rely solely upon your recollection of
        5   the evidence in your deliberations.
        6               You, as jurors, must decide this case based solely
        7   on the evidence presented here within the four walls of the
        8   courtroom. This means that during your deliberations you must
        9   not conduct any independent research about this case, the
      10    matters in this case, the individuals or groups involved in
      11    the case, or legal concepts. Your duty to follow this
      12    instruction is a serious responsibility and the failure to
      13    follow it may result in being found in contempt of court.
      14                During your deliberations you must not communicate
      15    with or provide any information to anyone by any means about
      16    this case. You may not use any electronic device to
      17    communicate to anyone any information about this case or to
      18    conduct any research about this case while you are serving as
      19    jurors.
      20                I have not reviewed the contentions of the parties,
      21    but it is your duty not only to consider all of the evidence,
      22    but also to consider all the arguments, the contentions and
      23    positions urged by the attorneys, and any other contention
      24    that arises from the evidence, and to weigh them all in the
      25    light of your common sense and as best you can to determine




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        1   the truth of this matter.
        2               The law, as indeed it should, requires the presiding
        3   judge to be impartial. Therefore, do not assume from anything
        4   I may have done or said during the trial that I have any
        5   opinion concerning any of the issues in this case.
        6               I instruct you that a verdict is not a verdict until
        7   all 12 jurors agree unanimously as to what your decision
        8   should be. You may not render a verdict by majority vote or
        9   any other voting mechanism aside from a unanimous verdict of
      10    12.
      11                The Court suggests that as soon as you reach the
      12    jury room before beginning deliberations you select one of
      13    your members to serve as foreperson. This individual has the
      14    same vote as the rest of the jurors but simply serves to
      15    preside over the discussions.
      16                Once you begin deliberating, if you need to
      17    communicate with me, the foreperson will send a note -- will
      18    send a written message to me by knocking on the door and
      19    handing it to the marshal or court security officer. However,
      20    you are not to tell me how you stand numerically as to your
      21    verdict. For instance, should you be split in your voting at
      22    any particular time, you would not tell me the specific
      23    numbers of your division in your note.
      24                We use a verdict sheet. This is simply the written
      25    notice of the decision that you reach in this case. As soon




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        1   as you have reached a verdict as to the counts alleged in the
        2   superseding bill of indictment, you will return to the
        3   courtroom and your foreperson will, on request, hand the
        4   verdict sheet to the clerk. There are places on the verdict
        5   sheet for the foreperson to enter the verdict, sign it and
        6   date it.
        7               During the trial several items were received into
        8   evidence as exhibits. We have a computer system in the
        9   deliberation room that enables you to view exhibits
      10    electronically. And if you ask to see any of the exhibits, we
      11    will provide them to you and give you the appropriate
      12    instruction on how to do so.
      13                If you need a break during your deliberations, you
      14    may do so in the jury room. Or if you need a break outside
      15    the jury room, a marshal or court security officer will escort
      16    you. But you must not deliberate during a break unless all 12
      17    of you are together. If you are not together, then do not
      18    talk about the case until all of you are back together.
      19                Does either side request a sidebar at this point?
      20                MR. FREEDMAN: No, Your Honor.
      21                MS. RANDALL: No, Your Honor.
      22                THE COURT: All right. Members of the jury, you may
      23    take this case and see how you find. If the two alternates
      24    would remain where you are, please, just for a moment. The 12
      25    of you please retire to the jury room to begin your




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        1   deliberations.
        2               You can take your notes with you. Yeah, go to the
        3   same room downstairs.
        4               (Jury of 12 exited the courtroom.)
        5               THE COURT: All right. For our two alternates, I'm
        6   not going to make you sit here and wait and see if we need
        7   you, but we might. And it does happen that deliberations
        8   start and a juror for some reason is unable to complete it, at
        9   which point we substitute one or both of you if necessary into
      10    deliberations and actually deliberations start all over again.
      11    You don't come in at the last minute and say we've already
      12    decided this thing so just raise your hand. That's not the
      13    way it works.
      14                So I'll let you go, but I do admonish you because
      15    you could become jurors in the jury room, do not discuss this
      16    case with anyone. Don't even start thinking about how you
      17    would vote because those sort of things are supposed to be
      18    done in deliberation with your fellow jurors. Don't do any
      19    research, as always.
      20                Feel free to contact the clerk's office at the end
      21    of the day tomorrow, whatever, maybe we can reach out to you
      22    and let you know when we know for sure we're not going to need
      23    you. And once there is a verdict, then, of course, you're
      24    released from service and we know that we won't need you. And
      25    at that point you'll be free to discuss or not discuss the




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        1   case with whomever you want. Nobody can make you talk about
        2   it, but I'm not going to try to stop you from talking to
        3   somebody either.
        4               Thank you both for your service. Hopefully we won't
        5   need to call you back, but appreciate your being willing to be
        6   called back. You may go.
        7               Everyone remain seated while the jury is leaving.
        8               JUROR NO. 14: Call back at 9:00, is that what
        9   you're saying?
      10                THE CLERK: I'll call.
      11                THE COURT: Ms. Compton will take care of it.
      12                If you were taking notes, if you would leave them
      13    with Ms. Compton, please, and not take them with you.
      14                (Alternates exited the courtroom.)
      15                THE COURT: Ms. Randall.
      16                MS. RANDALL: Your Honor, one thing that I think we
      17    need to address on the record that we'd forgotten to do before
      18    is that the defendant is supposed to notify the Court whether
      19    they're going to be requesting a jury trial on the forfeiture.
      20                THE COURT: Well, I was just about to ask. Is there
      21    anything to forfeit?
      22                MS. RANDALL: The iPhone, Your Honor.
      23                THE COURT: Doesn't the iPhone belong to Wells
      24    Fargo?
      25                MS. RANDALL: It does. We just included it in the




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        1   indictment just because he did have an interest in it at some
        2   point.
        3               THE COURT: Mr. Freedman, in the event of a guilty
        4   verdict --
        5               MR. FREEDMAN: We're not asking for a trial.
        6               THE COURT: I assume that there would be a consent
        7   order of some --
        8               MR. FREEDMAN: As to the iPhone.
        9               THE COURT: As to the iPhone if that's all there is.
      10                MS. RANDALL: Yes.
      11                THE COURT: All right. We will be in recess
      12    awaiting word from the jury.
      13                (Recess pending a verdict at 3:53 PM.)
      14                                    *****
      15                (Court back in session at 4:18 PM.)
      16                THE COURT: I'm told we have a verdict. If you
      17    would bring up the jury, please.
      18                (Jury entered the courtroom.)
      19                THE COURT: Has the jury selected a foreperson?
      20                JUROR NO. 2: Yes, Your Honor.
      21                THE COURT: If you would please hand the verdict
      22    sheet to the clerk.
      23                (Verdict sheet tendered to the Court.)
      24                THE COURT: We, the jury, return the following
      25    unanimous verdict as to the charges contained in the




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        1   superseding bill of indictment:
        2               As to count one, guilty.
        3               As to count two, guilty.
        4               As to count three, guilty.
        5               Is this your verdict, so say you all?
        6               (Affirmative response.)
        7               THE COURT: Do you request a polling?
        8               MR. FREEDMAN: I do request a polling, Your Honor.
        9               THE COURT: Please poll the jury.
      10                THE CLERK: Ladies and gentlemen of the jury, in the
      11    case of the United States of America versus Michael Scott
      12    Hoover, you returned a verdict as previously published.
      13                Juror number 1, was this your verdict and is it
      14    still your verdict?
      15                (No response.)
      16                THE CLERK: Ma'am?
      17                THE COURT: Juror number 1?
      18                THE CLERK: Was this your verdict and is this still
      19    your verdict?
      20                JUROR NO. 1: Guilty.
      21                THE CLERK: Juror number 2?
      22                JUROR NO. 2: Yes.
      23                THE CLERK: Juror number 3?
      24                JUROR NO. 3: Yes, ma'am.
      25                THE CLERK: Number 4?




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        1               JUROR NO. 4: Yes.
        2               THE CLERK: Number 5?
        3               JUROR NO. 5: Yes.
        4               THE CLERK: Six?
        5               JUROR NO. 6: Guilty
        6               THE CLERK: Number 7?
        7               JUROR NO.7: Yes.
        8               THE CLERK: Number 8?
        9               JUROR NO. 8: Yes
      10                THE CLERK: Number 9?
      11                JUROR NO. 9: Yes.
      12                THE CLERK: Ten?
      13                JUROR NO. 10: Yes.
      14                THE CLERK: Eleven?
      15                JUROR NO. 11: Yes.
      16                THE CLERK: And 12?
      17                JUROR NO. 12: Yes.
      18                THE COURT: Members of the jury, I greatly
      19    appreciate your being here. I hope you feel privileged to
      20    have sat on a jury. As I said before, we can't do this
      21    without you. And it really is one of the great hallmarks of
      22    our country and our system that these cases are decided by
      23    members of the public. Not by elected officials, not by
      24    judges, not by lawyers, you folks.
      25                So, again, my thanks. I think you won't be called




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        1   again for federal court for some time.
        2               If you took notes, if you would please just leave
        3   them in your seats there and we'll collect them.
        4               And you are free to go and discuss this case, or
        5   not, with whoever you want. No one can make you talk about
        6   it, but you can now talk with anybody you want about it if
        7   that's your desire. Thank you.
        8               Everyone remain seated while the jury leaves.
        9               (Jury exited the courtroom.)
      10                THE COURT: So I understand that the forfeiture
      11    issue is going to be waived for jury purposes and there will
      12    be some sort of consent order entered.
      13                MR. FREEDMAN: That's correct, Your Honor.
      14                And I would also renew my motion notwithstanding the
      15    verdict of the jury.
      16                THE COURT: Motion is denied for the reasons stated
      17    earlier.
      18                Anything else to address today?
      19                MR. FREEDMAN: No, Your Honor.
      20                THE COURT: I want to thank the lawyers for their
      21    courtesy and professionalism to one another. It was a well
      22    tried case and a pleasure to have been with all of you. And
      23    the witnesses showed great courage and calm and demeanor on
      24    the witness stand. I was very impressed. And of course,
      25    Agent Anderson, you're always a good witness. You're too




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        1   frequently a witness in this courtroom in my opinion, but
        2   those are the nature of the cases we deal with apparently.
        3               All right. Mr. Hoover is remanded to the custody of
        4   the marshals pending sentencing and the Court is in recess.
        5               (End of proceedings at 4:26 PM.)
        6                                  *****
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       1   UNITED STATES DISTRICT COURT
       2   WESTERN DISTRICT OF NORTH CAROLINA
       3   CERTIFICATE OF REPORTER
       4
       5
       6                I, Cheryl A. Nuccio, Federal Official Realtime Court
       7   Reporter, in and for the United States District Court for the
       8   Western District of North Carolina, do hereby certify that
       9   pursuant to Section 753, Title 28, United States Code, that
      10   the foregoing is a true and correct transcript of the
      11   stenographically reported proceedings held in the
      12   above-entitled matter and that the transcript page format is
      13   in conformance with the regulations of the Judicial Conference
      14   of the United States.
      15
      16                Dated this 17th day of April 2022.
      17
      18
      19                               s/Cheryl A. Nuccio
                                       _________________________
      20                               Cheryl A. Nuccio, RMR-CRR
                                       Official Court Reporter
      21
      22
      23
      24
      25




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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                            CASE NO.: 5:20-CR-88-KDB-DSC


          UNITED STATES OF AMERICA

                              v.

          MICHAEL SCOTT HOOVER


              SENTENCING MEMORANDUM AND MOTION FOR DOWNWARD
                                VARIANCE

                  Michael Scott Hoover (“Scott”) comes before the Court for sentencing

          having been convicted by a jury for production of child pornography and

          possession with intent to view child pornography, in violation of 18 U.S.C. §

          2251 and 18 U.S.C. § 2252A. Through counsel, he submits this memorandum

          to assist the Court in fashioning an appropriate sentence pursuant to 18

          U.S.C. § 3553 (a).

                  The Presentence Report (“PSR”) has determined the advisory

          Guidelines call for a sentence of 840 months. By way of comparison, the

          median federal sentence for murder is 240 months. 1 As the Court is well

          aware, the advisory Guideline range is but one factor to be considered in

          determining a sentence that is “sufficient, but not greater than necessary” to

          achieve the purposes of sentencing. See Kimbrough v. United States, 552

          U.S. 85, 101 (2007) (quoting 18 U.S.C. § 3553 (a)). The defense submits that

          1
            United States Sentencing Commission Quarterly Data Report September 30, 2019 at 17. Located at
          https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
          statistics/quarterly-sentencing-updates/USSC_Quarter_Report_4th_FY19.pdf.


                                             1
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          after all of the relevant statutory factors are taken into consideration, a

          sentence far below the advisory guideline range is appropriate.



                  SCOTT HOOVER’S HISTORY AND CHARACTERISTICS

                Scott Hoover grew up in a poor family in the North Carolina

          mountains. After graduating from high school, he chose to serve his country

          and enlisted in the Navy. He was deployed to the Middle East and served in

          Operations Desert Shield and Desert Storm. There, he flew numerous combat

          missions and performed as door gunner, in mine searches, and in surface

          surveillance. He participated in numerous search and rescue missions. For

          his service in he was awarded the Sea Service Deployment Ribbon, the

          National Defense Service Medal, and the Southwest Asia Service Medal. As a

          result of his combat experiences, Scott has been diagnosed with Post-

          Traumatic Stress Disorder.

                After receiving an honorable discharge, Scott decided to continue his

          education. He enrolled in Wilkes County Community College and earned his

          Associate’s Degree. He eventually received his Bachelor’s Degree from

          Gardner-Webb University in 2006, graduating cum laude.

                Since leaving the Navy, Scott has maintained gainful full-time

          employment, even during the years that he was attending college. He first

          worked as a service technician for two different companies before taking a job

          as a senior program analyst at Lowe’s. After five years at Lowe’s, he left for a




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          better job at Wells Fargo. From 2013 until his arrest in this case, Scott held

          the title of Vice-President/Team Lead at Wells Fargo.

                                        DISCUSSION

                I.      The Overly Harsh Penalties for Certain Child
                        Pornography Offenses Warrant a Downward Variance

                Courts throughout the country have noted the severity of the United

          States Sentencing Guidelines as they are applied to offenses involving child

          pornography and have found them to be overly harsh. Courts have also

          observed that the guidelines are arbitrary due to a lack of empirical analysis

          in formulating the guidelines. As a consequence, courts have routinely

          applied downward variances to comply with the mandate of 18 U.S.C. 3553(a)

          to impose sentences that are “sufficient, but not greater than necessary.”

                While much of the criticism of the child pornography guidelines have

          focused on USSG §2G2.2 (discussed in more detail below), courts have

          recognized that the same criticism can be at aimed at USSG §2G2.1, the

          guideline that applies to production of child pornography. See, e.g., United

          States v. Price, 775 F.3d 828 (7th Cir. 2014). In Price, the Seventh Circuit

          upheld a downward variance from 40 years to 18 years where the defendant

          was convicted of producing and distributing child pornography. Price, 775

          F.3d at 841. The 22-year sentence reduction was upheld even though the

          defendant molested children, appeared to pose future danger, and showed no

          remorse. Id. at 830, 834-35. The Seventh Circuit recognized that the district

          court properly concluded that USSG §2G2.1 “presents some of the same



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           problems” as USSG §2G2.2; notably that:

                         [b]oth guidelines … are vulnerable to the critique that
                         they are not the product of the Sentencing Commission's
                         empirical study and independent policy judgment … [and]
                         that both guidelines call for enhancements that apply in
                         nearly every case, exerting virtually automatic upward
                         pressure on sentences and failing to separate less
                         dangerous offenders from those who are more dangerous.

           Id. at 841.

                 With regard to the criticism of USSG § 2G2.2 that should be similarly

           applied to USSG § 2G2.1, numerous courts have voiced concerns about how

           the guideline results in arbitrarily harsh sentences, and have thus concluded

           that they warrant downward variances. In United States v. Beiermann, 599

           F.Supp.2d 1087 (N.D. Iowa 2009), for example, the defendant faced a

           guideline range of 210-262 months. The court imposed a sentence of 90

           months, however, noting the following:

                         Indeed, in light of Spears, I find that I may go one step
                         further than simply concluding that the child
                         pornography guideline … is entitled to considerably less
                         deference than other guidelines, in individual cases,
                         because it is the result of congressional mandates, rather
                         than the Commission’s exercise of its institutional
                         expertise and empirical analysis. I find that U.S.S.G. §
                         2G2.2 should be rejected on categorical, policy grounds,
                         even in a “mine-run” case, and not simply based on an
                         individualized determination that it yields an excessive
                         sentence in a particular case…. In short, the harsh
                         advisory guideline sentences pursuant to U.S.S.G. §
                         2G2.2 for child pornographers, whatever their criminal
                         conduct, criminal histories, or personal characteristics,
                         reflect a "put them down the oubliette" mentality that has
                         nothing to do with imposing a sentence that is "sufficient,
                         but not greater than necessary" to accomplish the goals of
                         sentencing. These flaws mean that this guideline is not



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                        only entitled to little deference, but that I am entitled to
                        reject it entirely.

          Beiermann, 599 F.Supp.2d at 1104, 1106.

                 Similarly, in United States v. Hanson, 561 F.Supp.2d 1004 (E.D. Wisc.

          2008), the court varied downward from 210-262 months to 72 months. The

          court explained:

                         [T]he guideline for this offense, which contains numerous
                        and significant enhancements for factors that are present
                        in many if not most cases, diverges significantly from the
                        Sentencing Commission’s typical, empirical approach, and
                        produced a sentence greater than necessary to provide
                        just punishment in this case…. Between 1994 and 2007
                        the mean sentence in child pornography cases increased
                        from 36 months to 110 months.... [T]his increase was not
                        the result of the empirical approach often used by the
                        Commission, designed to be an expert body on sentencing.
                        Rather, it was the result of arbitrary increases by
                        Congress slipped into other bills, often with little or no
                        debate.

          United States v. Hanson, 561 F.Supp.2d at 1008-09. See also United States v.

          Baird, 580 F.Supp.2d 889, 894 (D. Neb. 2008) (granting substantially below

          guideline sentence in child pornography case in part because “the Guidelines

          for child exploitation offenses, like the drug-trafficking Guidelines, were not

          developed under the empirical approach, but were promulgated, for the most

          part, in response to statutory directives”).

                In United States v. Dorvey, 616 F.3d 174 (2d Cir. 2010), the Second

          Circuit criticized the child pornography guideline for failing to make

          distinctions between the sentences for less dangerous offenders, “and the

          sentences for the most dangerous offenders who, for example, distribute child



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            pornography for pecuniary gain and who fall in higher criminal history

            categories.” Dorvey, 616 F.3d at 187. The Court explained:

                         This result is fundamentally incompatible with § 3553(a).
                         By concentrating all offenders at or near the statutory
                         maximum, § 2G2.2 eviscerates the fundamental statutory
                         requirement in § 3553(a) that district courts consider “the
                         nature and circumstances of the offense and the history
                         and characteristics of the defendant” and violates the
                         principle, reinforced in Gall, that courts must guard
                         against unwarranted similarities among sentences for
                         defendants who have been found guilty of dissimilar
                         conduct.

            Id. USSG § 2G2.1 is no different, as it concentrates all offenders at or

            near the statutory maximum regardless of their offense conduct,

            criminal history category, or background.

                  II.    Scott Hoover’s History and Characteristics Warrant
                         a Downward Variance, Especially In Light of the
                         Overly Harsh Sentence He Faces.

                  Even though Scott has no criminal history points (his only prior

            convictions are for minor traffic violations), he is subject to a guideline

            sentence of life in prison. Due to the statutory maximums for the

            offenses of conviction, he is facing a sentence of 840 months in prison, a

            de facto life sentence. For the reasons previously discussed with regard

            to the overly harsh penalties for child pornography offenses, and based

            on his background, such a sentence is too severe and a downward

            variance is warranted.

                  Scott overcame growing up in poverty to accomplish a great deal

            in his life. He served the United States in the Navy in combat roles



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            during Operations Desert Shield and Desert Storm. His service was

            not without sacrifice, as it left him with Post-Traumatic Stress

            Disorder.

                   After serving his country, he worked toward a bachelor’s degree

            while working full time and supporting his family. Until his arrest, he

            maintained gainful employment and worked his way up to the level of

            vice president at Wells Fargo.

                   Those are not the history and characteristics of one who

            deserves to spend the rest of his life in prison. His service, sacrifice,

            and accomplishments warrant a measure of leniency. Moreover, his

            lack of criminal history warrants a downward variance. See, e.g.,

            United States v. White, 506 F.3d 635 (8th Cir. 2007) (in case of

            distribution of child pornography case where guidelines were 108-135

            months, variance to 72 months proper in part because it was the

            defendant’s first offense, rejecting government’s argument that the

            court may not consider defendant’s lack of prior record because it was

            already taken into account by guidelines; after Booker, the court can

            consider lack of a criminal record apart from the guidelines); United

            States v. Paul, 561 F.3d 970 (9th Cir. 2009) (where defendant convicted

            of embezzlement and guidelines were 10-16 months, court’s within

            guideline sentence of 15 months unreasonably high in part because

            defendant was a first-time offender with no criminal record




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           whatsoever); United States v. Autery, 555 F.3d 864, 874 (9th Cir. 2009)

           (where guidelines were 41-51 months, court’s sua sponte variance to

           probation not unreasonable in part because defendant’s first conviction

           and Criminal History Category I “did not fully account or his complete

           lack of criminal history” because defendant with minor criminal

           history still falls into Category I); United States v. Huckins (10th Cir.

           2008) 529 F.3d 1312 (where defendant convicted of possession of child

           pornography and guidelines were 78-97 months, court’s variance to 24

           months was proper in part because it was defendant’s first conviction;

           the court rejected government’s argument that guidelines already

           considered this by placing defendant in Category I).

                 III.   The Advisory Guideline Range Far Exceeds What Is
                        Necessary To Afford Adequate Deterrence To
                        Criminal Conduct And To Protect The Public.

                 At his own expense, Scott has submitted for evaluation by forensic

           psychologists George Demakis and Terri Watters Klosek, who have

           substantial experience in sex offense cases. A copy of a report summarizing

           their findings is attached. Those findings include the following:

                 In terms of risk for future violence (including that of a sexual
                 nature), Mr. Hoover is at the lowest end of the medium-risk
                 range. Protective factors or factors that reduce risk include that
                 he was married at the time of the offenses, lack of prior criminal
                 history, lack of antisocial personality disorder, as well as
                 relatively older age. Future risk is likely to decrease further as
                 he ages. Specifically, research indicates that are very few
                 recidivists among sexual offenders released after age 60.
                 In contrast, areas of concern include that he has failed to take
                 responsibility for his convictions and appears to minimize



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                aspects of the crimes (i.e., the relatively small number of
                pictures found on his phone).

          Exhibit A attached hereto (emphasis in original).


                                         CONCLUSION

                For the reasons stated herein, the defense respectfully requests that

          this Honorable Court impose a sentence that is far below the advisory

          guideline range.



                This the 14th day of May, 2022.



                                           Respectfully submitted,

                                           /s/ Noell P. Tin
                                           TIN FULTON WALKER & OWEN PLLC
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                                           ntin@tinfulton.com
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                                  CERTIFICATE OF SERVICE

                  I certify that I have served the foregoing SENTENCING
           MEMORANDUM AND MOTION FOR A DOWNWARD VARIANCE on
           opposing counsel by submitting a copy thereof through Electronic Case
           Filing, to be sent to:

                                    Stephanie Laboy Spaugh
                                    Assistant U.S. Attorney
                                    stephanie.spaugh@usdoj.gov


                 Dated: May 14, 2022.
                                                            /s/ Noell P. Tin




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                               UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   STATESVILLE DIVISION

         UNITED STATES OF AMERICA     )          DOCKET NO. 5:20-CR-88
                                      )
               vs.                    )
                                      )
         MICHAEL SCOTT HOOVER,        )
                                      )
                    Defendant.        )
         _____________________________)

                            TRANSCRIPT OF SENTENCING HEARING
                          BEFORE THE HONORABLE KENNETH D. BELL
                           UNITED STATES DISTRICT COURT JUDGE
                                      MAY 19, 2022




         APPEARANCES:
         On Behalf of the Government:
               STEPHANIE LABOY SPAUGH, ESQ.
               CORTNEY S. RANDALL, ESQ.
               United States Attorney's Office
               227 West Trade Street, Suite 1700
               Charlotte, North Carolina
         On Behalf of the Defendant:
               NOELL P. TIN, ESQ.
               Tin Fulton Walker & Owen, PLLC
               301 East Park Avenue
               Charlotte, North Carolina




                                 Cheryl A. Nuccio, RMR-CRR
                                  Official Court Reporter
                               United States District Court
                                 Charlotte, North Carolina




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        1                         P R O C E E D I N G S
        2               THE COURT: All right. Our next matter is the
        3   United States versus Michael Scott Hoover, docket number
        4   5:20-cr-88.
        5               Mr. Hoover, following your conviction at a jury
        6   trial, your case was referred to the U.S. Probation Office for
        7   preparation of a presentence investigation and report which
        8   the Court has received and reviewed. Have you read that
        9   report?
      10                THE DEFENDANT: Yes, sir.
      11                THE COURT: Do you understand what's in it?
      12                THE DEFENDANT: Yes, sir.
      13                THE COURT: Have you had all the time you would like
      14    to discuss it with your attorney?
      15                THE DEFENDANT: Yes, sir.
      16                THE COURT: Thank you. You may sit down.
      17                Mr. Tin, there are several objections to the report.
      18                MR. TIN: There are, Your Honor, and I don't need to
      19    be heard on the objections. I'm happy to rest on what
      20    Mr. Freedman filed.
      21                THE COURT: Well, the Court has reviewed them
      22    closely. As I say, there are several. I think the probation
      23    office correctly and adequately explained its calculations and
      24    is correct as to each of them, except the Court will grant the
      25    objection as to paragraph 41 which is the use of a computer




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        1   two-level enhancement. The Court generally doesn't apply that
        2   enhancement in such cases, although there are facts under
        3   which it is appropriate. The Court finds that that
        4   enhancement is generally over applied to these cases and will
        5   sustain that objection.
        6               But otherwise, the Court will adopt the information
        7   in the presentence report without change. And I think that
        8   still leaves -- let me make sure this is right. I think even
        9   with that change the guidelines provide for an offense level
      10    43 still, I think, and a criminal history category of I, which
      11    is an advisory range of 840 months or 70 years.
      12                Mr. Tin.
      13                MR. TIN: Thank you, Your Honor.
      14                I agree with the Court. I think that does leave us
      15    in the same spot on the guidelines, I think the statutory
      16    maximums for each count.
      17                I know that Your Honor is already familiar with a
      18    lot of arguments about the structure of the guidelines and the
      19    objections that have been raised to them. That they're not
      20    the product of empirical study, that they seem arbitrary at
      21    points. The computer enhancement is one example. I would say
      22    that equating a video to 75 images is hard to get your mind
      23    around. Five levels for engaging in a pattern but not being a
      24    career offender. It seems untethered to the statutory
      25    principles of sentencing. I guess that's the best way to put




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        1   it. Obviously, we cited some cases. I don't think any of
        2   them are any surprise to the Court. But it's hard to have a
        3   sentencing and not at least use that as the defense's starting
        4   point.
        5               The memorandum sets out Scott's history and
        6   characteristics. Criminal history category I. A BA from
        7   Gardner-Webb. He graduated with honors. He was married. His
        8   son was in college. He was a vice president at Wells Fargo.
        9   He grew up poor. I think his sister's letter to the Court
      10    laid out some of how he started out in life and made good. He
      11    was a decorated combat veteran and served in Desert Storm and
      12    Desert Shield. Except for this case there's a whole lot of
      13    history and characteristics that ordinarily weigh in favor of
      14    leniency.
      15                Obviously, it's a serious case and any sentence Your
      16    Honor imposes is going to be long. There's two things I'm
      17    hoping to call attention to.
      18                The first is that as he stands before the Court,
      19    he's lost everything. He has lost his job. He's lost his
      20    wife. He's headed to prison for a long period of time even in
      21    the best case scenario. He's lost his money. He's severely
      22    depressed. He's lost 50 pounds. There's very little left for
      23    him to lose except years.
      24                And the second thing, because it speaks to the
      25    parsimony provision, he did submit to an evaluation. It still




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        1   lands him in the medium risk category. I think that the age
        2   factor is what stood out to me; that the recidivism rate is
        3   lower, much lower, for people past the age of 60 and he's
        4   going to be released, even at the mandatory minimum sentence,
        5   beyond the age of 60. He's 52 as he stands before the Court
        6   today. And I'm hoping that those factors will weigh in favor
        7   of a downward variance below a guideline range that we contend
        8   is excessive.
        9               THE COURT: Mr. Hoover, you have the right to
      10    address the Court if you would like to, but you don't have to
      11    say anything.
      12                THE DEFENDANT: No, sir, I'm good.
      13                THE COURT: All right. Ms. Spaugh.
      14                MS. SPAUGH: Thank you, Your Honor.
      15                The defendant took advantage of the trust that was
      16    placed in him by the people close to him in order to sexually
      17    exploit minors. This was not a one time thing for him. His
      18    criminal behavior went on for years. And it only stopped
      19    because he finally got caught. So the government is asking
      20    for a guideline sentence and we do believe it's necessary to
      21    achieve the purposes of sentencing enumerated in 3553.
      22                Looking at the nature and circumstances of this
      23    offense, this was an extreme abuse of trust because the
      24    victims were either family to him or like family to him. He
      25    picked children that trusted him and that he had easy access




                                        JA300
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        1   to knowing that no one would question his efforts to be alone
        2   with them because of their relationship.
        3               The video that he took of minor victim 1 occurred in
        4   July of 2018. This victim was unaware that he was being
        5   recorded at the time. And then two months later in September
        6   of 2018 he created another video of this victim from behind a
        7   hammock while on a camping trip, again without that victim's
        8   knowledge and while masturbating.
        9               But this behavior with just that victim was more
      10    than just videos. Before that he put his hand on the victim's
      11    upper thigh near his pubic area and had him sleep in his bed
      12    with him on another occasion.
      13                He manipulated this victim by supplying him with
      14    alcohol starting when he was just 15 years old. And he
      15    groomed him by showing him pornography and introducing him to
      16    masturbation.
      17                The videos of just one boy were apparently not
      18    enough for him because a year later in August of 2019 he took
      19    the videos of the second minor victim while on a hiking trip
      20    and that victim was only 12 years old when that happened,
      21    during which he put his mouth on the child's penis and tried
      22    to scare him into keeping quiet by telling him that if he told
      23    anyone, they could get in big trouble.
      24                And again, his behavior with this victim was not
      25    just the videos. Dating back to about 2017 when the minor




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        1   victim slept at the defendant's house, he woke up to find the
        2   defendant in the bed with him touching his penis.
        3               And on another occasion he manipulated this victim
        4   by telling him that he would buy him a vape, which is an
        5   electronic cigarette, if he showed him his penis while in the
        6   car one day. At another time at the defendant's home, the
        7   defendant masturbated and put his mouth on the child's penis
        8   again.
        9               After taking these videos he took steps to hide the
      10    evidence on the phone. He kept some of it in a secret
      11    application that looked like a calculator and you had to know
      12    a password to get into. And he stored other evidence in a
      13    Note with a nondescript name, which goes to show how
      14    calculated he was and how cautious to ensure that he would
      15    never be caught.
      16                These two victims in these videos were only
      17    discovered because an investigation was kicked off by other
      18    disclosures. In fact, multiple other boys have come forward
      19    to say that they were also victimized by the defendant when
      20    they were children.
      21                Initially three boys came forward to law
      22    enforcement.
      23                Minor victim 3 reported that when he was 15, the
      24    defendant would frame it as a game and massage his legs and
      25    move closer to his penis until he eventually touched it. And




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        1   he reported that the defendant had touched him multiple times
        2   between 2017 and 2018.
        3               Minor victim 4 told law enforcement that the
        4   defendant had moved his hand up his leg and touched him during
        5   a car ride. On another occasion the defendant offered to pop
        6   his back, but used it as an opportunity to put his hand down
        7   the child's pants and touch his penis again.
        8               Minor victim 5 disclosed that the defendant touched
        9   his penis over his clothes multiple times and tried to touch
      10    him while he was at his house, and he also saw the defendant
      11    try to touch another boy as well.
      12                Once the defendant was arrested for those state
      13    offenses, more victims and witnesses came forward to law
      14    enforcement which led to minor victim 6 being interviewed who
      15    told law enforcement that the defendant's sexual abuse started
      16    when he was just between 4 and 7 years old and it continued
      17    for several years while camping and at the defendant's home.
      18    The defendant started by teaching him about masturbation and
      19    went on to touch the child's penis and had him touch his. He
      20    also had them perform oral sex on each other and went so far
      21    as to have this minor victim put his penis in the defendant's
      22    anus.
      23                Minor victim 7 reported that during a camping trip
      24    in 2017, he woke to find the defendant on top of him trying to
      25    put his hand into the minor's pants and said to the minor that




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        1   he wanted to perform oral sex on him.
        2               Minor victim 8 told law enforcement that he was in a
        3   boy scout troop that the defendant was involved in back in
        4   2008 to 2010, and that on multiple occasions those years the
        5   defendant put his hand into the child's pants and touched his
        6   genitals. He also reported that the defendant tried to
        7   perform oral sex on him.
        8               So the defendant's behavior was calculated. These
        9   were not just random kids. He strategically chose these
      10    children that knew and trusted him and that he had a
      11    relationship with as family or as family friends because of
      12    the easy access and because he could groom them into thinking
      13    that they didn't need to tell anyone. He preyed on children
      14    of friends that were going through very difficult family
      15    situations as well as family members, and they were all boys
      16    of impressionable ages. These victims' lives have been
      17    changed forever and they will be dealing with the effects of
      18    what he's done forever.
      19                The five-level enhancement for being a repeat and
      20    dangerous sex offender against minors doesn't really come
      21    close in this case to fully encompassing what he has done
      22    here. A variance would disregard the extent of the ripple
      23    effect of his actions. He caused serious harm to multiple
      24    people, not just the boys but also their parents and their
      25    families that trusted him and have also been affected by what




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        1   he's done and now they're left dealing with the fallout.
        2               His history and characteristics show that he's shown
        3   no remorse or acceptance of the damage that he's done here to
        4   so many children. He's painted a picture of himself as an
        5   honorable victim without a criminal history warranting a
        6   downward variance, but that creates a bit of a misimpression
        7   as to the life he's actually led because he has had past
        8   run-ins with law enforcement because of accusations by
        9   children. Both times he was investigated, tried, and
      10    acquitted and the charges were expunged so they don't show up
      11    in the PSR.
      12                He has no family support from his ex-wife or his
      13    son.
      14                And the report from his psychological screening
      15    specifically states that he did not appear to meet the full
      16    criteria for PTSD and that it has not been problematic for
      17    functioning throughout the years. And it does say that he is
      18    in the medium risk range for risk of future violence, and
      19    that's just based on two interactions with him.
      20                His sexually deviant behavior went on for years and
      21    encompassed multiple victims and it raises grave concern about
      22    the need to protect the public from the defendant.
      23                No one had disclosed until the domino effect of the
      24    first three children. Minor victim 1 didn't even know that a
      25    video had been made so he couldn't disclose. He was an




                                        JA305
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        1   unknowing victim. Minor victim 2 only disclosed when law
        2   enforcement went to him after finding the video and figuring
        3   out who it was. So this just goes to show how underreported
        4   these crimes are.
        5               We have no reason to believe that he will ever stop
        6   by his own volition as long as this has gone on and the
        7   disrespect for the law he has shown. He was only stopped on
        8   this occasion by finally being arrested. We never would have
        9   known about these videos or these other victims without those
      10    first boys who were brave enough to come forward and tell law
      11    enforcement about what happened to them, which makes the
      12    guideline sentence especially important to deter others from
      13    thinking that they can do the same thing and prey on trusting
      14    children and hide the evidence and face anything less than a
      15    significant sentence. Anything less than a guideline sentence
      16    here is a variance and the only grounds asserted in this case
      17    are outweighed by the remaining 3553(a) factors. He's proven
      18    that he's a serious danger to children, who steals their
      19    innocence, affects them forever without hesitation and without
      20    remorse.
      21                At this time, Your Honor, the government would ask
      22    that one of the victims be allowed to speak, which would be
      23    AP, who did testify during the trial.
      24                THE COURT: All right. That's fine.
      25                AP: Thank you, Your Honor.




                                        JA306
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        1               I struggled to find the words to describe how I
        2   feel, but now I know exactly how I feel. This man robbed me
        3   of the most important values of my life: Trustworthiness, my
        4   innocence, and my happiness. Not only me, but he affected so
        5   many people, so many children over the years that I believe
        6   something like this shouldn't go unpunished. I know this man.
        7   I know his arrogance, his narcissism, and he's able to
        8   manipulate other people into believing to trust him. I
        9   believe that someone of his nature and his stature should not
      10    be allowed back in society. Someone like him should spend the
      11    rest of his life in prison.
      12                I won't let him win. Next spring I will graduate
      13    with a bachelor's degree in criminal justice and will make a
      14    contribution and make a point in my life to pursue a career in
      15    finding more people like him so that other kids won't have to
      16    feel afraid or have to feel that they are alone in this world.
      17    Monsters like him don't belong in our in society and I feel
      18    better to know that he won't be here. I want him to know that
      19    he's lost everything and everyone else has won.
      20                That's all.
      21                THE COURT: Thank you.
      22                AP: Thank you.
      23                MS. SPAUGH: MC's mother is here. She did ask us to
      24    read a statement on her behalf if that's okay with the Court.
      25                "I can honestly say that I never imagined something




                                           JA307
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                                                                        13



        1   like this would ever happen to my son or to our family. The
        2   devastation that your actions have caused has completely torn
        3   our family apart. You took advantage of an innocent child.
        4   There is no manmade punishment that will make up for the
        5   horrible things that you have done. Your actions were cold,
        6   calculated, and ruthless. Your punishment is just beginning
        7   and will only encompass months and years. MC will have to
        8   endure the pain that you have caused for the rest of his life.
        9   You will receive a sentence that upon completion your
      10    punishment will be over. MC will have to contend with your
      11    horrendous and dreadful actions forever.
      12                "When preparing this statement words such as
      13    monster, pedophile, barbaric, and degenerate routinely come to
      14    mind. Your deviant actions had no impact on yourself and were
      15    directed at destroying a child's innocence. While you won't
      16    receive a just sentence on this side of eternity, rest assured
      17    that one day you will stand before a just God. The Bible says
      18    in Matthew 18:6, 'But who shall offend one of these little
      19    ones which believe in me, it were better for him that a
      20    millstone were hanged about his neck, and that he were drowned
      21    in the depth of the sea.' So while serving your earthly
      22    sentence, just remember that your eternal sentence is yet to
      23    be delivered.
      24                "MC is an innocent child that enjoys football and
      25    baseball. The tragedy that you purposely caused has shaken




                                        JA308
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        1   him to his very core. Your devilish actions didn't just harm
        2   MC but also affected everyone around him. MC is an
        3   exceptional athlete and student. He is a very smart young man
        4   and excels in his school work and athletic abilities. He is
        5   admired by all his coaches, teachers, and friends.
        6               "After the abuse began, MC started pulling away from
        7   people. He's quit sports altogether. He once dreamed of
        8   playing professional sports, but that has been taken away from
        9   him. This is all he talked about and lived for was playing
      10    sports. He would lash out at his younger siblings and be very
      11    hateful to them. He had a lot of anger built up. One
      12    incident he punched the wall and broke his hand. This
      13    required surgery and he was unable to play any sports for
      14    several months. He didn't want to be around people. His
      15    coaches knew something was wrong because he wasn't performing
      16    as good as he once did. He just withdrew from everything. He
      17    moved his bedroom to the basement and stays there most of the
      18    time. It is heartbreaking to see your child that was once a
      19    fun-loving, free-spirited child withdraw into a shell. He was
      20    such an innocent child and this was taken away from him.
      21                "It was recommended by Dr. North with Mindpath to
      22    have some counseling. He didn't want to participate in these
      23    sessions, but we knew it was best. We knew he needed to talk
      24    about what had happened and try to get through it. Keeping
      25    everything bottled up inside was harmful to him and his




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        1   family. He wouldn't participate in the sessions. He just
        2   wouldn't open up to anybody. He was put on medication for
        3   anxiety to try and help with the anger and the outbursts. He
        4   had so much anger built up inside him. He seemed okay
        5   sometimes, but out of nowhere he would have outbursts of
        6   anger. This put a strain on the entire family. We never knew
        7   what kind of mood he would be in and what the day would bring.
        8               "It is hard to watch your child go through any type
        9   of trauma. But when it is at the hand of someone that the
      10    child trusted, someone you as a parent trusted with your
      11    child, you can't help but feel somewhat responsible. We're
      12    supposed to protect our children and who would have known that
      13    you would ever harm him. How do you teach your child to trust
      14    again? This will be with him his entire life. He will have
      15    to deal with the pain and try to put this behind him.
      16                "Because of you our family will never be able to
      17    trust anyone again. Because of you our family has suffered
      18    continuously throughout the entire process. When the court
      19    proceedings started, he did not want to be a part of that at
      20    all. He even made the comment, 'If you love me you won't make
      21    me do this.' How does a parent swallow that? It was like we
      22    were making him do something totally wrong. He has suffered
      23    enough and we are making him face you again. Even though you
      24    are in custody and he knew you wouldn't be able to hurt him
      25    anymore, making him face you after what you have done was




                                        JA310
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        1   tearing me apart. We talked to him to try to get him to
        2   understand that this was necessary so this wouldn't happen to
        3   another child.
        4               "I hope and pray the judge gives you the maximum
        5   sentence under the law. That way you will at least be forced
        6   to accept the consequences of your actions. You are a
        7   monster. You don't feel emotions, sorrow, or empathy, but I
        8   hope and pray that every day you wake up behind bars in a
        9   prison cell and you realize that this is what the rest of your
      10    life will be. And I hope you realize that every day MC wakes
      11    up, he will be haunted by the horrible things you've done to
      12    him."
      13                I would also point out to the Court that one of the
      14    other minor victims as well as the father is present as well.
      15                We would ask the Court to hold open restitution at
      16    this time so the victims can explore the possibility of future
      17    counseling.
      18                I believe we have a consent order of forfeiture
      19    relating to the cell phone. If I could approach with that?
      20                THE COURT: You may.
      21                MR. TIN: Here's the order. And we're fine with the
      22    90 days, Your Honor.
      23                (Document tendered to the Court.)
      24                MS. SPAUGH: Your Honor, if we could have one
      25    moment.




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        1               (Government counsel conferred.)
        2               MS. SPAUGH: Your Honor, one of the victims' fathers
        3   would like to speak.
        4               MR. FAW: Good afternoon, Your Honor.
        5               My three sons were the original ones that come
        6   forward when this all began. Their mother had been diagnosed
        7   with cancer. She fought it for eight years. We found this
        8   out in her seventh year of fighting cancer. We referred to
        9   him as Scott. He had friended my wife at work. I had coached
      10    his son in baseball when he was a young boy. So he had gotten
      11    pretty close to our family.
      12                When my wife was in and out of hospitals going
      13    through her fight, sometimes we didn't know if she was going
      14    to make it. That's how he friended my kids. "I'll take them.
      15    I'll take them out to eat, while she's laying in the hospital.
      16    I'll take them to Grandfather Mountain while she's laying in
      17    the hospital." That's when some of these incidents were
      18    happening.
      19                My son was mowing his grass. That's how this all
      20    came about. One of the children, the one he had taken to
      21    Grandfather Mountain and so far had friended him, and we
      22    thought the kids really liked him, mentions about "I don't
      23    ever want to see him again."
      24                "Where did this come from?"
      25                "He put his hands on me. He acted like he was




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        1   trying to do this favor for me and put his hands down my
        2   pants."
        3               In the process, that other child was on the way to
        4   his house at that moment to mow his grass. And the more and
        5   more I found out, the more and more I found out. The whole
        6   time he had been acting like he was helping.
        7               My wife died that eighth year knowing that we had
        8   let him into our lives and that affected our children.
        9               My oldest son, he still has mental problems. I
      10    can't guarantee it's from this or it's from losing his mother.
      11    At times he has outbursts just like was stated by the other
      12    child. But this is something he'll have to live with.
      13                One of the last things his mother said before she
      14    took her last breath, "I hope he gets everything that comes to
      15    him."
      16                It's so hard to speak about this, but -- and I
      17    wasn't going to speak today, but hearing that young man speak,
      18    I want to make sure you get everything that's coming to you.
      19                That's all I have to say, Your Honor.
      20                THE COURT: Thank you.
      21                Anything else?
      22                MS. SPAUGH: No, Your Honor.
      23                Just for the record, that was Chris Faw.
      24                THE COURT: All right. Mr. Hoover, you were, and
      25    I'm confident are, a child predator. Over the course of many




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        1   years with at least eight victims you demonstrated that you
        2   were a child predator, victimizing them not only then but for
        3   the rest of their lives, as we've heard. And then even at
        4   trial watching those young men have to sit there and watch a
        5   jury watch them watch a video of them masturbating was painful
        6   to see.
        7               The Court has considered your attorney's request for
        8   a variance and the Court has considered, as it must, your
        9   history and characteristics, some of which are good. Your
      10    navy service is much appreciated. The presentence report says
      11    that you may suffer from PTSD from Desert Storm, which it is a
      12    common thing, but it's not particularly well supported in the
      13    records and you seemed to function awfully well at work for an
      14    awfully long time, so that seems an insufficient reason to
      15    vary downward.
      16                Your counsel has also argued that the sentencing
      17    guidelines for these kind of cases are overly harsh. And I
      18    understand the legal arguments there, but I'm telling you when
      19    I just talk to folks I know about child pornography, child
      20    abuse, they don't think any sentence is too long. So I don't
      21    know what the sentencing commission might do in the future
      22    with respect to some of these things, but my guess is the
      23    public is unconcerned with the harshness of these guidelines,
      24    and the Court is unconcerned as well. The Court is fully
      25    satisfied with the way the guidelines are right now.




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        1               The Court also notes that even your own forensic
        2   psychologist put you at, they call it the low end of medium
        3   risk. Medium risk is significant risk to this Court. I don't
        4   care which end of it you are. I have no reason to believe
        5   that you wouldn't be a recidivist if given the chance. And
        6   the psychologist also made note of your total lack of
        7   acceptance of responsibility for these offenses and that you
        8   even minimized them.
        9               Now, the Court could vary downward for mere
      10    appearance sake so that the court of appeals would know that I
      11    knew that I could and maybe took some of these arguments into
      12    account. Even if I did, which I'm not going to, even if I
      13    did, I would impose a sentence that I was satisfied would make
      14    sure you never saw the light of day. Probably 50 years might
      15    do that. Forty might. But I'm not going to play a game of
      16    trying to appear that I didn't think a guideline sentence was
      17    appropriate and still impose a sentence that I would be
      18    confident would be the rest of your life, so I'm just going to
      19    stick with the guidelines. I think that's the appropriate
      20    sentence.
      21                So pursuant to the Sentencing Reform Act of 1984 and
      22    U.S. versus Booker, it is the order of the Court, having
      23    considered all of the factors in 3553(a), that the defendant,
      24    Michael Scott Hoover, is hereby committed to the custody of
      25    the United States Bureau of Prisons to be imprisoned for a




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        1   term of 360 months on each of counts one and two to be served
        2   consecutively, and a term of 120 months on count three to be
        3   served consecutive to the terms imposed on counts one and two
        4   to the extent necessary to produce a total term of 840 months,
        5   which is 70 years.
        6               The Court calls to the attention of the custodial
        7   authorities that the defendant has a history of mental health
        8   issues and recommends he be allowed to participate in any
        9   available mental health treatment programs while incarcerated.
      10                The Court recommends that the defendant participate
      11    in a sex offender treatment program while incarcerated, if
      12    eligible.
      13                Upon release from imprisonment, the defendant shall
      14    be placed on supervised release for a term of life on each
      15    count to be served concurrently. The term of life is
      16    necessary in the Court's judgment, if there ever is a
      17    supervised release term, because of his -- the long history of
      18    this offense, the period over which it occurred, and his own
      19    forensic psychologist's estimation of a significant risk of
      20    recidivism.
      21                Within 72 hours of release from the custody of the
      22    Bureau of Prisons, you are to report in person to the
      23    probation office in the district into which you are released.
      24                While on supervised release, you shall abide by each
      25    of the discretionary conditions of supervised release that




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        1   have been adopted by this Court and each of the sex offender
        2   conditions of supervised release that have been adopted by
        3   this Court. No objections were filed to the imposition -- the
        4   anticipated imposition of those conditions and the Court finds
        5   each of those is appropriate and necessary during the period
        6   of your supervised release.
        7               As a special condition of supervised release, the
        8   defendant shall participate in a mental health evaluation and
        9   treatment program and follow the rules and regulations of that
      10    program. The probation officer, in consultation with the
      11    treatment provider, will supervise the defendant's
      12    participation in the program. And the defendant shall take
      13    all mental health medications as prescribed by a licensed
      14    health care practitioner.
      15                It's ordered defendant pay the United States a
      16    special assessment of $300.
      17                It's ordered the defendant shall pay to the United
      18    States additional special assessments of $5,000 per count
      19    pursuant to 18 U.S.C. Section 3014 and the provisions of the
      20    Justice for Victims of Trafficking Act of 2015.
      21                It's further ordered that the defendant pay to the
      22    United States an additional special assessment of $50,000 on
      23    each of counts one and two and $17,000 on count three pursuant
      24    to 18 U.S.C. Section 2259(a) and the provisions of the Amy,
      25    Vicky, and Andy Child Pornography Victim Assistance Act of




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                                                                        23



        1   2018.
        2               The Court will leave open the issue of restitution
        3   for a period of 90 days.
        4               The Court finds the defendant does not have the
        5   ability to pay a fine and no fine will be imposed.
        6               Mr. Hoover, you can appeal your conviction if you
        7   believe there is some defect in these proceedings. You also
        8   have a right to appeal your sentence under certain
        9   circumstances, particularly if you believe it's contrary to
      10    law. Any notice of appeal must be filed within 14 days of
      11    entry of the Court's judgment. If you're unable to afford the
      12    cost of an appeal, if you ask, the clerk of court will prepare
      13    and file a notice of appeal on your behalf at no cost to you.
      14                I suggest you discuss these rights with your
      15    attorney, but do you understand them as I have explained them
      16    to you?
      17                THE DEFENDANT: Yes, sir.
      18                THE COURT: The Court will incorporate into this
      19    judgment the consent order and judgment of forfeiture that was
      20    handed up and signed during this hearing.
      21                This matter is concluded and Mr. Hoover is remanded
      22    to the custody of the marshals.
      23                MS. RANDALL: Your Honor, one matter. I'm not sure
      24    if it's a standard condition, but we would ask that there be
      25    no contact with the victims as one of his conditions. I know




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                                                                        24



        1   there's no contact with minors, but they won't be minors at
        2   that point.
        3               THE COURT: They'll be older than I am now.
        4               All right. The Court will order as a special
        5   condition of supervised release that the defendant have no
        6   contact with any of the victims in this case as described in
        7   the presentence report.
        8               (End of proceedings at 11:40 AM.)
        9                                  *****
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                                                                         25



       1   UNITED STATES DISTRICT COURT
       2   WESTERN DISTRICT OF NORTH CAROLINA
       3   CERTIFICATE OF REPORTER
       4
       5
       6                I, Cheryl A. Nuccio, Federal Official Realtime Court
       7   Reporter, in and for the United States District Court for the
       8   Western District of North Carolina, do hereby certify that
       9   pursuant to Section 753, Title 28, United States Code, that
      10   the foregoing is a true and correct transcript of the
      11   stenographically reported proceedings held in the
      12   above-entitled matter and that the transcript page format is
      13   in conformance with the regulations of the Judicial Conference
      14   of the United States.
      15
      16                Dated this 31st day of August 2022.
      17
      18
      19                               s/Cheryl A. Nuccio
                                       _________________________
      20                               Cheryl A. Nuccio, RMR-CRR
                                       Official Court Reporter
      21
      22
      23
      24
      25




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   AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case




                                                  UNITED STATES DISTRICT COURT
                                                             Western District of North Carolina
       UNITED STATES OF AMERICA                                           )    JUDGMENT IN A CRIMINAL CASE
                                                                          )    (For Offenses Committed On or After November 1, 1987)
                   V.                                                     )
                                                                          )
       MICHAEL SCOTT HOOVER                                               )    Case Number: DNCW520CR000088-001
                                                                          )    USM Number: 10339-509
                                                                          )
                                                                          )    Noell P. Tin
                                                                          )    Defendant’s Attorney

   THE DEFENDANT:
     Pleaded guilty to count(s).
     Pleaded nolo contendere to count(s) which was accepted by the court.
     Was found guilty on count(s) 1s,2s,3s after a plea of not guilty.
   ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                               Date Offense
    Title and Section                         Nature of Offense                                                Concluded           Counts
    18 U.S.C. § 2251(a), 18                   Production of Child Pornography                                  June 20, 2018         1s
    U.S.C. § 2251(e)

    18 U.S.C. § 2251(a), 18                   Production of Child Pornography                                  August 4, 2019          2s
    U.S.C. § 2251(e)

    18 U.S.C. §                               Possession With Intent to View Child Pornography                 August 15, 2019         3s
    2252A(a)(5)(B), 18
    U.S.C. § 2252A(b)(2)

          The Defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed
   pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

     The defendant has been found not guilty on count(s).
     Count(s) original indictment is dismissed on the motion of the United States.
           IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
   change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
   judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
   attorney of any material change in the defendant's economic circumstances.


                                                                                    Date of Imposition of Sentence: 5/19/2022




                                                                                    Date: May 23, 2022


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                                                                              JA321
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   AO 245 B (WDNC Rev. 02/11) Judgment in a Criminal Case   revTitle
   Defendant: Michael Scott Hoover                                                                            Judgment- Page 2 of 9
   Case Number: DNCW520CR000088-001



                                                                        IMPRISONMENT

   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
   THREE HUNDRED SIXTY (360) MONTHS as to each of Counts 1s, 2s and ONE HUNDRED TWENTY (120) MONTHS
   as to Count 3s all such terms to run consecutive to each other, for a total term of EIGHT HUNDRED FORTY (840)
   MONTHS.

    The Court makes the following recommendations to the Bureau of Prisons:
            1.     Participation in any available mental health treatment programs.
            2.     Participation in sex offender treatment programs, if eligible.

    The Defendant is remanded to the custody of the United States Marshal.

    The Defendant shall surrender to the United States Marshal for this District:
                As notified by the United States Marshal.
                At on .

    The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                As notified by the United States Marshal.
                Before 2 p.m. on .
                As notified by the Probation Office.


                                                                            RETURN

   I have executed this Judgment as follows:




   Defendant delivered on __________ to _______________________________________ at

   ________________________________________, with a certified copy of this Judgment.




                            United States Marshal
                                                                                       By:
                                                                                             Deputy Marshal




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  AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



  Defendant: Michael Scott Hoover                                                                                                                Judgment- Page 3 of 9
  Case Number: DNCW520CR000088-001

                                                                       SUPERVISED RELEASE
  Upon release from imprisonment, the defendant shall be on supervised release for a term of LIFE as to each Count to run concurrent to
  each other.

  ☐ The condition for mandatory drug testing is suspended based on the court's determination that the defendant poses a low risk of
  future substance abuse.
                                                                CONDITIONS OF SUPERVISION
  The defendant shall comply with the mandatory conditions that have been adopted by this court.
         1.     The defendant shall not commit another federal, state, or local crime.
         2.     The defendant shall not unlawfully possess a controlled substance.
         3.     The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
                imprisonment and at least two periodic drug tests thereafter, as determined by the Court (unless omitted by the Court).
         4.     The defendant shall cooperate in the collection of DNA as directed by the probation officer (unless omitted by the Court).


  The defendant shall comply with the discretionary conditions that have been adopted by this court and any additional conditions ordered.
         5.     The defendant shall report to the probation office in the federal judicial district where he/she is authorized to reside within 72 hours of release from
                imprisonment, unless the probation officer instructs the defendant to report to a different probation office or within a different time frame.
         6.     The defendant shall report to the probation officer in a manner and frequency as directed by the Court or probation officer.
         7.     The defendant shall not leave the federal judicial district where he/she is authorized to reside without first getting permission from the Court or probation
                officer.
         8.     The defendant shall answer truthfully the questions asked by the probation officer. However, defendant may refuse to answer a question if the truthful answer
                would tend to incriminate him/her of a crime. Refusal to answer a question on that ground will not be considered a violation of supervised release.
         9.     The defendant shall live at a place approved by the probation officer. The probation officer shall be notified in advance of any change in living arrangements
                (such as location and the people with whom the defendant lives). If advance notification is not possible due to unanticipated circumstances, the defendant
                shall notify the probation officer within 72 hours of becoming aware of a change or expected change.
        10.     The defendant shall allow the probation officer to visit him/her at any time at his/her home or any other reasonable location as determined by the probation
                office, and shall permit the probation officer to take any items prohibited by the conditions of his/her supervision that the probation officer observes.
        11.     The defendant shall work full time (at least 30 hours per week) at lawful employment, actively seek such gainful employment or be enrolled in a full time
                educational of vocational program unless excused by the probation officer. The defendant shall notify the probation officer within 72 hours of any change
                regarding employment or education.
        12.     The defendant shall not communicate or interact with any persons he/she knows is engaged in criminal activity, and shall not communicate or interact with any
                person he/she knows to be convicted of a felony unless granted permission to do so by the probation officer.
        13.     The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer.
        14.     The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or
                was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
        15.     The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential informant without first getting the permission of the
                Court.
        16.     The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or controlled
                substance or any psychoactive substances (including, but not limited to, synthetic marijuana, bath salts) that impair a person’s physical or mental functioning,
                whether or not intended for human consumption, or any paraphernalia related to such substances, except as duly prescribed by a licensed medical
                practitioner.
        17.     The defendant shall participate in a program of testing for substance abuse. The defendant shall refrain from obstructing or attempting to obstruct or tamper,
                in any fashion, with the efficiency and accuracy of the testing. The defendant shall participate in a substance abuse treatment program and follow the rules
                and regulations of that program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider,
                location, modality, duration, intensity) (unless omitted by the Court).
        18.     The defendant shall not go to, or remain at any place where he/she knows controlled substances are illegally sold, used, distributed, or administered without
                first obtaining the permission of the probation officer.
        19.     The defendant shall submit to a search if the Probation Officer has a reasonable suspicion that the defendant has committed a crime or a violation of a
                condition of supervised release. Such a search may be conducted by a U.S. Probation Officer, and such other law enforcement personnel as the probation
                officer may deem advisable, without a warrant or the consent of the defendant. Such search may be of any place where evidence of the above may
                reasonably be expected to be found, including defendant’s person, property, house, residence, vehicle, communications or data storage devices or media or
                office.
        20.     The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the term
                of supervised release in accordance with the schedule of payments of this judgment. The defendant shall notify the court of any changes in economic
                circumstances that might affect the ability to pay this financial obligation.
        21.     The defendant shall support all dependents including any dependent child, or any person the defendant has been court ordered to support.
        22.     The defendant shall participate in transitional support services (including cognitive behavioral treatment programs) and follow the rules and regulations of such
                program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider, location, modality, duration,
                intensity). Such programs may include group sessions led by a counselor or participation in a program administered by the probation officer.
        23.     The defendant shall follow the instructions of the probation officer related to the conditions of supervision.




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    AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



    Defendant: Michael Scott Hoover                                                                                  Judgment- Page 4 of 9
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    ADDITIONAL CONDITIONS:

         24.      The defendant shall participate in a mental health evaluation and treatment program and follow the rules and regulations of
                  that program. The probation officer, in consultation with the treatment provider, will supervise the defendant’s participation
                  in the program (including, but not limited to provider, location, modality, duration, and intensity). The defendant shall take
                  all mental health medications as prescribed by a licensed health care practitioner.
         25.      The defendant shall not communicate, or otherwise interact, with any of the victims.




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    AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



    Defendant: Michael Scott Hoover                                                                                                               Judgment- Page 5 of 9
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                                                                               SEX OFFENDER
                                                                  CONDITIONS OF SUPERVISION
    The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.
           1.     The defendant shall have no direct or indirect contact, at any time, for any reason with any victim(s), any member of any victim’s family, or affected parties in
                  this matter unless provided with specific written authorization to do so in advance by the U.S. Probation Officer.
           2.     The defendant shall submit to a psycho-sexual evaluation by a qualified mental health professional experienced in evaluating and managing sexual offenders
                  as approved by the U.S. Probation Officer. The defendant shall complete the treatment recommendations and abide by all of the rules, requirements, and
                  conditions of the program until discharged. The defendant shall take all medications as prescribed.
           3.     The defendant shall submit to risk assessments, psychological and physiological testing, which may include, but is not limited to a polygraph examination
                  and/or Computer Voice Stress Analyzer (CVSA), or other specific tests to monitor the defendant’s compliance with supervised release and treatment
                  conditions, at the direction of the U.S. Probation Officer.
           4.     The defendant’s residence, co-residents and employment shall be approved by the U.S. Probation Officer. Any proposed change in residence, co-residents or
                  employment must be provided to the U.S. Probation Officer at least 10 days prior to the change and pre-approved before the change may take place.
           5.     The defendant shall not possess any materials depicting and/or describing “child pornography” and/or “simulated child pornography” as defined in 18 U.S.C. §
                  2256, nor shall the defendant enter any location where such materials can be accessed, obtained or viewed, including pictures, photographs, books, writings,
                  drawings, videos or video games.
           6.     The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the
                  probation officer, the Bureau of Prisons, or any state sex offender registration agency in which the defendant resides, works, is a student, or was convicted of
                  a qualifying offense.
           7.     The defendant shall have no contact, including any association such as verbal, written, telephonic, or electronic communications with any person under the
                  age of eighteen (18) except: 1) in the presence of the parent or legal guardian of said minor; 2) on the condition that the defendant notifies the parent or legal
                  guardian of their conviction or prior history; and, 3) has written approval from the U.S. Probation Officer. This provision does not encompass persons under
                  the age of eighteen (18), such as waiters, cashiers, ticket vendors, etc. with whom the defendant must deal, in order to obtain ordinary and usual commercial
                  services. If unanticipated contact with a minor occurs, the defendant shall immediately remove himself/herself from the situation and shall immediately notify
                  the probation officer.
           8.     The defendant shall not loiter within 100 feet of any parks, school property, playgrounds, arcades, amusement parks, day-care centers, swimming pools,
                  community recreation fields, zoos, youth centers, video arcades, carnivals, circuses or other places primarily used or can reasonably be expected to be used
                  by children under the age of eighteen (18), without prior written permission of the U.S. Probation Officer.
           9.     Except as required for employment (see Condition 4), the defendant shall not use, purchase, possess, procure, or otherwise obtain any computer (as defined
                  in 18 U.S.C. § 1030(e)(1)) or electronic device that can be linked to any computer networks, bulletin boards, internet, internet service providers, or exchange
                  formats involving computers unless approved by the U.S. Probation Officer. Such computers, computer hardware or software is subject to warrantless
                  searches and/or seizures by the U.S. Probation Office.
          10.     The defendant shall allow the U.S. Probation Officer, or other designee, to install software designed to monitor computer activities on any computer the
                  defendant is authorized to use, except for that of an employer. This may include, but is not limited to, software that may record any and all activity on
                  computers (as defined in 18 U.S.C. § 1030(e)(1)) the defendant may use, including the capture of keystrokes, application information, internet use history,
                  email correspondence, and chat conversations. The defendant shall pay any costs related to the monitoring of computer usage.
          11.     The defendant shall not use or have installed any programs specifically and solely designed to encrypt data, files, folders, or volumes of any media. The
                  defendant shall, upon request, immediately provide the probation officer with any and all passwords required to access data compressed or encrypted for
                  storage by any software.
          12.     The defendant shall provide a complete record of all computer use information including, but not limited to, all passwords, internet service providers, email
                  addresses, email accounts, screen names (past and present) to the probation officer and shall not make any changes without the prior approval of the U.S.
                  Probation Officer.
          13.     The defendant shall not have any social networking accounts on networks used or reasonably expected to be used by minors without the approval of the U.S.
                  Probation Officer.
          14.     The defendant shall not be employed in any position or participate as a volunteer in any activity that involves direct or indirect contact with children under the
                  age of eighteen (18), and under no circumstances may the defendant be engaged in a position that involves being in a position of trust or authority over any
                  person under the age of eighteen (18), without written permission from the U.S. Probation Officer.




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   AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



   Defendant: Michael Scott Hoover                                                                           Judgment- Page 6 of 9
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                                                             CRIMINAL MONETARY PENALTIES

   The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


        ASSESSMENT                      JVTA ASSESSMENT             AVAA ASSESSMENT       RESTITUTION                     FINE
          $300.00                           $15,000.00                 $117,000.00           TBD                          $0.00


    The determination of restitution is deferred until 8/17/2022. Upon such a determination an Amended Judgment in a
   Criminal Case (AO 245C) will be entered. Failing such a determination by 8/17/2022, restitution amount becomes $0.00
   without further Order of the Court.




                                                                       INTEREST

            The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
   paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
   on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

    The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

              The interest requirement is waived.

              The interest requirement is modified as follows:


                                                             COURT APPOINTED COUNSEL FEES

    The defendant shall pay court appointed counsel fees.




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    AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



    Defendant: Michael Scott Hoover                                                                          Judgment- Page 7 of 9
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                                                              RESTITUTION PAYEES

    The defendant shall make restitution to the following payees in the amounts listed below:



                                   NAME OF PAYEE                                  AMOUNT OF RESTITUTION ORDERED
                                        TBD                                                    TBD



     Joint and Several Restitution is Ordered as follows:

                  Defendant and Co-Defendant Names and Case Numbers (including defendant number) if appropriate:

                  Associated Defendant Name(s) and Case Number(s) (including defendant number) if appropriate:

                  Court gives notice that this case may involve other defendants who may be held jointly and severally liable
                         for payment of all or part of the restitution ordered herein and may order such payment in the future.


    The victims’ recovery is limited to the amount of their loss and the defendant’s liability for restitution ceases if and
    when the victim(s) receive full restitution. Any payment not in full shall be divided proportionately among victims.


    Pursuant to 18 U.S.C. § 3364(i), all nonfederal victims must be paid before the United States is paid.




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  AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



  Defendant: Michael Scott Hoover                                                                               Judgment- Page 8 of 9
  Case Number: DNCW520CR000088-001



                                                            SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

             A  Lump sum payment of $0.00 due immediately, balance due
                    Not later than
                    In accordance  (C),  (D) below; or

             B  Payment to begin immediately (may be combined with  (D) below); or

             C  Payment in equal monthly installments of $50.00 to commence 60 days after the date of this judgment; or

             D  In the event the entire amount of criminal monetary penalties imposed is not paid prior to the
                 commencement of supervision, payments shall be made in
                 equal monthly installments of $50.00 to commence 60 days after release from imprisonment to a term of
                 supervision. The U.S. Probation Officer shall pursue collection of the amount due, and may request to modify
                 a payment schedule if appropriate 18 U.S.C. § 3572.


  Special instructions regarding the payment of criminal monetary penalties:

   The defendant shall pay the cost of prosecution.
   The defendant shall pay the following court costs:
   The defendant shall forfeit the defendant’s interest in the following property to the United States as set forth in the
  Consent Order document 49 entered 5/19/2022:
          Document No. 49 is incorporated into this judgment.



  Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
  imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
  monetary penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street,
  Room 1301, Charlotte, NC 28202, except those payments made through the Bureau of Prisons’ Inmate Financial
  Responsibility Program. All criminal monetary penalty payments are to be made as directed by the court.

  The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
  imposed.

  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
  (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
  prosecution and court costs.




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   AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



   Defendant: Michael Scott Hoover                                                                      Judgment- Page 9 of 9
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                                                             STATEMENT OF ACKNOWLEDGMENT

   I understand that my term of supervision is for a period of _______months, commencing on ____________________.

   Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
   (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

   I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
   possession of a firearm and/or refusal to comply with drug testing.

   These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



   (Signed)         ____________________________________ Date: _________________
                     Defendant

   (Signed)         ____________________________________ Date: _________________
                     U.S. Probation Office/Designated Witness


    The Court gives notice that this case may involve other defendants who may be held jointly and severally liable for
   payment of all or part of the restitution ordered herein and may order such payment in the future.




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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                           CASE NO.: 5:20-CR-88-KDB-DSC


        UNITED STATES OF AMERICA

                          v.

        MICHAEL SCOTT HOOVER



                                         NOTICE OF APPEAL

              NOW COMES Defendant Michael Scott Hoover, pursuant to Rule 4(b) of the

       Federal Rules of Appellate Procedure, and hereby gives notice of appeal of this Court’s

       judgment entered on May 23, 2022 to the United States Court of Appeals for the

       Fourth Circuit.


             Defendant is indigent and asks that he be appointed counsel for his appeal.

       Counsel asks that separate counsel be appointed in the event defendant wishes to

       raise a claim of ineffective assistance.


             Dated:      May 27, 2022

                                                  Respectfully submitted,

                                                  /s/ Noell P. Tin

                                                  TIN FULTON WALKER & OWEN PLLC
                                                  301 East Park Avenue
                                                  Charlotte, N.C. 28203
                                                  T: (704) 338-1220
                                                  F: (704) 338-1312
                                                  ntin@tinfulton.com


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                                CERTIFICATE OF SERVICE


              The undersigned hereby certifies that he has served the foregoing pleading
       with the Clerk of Court using the CM/ECF system, which will send notification of
       such filing to opposing counsel:

                                      Stephanie Laboy Spaugh
                                      Assistant U.S. Attorney
                                      stephanie.spaugh@usdoj.gov


             Dated: May 27, 2022

                                                  /s/ Noell P. Tin




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